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16   OWEN DIAZ

17                               UNITED STATES DISTRICT COURT
18
                                NORTHERN DISTRICT OF CALIFORNIA
19
     OWEN DIAZ,                                  Case No. 3:17-cv-06748-WHO
20
     Plaintiff,                                  DECLARATION OF LAWRENCE A.
21
             v.                                  ORGAN IN SUPPORT OF PLAINTIFF’S
22                                               APPLICATION FOR REASONABLE
     TESLA, INC. dba TESLA MOTORS, INC.;         ATTORNEYS’ FEES AND EXPENSES
23
             Defendant.
                                                 Retrial Date: March 27, 2023
24
                                                 Complaint filed: October 16, 2017
25                                               Hearing: January 10, 2024

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 1                            DECLARATION OF LAWRENCE A. ORGAN
 2          I, Lawrence A. Organ, declare and state as follows:
 3          1.      I make this declaration of my own personal knowledge, except where stated upon
 4   information and belief, and if called as a witness, I would and could testify competently to the
 5   matters stated herein.
 6          2.      I am an attorney admitted to practice in the State of California and have been a
 7   member of the State Bar of California since 1994. I am admitted to practice in the U.S. District
 8   Court for the Northern District as well as the United States Supreme Court. I am currently a
 9   member in good standing with the Bar and I have never had any issues relating to discipline or
10   otherwise with the State Bar.
11
                                EXPERIENCE AND QUALIFICATIONS
12
            3.      I am a civil rights attorney with offices in San Anselmo, San Francisco, Oakland,
13
     and Los Angeles, California. I am the sole proprietor of the Law Offices of Lawrence A. Organ
14
     doing business as the California Civil Rights Law Group. I have three partners and three
15
     associate attorneys in my firm. In addition, I co-counsel various cases with other plaintiffs’ civil
16
     rights attorneys throughout California, including in Sonoma, Solano, Contra Costa, San
17
     Francisco, Alameda, Napa, Placer, Sacramento, Santa Clara, Santa Cruz, San Bernardino, San
18
     Louis Obispo, Los Angeles, Orange, Riverside, and San Diego counties.
19
            4.      I am a 1994 graduate of Duke University School of Law where I graduated with
20
     honors. While at Duke, I was Chair of the Moot Court Board and an Editor of Environmental
21
     Law and Policy Forum. Also at Duke as part of the legal clinics there, I worked for the Durham
22
     County District Attorney’s Office as an associate prosecutor handling misdemeanor cases. I
23
     tried nine misdemeanor cases as the sole attorney for the District Attorney’s Office and I worked
24
     on the trial team as second chair for two felony trials.
25
            5.      Before attending law school, I earned a Master’s Degree in Politics from Monash
26
     University in Melbourne, Australia, which I attended on a Rotary Foundation Scholarship. In
27
     1984, I graduated with high honors from the University of California, Berkeley with a Bachelor
28
     of Arts degree in Political Science, and was inducted into Phi Beta Kappa while at Berkeley.

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 1          6.      I am admitted to practice before the California Supreme Court , the United States
 2   Court of Appeals for the Ninth Circuit, and the federal Northern, Central and Eastern District
 3   Courts in California. I am also admitted to practice before the United States Supreme Court.
 4          7.      After graduating from law school, I was selected by the U.S. Department of
 5   Transportation’s Honor’s Program which picked eight attorneys from top law schools around the
 6   country. I then worked for Rosen, Bien & Asaro which is a civil rights firm in San Francisco
 7   that specialized in plaintiff’s civil rights appeals and attorney’s fees motions. While I worked
 8   there, I was appellate counsel on Weeks v. Baker & McKenzie (1998) 63 Cal.App.4th 1128, which
 9   is recognized as one of the breakthrough sex harassment cases in the country. In 1997, I teamed
10   up with the lead trial counsel in the Weeks case, Philip Edward Kay, who was recognized as one
11   of the leading sex harassment attorneys in the country. I worked with Mr. Kay as an associate
12   and then co-counsel for eight years during which time we tried numerous cases together.
13          8.      In 2005, I opened my own office. My experience as an attorney includes more
14   than 40 trials and numerous other administrative hearings. I have been attorney of record in
15   what I believe to be three of the largest jury verdicts at the time in harassment cases in
16   California. A jury trial in 2002 resulted in a $30.5 million jury verdict on behalf of six female
17   employees who were sexually harassed while working for Ralphs Grocery Company. This case
18   was published at Gober v. Ralphs Grocery Co. (2006) 137 Cal.App.4th 204. I also have argued
19   several cases in state appellate courts and at the Ninth Circuit. I only represent plaintiffs and my
20   practice focuses almost exclusively on employment cases. The vast majority of my cases,
21   including the instant case, are taken on a contingency basis where I only collect fees if the case
22   settles or we win at trial. Typically, I advance the costs of these contingent cases and I and my
23   co-counsel advanced the costs in this case because our client did not have the financial resources
24   to do so.
25          9.      I was trial counsel in 2000 in Greene v. Dillingham Construction which was an
26   Alameda County race harassment case involving the use of a hangman’s noose as a means of
27   racial intimidation. The case resulted in a published decision establishing that multipliers are
28   available under the Fair Employment Housing Act for factors including contingent risk. See


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 1   Greene v. Dillingham Construction, N.A., Inc. (2002) 101 Cal.App.4th 418. In the Greene case,
 2   after the case was remanded by the Court of Appeal, Judge Demetrios Agretelis awarded a 1.7
 3   multiplier on top of the lodestar of approximately $993,000.
 4          10.     I currently have six other lawyers associated with my office, four of whom
 5   assisted in this case for whom we are claiming time: Marqui Hood, Molly Durkin, Cimone
 6   Nunley, and Julianne Stanford. One former partner, Navruz Avloni, and two former associates,
 7   Noah Baron and Emily Kohlheim, also assisted in this case during their tenure with my firm.
 8          11.     Due to the small size of my firm, I must carefully screen the cases we take. We
 9   have to balance the strengths of the case against risk factors such as who the defendant is and
10   what defenses are available. Some cases we take to try and advance the law, though we can only
11   take a few of these because of the likelihood of not prevailing and the costs to the firm associated
12   with taking such cases both in terms of attorney time and costs. As a consequence, we typically
13   take less than one case in a hundred. When I take a case for trial, I am not able to devote
14   significant resources to other matters when I am in trial prep and trial mode. I typically spend
15   approximately 80 to 100 hours per week when preparing for trial and participating in trial which
16   leaves scant time for other matters. Because of our limited resources, we are forced to turn away
17   cases that might otherwise be successful in order to provide full service to the clients we have
18   agreed to represent.
19          12.     I have taught many classes on civil rights and trial tactics. Most recently, I taught
20   a class at Trial Lawyers University about the issues related to trying a case in federal court in 12
21   hours. I also taught a class at Trial Lawyer’s University in Las Vegas, the San Francisco Trial
22   Lawyers Association (SFTLA), and the Marin Trial Lawyers Association (MTLA) on the lessons
23   learned from the Diaz v. Tesla case in terms of case strategy and the approach used to win the
24   case. I recently taught a class for Consumer Attorneys of California regarding how to be
25   successful in obtaining punitive damage awards. In November 2021 I taught a class on trying
26   civil rights cases to the National Employment Lawyers Association (NELA). More recently, I
27   taught a class on contingent worker liability issues. In 2015, 2017, 2019 and 2021, I was one of
28   the experienced lawyer-trainers who provided direct feedback to plaintiff’s employment lawyers


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 1   at the California Employment Lawyers Association (CELA) Trial College held over three days at
 2   Hastings College of Law. Bernard Alexander was the person who started the CELA Trial
 3   College, and Dustin Collier is one of the more recent organizers of the CELA Trial College. I
 4   taught a seminar on Sex Harassment at Boalt School of Law (now Berkeley Law), at the
 5   University of California, Berkeley. I regularly teach a seminar on Law & Human Resources
 6   Practices at Golden Gate University. In September 2012, I gave a day-long seminar with several
 7   other attorneys and experts on conducting Focus Groups to CELA at its annual convention. In
 8   2014, I published an article on sexual harassment in a national magazine for the American
 9   Association of Justice named Trial. I have had numerous cases featured in newspapers from the
10   New York Times, Washington Post, Wall Street Journal, San Jose Mercury News, San Francisco
11   Chronicle, and Bloomberg News. I have had numerous cases featured on television programs
12   including CNN’s Don Lemon Tonight, Good Morning America, CBS Evening News, Prime
13   Time Thursday and Channels 2, 3, 4, 7, and 11 in the Bay Area and Channel 40 in Sacramento.
14                                   TIMEKEEPING PRACTICES
15          13.      My office keeps contemporaneous time records, accurate to one-tenth of one
16   hour. During the merits phase of this case, my attorney time was typically entered into the
17   MyCase time-keeping program. On those occasions, entries were made immediately after I
18   gained. For the relevant time entries from my partners and associates, I am familiar with their
19   time-keeping practices. I know they use MyCase to enter their time and that they typically
20   entered these time entries at or near the time when work was performed on cases. The same
21   practices are followed by my law clerks and paralegals. I know this to be true because I
22   monitored time entries of staff working on firm cases and periodically audited entries after they
23   were entered.
24          14.      Throughout the time that I have worked on the Diaz case, I have been
25   conscientious in monitoring the time expended, and I endeavored to expend time in as efficient a
26   manner as possible to avoid duplicative time. In situations where time was being spent by two
27   attorneys on the same task, I endeavored to avoid double billing for these matters, except where
28   the tasks were different tasks or where multiple attorneys were needed for timely completion of a


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 1   task such as in a brainstorming or strategy session or where preparation was necessary for a
 2   deposition that I was going to take. One exception to this practice was the depositions of my
 3   client as it made sense for Ms. Avloni and myself to staff Mr. Diaz’s deposition. Another
 4   exception was my overview of the case. I annotated all of the depositions and trial transcripts in a
 5   program called Transcript Pad to get an overview of the evidence and to see the various
 6   witnesses who testified to certain facts. This time-consuming practice helped other attorneys
 7   with witness examinations, but did not obviate the need for other attorneys to prepare their own
 8   examinations and review the transcripts anew. Multiple attorneys would typically collaborate on
 9   such things as the focus groups we ran or preparation and revision of demonstratives, and the
10   opening and closing PowerPoint presentations.
11                        HOURLY RATES FOR CCRLG & CO-COUNSEL
12          15.     From 2012 to 2017, my hourly rate increased at a moderate rate, from $525 to
13   $725 per hour. My 2012 hourly rate of $525 was confirmed as reasonable in Los Angeles
14   Superior Court by the Honorable Michelle R. Rosenblatt. My 2014 hourly rate of $595 per hour
15   was confirmed by the Honorable Jerome Benson for a sex harassment case. My 2016 hourly rate
16   of $650 per hour was confirmed by the Honorable William D. Claster in Orange County Superior
17   Court as part of an award of $689,310.04 in attorney’s fees. My 2017 hourly rate of $700 per
18   hour was confirmed as reasonable by the Hon. Michael M. Markman of the Alameda County
19   Superior Court for my work as lead counsel on a sexual harassment case where attorney’s fees of
20   $819,300 were awarded based on a Section 998 offer of compromise under California law.
21          16.     I am familiar with the Laffey Matrix and its historical use in the context of
22   determining the reasonableness of attorney fee awards. The original Laffey Matrix was
23   developed in 1982. It was approved for use for attorneys in the Washington D.C. area in Laffey v.
24   Northwest Airlines (D.D.C. 1983) 572 F.Supp. 354. The Updated Laffey Matrix was developed
25   in 1989 and approved for use in the D.C. area in Salazar v. District of Columbia (D.D.C. 2000)
26   123 F.Supp.2d 8, 13. Since that time, the United States District Court for the District Columbia
27   has found expressly that the Updated Laffey Matrix is “more accurate” than the original Laffey
28   Matrix. (Smith v. District of Columbia (D.D.C. 2006) 466 F.Supp.2d 151, 156; see also Syers


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 1   Properties III, Inc. v. Rankin (2014) 226 Cal.App.4th 691, 698-99 [approving use of Laffey
 2   matrix with 9% “locality adjustment,” while noting that trial court is not obligated to follow the
 3   Laffey matrix at all].) A true and correct copy of the Updated Laffey Matrix developed by Dr.
 4   Michael Kavanaugh is attached as Exhibit 5 to this declaration. It is also freely available online
 5   on Dr. Kavanaugh’s website: http://laffeymatrix.com/see.html The Matrix does not address
 6   attorneys of Mr. Rubin’s or Mr. Alexander’s experience or stature. According to the Updated
 7   Laffey Matrix, my hourly rate for 2023 of $975 is below the Laffey Matrix number of $1,057 for
 8   attorneys with over 20 years experience. Ms. Hood who has been practicing over 22 years has
 9   an hourly rate of $900 which is below the Laffey Matrix guide of $1,057 for an attorney with
10   over 20 years of practice. Ms. Durkin who has been practicing over 17 years has a rate of $750
11   per hour which is below the Laffey Matrix guide of $878 per hour for attorneys with 11-19 years
12   of practice. Similarly, Mr. Collier’s rate of $750 per hour is below the Laffey Matrix guides $878
13   per hour. Ms. Corrine Johnson who graduated in 2012 and has a rate of $825 is below the target
14   $878 number for attorneys with her years of experience. Mr. Joshua Socks, a partner in the
15   Collier Law Firm (CLF) and a 2012 graduate, is seeking a rate of $700 put the target rate for him
16   is $878. Ms. Avloni (12 years out) at $725 and Ms. Stanford (11 years out) at $700 should have
17   rates of $878. Britt Karp, a 2011 graduate, has a rate of $675 which is below the Laffey Matrix
18   target of $878. Drew Teti (2009) at $550 is a bargain given his $878 target. Ms. Cimone
19   Nunley’s rate at $500 is also lower than the Laffey Matrix which shows a rate of $538 for
20   someone with over five years’ experience. Ms. Elizabeth Malay, a 2012 graduate, has a rate of
21   $400 which is well below the $878 target for her time. In summary, all of CCRLG’s and CLF’s
22   attorneys have rates lower than those indicated as reasonable for the Laffey Matrix and many of
23   the other lawyers are also under the Laffey Matrix targets.
24          17.     My 2021 hourly rate is $975 per hour. I have at least one hourly client who
25   currently pays this hourly rate. The rates for my partners and associates are also the same rates
26   we charge hourly clients.
27          18.      I currently serve as the Chair of the Civil Rights Forum, a plaintiff’s civil rights
28   attorney’s organization in the San Francisco Bay Area. The Civil Rights Forum has written


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 1   several amicus briefs on employment issues before the California Supreme Court. For example,
 2   an employment brief I wrote was accepted by the California Supreme Court in Miller v.
 3   Department of Corrections (2005) 36 Cal.4th 446. I also authored the request to the California
 4   Supreme Court, on behalf of the Civil Rights Forum, to grant review in Roby v. McKesson
 5   HBOC (2010) 47 Cal.4th 686. In 2017, I also edited and signed the Civil Rights Forum amicus
 6   brief to the U.S. Supreme Court case. In addition, I am an active member of the California
 7   Employment Lawyers Association (CELA) and have served on the CELA Jury Instructions
 8   Advisory Committee at various times for the last 10 years. I am also a member of the California
 9   State Bar’s Labor and Employment Section, the National Employment Lawyers Association
10   (NELA), Consumer Attorneys of California (CAOC), the San Francisco Trial Lawyer’s
11   Association (SFTLA), the American Association of Justice (AAJ), the Bar Association of San
12   Francisco (BASF), the Marin Trial Lawyers Association (MTLA), and the Alameda County Bar
13   Association (ACBA). I have served as a member of the San Francisco Delegation to the
14   California State Bar Conference of Delegates and I served as the Chair of the Labor and
15   Employment section of that delegation and as a member of the Executive Committee for over 10
16   years.
17             19.   For every year since 2010, I have been named by Northern California Super
18   Lawyers magazine as one of the top attorneys in Northern California. On information and belief,
19   only five percent of the lawyers in the covered region are named by Super Lawyers. Each year
20   since 2010, I have been ranked through the multi-step, peer-review process employed by Super
21   Lawyers as one of the top Plaintiff’s Employment Lawyers in Northern California. In 2021, the
22   National Trial Lawyers Association named me to the Top 100 list of employment trial lawyers in
23   California and the Top 10 list of Civil Rights attorneys in Northern California.
24             20.   In 2022, the National Trial Lawyers Association, a group of over 5,000 civil and
25   criminal defense attorneys from all 50 states, named me Trial Lawyer of the Year for my work
26   on the Diaz v Tesla case.
27             21.   Cimone Nunley is an associate attorney in my firm who has been working with
28   me since the summer of 2016 after she finished her first year of law school. She graduated from


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 1   the University of California, Davis, King Hall School of Law in 2018. In 2021, Ms. Nunley has
 2   been ranked through the multi-step, peer-review process employed by Super Lawyers as one of
 3   the Rising Stars Plaintiff’s Employment Lawyers in Northern California, which is only given to
 4   the top 2.5% of attorneys. Ms. Nunley’s hourly rate for 2023 is $500 per hour.
 5          22.     Marqui Hood is a partner in my firm who was been working with me for
 6   approximately seven years. Ms. Hood graduated from the University of California at Los
 7   Angeles School of Law in 2001. Her undergraduate degree is from Wesleyan. After law school,
 8   Ms. Hood clerked for the Hon. Raymond Fisher on the 9th Circuit Court of Appeals in Pasadena,
 9   California. Her hourly rate is $900 per hour.
10          23.     Molly Durkin is a partner in my firm who was been working with me for
11   approximately seven years. Ms. Hood graduated from the University of California, School of
12   Law, San Francisco (formerly Hastings) in 2006. Her undergraduate degree is from Barnard
13   College. Her hourly rate is $750 per hour.
14          24.     Navruz Avloni is a former partner in my firm who has worked with me since
15   2014 until she left my firm in early April 2022. Ms. Avloni graduated from the University of
16   California, Davis, King Hall School of Law in 2011. Ms. Avloni has tried several matters with
17   me including an arbitration against Tesla in 2019 in the Lambert v. Tesla matter. Ms. Avloni was
18   the primary person propounding and responding to discovery and she also took and defended
19   several depositions in the Diaz matter. Each year since 2018, Ms. Avloni has been ranked
20   through the multi-step, peer-review process employed by Super Lawyers as one of the Rising
21   Stars Plaintiff’s Employment Lawyers in Northern California. In 2017, Ms. Avloni was
22   recognized by The National Advocates as Top 40 Under 40. In 2021, Ms. Avloni was selected by
23   Best Lawyers as a member of “Ones to Watch” in the category of Commercial Litigation—
24   Plaintiffs. In 2023 I understand her hourly rate is $725 per hour.
25          25.     Julianne Stanford is a partner in my firm who has been working with me since she
26   took the Bar in 2012. Ms. Stanford graduated from the University of San Francisco School of
27   Law in 2012. She has tried four cases including a 10-week trial against the state of California.
28   Each year since 2016, Julianne Stanford has been ranked by Super Lawyers as one of the Rising


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 1   Stars Plaintiff’s Employment Lawyers in Northern California. In 2021, Ms. Stanford was
 2   selected by the National Trial Lawyers Association as one of the Top 40 Under 40 for
 3   employment litigators in Northern California. In 2023, her hourly rate is $700 per hour.
 4            26.   Ms. Emily Kohlheim who assisted with the retrial is a 2021 Berkeley Law
 5   graduate whose hourly rate is $425 per hour. Noah Baron who was an associate in my firm prior
 6   to the first trial is a 2015 graduate of Georgetown Law Center. I understand his current hourly
 7   rate is $600 per hour.
 8            27.   Sabrina Grislis is a senior paralegal in my office. Her hourly rate is $225 per
 9   hour. Jean Ger was a senior paralegal in my firm whose hourly rate is the same as Ms. Grislis’s
10   rate. Teodora Gagauz is a paralegal in my firm whose hourly rate is $225. Cameron Hartquist is
11   a paralegal in my firm whose hourly rate is $225 per hour. Susan Organ is a legal assistant and
12   trial consultant in my office who helps prepare cases for trial and create visuals that are used in
13   trial. Her visual images were extremely helpful in the instant case. Her hourly rate is $225 per
14   hour.
15            28.   Based on my constant interactions with my colleagues through organizations like
16   CELA, CAOC, NELA, BASF, and ACBA, I am familiar with the prevailing rates for
17   employment lawyers in the San Francisco Bay Area. In addition, I often provide declarations for
18   other lawyers who are seeking attorney’s fees, so I keep up with prevailing rates that way. In
19   addition, I follow and research the rates that firms like Quinn Emanuel and other defense firms
20   charge so that I can ensure that the rates of our firm and those for whom I submit attorney’s fees
21   declarations are comparable. Based on these experiences, I can state unequivocally that the rates
22   claimed by my co-counsel are fair and reasonable and commensurate with the prevailing rates in
23   the San Francisco Bay Area.
24            29.   As noted in paragraph 41 supra, I had always wanted to try a case with Bernard
25   Alexander who is recognized as one of the best plaintiff’s trial lawyers in California. Mr.
26   Alexander and I have collaborated together on numerous matters and I am familiar with his work
27   and the work of other members of his firm. His rate of $1200 per hour is actually on the low side
28   of rates for trial attorneys of his skill and experience. The rates of his partners and associates are


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 1   also well within the market rates for similarly situated attorneys including Mr. Karp ($675), Ms.
 2   Gill ($450) and Ms. Khoury ($350).
 3          30.     Working with Michael Rubin, I have found him to be exceptional in every way
 4   and well worth his hourly rate of $1275 per hour. This rate seems to be on the low side for
 5   someone with his reputation and skill based on review of similar rates from defense firms. His
 6   associate Jonathan Rosenthal is superb with keen insights and depth of knowledge beyond his
 7   years, making his requested rate of $650 more than reasonable. I also was fortunate to work with
 8   Mr. Rubin’s partner Corrine Johnson. Again, she is superb as you would expect from Altschuler
 9   Berzon and her rate of $825 is more than reasonable and in line with market rates in the Bay
10   Area. Sam Hull at $550 per hour is also within the range of similar attorneys with his experience
11   at firms in San Francisco.
12          31.     As noted in paragraph 44 supra, Dustin Collier is a sought-after trial attorney.
13   Although he only graduated in 2009 from Berkeley Law, he has already achieved much success
14   and received numerous accolades. His $750 per hour rate is reasonable and similar to trial
15   attorneys with his skill and acumen. I am also familiar with his crack team of attorneys. His
16   partners Josh Socks ($700), Drew Teti ($550) and Liz Malay ($400) are all accomplished
17   lawyers who have helped Mr. Collier obtain his many successes. Their rates are on the law side
18   for attorneys with their talents and successes.
19                                      WORK ON THE INSTANT CASE
20          32.     My firm first met Mr. Owen Diaz in 2017 when Mr. Diaz approached us to
21   provide evidence in the case of DeWitt Lambert v. Tesla, Inc. He then asked my firm to
22   represent him in relation to his case against Tesla, Inc. Upon review of Mr. Diaz’s records, it
23   appeared that his claims were not actionable under the Fair Employment Housing Act, but would
24   need to be litigated under 42 U.S.C. § 1981 due to expiration of the applicable statutes of
25
     limitations. This also meant that his claims would likely end up being litigated in federal court,
26
     where risks are higher as there is more limited discovery and a jury verdict requires unanimity,
27
     without the benefit of jury voir dire, advantages that are present in state court. Additionally, Mr.
28
     Diaz worked at Tesla via a contracting agency, and at the time I accepted representation of Mr.

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 1   Diaz’s claims it was not clear that contractors had standing to sue under Section 1981. The only
 2   documentary evidence Mr. Diaz had to support his claims at that time was a photograph of the
 3   racist “pickaninny” drawing.
 4            33.   The substantial risks of litigation against Tesla were highlighted by the results of
 5   the first race harassment case I accepted and litigated against Tesla, Dewitt Lambert v. Tesla, Inc.
 6
     After filing the case in Alameda County Superior Court, the case was compelled to arbitration—
 7
     as Tesla routinely requires its employees and contractors to sign arbitration agreements. In the
 8
     Lambert v. Tesla matter, my firm expended well over $1.1 million in attorney’s fees and out-of-
 9
     pocket costs of $104,514.43, all of which were lost when the arbitrator ruled against us, despite
10
     having video evidence of use of the N-word inside the Tesla factory. That loss was sobering as to
11
     the risks in these types of cases. In addition, I reviewed statistical evidence that the chances of
12
     winning a race harassment case in federal court were much less favorable than winning in state
13
     court.
14
              34.   At the outset of the Lambert litigation, Tesla’s general counsel, Todd Maron,
15

16
     bluntly informed me: “We will bury you. You will never see a penny. We will appeal forever.”

17   This statement has perfectly described Tesla’s litigation strategy in the instant Diaz matter:

18   litigation that has stretched on for six years, with two trials and 491 docket entries to date.

19   Throughout the course of this action, Tesla’s counsel has buried my office in voluminous and

20   often redundant filings, and have refused to engage in meaningful settlement negotiations.
21   Tesla’s counsel continue to seek the very same result announced by Mr. Maron: in meet and
22   confer efforts leading up to the damages-only retrial, counsel repeatedly affirmed their intent to
23   avoid paying Plaintiff a cent of his proven damages, stating multiple times they were aiming for
24   a “zero-damages verdict” in spite of the first jury’s liability findings.
25
              35.   Tesla’s counsel also often refused to come to a compromise on basic issues like
26
     jury instructions, verdict forms, or trial exhibits. This required my office to file competing
27
     versions of these documents with the Court, coupled with supporting authority, for the Court to
28
     rule on.


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 1                                                  DISCOVERY
 2          36.       Discovery in this matter stretched on for two-and-a-half years, from the filing of
 3   the complaint in 2017 through late 2019.
 4          37.       During the discovery phase, my firm took or defended the depositions of 25
 5   witnesses, all of which were essential to the case:
 6
                  •   Plaintiff.
 7
                  •   CitiStaff’s person most knowledgeable: Plaintiff was employed at Tesla through
 8
                      contracting agency CitiStaff, and their Person Most Knowledgeable contributed
 9
                      essential information about Plaintiff’s employment and Tesla’s contractor
10
                      employment structure.
11
                  •   nextSource’s person most knowledgeable: nextSource hired Plaintiff via CitiStaff
12
                      to work at the Tesla factory, and nextSource managers investigated Plaintiff’s
13
                      complaints. Their person most knowledgeable provided information about
14
                      nextSource’s contract with Tesla (of which Plaintiff was a third-party
15

16
                      beneficiary), information about Tesla’s contractor employment structure, and

17                    information about Plaintiff’s complaints of racial harassment.

18                •   West Valley’s person most knowledgeable: Plaintiff’s son, Demetric Di-az,

19                    worked at Tesla through contracting agency West Valley. Their person most

20                    knowledgeable provided information about the contractor employment structure
21                    at Tesla, as well as information about Demetric’s employment with Tesla and his
22                    complaints.
23                •   Tesla’s person most knowledgeable: Tesla’s person most knowledgeable provided
24                    testimony regarding Tesla’s antiharassment policies and Plaintiff’s employment at
25
                      the Tesla factory.
26
                  •   Tesla facilities manager Andres Donet: Mr. Donet provided information about
27
                      racist graffiti in the restrooms at Tesla, and Tesla’s procedures and practices when
28
                      it came to investigating and removing such graffiti.


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 1           •   Plaintiff’s son Demetric Di-az: Plaintiff witnessed an act of overt racial
 2               harassment against Mr. Di-az, and Mr. Di-az was thus a percipient witness in the
 3               instant action. Tesla noticed his deposition.
 4           •   Plaintiff’s wife Demetrica Holmes: Ms. Holmes was an emotional distress witness
 5               for Plaintiff. West Valley noticed her deposition, but Tesla attended and
 6
                 participated in questioning. Ultimately the parties stipulated to excluding Ms.
 7
                 Holmes as a witness to preserve her privacy surrounding her mental health
 8
                 struggles.
 9
             •   Tesla manager Ed Romero: Mr. Romero was Plaintiff’s immediate supervisor for
10
                 most of Plaintiff’s tenure at Tesla. He testified about Plaintiff’s employment at
11
                 Tesla and Plaintiff’s complaints of harassment.
12
             •   Tesla HR staff Erin Marconi: Ms. Marconi was the human resources staffer
13
                 assigned to Plaintiff’s area of the factory. She testified regarding Tesla’s response
14
                 to complaints of racial harassment and Tesla’s antiharassment policies.
15

16           •   Chartwell HR staff Jackelin Delgado: Ms. Delgado investigated Plaintiff’s

17               January 2016 complaint of racial harassment against supervisor Ramon Martinez.

18           •   Tesla manager Javier Caballero: Mr. Caballero was the supervisor who called

19               Plaintiff’s son a racial slur as Plaintiff watched.

20           •   Plaintiff’s stepdaughter La’Drea Jones: Ms. Jones was an emotional distress
21               witness for Plaintiff. Though West Valley’s counsel noticed the deposition,
22               Tesla’s counsel attended the deposition and participated in questioning.
23           •   Plaintiff’s coworker Lamar Patterson: Mr. Patterson was Plaintiff’s coworker and
24               witnessed several incidences of racial harassment against Plaintiff, in addition to
25
                 corroborating Plaintiff’s reports of racist graffiti in the restrooms of Tesla’s
26
                 factory.
27
             •   Economist Charles Mahla: Mr. Mahla testified regarding Tesla’s value. Tesla
28
                 noticed his deposition.


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 1           •   Plaintiff’s coworker and sometimes supervisor Michael Wheeler: Mr. Wheeler
 2               worked alongside Plaintiff and witnessed racial harassment against Plaintiff,
 3               corroborated Plaintiff’s account of racist graffiti in the restrooms of the factory
 4               and testified regarding his own experiences of harassment at the Tesla factory.
 5
             •   CitiStaff manager Monica DeLeon: Ms. DeLeon was Plaintiff’s manager from his
 6
                 staffing agency. She testified regarding Plaintiff’s employment at the Tesla
 7
                 factory and the contractor employment arrangement at Tesla.
 8
             •   HR expert Amy Oppenheimer: Ms. Oppenheimer testified regarding proper
 9
                 Human Resources policies and implementation of said policies. Tesla noticed her
10
                 deposition.
11
             •   Psychiatrist Anthony Reading: Dr. Reading testified regarding Plaintiff’s
12
                 emotional distress. Tesla noticed his deposition.
13
             •   West Valley manager Rovilla Wetle: Ms. Wetle was a manager at Demetric Di-
14
                 az’s staffing agency, West Valley. She testified regarding Mr. Di-az’s
15

16
                 employment at the Tesla factory and his complaints of harassment.

17           •   Plaintiff’s supervisor Tomatsu Kawasaki: Mr. Kawasaki was Plaintiff’s

18               immediate supervisor during the first months of Plaintiff’s employment at the

19               Tesla factory. He testified regarding Plaintiff’s complaints of harassment and the

20               racially hostile work environment in the Tesla factory.
21           •   Me-Too witness Titus McCaleb: Mr. McCaleb worked at the Tesla factory
22               approximately six months after Plaintiff left, and knew Plaintiff’s supervisors Ed
23               Romero and Michael Wheeler. He also testified about Tesla’s failure to remediate
24               the racially hostile work environment following Plaintiff’s departure from Tesla.
25
                 Tesla noticed his deposition.
26
             •   Chartwell manager Veronica Martinez: Ms. Martinez participated in the
27
                 investigation into Plaintiff’s January 2016 complaint regarding the racist drawing
28
                 from Ramon Martinez.


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 1                •   Tesla manager Victor Quintero: Mr. Quintero was Plaintiff’s second-level
 2                    supervisor at the Tesla factory. He created the contractor employment structure at
 3                    Tesla, and testified regarding Plaintiff’s employment at the Tesla factory and
 4                    Plaintiff’s complaints of harassment.
 5
                  •   nextSource manager Wayne Jackson: Mr. Jackson was the on-site contractor
 6
                      supervisor at the Tesla factory. He testified about the racially hostile work
 7
                      environment at the Tesla factory, as well as testifying about Plaintiff’s complaints
 8
                      of racial harassment.
 9
            38.       Plaintiff also conducted written discovery in this matter. Plaintiff propounded
10
     eight sets of interrogatories, 12 sets of document requests, and two sets of requests for
11
     admissions across the four defendants in this action. All of this discovery was reasonably
12
     necessary due to Tesla’s convoluted contractor employment arrangement. After the first round of
13
     depositions in this matter, it became clear that investigatory duties and documentation of
14
     investigations was divided up between all four defendants. To obtain complete discovery into
15

16
     Plaintiff’s January 2016 complaint regarding the racist drawing, for example, we had to depose

17   nine witnesses (Plaintiff, Mr. Romero, Mr. Quintero, Mr. Wheeler, Mr. Patterson, Ms. DeLeon,

18   Ms. Martinez, Mr. Jackson, and Ms. Delgado) and seek documents from three defendants (Tesla,

19   nextSource, and CitiStaff). Regarding the October 2015 elevator attack, we had to depose seven

20   witnesses (Plaintiff, Mr. Romero, Mr. Quintero, Mr. Jackson, Ms. DeLeon, Mr. Kawasaki, and
21   Ms. Marconi) and seek documents from three defendants (Tesla, nextSource, and CitiStaff).
22   Many of the incidents complained of by Mr. Diaz required this amount of discovery.
23          39.       Discovery in this matter was made more contentious by Tesla’s refusal to provide
24   basic, plainly discoverable information that should have been identified in its initial disclosures,
25
     such as the names and contact information of Plaintiff’s coworkers. This intransigence forced us
26
     to engage in copious meet and confer efforts, in-person in accordance with the Local Rules.
27
     Plaintiff filed six discovery dispute letters, spanning a range of topics:
28



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 1           •   Dkt. 79: This dispute concerned Plaintiff’s request for documents in the Lambert
 2               matter. Mr. Lambert worked at Tesla around the time Mr. Diaz did, and
 3               experienced similar racial harassment. Though the Court denied Plaintiff’s
 4               motion, it noted Tesla was elevating “form over substance,” urged Tesla to
 5               consider “whether [the] dispute was more about admissibility than
 6
                 discoverability,” and chastised Tesla to “focus on the importance of the issue
 7
                 before bringing it to court.” Dkt. 80. Tesla did not participate in meaningful meet
 8
                 and confer efforts with Plaintiff and refused to make the Lambert documents
 9
                 available during the discovery phase of this case.
10
             •   Dkt. 86: This dispute concerned Plaintiff’s request to depose additional witnesses
11
                 above the 10-deposition limit in the Federal Rules. The court granted Plaintiff’s
12
                 request and stated that Tesla could not call any witness at trial that Plaintiff did
13
                 not depose. Dkt. 93.
14
             •   Dkt. 88: This dispute concerned Tesla’s discovery responses, specifically its
15

16
                 refusal to produce (1) the contact information of Plaintiff’s coworkers, (2) other

17               complaints of racial harassment, (3) Plaintiff’s request for “me-too” evidence, (4)

18               Plaintiff’s request for photos or documents concerning racist graffiti in the

19               restrooms, (5) Plaintiff’s request for investigations into other complaints of racial

20               harassment, (6) Plaintiff’s request for messages sent by Tesla CEO Elon Musk
21               concerning the use of slurs in the factory, and (7) Plaintiff’s request for contracts
22               between Tesla and the various staffing agencies. Subject to certain limitations,
23               the court granted all of Plaintiff’s requests. Dkt. 93.
24
             •   Dkt. 101: This dispute concerned Tesla’s Person Most Knowledgeable
25
                 deposition, at which Tesla’s counsel stated that Tesla was objecting to or not
26
                 producing its person most knowledgeable on numerous topics. Although the
27
                 Court denied Plaintiff’s request, I believe it was reasonable to pursue it, as Tesla
28
                 had refused to allow its PMK to testify on key topics like the business


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 1                      relationships among various contract agencies, complaints of discipline against
 2                      harassers, or investigations into Plaintiff’s complaints of harassment. Dkt. 110.
 3                  •   Dkt. 103: This dispute concerned Plaintiff’s request for a site inspection of
 4                      Tesla’s factory. Though the Court denied this request, it was reasonable of
 5                      Plaintiffs to pursue: many of Tesla’s defenses centered on the size and layout of
 6
                        its factory, and in discovery Tesla only produced a small, mostly illegible
 7
                        schematic that did not fully show all of Plaintiffs’ work areas. Dkt. 110.
 8
                    •   Dkt. 105, 106: This dispute concerned Plaintiff’s request for a deposition of Tesla
 9
                        facilities manager Andres Donet. After the close of discovery, Tesla for the first
10
                        time produced an e-mail depicting racist graffiti in Tesla’s restrooms that
11
                        demonstrated Mr. Donet was responsible for removing such graffiti. Tesla sent its
12
                        position to Plaintiff just 17 minutes before the midnight filing deadline and
13
                        included new, substantive arguments that Plaintiff did not have an opportunity to
14
                        respond to. Accordingly, Plaintiff had to file a corrected brief to address the
15

16
                        factual inaccuracies and new arguments in Tesla’s position. The Court granted

17                      Plaintiff’s request. Dkt. 110.

18                                     MOTIONS AND OTHER FILINGS

19            40.       True to Mr. Maron’s word, Tesla’s counsel sought to “bury” Plaintiff by

20   continually filing duplicative motions and forcing Plaintiff to engage in substantial motion
21   practice to combat Tesla’s continued discovery abuse. Over the course of this litigation, the
22   parties engaged in voluminous motion practice, including: 1
23                  •   Administrative motions to seal: Tesla marked as confidential almost every
24                      document produced in discovery, even routine e-mails concerning basic
25
                        employment matters. If Plaintiff wanted to use the documents produced in
26

27
     1
       Plaintiff has not included in this fee request the time counsel reasonably spent briefing or
28   opposing motions concerning other parties, such as the staffing agencies’ motions for summary
     judgment or Tesla’s motion to compel former plaintiff Lamar Patterson’s case to arbitration.

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 1                   discovery in a filing, we had to incur extra time preparing and filing an
 2                   administrative motion to seal nearly every filing in the case.
 3               •   Tesla’s motion for summary adjudication (Dkt. 119): Tesla filed a motion for
 4                   summary adjudication of Plaintiff’s Unruh Act and punitive damages claims.
 5                   Plaintiff did not oppose the motion with respect to the Unruh Act claims because
 6
                     of our strategic decision to narrow the issues before the court in advance of trial.
 7
                     Plaintiff prevailed on the motion with respect to punitive damages. Dkt. 144
 8
                     25:20-26:20. 2
 9
                 •   Tesla’s motion to retain confidentiality (Dkt. 122): After Plaintiff challenged
10
                     Tesla’s overbroad and indiscriminate designations of documents as
11
                     “confidential,” Tesla refused to engage in meaningful meet and confer efforts and
12
                     instead filed a motion to retain confidentiality, requiring an opposition from
13
                     Plaintiff. Ultimately, the Court vacated the hearing and observed, “it appears that
14
                     Tesla has over-designated and should reconsider its designations in light of the
15

16
                     law concerning sealing…. If unmeritorious disputes remain that require Court

17                   intervention, costs may be imposed.” Dkt. 136. Notably, Tesla only withdrew its

18                   designations for the trial exhibits.

19               •   Plaintiff’s motion for sanctions (Dkt. 146): Following the Court’s 2019 order for
20                   Tesla to produce the contact information of Plaintiff’s coworkers, Tesla refused
21                   —even for individuals whom it knew had worked with Plaintiff like harassers
22                   Ramon Martinez and Robert Hurtado—in spite of diligent meet and confer efforts
23

24
     2
25    Although the punitive damages argument concerned both Plaintiff and his son, former plaintiff
     Demetric Di-az, the factual predicates and legal bases for Plaintiff’s arguments were identical to
26
     Mr. Di-az, requiring virtually no work from Plaintiff’s counsel to independently address Mr. Di-
27   az’s claims. Plaintiff is therefore seeking compensation for all time reasonably spent in bringing
     his opposition. Plaintiff also minimized the amount of time dedicated to filing this motion, as
28   Plaintiff had previously briefed the punitive damages arguments in opposing the other
     defendants’ motions for summary judgment.

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 1               from Plaintiff. This was especially troubling given that Tesla included Martinez—
 2               a then-current Tesla employee—on its witness list at the first trial and, despite
 3               claiming that there was “no evidence” that Hurtado worked with Plaintiff in
 4               subsequent filings, including Hurtado on its witness list for the first time on
 5               retrial. Although the Court denied Plaintiff’s motion, it was reasonably brought
 6
                 given the self-executing nature of witness preclusion sanctions under Rule 37 and
 7
                 Tesla’s refusal to comply with the Court’s previous orders. Dkt. 160.
 8
             •   Pretrial briefing requested by the Court (Dkt. 240): In advance of the first trial,
 9
                 Tesla argued that discovery responses from the staffing agencies should be
10
                 inadmissible as evidence. Tesla filed briefing on this issue, again requiring a
11
                 response from Plaintiff. Dkt. 245, 246. The Court denied Tesla’s briefing from the
12
                 bench.
13
             •   Tesla’s motion to strike expert Chip Mahla’s testimony (Dkt. 281): Tesla filed a
14
                 motion to strike the testimony of economist Chip Mahla in the first trial,
15

16
                 necessitating a response from Plaintiff. Dkt. 286. The Court denied the motion.

17               Dkt. 303.

18           •   Tesla’s motion for Judgment as a Matter of Law (Dkt. 282): Tesla filed a motion

19               for judgment as a matter of law during the first trial, claiming Plaintiff had not

20               established that he was in a contractual relationship with or was an intended
21               beneficiary of a contract with Tesla, necessitating a response from Plaintiff. Dkt.
22               287. The Court denied Tesla’s motion. Dkt. 303.
23           •   Tesla’s motion for judgment as a matter of law, new trial, or remittitur (Dkt. 317):
24               Tesla moved for judgment as a matter of law or new trial on the grounds that the
25
                 liability findings were not supported by evidence, and moved for a remittitur on
26
                 the compensatory and punitive damages awards—again requiring a response from
27
                 Plaintiff. Dkt. 321. The Court upheld the first jury’s liability findings but remitted
28
                 the $137.9 damages award to $13.5 million. Dkt. 317. Ultimately, given Tesla’s


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 1               threats (“You will never see a penny. We will appeal forever.”), uncertainty over
 2               whether Tesla would pay, desire to avoid the expense of appeal, and a desire to
 3               preserve his right to appeal the remitted amount, Plaintiff opted for a damages-
 4               only retrial over the proffered remittitur.
 5
             •   Tesla’s second new trial motion (Dkt. 359): After Plaintiff rejected the remittitur
 6
                 and opted for a damages-only retrial, Tesla continued to seek a new trial on
 7
                 liability—yet again requiring a response from Plaintiff. The Court rejected Tesla’s
 8
                 order, noting, “… I already decided this question. There appears to be no
 9
                 reason—aside from strategic gamesmanship—that Tesla could not have made
10
                 these same arguments when I previously decided this issue. Tesla’s motion is
11
                 judicially estopped and procedurally barred.” Dkt. 365 1:15-19.
12
             •   Joint Pretrial Conference Statement (Dkt. 398): Though the Court had already
13
                 twice rejected Tesla’s attempts to retry liability, Tesla returned to this argument in
14
                 the joint pretrial conference statement. Tesla argued that “the Court already
15

16
                 determined that the second jury will need to make an independent assessment of

17               whether Mr. Diaz is entitled to punitive damages,” again requiring Plaintiff to

18               brief this issue for the Court. Dkt. 398 4:19-25.

19           •   Supplemental briefing regarding Michael Wheeler (Dkt. 413): After the Court
20               rejected Tesla’s motion in limine to exclude Mr. Wheeler’s testimony, Tesla again
21               attempted to relitigate the issue, claiming at the pretrial conference that there was
22               no evidence Plaintiff was aware of an alleged racial hate crime against Mr.
23               Wheeler and thus Mr. Wheeler’s testimony should not be admissible, leading the
24               Court to request supplemental briefing. Dkt. 409. The Court ultimately ruled in
25
                 Plaintiff’s favor and allowed the testimony, though as discussed blow, Tesla
26
                 engaged in substantial misconduct in an attempt to undercut Mr. Wheeler’s
27
                 testimony. Dkt. 417.
28



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 1           •   Tesla’s objections to expert Amy Oppenheimer’s testimony (Dkt. 422): In
 2               advance of the second trial, Tesla sought to exclude the testimony of expert Amy
 3               Oppenheimer, again necessitating a response from Plaintiff. The Court overruled
 4               the objections. Dkt. 434.
 5
             •   Plaintiff’s objections to Tesla’s opening statement (Dkt. 433): Once the damages-
 6
                 only retrial began, Tesla’s counsel began its opening statement with multiple
 7
                 incidences of misconduct, first claiming that harasser Ramon Martinez’s conduct
 8
                 was not attributable to Tesla (after the first jury’s determination to the contrary),
 9
                 and that Plaintiff was not harmed by Tesla’s conduct (again contrary to the
10
                 established liability findings). The Court denied Plaintiff’s objections as they
11
                 were not timely made; however, the objections were reasonably brought: Plaintiff
12
                 had already made multiple objections during Tesla’s opening statement and did
13
                 not wish to create a perception that his counsel was attempting to hide the truth
14
                 from the jury. Dkt. 438.
15

16           •   Tesla’s impeachment brief regarding Michael Wheeler (Dkt. 440): During the

17               retrial, for the first time, Tesla ambushed witness Michael Wheeler with an e-mail

18               purporting to show it had investigated Mr. Wheeler’s complaint of a racial hate

19               crime—and found it was not racial in nature at all. Over counsel’s objections, and

20               after the Court ruled the exhibit inadmissible, Tesla’s counsel pretended to read
21               the e-mail into the record while materially misrepresenting its contents. The Court
22               subsequently ordered Tesla to brief the issue, again necessitating a response from
23               Plaintiff. Dkt. 441. Ultimately, the Court upheld Plaintiff’s objections and
24               chastised counsel on the record for misrepresenting the contents of the email.
25
             •   Plaintiff’s brief regarding improper questioning on excluded evidence of
26
                 Plaintiff’s criminal history (Dkt. 446): In advance of both trials, the parties
27
                 stipulated that no evidence or testimony would be presented regarding Mr. Diaz’s
28
                 criminal history; nevertheless, Tesla’s counsel questioned Mr. Diaz, over


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 1               counsel’s objections, about the redacted portions of his application for
 2               employment—which concerned that same criminal history. Plaintiff could not
 3               testify about his criminal history, so he appeared evasive at best and like a liar at
 4               worst on the stand. This required Plaintiff to promptly file supplemental briefing,
 5               which resulted in a curative instruction. Dkt. 446.
 6
             •   Plaintiff’s briefing regarding improper accusations that Plaintiff was a serial racial
 7
                 and sexual harasser (Dkt. 452): While cross-examining Mr. Diaz, Tesla’s counsel
 8
                 accused him of racial and sexual harassment against two coworkers over
 9
                 counsel’s objections—with no basis in any type of admissible evidence and no
10
                 conceivable relevance to Plaintiff’s case. This likewise required Plaintiff to
11
                 promptly move for relief in the form of a curative instruction, which the Court
12
                 granted from the bench.
13
             •   Plaintiff’s motion for mistrial (Dkt. 453): By the second-to-last day of trial,
14
                 Tesla’s counsel had engaged in numerous instances of misconduct, including by
15

16
                 referring to settlements with dismissed parties, baselessly accusing Mr. Diaz of

17               misconduct like forging a doctor’s note and harassing coworkers, attacking

18               Plaintiff’s counsel, questioning Plaintiff about excluded evidence of his criminal

19               history, misrepresenting the contents of the Wheeler e-mail to the jury, and

20               introducing new evidence in violation of the Court’s orders. The cumulative effect
21               of this misconduct required Plaintiff to promptly file a mistrial motion, on which
22               the Court deferred ruling. Plaintiff renewed the motion following the trial. Dkt.
23               478. Though the Court rejected the renewed motion, it agreed with Plaintiff that
24               Tesla had engaged in serious, and intentional, misconduct. Dkt. 491.
25
             •   Tesla’s motion to alter or amend the judgment (Dkt. 479): Following the retrial,
26
                 Tesla again moved to reduce the punitive damages to a 9:1 ratio from the 17:1
27
                 ratio awarded by the second jury. This again required a responsive filing from
28
                 Plaintiff and the Court denied Tesla’s motion in its entirety, holding that Tesla’s


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 1                    highly reprehensible conduct warranted a double-digit punitive multiplier. Dkt.
 2                    491.
 3                •   Plaintiff’s Notice of New Evidence (Dkt. 485): Following the close of discovery,
 4                    Plaintiff learned that Tesla had withheld photographic evidence of racial graffiti
 5                    in the restrooms during Plaintiff’s tenure at Tesla—no such photographic
 6
                      evidence was ever introduced at either trial. Though the Court rejected Plaintiff’s
 7
                      request for a new trial on this ground, it did hold the document should have been
 8
                      disclosed during discovery. Dkt. 491.
 9
                      ASSOCIATING OTHER FIRMS INTO THE DIAZ MATTER
10
            41.       In 2019, I decided that my firm needed additional help to try the case. I have
11
     known Bernard Alexander since at least 2008, and he and I had numerous discussions about
12
     cases and case strategy as well as working together through CELA’s trial college. Mr. Alexander
13
     enjoys a reputation as one of the best civil rights trial attorneys in the state, and I knew that he
14
     would be a tremendous asset to the Diaz team. Based on our years of experience together, I knew
15

16
     that we could work seamlessly together. In addition, I knew that Mr. Alexander had won a

17   considerable victory for a client in a previous case where the defendant was represented by

18   Tesla’s then lead counsel, Tracy Kennedy. After conferring with my clients, I asked Mr.

19   Alexander to join the case, and he accepted. At this point, discovery was nearly complete and we

20   began to focus on trial strategy and trial themes.
21          42.       For purposes of the first trial, we decided that the in-trial team would consist of
22   myself, Mr. Alexander, Ms. Nunley and Sabrina Grislis, my trial paralegal. In addition, Ms.
23   Avloni would attend trial to help summarize the proceedings, help with strategy and begin
24   focusing on evidence for closing argument. Ms. Susan Organ also reviewed the daily transcripts
25   to help put together the closing PowerPoint slides. Leading up to trial, we worked as a team
26   preparing witnesses and evidence and developing the themes and arguments to be made at trial.
27   Additional firm members were brought in for specific issues as needed.
28



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 1          43.     Numerous different sources identified the first verdict of $136.9 million as the
 2   largest race harassment verdict in American history. The verdict was extensively covered by
 3   numerous national and international news media. These included appearances for myself and my
 4   client on CNN’s Don Lemon show, Good Morning America, The NBC Nightly News, The
 5   Washington Post, The New York Times, Bloomberg News, The Los Angeles Times, the San
 6   Jose Mercury News, The San Francisco Chronicle, USA Today, as well as numerous
 7   publications overseas.
 8          44.     After we won the first verdict, Tesla fired its trial counsel Sheppard Mullin and
 9   hired Quinn Emanuel with its named partner Kathleen Sullivan as the lead. To counter this legal
10   firepower, I determined that we needed additional post-trial and appellate expertise. I was
11   fortunate to be able to recruit Michael Rubin from Altshuler Berzon LLP to join Mr. Diaz’s
12   team. Mr. Rubin enjoys a reputation as one of the best appellate attorneys in California if not the
13   United States when it comes to employment and civil rights matters. Mr. Rubin and his team
14   provided vital strategy, drafting, research and direction for all post-trial matters. Mr. Rubin also
15   took the lead on efforts to have the Court certify a question to the 9th Circuit after the Court’s
16   remittitur. For the retrial, Altshuler Berzon was integrated into the retrial team to help prepare
17   the case for retrial. Mr. Rubin’s associate Jonathan Rosenthal attended trial in person to provide
18   appellate direction if needed and help with trial strategy and Mr. Rubin attended remotely and
19   stepped in on several occasions to argue points of last were raised during the trial.
20          45.     After being informed that Quinn Emanuel’s Alex Spiro would be lead counsel for
21   Tesla on retrial, I contacted Dustin Collier, whom I have known and watched in trial over the
22   years. Mr. Collier and I have worked in the CELA Trial College together, and I have always
23   been impressed by his intelligence and keen strategic mind. Given his trial skills, I thought it
24   would be extremely valuable to add Mr. Collier to our trial team. In December 2022, I began
25   talking to him about strategy in the case, and in early 2023 Mr. Collier and his firm were added
26   to Mr. Diaz’s trial team. One of Mr. Collier’s jobs was to help prepare Mr. Diaz for cross
27   examination by Mr. Spiro. In addition, he and his team ended up handling numerous witnesses in
28



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 1   the retrial to free up time for me to coordinate the team and for Mr. Alexander to focus on
 2   messaging and opening and closing arguments.
 3          46.     I also began researching and analyzing Mr. Spiro’s trial techniques. I reviewed
 4   transcripts from trials in which he had been counsel and I attended several days of the Littleton v.
 5   Musk trial before Judge Chen in January 2023.
 6          47.     Because Ms. Avloni left my firm in 2022, I needed an additional attorney from
 7   my firm to assist with strategy and drafting. Accordingly, I added Ms. Marqui Hood to the trial
 8   team. Ms. Hood took over for the tasks that Ms. Avloni had previously performed.
 9          48.     Tesla’s counsel made it clear to the Court and to Plaintiff’s counsel that they
10   intended to try a different case to the jury in the retrial. This of course was by necessity because
11   liability was established and because they made clear that they intended to attack Mr. Diaz and
12   his witnesses on their credibility. As a result, we had to re-analyze the deposition transcripts and
13   the transcripts from the first trial. This also required additional work with Mr. Diaz to try to
14   prepare him against the expected attacks on his character. We conducted numerous focus groups
15   to help with messaging, particularly for the second trial. Based on David Ball’s most recent book
16   on damages, Mr. Collier and I decided to try a different approach to showing Mr. Diaz’s
17   damages by focusing more on the impact of the conduct. It was also hoped that this approach
18   would not be easily attacked by Tesla.
19          49.     For purposes of the second trial, we had many more team members to coordinate
20   against the significant resources Quinn Emanuel was putting into the case. We understood that
21   we had to look at everything afresh to counter Tesla’s anticipated new approach. I acted as the
22   director of our team but worked closely with Mr. Alexander, Mr. Rubin and Mr. Collier in
23   making strategic decisions. We worked as a team preparing witnesses and evidence and
24   developing the themes and arguments to be made at trial. Additional firm members were brought
25   in for specific issues as needed. We held regular team meetings with all members of the team to
26   discuss strategy, the findings of our focus groups, and to predict the approaches that Tesla would
27   take. We also used these meetings as opportunities to make assignments for the numerous tasks
28   involved in the retrial. In terms of the major division of labor for trial. Ms. Nunley, Ms. Hood,


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 1   and Ms. Durkin from CCRLG and Michael Rubin and Mr. Rosenthal, and other members of his
 2   team from Altshuler, were the primary drafters of motions and oppositions to motions. Because
 3   Mr. Alexander was involved in a trial immediately before the retrial, we shifted work to Mr.
 4   Collier’s team who helped prepare examinations and analyze the evidence with their new
 5   perspective. My team again prepared various examinations and prepared new materials for
 6   opening statement. For closing argument, Michael Rubin, Marqui Hood and Susan Organ would
 7   watch or listen to the proceedings and note important information for closing. We also had
 8   numerous people attend trial to give feedback to the trial team. Ms. Organ also prepared the
 9   closing PowerPoint slides in consultation with Mr. Alexander and the team. The final trial team
10   contained myself, Mr. Alexander, Mr. Collier, Ms. Nunley and Ms. Grislis.
11          50.     Plaintiff’s counsel has summarized the merit’s lodestar in the attached chart
12   which includes each biller’s rate and time and total request. This is attached as Exhibit 1 to my
13   declaration.
14          51.     I should note that some of the time entries may seem relatively short given the
15   scope of the described tasks. This is because throughout the various litigations my firm has
16   handled against Tesla, Tesla has raised the same legal arguments. Accordingly, there were some
17   efficiencies obtained because of this. Conversely, although the facts did not change, the volume
18   of materials to review, particularly for the retrial was much larger which necessitated more time
19   reviewing depositions and trial testimony.
20                               MEET AND CONFER WITH TESLA
21          52.     Mr. Rubin and I met with Dan Posner and one of his colleagues on Friday,
22   October 13, 2023, in an effort to meet and confer about issues raised in the accompanying fees
23   motion in hopes of eliminating some of the issues the Court might have to analyze in relation to
24   this motion. That discussion did result in a briefing schedule but no agreement on matters at
25   issue in this motion. We specifically asked whether Tesla would stipulate either to our hourly
26   rates or to the reasonableness of the time we were requesting. We informed Tesla of the range of
27   rates we would be seeking, the approximate lodestar total we would be requesting, and the
28   various multiplier amounts that we would seek to have applied to different stages of the


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 1   litigation. We also informed Tesla that if it declined to stipulate to our hourly rates or time, we
 2   would like Tesla to produce its attorneys’ rates and time because we believed Tesla’s rates and
 3   time would be higher than ours. Mr. Posner stated that he would have to see our motion before
 4   being able to address any of the issues presented in the meet and confer, and declined to produce
 5   Quinn Emmanuel’s hourly rates or time records.
 6                                          BILLING ADJUSTMENTS
 7          53.     After the Court entered judgment, I reviewed the time runs of myself and the
 8   attorneys and staff in my firm. I noticed in my review that not all time was captured in the time
 9   records, so these records understate the actual amount of time that was spent on this case. In
10   situations where work could be construed as duplicative, I endeavored to not bill for duplicative
11   entries except where they involved work that is collaborative by its very nature such as strategy
12   meetings or brainstorming meetings with Mr. Alexander, Ms. Nunley, Mr. Rubin and Mr. Collier
13   among others. I also cut out records for time spent exclusively on Owen Diaz’s case against his
14   staffing agency Citistaff Solutions. I also cut any time spent exclusively on Demetric Di-Az’s
15   case except for entries associated with Demetric’s deposition which was important for Owen
16   Diaz’s case, though I did cut some time spent preparing Demetric for his deposition. So, for
17   example, I cut out 5.6 hours preparing Demetric Di-Az for deposition on April 9, 2018, and May
18   14, 2018, because those entries related to preparing Mr. Di-Az for deposition but I included the
19   10.5 hours of time on May 15, 2018, which was spent during the all-day deposition in San
20   Francisco and the travel time from my office in San Anselmo. I did not include any time spent on
21   Mr. Patterson’s case except the time spent for his deposition and the time spent relative to
22   potentially calling him as a witness for Mr. Diaz.
23          54.     Because Plaintiff’s theory of recovery against Tesla depended in part on the
24   contractual and joint-employer relationship with respect to Mr. Diaz, the discovery that was done
25   with respect to Citistaff Solutions, West Valley Staffing, and NextSource were important
26   components relating to the liability of Defendant Tesla. Although I exercised billing discretion
27   by cutting out time directly related to discovery propounded to Citistaff, West Valley Staffing,
28   and NextSource, much of the information obtained from or relating to these defendants was


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 1   material to the case against Tesla. For example, Kevin McGinn was the PMK from NextSource
 2   and he gave critical testimony about the contractual relationship and how Tesla was in control of
 3   the workers once they went to work at the factory. Exhibit 3 at trial was the Master Services
 4   Agreement between NextSource and Tesla and helped show the contract under which Mr. Diaz
 5   was hired. Wayne Jackson was a critical witness who worked for NextSource. The investigation
 6   of Mr. Diaz’s complaint about the jigaboo drawing (Trial Exhibits 1 & 2) took place by
 7   Chartwell VP of Human Resources Jacklin Delgado. The notes from her investigation (Trial
 8   Exhibit 287) were the only statement Plaintiff had to cross-examine Ramon Martinez in the first
 9   trial.
10             55.   Before the first trial, Plaintiff dismissed several causes of action and did not
11   oppose the motion for summary adjudication as to the Unruh Claim. The factual components of
12   these claims overlapped with the factual components of Plaintiff’s harassment and failure to
13   prevent claim. There were no facts that were developed in discovery that were excluded at trial
14   based on the dismissal of the other causes of action.
15             56.   Because of the historical nature of my billing review and the fact that this
16   litigation has been ongoing for approximately six years, there were some time entries which
17   included references to discovery related to several defendants. In those situations, I typically cut
18   the time requests from the total time entered with 50% to 75% reductions depending on the
19   number of defendants referenced. In this way, I tried to isolate the submitted time runs to only
20   time related to prosecuting Owen Diaz’s case against Tesla.
21             57.   Two of my newer associates, Zarrina Ozari and Kira Brekke attended the trials
22   and provided feedback on the case while we were going through trial. I cut their respective time
23   even though they did provide some helpful insights. The total hours cut for Ms. Ozari were 9.1
24   hours of time, and the total hours cut for Ms. Brekke were 67.4 hours. My partner Julianne
25   Stanford performed various tasks during the trial, but I cut her time entirely as part of the billing
26   judgments I made.
27             58.   Ms. Emily Kohlheim who assisted with the retrial provided important information
28   for the retrial. A Berkeley Law graduate, Ms. Kohlheim’s keen analysis was helpful in analyzing


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 1   some of the potential approaches by Tesla’s new trial counsel. She also helped analyze
 2   information from the focus groups we took to prepare for trial. Ms. Kohlheim attended the retrial
 3   in this matter and provided feedback about the conduct of the trial and trial strategy as well as
 4   coordinating with witnesses to ensure they were available and ready to testify, but I exercised
 5   billing judgment as to that time and cut a total of 53 hours of time from Ms. Kohlheim’s total
 6   time for trial related hours spent. I also cut approximately 60 hours of time for Ms. Susan Organ
 7   on the retrial in exercising billing judgments even though she prepared the opening and closing
 8   PowerPoint and participated in team strategy meetings and reviewed the daily transcripts for the
 9   retrial and listened to the trial for facts to include in the closing argument.
10           59.     Attached hereto as Exhibit 2 is a true and correct printout of the time runs as
11   exported to excel and edited to preserve attorney work product for my firm’s requested time in
12   this matter through October 23, 2023. These time runs are after billing judgments have been
13   exercised.
14           60.     The total hours that were cut from the time runs in Exhibit 2 is 582.4 hours. These
15   hours were cut either because they appeared to be duplicative, irrelevant to the case that was
16   tried, or because I exercised billing judgments as I would do for paying clients. So for example, I
17   cut 69.7 hours of my time and 241.7 hours of Ms. Nunley’s time. These reductions amount to
18   about 9.96 percent of the total time worked by my firm members on the Diaz case.
19           61.     The total lodestar without enhancement for my firm is as follows:
20          Attorney/Staff              Hourly Rate           Hours Spent                 Total
21       Lawrence A. Organ                   $975                 2356.4               $2,368,372.50
22           Marqui Hood                     $900                   128                  $115,200
23           Molly Durkin                    $750                   46.2                 $32,340
24          Cimone Nunley                    $500                 1518.7                 $10,890
25
            Navruz Avloni                    $725                   449                  $325,525
26
           Emily Kohlheim                    $425                   75.4                 $32,045
27
              Noah Baron                     $600                    21                  $12,600
28



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 1       CCRLG Law Clerks                    $225                   740                 $166,500
 2           and Paralegals
 3                TOTAL                                                              $3,811,932.50
 4

 5          62.     Attached as Exhibit 3 is a true and correct copy a spreadsheet detailing
 6   everyone’s time with a multiplier applied to the different time periods of the case. So for the
 7   work on the first trial through October 5, 2021, Plaintiff seeks a 2.0 multiplier for the 3,271.3
 8   hours that CCRLG timekeepers worked on the case up to that point. For the period from October
 9   6, 2021 until February 6, 2022, Plaintiff seeks a 1.5 multiplier for the 469.8 hours that CCRLG
10   timekeepers worked during that time period. For all time after that except the Fees on Fees work,
11   Plaintiff seeks a 1.2 multiplier on the 1728.7 hours CCRLG spent on the retrial. We are not
12   seeking a multiplier on the 151 hours of work for Fees on Fees work related to the case.
13   Accordingly, we pulled out the time spent on fees on fees work out of the multiplier spreadsheet
14   and then added it back in the last columns next to the totals. This way no multiplier was applied
15   to fees on fees work.
16                                           CASE EXPENSES
17          63.     In addition to the significant number of hours that my firm worked on this case,
18   we also Plaintiff Owen Diaz also incurred expenses of approximately $187,145.24 that were
19   advanced by my firm and partly by Mr. Alexander’s firm because Mr. Diaz had insufficient
20   financial resources to pay for litigation expenses. Plaintiff seeks reimbursement of those
21   expenses reasonable and necessary for the litigation of this case. Some of these expenses such as
22   expert fees are specifically permitted to a prevailing plaintiff in a civil rights action under 42
23   U.S.C. §1988. Other expenses are typical to trials such as use of juror consultants which both
24   parties used at least in the first trial. My firm primarily advanced these expenses, but my co-
25   counsel also incurred expenses related trying the case.
26          64.     Plaintiff’s expenses incurred by my firm are detailed in the attached printout from
27   MyCase showing the costs. (See Exhibit 4.) Some of the costs, $61,865.50 were part of the Bills
28   of Costs associated with the first and second trial. These costs are not included in the current


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 1   request as they have already been awarded by the Court. Therefore, the expenses detailed here
 2   are only for expenses that were reasonably incurred by my firm but which have not been
 3   determined by the Court.
 4          65.     For the Court’s convenience, Plaintiff has also prepared a consolidated costs
 5   spreadsheet (See Exhibit 6) so that the Court can review all costs incurred by my firm as well as
 6   Altshuler Berson and Mr. Alexander’s firm. Mr. Collier’s firm did not submit any reimbursement
 7   for expenses in conjunction with his fee declaration.
 8          66.     Plaintiff retained five experts over the course of the litigation. Plaintiff initially
 9   retained Dr. Bruce Smith to evaluate the psychological impact of the race harassment on Owen
10   Diaz and Demetric Di-Az for the mediation that was scheduled with Tesla in 2018. Plaintiff
11   spent $9,205 on this evaluation but this was for both clients, so Plaintiff is only claiming half or
12   $4,602.50 for Mr. Owen Diaz. Plaintiff also retained Michael Robbins to provide his opinions
13   regarding Tesla’s HR policies and practices. His opinions were helpful in guiding some of the
14   discovery in the case. His expert services cost $10,500. Neither Dr. Smith nor Mr. Robbins were
15   available for trial. Accordingly, Plaintiff retained new experts for trial. We hired Amy
16   Oppenheimer to provide expert opinions on Tesla’s HR and investigation policies. She testified
17   at both the original trial and the retrial. Her testimony highlighted the failure by Tesla to take
18   adequate steps to prevent the harassment from occurring and its reprehensible conduct in doing
19   so. The total costs for Amy Oppenheimer were $41,106.00. (See Exhibit 7 for true and correct
20   copies of her bills.) Dr. Anthony Reading was retained to opine on Owen Diaz’s emotional
21   distress damages and the nature of emotional distress damages in race harassment cases. Dr.
22   Reading testified at both trials and his costs were split between my firm and Mr. Alexander’s
23   firm. The total costs for Dr. Anthony Reading were $28,224.00. (See Exhibit 8 for true and
24   correct copies of his bills which do not include the $5,000 retainer that was paid.) In addition,
25   Plaintiff hired expert economist Dr. Charles Mahla to opine on Tesla’s financial condition.
26   Plaintiff sought a stipulation on this issue, but Tesla refused so Dr. Mahla’s testimony was
27   needed for punitive damages purposes. Dr. Mahla testified in both trials. The total costs for Dr.
28   Mahla were $24,614.15. (See Exhibit 9 for true and correct copies of his bills.) The total costs


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 1   for the experts who testified at trial was $93,944.15 and for the pretrial experts was $15,102.50
 2   for a total cost for Plaintiff’s experts of $109,046.70.
 3          67.     Plaintiff also retained jury consultant Harry Plotkin to assist with trial strategy and
 4   jury selection. Race harassment cases are particularly difficult to prove, and I have found that
 5   jury consultants such as Mr. Plotkin – who is recognized as one of the best in California – are
 6   adept at helping simplify difficult cases such as the instant one where Mr. Diaz was employed
 7   through a staffing company. Mr. Plotkin assisted counsel with focus group research, trial strategy
 8   and jury selection at both trials. He helped design the juror questions and assisted Mr. Alexander
 9   with jury selection. Plaintiff notes that Ms. Kennedy used a jury consultant in the first trial, but
10   we are unaware whether Tesla used one in the second trial. Based on my knowledge and
11   experience, it is typical for the community of plaintiff’s employment civil rights lawyers and in
12   the various cases that I have tried over the years to bill a jury consultant’s work separately as
13   opposed to including it in overhead. Mr. Plotkin’s total costs for both trials were $29,130.93.
14   (See Exhibit 10 for true and correct copies of his bills.)
15          68.     Several of the attorneys in my firm do not work out of our Bay Area offices.
16   Cimone Nunley works remotely from Sacramento. Marqui Hood works remotely from Los
17   Angeles. Accordingly, we seek travel expenses and accommodation for Ms. Nunely for both the
18   2021 trial and the 2023 trial. We also are requesting travel expenses and accommodation for Ms.
19   Hood for the 2023 trial. Prior to Ms. Hood joining my firm, I was required to travel to Los
20   Angeles to take the deposition of key HR witness Erin Marconi, so this request for expenses
21   includes that travel expense. In addition, we have requested various other travel expenses such as
22   travel and meal expenses related to taking or defending depositions in the case. These travel
23   expenses are all the types of travel expenses that law firms typically charge to their hourly
24   paying clients. The total travel expenses for which CCRLG seeks reimbursement is $9,843.80.
25          69.     Plaintiff seeks reimbursement for postage and delivery expenses that were not
26   part of the Bills of Costs that have already been submitted to the Court. These postage and
27   delivery costs total $2,099.78.
28



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 1          70.      Plaintiff seeks reimbursement for miscellaneous expenses relating to preparing
 2   for trial and litigating the case. These expenses include investigation costs with Stu Kohler who
 3   is a private investigator who helps find witnesses. A mediation expense for Jeff Ross in the
 4   amount of $1,800. These miscellaneous expenses include costs related to focus groups which
 5   included one focus group organized by our jury consultant Harry Plotkin and several other focus
 6   groups organized by my firm. These focus group expenses include the ads to recruit participants
 7   and payments to the focus group participants. In addition, these expenses include expenses for
 8   trial related materials like exhibit tabs and dividers, demonstrative exhibits, and ordering
 9   duplicate original transcripts for use during the retrial. These miscellaneous expenses are detailed
10   in Exhibit 4 and total $18,586.66.
11

12          I declare under penalty of perjury under the laws of the United States of America that the
13   foregoing is true and correct based on my knowledge and belief. Executed October 25, 2023, in
14   San Anselmo, California.
15

16                                                 ________________________________
17                                                 Lawrence A. Organ
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             Exhibit 1
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               EXHIBIT 1: BASE LODESTAR WITHOUT MULTIPLIERS
Attorney/Staff                     Year        Rate           Hours    Lodestar
                                      Altshuler Berzon
Michael Rubin                      1977        $1275          496.6    $633,165.00
Jonathan Rosenthal                 2019        $650           614.65   $399,522.50
Corrine Johnson                    2012        $825           196.4    $162,030.00
Sam Hull                           2022        $550           15.7     $8,635.00
Altshuler Berzon Law Clerks        N/A         $325/350       91.2     $29,661.00
and Paralegals
                                Alexander, Morrison, & Fehr
Bernard Alexander                  1986        $1200          967.6    $1,161,120.00
Britt Karp                         2011        $675           39       $26,325.00
Natalie Khoury                     2021        $350           49.9     $17,465.00
Gus Ham (Paralegal)                N/A         $225           48.4     $10,890.00
                              California Civil Rights Law Group
Lawrence Organ                     1994        $975           2356.4   $2,368,372.50
Marqui Hood                        2001        $900           128      $115,200.00
Molly Durkin                       2006        $750           46.2     $32,340.00
Navruz Avloni                      2011        $725           449      $325,525
Cimone Nunley                      2018        $500           1518.7   $759,350.00
Emily Kohlheim                     2021        $425           75.4     $32,045.00
Noah Baron                         2015        $600           21       $12,600
CCRLG Law Clerks/Paralegals        N/A         $225           740      $166,500
                                      Collier Law Firm
Dustin Collier                     2009        $750           272.93   $204,697.50
V. Joshua Socks                    2012        $700           83.1     $58,170.00
Drew Teti                          2009        $550           40.9     $22,495.00
Elizabeth Malay                    2013        $400           187.4    $74,960.00
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             Exhibit 2
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Date        User     Activity        Time   Description
2/27/2018   Navruz   Communication 0.3      Meet with Larry Organ regarding Case Management Conference,
            Avloni                          General Order no. 71 per the Judge's orders; determine scope of
                                            discovery.
4/5/2018    Navruz   Review/ Analyze 0.1    Saved Defendants Citistaff's and Tesla's initial disclosures in
            Avloni                          original format using site link.
4/5/2018    Navruz   Review/ Analyze 0.1    Checked Defendant West Valley's email of initial disclosures.
            Avloni
4/6/2018    Navruz   Draft/ Revise   0.2    Revised stipulation to continue mediation per Barbara
            Avloni                          Antonucci's edits. Email to/from counsel regarding mediation
                                            stipulation.
4/9/2018    Navruz   Communication 0.2      Meeting with Demetric Di-az regarding his deposition
            Avloni
4/10/2018   Navruz   Review/ Analyze 0.1    Reviewed the notice of unavailability of Barbara Antonucci, save
            Avloni                          to Dropbox
4/10/2018   Navruz   Other           0.2    Communication with client.
            Avloni
4/10/2018   Navruz   File/ Serve     0.1    Filed mediation stipulation.
            Avloni
4/11/2018   Navruz   Other           0.2    Clarified information with client
            Avloni
4/11/2018   Navruz   Review/ Analyze 0.1    Reviewed Judge Orrick's order regarding the stipulation to
            Avloni                          continue the mediation, save to Dropbox
4/12/2018   Navruz   Communication 0.1      Email to/from clients regarding CONFIDENTIAL STUFF.
            Avloni
4/16/2018   Navruz   Communication 0.1      Telephone call with Demetric Di-az regarding his deposition
            Avloni
5/1/2018    Navruz   Draft/ Revise   1.5    Draft the deposition notice of Defendant Tesla's person most
            Avloni                          knowledgeable.
5/1/2018    Navruz   Communication 0.2      Strategy discussion with Larry Organ regarding Defendant Tesla's
            Avloni                          person most knowledgeable.
5/1/2018    Navruz   Communication 0.1      Email to/from the mediator regarding case status.
            Avloni
5/2/2018    Navruz   Review/ Analyze 0.1    Reviewed orders from ADR, calendaring briefing schedule for
            Avloni                          mediation brief.
5/2/2018    Navruz   Communication 0.3      Communication regarding settlement with Larry Organ
            Avloni
5/2/2018    Navruz   Communication 0.1      Telephone call with Owen Diaz regarding settlement.
            Avloni
5/2/2018    Navruz   Communication 0.1      Telephone call with Demetric Di-az regarding settlement.
            Avloni
5/2/2018    Navruz   Communication 0.1      Reviewed email from mediator regarding briefing.
            Avloni
5/2/2018    Navruz   Communication 0.1      Email to opposing counsel with our initial settlement amount.
            Avloni
5/2/2018    Navruz   Communication 0.3      Email exchange with opposing counsel regarding separate
            Avloni                          demands. Discussion with Larry Organ, telephone call with Owen
                                            Diaz regarding demand amount.
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Date        User     Activity        Time   Description
5/2/2018    Navruz   Meet            0.3    Meet with Larry Organ and Cimone Nunley regarding settlement
            Avloni                          issues
5/3/2018    Navruz   Plan/ Prepare   0.1    Telephone call with client Owen Diaz regarding discovery
            Avloni                          responses; email to Cimone Nunley.
5/4/2018    Navruz   Draft/ Revise   0.2    Amend the Rule 30 deposition notice (Defendant Tesla's person
            Avloni                          most knowledgeable).
5/7/2018    Navruz   Communication 0.1      Email to client Owen Diaz regarding deposition prep and
            Avloni                          requested documents.
5/9/2018    Navruz   Communication 0.1      Telephone call with client Owen Diaz regarding deposition prep.
            Avloni
5/10/2018   Navruz   Plan/ Prepare   3.5    Meet with client Owen Diaz to prepare for his deposition
            Avloni
5/10/2018   Navruz   Communication 0.3      Meet with Larry Organ prior to meeting with Owen Diaz
            Avloni                          regarding deposition prep
5/14/2018   Navruz   Communication 0.1      Discussion with Owen Diaz re CONFIDENTIAL stuff.
            Avloni
5/14/2018   Navruz   Review/ Analyze 0.1    Review email to client Owen Diaz with relevant docs
            Avloni
5/14/2018   Navruz   Communication 0.1      Email exchange with mediator regarding starting demand
            Avloni                          amount.
5/15/2018   Navruz   Appearance/   8        travel to/from deposition; attend deposition of Demetric Di-az
            Avloni   Attend
5/15/2018   Navruz   Communication 0.1      Email to Dr. Bruce Smith regarding doing expert psychiatric
            Avloni                          evaluations of clients Owen Diaz and Demetric Di-az
5/17/2018   Navruz   Communication 0.1      Telephone call with client Demetric Di-az confirming his
            Avloni                          appointment with Dr. Smith. Sent emails and texts to clients with
                                            their appointment information.
5/17/2018   Navruz   Plan/ Prepare   0.2    Prepared for meeting with Owen Diaz for his deposition prep.
            Avloni
5/17/2018   Navruz   Meet            3.3    Meet with client Owen Diaz to prepare him for his deposition.
            Avloni
5/17/2018   Navruz   Communication 0.2      Email to Dr. Smith with details regarding consult.
            Avloni
5/18/2018   Navruz   Draft/ Revise   3.9    Revise client Owen Diaz's responses to Defendant Tesla's request
            Avloni                          for production of documents, set one and Defendant Citistaff's
                                            request for production of documents, set one.
5/20/2018   Navruz   Communication 0.1      Discussion with Larry Organ regarding mediation strategy.
            Avloni
5/20/2018   Navruz   Communication 0.1      Email to Ramzi Nimr regarding subpoenas.
            Avloni
5/20/2018   Navruz   Communication 0.1      Email exchange with Plaintiff Owen Diaz regarding verifications.
            Avloni
5/20/2018   Navruz   Communication 0.1      Discussion with Larry Organ regarding new documents produced
            Avloni                          by Defendants Tesla and Citistaff.
5/20/2018   Navruz   Communication 0.1      Discussion with Larry Organ regarding settlement numbers.
            Avloni
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Date        User     Activity        Time   Description
5/20/2018   Navruz   Draft/ Revise   0.1    Added notes from Demetric Di-az's deposition.
            Avloni
5/20/2018   Navruz   Review/ Analyze 0.1    Reviewed the PACER docket for details on the mediation
            Avloni
5/20/2018   Navruz   Communication 0.2      Telephone call with Plaintiff Owen Diaz regarding setting a
            Avloni                          meeting, deposition, and newly produced documents.
5/20/2018   Navruz   Meet            0.1    Meet with Larry Organ to discuss the deposition of Owen Diaz
            Avloni
5/21/2018   Navruz   Review/ Analyze 0.6    Review Defendant Tesla's new document production bates
            Avloni                          labeled TESLA 308-411
5/21/2018   Navruz   Communication 0.2      Communication with Larry Organ regarding Plaintiff Owen Diaz's
            Avloni                          deposition.
5/21/2018   Navruz   Communication 0.1      Email to/from expert Dr. Smith.
            Avloni
5/21/2018   Navruz   Plan/ Prepare   0.5    Phone conversation with Plaintiff Owen Diaz regarding
            Avloni                          deposition preparation.
5/21/2018   Navruz   Draft/ Revise   0.4    Prepared additional documents for production.
            Avloni
5/22/2018   Navruz   Appearance/     8      Attended the deposition of Plaintiff Owen Diaz with Larry Organ,
            Avloni   Attend                 and travel to/from.
5/22/2018   Navruz   Other           0.1    Saved all new documents from client Owen Diaz to DropBox,
            Avloni                          email to Noah Baron with instructions for document preparation.

5/22/2018   Navruz   Communication 0.1      Email to opposing counsel with supplemental document
            Avloni                          production
5/23/2018   Navruz   Communication 0.1      Discussion regarding Owen Diaz being late to his appointment
            Avloni                          with Dr. Smith.
5/29/2018   Navruz   Communication 0.1      Email exchange with expert Dr. Smith.
            Avloni
5/30/2018   Navruz   Other           0.1    Downloaded deposition transcripts of Plaintiff Owen Diaz and
            Avloni                          Demetric Di-az.
5/30/2018   Navruz   Communication 0.1      Email to expert Dr. Smith with deposition transcripts.
            Avloni
5/30/2018   Navruz   Communication 0.4      Email exchange with opposing counsel, reviewed notice,
            Avloni                          discussion with Larry Organ regarding deposition strategy.
5/30/2018   Navruz   Other           0.1    Organized the exhibits from Owen Diaz deposition.
            Avloni
5/31/2018   Navruz   Draft/ Revise   0.3    Prepared the deposition subpoena of Rovilla Wettle, email
            Avloni                          exchange with process server Rob Goodstein.
5/31/2018   Navruz   Draft/ Revise   0.2    Reviewed the email from counsel for Defendant Tesla regarding
            Avloni                          the person most knowledgeable deposition; respond to counsel
                                            with Plaintiffs' position.
6/1/2018    Navruz   Communication 0.1      Send email to Bridget Mattos regarding reserving court reporters
            Avloni                          for witness depositions.
6/1/2018    Navruz   Communication 0.1      Email exchange with opposing counsel for Defendant Tesla
            Avloni                          regarding the person most knowledgeable deposition.
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Date       User     Activity        Time   Description
6/1/2018   Navruz   Communication 0.3      Telephone call with counsel for Defendant Tesla regarding
           Avloni                          depositions with Larry Organ
6/1/2018   Navruz   Communication 0.3      Discussion with Larry Organ regarding strategy for Defendant
           Avloni                          Tesla's person most knowledgeable deposition.
6/1/2018   Navruz   Communication 0.1      Email to opposing counsel for all defendants regarding the status
           Avloni                          of next week's depositions.
6/1/2018   Navruz   Communication 0.1      Phone call with counsel for Defendant West Valley regarding the
           Avloni                          deposition status of Rovila Wetle's deposition.
6/1/2018   Navruz   Review/ Analyze 0.1    Reviewed proofs of personal service from process server Rob
           Avloni                          Goodstein for service of Rovila Wetle's deposition notice; saved
                                           information.
6/1/2018   Navruz   Draft/ Revise   0.6    Drafted list of topics for Defendant Tesla's person most
           Avloni                          knowledgeable deposition, as they pertain to each witness that is
                                           being produced; prepared time estimates; email to counsel for
                                           Defendant Tesla regarding proposed schedule for witnesses and
                                           breakdown of topics.
6/1/2018   Navruz   Communication 0.1      Discussion with Larry Organ regarding mediation brief
           Avloni                          submission, email to mediator.
6/1/2018   Navruz   Communication 0.1      Email exchange with counsel for Defendant Tesla regarding the
           Avloni                          person most knowledgeable deposition.
6/1/2018   Navruz   Draft/ Revise   0.4    Draft mediation brief
           Avloni
6/1/2018   Navruz   Draft/ Revise   0.4    Analyzed facts for mediation brief
           Avloni
6/1/2018   Navruz   Meet            0.3    Meet with Larry Organ to discuss person most knowledgeable
           Avloni                          topics for Defendant Tesla
6/4/2018   Navruz   Review/ Analyze 0.1    Reviewed psychological evaluation report for Owen Diaz from
           Avloni                          expert Dr. Smith.
6/4/2018   Navruz   Draft/ Revise   1      Draft mediation brief sections: conclusion, settlement, damages.
           Avloni
6/4/2018   Navruz   Communication 0.1      Email exchange with Kris Organ regarding summary of case costs.
           Avloni
6/4/2018   Navruz   Communication 0.1      Communication with counsels regarding pushing the deposition
           Avloni                          of Rovila Wetle to a later start time.
6/4/2018   Navruz   Draft/ Revise   9      Draft mediation brief; discussed strategy with Larry Organ;
           Avloni                          prepared exhibits; email to mediator with brief; printed copies
                                           for co-counsel.
6/4/2018   Navruz   Communication 0.1      Email to expert Dr. Smith regarding reports on clients.
           Avloni
6/4/2018   Navruz   Plan/ Prepare   5      Prepared for Rovila Wetle deposition by reviewing documents,
           Avloni                          discovery produced. Print exhibits for use in deposition and
                                           created deposition outline.
6/4/2018   Navruz   Meet            0.3    Meet with Larry Organ to discuss mediation issues and strategy
           Avloni
6/5/2018   Navruz   Plan/ Prepare   1.1    Finished drafting the deposition outline of Rovila Wetle.
           Avloni
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Date        User     Activity        Time   Description
6/5/2018    Navruz   Appearance/     7      Appear for and take the deposition of Rovilla Wetle. Larry Organ
            Avloni   Attend                 finished taking the deposition.
6/6/2018    Navruz   Review/ Analyze 0.2    Reviewed the psychiatric reports of clients.
            Avloni
6/6/2018    Navruz   Communication 0.3      Phone meeting with expert Dr. Smith.
            Avloni
6/6/2018    Navruz   Communication 0.4      Discussion with Larry Organ regarding strategy for depositions;
            Avloni                          reviewed video.
6/6/2018    Navruz   Communication 0.1      Email to opposing counsel for Defendants Tesla and Citistaff
            Avloni                          regarding mediation brief.
6/6/2018    Navruz   Plan/ Prepare   2.9    Prepared for the depositions of Javier Caballero and Victor
            Avloni                          Quintero by preparing and reviewing documents, reviewing
                                            discovery; conducted a mini investigation. Pulled the relevant
                                            research and outline notes.
6/11/2018   Navruz   Appearance/     6.5    Appear at mediation, travel to and from.
            Avloni   Attend
6/12/2018   Navruz   Meet            0.3    Meet with Ramzi Nimr regarding documents.
            Avloni
6/13/2018   Navruz   Communication 0.2      Email exchange with counsel for Defendant Tesla regarding the
            Avloni                          confidentiality of the person most knowledgeable deposition;
                                            discussion with court reporter regarding this.
6/13/2018   Navruz   Review/ Analyze 0.2    Began looking into protective order issue.
            Avloni
6/13/2018   Navruz   Communication 0.1      Email exchange with Larry Organ regarding designations.
            Avloni
6/14/2018   Navruz   Communication 0.1      Email to/from opposing counsels regarding the protective order.
            Avloni
6/14/2018   Navruz   Communication 0.2      Discussed expert Dr. Smith with Larry Organ and next steps.
            Avloni
6/15/2018   Navruz   Communication 0.1      Discussion with Larry Organ regarding confidential designations;
            Avloni                          email exchange with Kathy Golec of Bridget Mattos and
                                            Associates.
6/18/2018   Navruz   Other           0.1    Saved the proposed stipulation regarding the protective order to
            Avloni                          Dropbox.
6/19/2018   Navruz   Review/ Analyze 0.1    Reviewed email and saved Rovilla Wetle designations.
            Avloni
6/20/2018   Navruz   Review/ Analyze 0.1    Reviewed Rovila Wetle deposition changes, saved information to
            Avloni                          Dropbox.
6/22/2018   Navruz   Communication 0.1      Email exchange with Larry Organ regarding Diaz objections to
            Avloni                          designations; and the Rovila Wetle deposition.
6/25/2018   Navruz   Review/ Analyze 0.1    Review notes prepared by Ramzi Nimr regarding outstanding
            Avloni                          discovery.
6/28/2018   Navruz   Communication 0.1      Discussed strategy with Ramzi Nimr.
            Avloni
7/3/2018    Navruz   Meet            0.1    Team meeting to discuss discovery and strategy.
            Avloni
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Date       User     Activity         Time   Description
7/3/2018   Navruz   Draft/ Revise    0.9    Draft the witness list; reviewed relevant documents and initial
           Avloni                           disclosures for witnesses.
8/23/2018 Navruz    Review/ Analyze 0.1     Reviewed upcoming deadlines, email to Larry Organ regarding
           Avloni                           the upcoming Case Management Statement.
8/24/2018 Navruz    Communication 0.1       Email to Sabrina Grislis regarding calling the clerk to set up
           Avloni                           remote appearance for Case Management Statement.
8/27/2018 Navruz    Draft/ Revise    0.7    Drafted Case Management Statement; email to opposing counsel
           Avloni                           regarding deadline. Reviewed file.
8/27/2018 Navruz    Meet             0.2    Discussed case strategy with Larry Organ.
           Avloni
8/27/2018 Navruz    Draft/ Revise    0.2    Further revised Case Management Statement; email to opposing
           Avloni                           counsel.
9/3/2018   Navruz   Communication 0.2       Discussed with Larry Organ whether we should add nextSource
           Avloni                           and Chartwell as defendants.
9/4/2018   Navruz   Travel Expense   1.2    Travel to and from Case Management Hearing in San Francisco.
           Avloni
9/4/2018   Navruz   Appearance/      0.3    Appear before Judge Orrick for the Case Management
           Avloni   Attend                  Conference.
9/4/2018   Navruz   Plan/ Prepare    0.2    Prepared for Case Management Conference hearing.
           Avloni
9/5/2018   Navruz   Review/ Analyze 0.1     Reviewed minutes order from today's Case Management
           Avloni                           Hearing; save to file.
9/5/2018   Navruz   Communication 0.1       Discussion with Cimone Nunley regarding the witness list,
           Avloni                           discovery requests.
9/7/2018   Navruz   Communication 0.3       Send email to Defense counsel regarding setting depositions;
           Avloni                           reviewed witness list; reviewed current calendar availability.
9/7/2018   Navruz   Meet             0.2    Meet with Cimone Nunley regarding depositions to take
           Avloni
9/7/2018   Navruz   Meet             0.3    Meet with Larry Organ and Cimone Nunley to review the list of
           Avloni                           individuals to depose in case
9/18/2018 Navruz    Communication 0.1       Email exchange with with Defense counsel for West Valley
           Avloni                           regarding the person most knowledgeable deposition.
9/19/2018 Navruz    Communication 0.1       Email exchange with Cimone Nunley regarding mediation.
           Avloni
9/26/2018 Navruz    Communication 0.1       Email exchange with mediator regarding start time of mediation,
           Avloni                           saved and calendared information related to mediation.
10/8/2018 Navruz    Draft/ Revise    6      Drafted second mediation brief. Reviewed evidence.
           Avloni
10/9/2018 Navruz    Draft/ Revise    0.5    Revised mediation brief.
           Avloni
10/9/2018 Navruz    Meet             0.1    Meet with Larry Organ regarding his edits to mediation brief
           Avloni
10/16/2018 Navruz   Appearance/   6.5       Attended mediation.
           Avloni   Attend
10/16/2018 Navruz   Communication 0.1       Call with Cimone Nunley regarding failure to prevent and 1981
           Avloni
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Date        User    Activity        Time   Description
10/16/2018 Navruz   Communication 0.1      Call with Larry Organ regarding mediation and next steps
           Avloni
10/30/2018 Navruz   Communication 0.2      Meet with Noah Baron to discuss process for notifying Wheels of
           Avloni                          Justice and employers regarding Plaintiff Owen Diaz's notice of
                                           objections to subpoena.
10/30/2018 Navruz   Communication 0.1      Communication with Larry Organ regarding meet and confer
           Avloni                          requirement
10/30/2018 Navruz   Communication 0.1      Telephone conference with Larry Organ regarding discovery
           Avloni
11/6/2018 Navruz    Communication 0.1      Telephone call with Owen Diaz; telephone call with Demetric Di-
           Avloni                          az.
11/8/2018 Navruz    Communication 0.1      Reviewed depositions with Cimone Nunley in preparation for
           Avloni                          tomorrow's call with opposing counsel to schedule depositions.
11/9/2018 Navruz    Communication 0.1      Telephone conference with Larry Organ regarding depositions of
           Avloni                          Defendants' West Valley and Citistaff Persons Most
                                           Knowledgeable.
11/9/2018  Navruz   Communication 0.1      Telephone conference with Larry Organ regarding his call with
           Avloni                          Opposing Counsel
11/14/2018 Navruz   Draft/ Revise   0.3    Email to/from opposing counsel regarding depositions;
           Avloni                          calendared depositions; send instructions to Sabrina Grislis
                                           regarding preparing notices/subpoenas, and to Cimone Nunley.
11/14/2018 Navruz   Draft/ Revise   0.3    Created witness chart
           Avloni
11/14/2018 Navruz   Research        0.3    Research witnesses; emails regarding depositions.
           Avloni
11/15/2018 Navruz   Communication 0.1      Email to/from opposing counsels regarding depositions.
           Avloni
11/16/2018 Navruz   Communication 0.2      Email to/from opposing counsels regarding depositions;
           Avloni                          instructions to Sabrina Grislis regarding preparing deposition
                                           notices.
11/16/2018 Navruz   Research        0.4    Researched finding Rothaj Foster and Wayne Jackson.
           Avloni
11/16/2018 Navruz   Communication 0.2      Further communication regarding locating witnesses,
           Avloni                          background search, etc.
11/16/2018 Navruz   Review/ Analyze 0.2    Reviewed and signed the deposition notices and subpoenas for
           Avloni                          Ramon Martinez, Wayne Jackson, and Rothaj Foster.
11/17/2018 Navruz   Communication 0.1      Email to/from Tesla counsel regarding Defendant Tesla's person
           Avloni                          most knowledgeable deposition
11/19/2018 Navruz   Communication 0.1      Email exchange regarding Defendant Tesla's person most
           Avloni                          knowledgeable deposition.
11/19/2018 Navruz   Communication 0.1      Send email regarding upcoming depositions.
           Avloni
11/19/2018 Navruz   Communication 0.1      Email to clients regarding scheduling deposition preparation
           Avloni                          meetings; check calendaring of meetings and depositions.
11/19/2018 Navruz   Other           0.1    Reviewed notes for outstanding items to complete.
           Avloni
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Date       User     Activity        Time   Description
11/19/2018 Navruz   Review/ Analyze 0.2    Reviewed and signed the person most knowledge deposition
           Avloni                          notices. Email to Sabrina Grislis for service.
11/20/2018 Navruz   Communication 0.1      Email exchange with Tesla counsel regarding Ramon Martinez.
           Avloni
11/20/2018 Navruz   Communication 0.1      Email exchange with process server Rob Goodstein regarding
           Avloni                          service on Wayne Jackson and Rothaj Foster.
11/21/2018 Navruz   Communication 0.3      Call with Wayne Jackson regarding the deposition subpoena
           Avloni                          subpoena, hardship, service address, etc.
11/21/2018 Navruz   Communication 0.1      Left a voicemail for Defendants Tesla and Citistaff's counsel
           Avloni                          Aaron Rutchman regarding the subpoenas they issued.
11/21/2018 Navruz   Communication 0.2      Email to team regarding outstanding tasks.
           Avloni
11/21/2018 Navruz   Communication 0.1      Email to/from team regarding RPDs.
           Avloni
11/26/2018 Navruz   Communication 0.2      Discussion with Larry Organ regarding discovery
           Avloni
11/26/2018 Navruz   Communication 0.1      Email to team regarding discovery
           Avloni
11/26/2018 Navruz   Communication 0.3      Email to private investigator regarding Ramon Martinez location.
           Avloni                          Researched witness online.
11/26/2018 Navruz   Communication 0.1      Email to opposing counsels regarding harasser Ramon Martinez.
           Avloni
12/3/2018 Navruz    Communication 0.3      Discussed Ramon Martinez, Rothaj Foster, and Wayne Jackson
           Avloni                          depositions with Larry Organ.
12/3/2018 Navruz    Communication 0.1      Email exchange with opposing counsel regarding Rothaj Foster
           Avloni                          and Wayne Jackson depositions.
12/4/2018 Navruz    Appearance/     2.7    Defended client Demetric Di-az's deposition (1.5); travel to and
           Avloni   Attend                 from San Francisco location (1.2).
12/4/2018 Navruz    Meet            1.8    Case strategy meeting with Larry Organ and Cimone Nunley.
           Avloni
12/5/2018 Navruz    Meet            1.5    Team strategy meeting with Larry Organ and Cimone Nunley
           Avloni
12/5/2018 Navruz    Plan/ Prepare   3      Prepared for the deposition of Monica Deleon: reviewed exhibits,
           Avloni                          revised outline.
12/5/2018 Navruz    Meet            0.5    Further case strategy meeting with Larry Organ and Cimone
           Avloni                          Nunley
12/6/2018 Navruz    Appearance/     9.3    Took the deposition of Monica Deleon (7.5); travel to and from
           Avloni   Attend                 Oakland office (1.8)
12/6/2018 Navruz    Plan/ Prepare   1      Finished prepping for the Monica Deleon deposition.
           Avloni
12/10/2018 Navruz   Meet            0.6    Meet with Larry Organ, Noah Baron, and Cimone Nunley
           Avloni                          regarding case strategy of whether or not to add nextSource as a
                                           defendant
12/10/2018 Navruz   Communication 0.1      Email exchange with court reporter Bridget Mattos and
           Avloni                          Associates about the deposition of Wayne Jackson
12/10/2018 Navruz   Meet            0.2    Meet with Larry Organ and Noah Baron regarding West Valley
           Avloni                          PMK deposition prep
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Date       User     Activity        Time   Description
12/10/2018 Navruz   Review/ Analyze 0.1    Reviewed Plaintiffs' discovery responses.
           Avloni
12/10/2018 Navruz   Draft/ Revise   1.4    Reviewed the stipulation to move deadlines; drafted the
           Avloni                          stipulation to amend and continue trial; researched local rules
                                           and Judge Orrick's rules, etc.
12/10/2018 Navruz   Meet            0.1    Meet with Larry Organ only to discuss the West Valley PMK
           Avloni                          deposition
12/11/2018 Navruz   Communication 0.1      Email exchange with opposing counsel regarding the deposition
           Avloni                          of Wayne Jackson.
12/11/2018 Navruz   Communication 0.1      Email to Wayne Jackson's representative Emily regarding his
           Avloni                          deposition.
12/11/2018 Navruz   Review/ Analyze 0.1    Reviewed subpoena to nextSource, calendared production
           Avloni                          deadline
12/13/2018 Navruz   Communication 0.1      Telephone call with Helene Simvoulakis, counsel for West Valley,
           Avloni                          regarding the stipulation to amend the complaint and continue
                                           trial; email to Aaron Rutchman and Barbara Antonucci, counsel
                                           for Tesla and Citistaff, calls to Aaron and Barbara (no answer).
12/13/2018 Navruz   Communication 0.1      Email exchange with court reporter regarding spelling for
           Avloni                          reporter's transcript
12/13/2018 Navruz   Communication 0.1      Phone call with Larry Organ regarding amending the complaint
           Avloni
12/14/2018 Navruz   Review/ Analyze 0.1    Reviewed the revised stipulation to continue trial and amend the
           Avloni                          complaint; email exchange with opposing counsel regarding filing
                                           the stipulation.
12/14/2018 Navruz   Draft/ Revise   0.2    Finalized the stipulation to continue trial and amend the
           Avloni                          complaint; added electronic signatures; finalized the amended
                                           complaint; email to Sabrina Grislis with instructions for filing.
12/17/2018 Navruz   Communication 0.1      Email exchange with Rob Goodstein regarding service on Ramon
           Avloni                          Martinez.
12/18/2018 Navruz   Communication 0.1      Email exchange with counsel for Tesla and Citistaff Barbara
           Avloni                          Antonucci regarding the proposed order.
12/18/2018 Navruz   Communication 0.1      Email to Judge Orrick's clerk with the proposed order for the
           Avloni                          stipulation to amend the complaint and continue the trial.
12/20/2018 Navruz   Communication 0.1      Discussed the case with Cimone Nunley.
           Avloni
12/20/2018 Navruz   Draft/ Revise   0.5    Prepared, reviewed, and revised Owen Diaz's and Demetric Di-
           Avloni                          az's discovery responses
12/24/2018 Navruz   Other           0.1    Saved verification, instruction regarding service.
           Avloni
12/24/2018 Navruz   Review/ Analyze 0.1    Reviewed Defendant Tesla's substitution of counsel filing
           Avloni
12/24/2018 Navruz   Communication 0.1      Reviewed emails regarding deposition scheduling; reviewed the
           Avloni                          calendar to confirm events taken off.
12/24/2018 Navruz   Review/ Analyze 0.3    Reviewed nextSource, Inc's objection to subpoena (.2);
           Avloni                          discussion with Larry Organ (.1)
12/24/2018 Navruz   Communication 0.1      Email to nextSource regarding subpoena
           Avloni
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Date        User     Activity        Time   Description
12/24/2018 Navruz    Communication 0.1      Email to team regarding filing the amended complaint.
           Avloni
12/24/2018 Navruz    Review/ Analyze 0.1    Reviewed the signed order regarding the new trial date
           Avloni
12/26/2018 Navruz    Communication 0.1      Email to Emily Mack regarding service of the amended complaint.
           Avloni
1/2/2019   Navruz    Communication 0.2      Discuss witness information with Larry Organ
           Avloni
1/2/2019   Navruz    Communication 0.5      Communication with Larry Organ regarding expert strategy; call
           Avloni                           with Michael Robbins; research Scott; email to Robbins with
                                            documents requested.
1/2/2019    Navruz   Other           0.3    Researched possible experts to retain.
            Avloni
1/2/2019    Navruz   Meet            0.3    Discussed depositions with Larry Organ.
            Avloni
1/2/2019    Navruz   Communication 0.1      Reviewed email from Defendant Chartwell's counsel regarding
            Avloni                          the stipulation granting Defendant nextSource's extension of
                                            time to answer the complaint and filing.
1/2/2019    Navruz   Communication 0.1      Text exchange with Larry Organ regarding Defendant Tesla's PMK
            Avloni                          deposition notice topics; saved information.
1/2/2019    Navruz   Communication 0.2      Reviewed Defendant Tesla's RPD discovery responses; email to
            Avloni                          Cimone Nunley regarding meet and confer efforts.
1/3/2019    Navruz   Communication 0.3      Telephone call with Defendant Tesla's counsel Tracey Kennedy
            Avloni                          regarding litigation.
1/3/2019    Navruz   Communication 0.2      Telephone call with client Owen Diaz regarding case status.
            Avloni
1/3/2019    Navruz   Meet            0.2    Meet with Larry Organ prior to meeting with Tracey Kennedy
            Avloni
1/3/2019    Navruz   Meet            0.1    Meet with Larry Organ after meeting with Tracey Kennedy
            Avloni
1/6/2019    Navruz   Communication 0.1      Email to Sabrina Grislis regarding calendaring new deadlines
            Avloni                          pursuant to signed order.
1/7/2019    Navruz   Research        0.2    Research regarding case issues
            Avloni
1/7/2019    Navruz   Communication 0.3      Meet with Larry Organ regarding strategy
            Avloni
1/10/2019   Navruz   Review/ Analyze 0.1    Reviewed research regarding trial testimony
            Avloni
1/11/2019   Navruz   Review/ Analyze 0.1    Reviewed emails between counsel for Tesla and Larry Organ;
            Avloni                          calendared Defendant nextSource's deadline to file responsive
                                            pleading; email to team.
1/21/2019   Navruz   Review/ Analyze 0.1    Reviewed Tesla's answer to the first amended complaint.
            Avloni
1/22/2019   Navruz   Meet            0.1    team meeting
            Avloni
1/22/2019   Navruz   Communication 0.1      Telephone call with opposing counsel regarding responsive
            Avloni                          pleading.
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Date        User     Activity        Time   Description
1/25/2019   Navruz   Review/ Analyze 0.1    Reviewed substitution of attorney form; email instructions to
            Avloni                          Sabrina Grislis regarding updating our Proof of Service.
2/7/2019    Navruz   Communication 0.2      Discuss potential settlement of case with Cimone Nunley and
            Avloni                          Larry Organ
2/12/2019   Navruz   Communication 0.1      Discussion with Cimone Nunley regarding meet and confer letter
            Avloni                          to Defendant Tesla regarding its discovery responses; email
                                            to/from team regarding status.
2/12/2019   Navruz   Draft/ Revise   0.3    Drafted email to Opposing Counsels regarding depositions meet
            Avloni                          and confer; discussed scheduling with Larry Organ; reviewed
                                            calendar; discussion with Julianne Stanford regarding
                                            Confidential Stuff.
2/12/2019   Navruz   Communication 0.2      Discussion with Larry Organ regarding Confidential Stuff.
            Avloni
2/12/2019   Navruz   Communication 0.1      Email exchange with counsel for Tesla Tracey Kennedy regarding
            Avloni                          meet and confer on deposition scheduling.
2/14/2019   Navruz   Communication 0.1      Email exchange with opposing counsels regarding protective
            Avloni                          order
2/20/2019   Navruz   Communication 0.1      Discussion with Cimone Nunley regarding relationship between
            Avloni                          Citistaff and Tesla.
2/20/2019   Navruz   Communication 0.1      Email to Opposing Counsels regarding depositions and discovery
            Avloni
2/20/2019   Navruz   Communication 0.1      Email exchange with Tracey Kenney, counsel for Tesla, regarding
            Avloni                          availability for depositions.
2/20/2019   Navruz   Communication 0.1      Discussed discovery with Cimone Nunley
            Avloni
3/7/2019    Navruz   Communication 0.3      Discussed depositions and discovery with Cimone Nunley
            Avloni
3/11/2019   Navruz   Communication 0.2      Discussed supplementing initial disclosures with Cimone Nunley
            Avloni
3/13/2019   Navruz   Communication 0.3      Discussed discovery with Cimone Nunley
            Avloni
3/13/2019   Navruz   Meet            0.3    Meet with Cimone Nunley regarding discovery and deposition
            Avloni                          notices
3/18/2019   Navruz   Communication 0.1      Discuss deposition scheduling with Cimone Nunley
            Avloni
3/26/2019   Navruz   Communication 0.1      Discuss demand for site inspection with Cimone Nunley
            Avloni
3/26/2019   Navruz   Communication 0.1      Discussion with Cimone Nunley regarding supplemental initial
            Avloni                          disclosures and depositions.
3/26/2019   Navruz   Communication 0.1      Discuss potential Plaintiff's MSJ with Cimone Nunley
            Avloni
3/26/2019   Navruz   Review/ Analyze 0.1    Reviewed site inspection notice.
            Avloni
3/29/2019   Navruz   Review/ Analyze 0.1    Reviewed Tesla's response to Plaintiffs' meet and confer letter
            Avloni                          regarding discovery
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Date        User     Activity        Time   Description
3/29/2019   Navruz   Meet            1      Meeting with Larry Organ and Cimone Nunley to discuss
            Avloni                          depositions, meet and confer regarding Tesla discovery, and
                                            outstanding documents due
3/29/2019   Navruz   Draft/ Revise   0.1    Updated witness list in deposition folder
            Avloni
3/29/2019   Navruz   Draft/ Revise   0.1    Updated task list regarding discovery, depositions
            Avloni
3/29/2019   Navruz   Draft/ Revise   0.3    Reviewed history of meet and confer efforts with Defendant
            Avloni                          nextSource regarding initial disclosures; meet and confer email
                                            to counsel for nextSource regarding its failure to produce initial
                                            disclosures. Calendared internal deadlines
3/29/2019   Navruz   Communication 0.1      Second round of email exchange with counsel for nextSource
            Avloni                          regarding initial disclosures; calendared production deadline.
3/29/2019   Navruz   Communication 0.2      Reviewed meet and confer history regarding depositions; email
            Avloni                          to opposing counsels regarding deposition scheduling.
3/29/2019   Navruz   Draft/ Revise   0.5    Reviewed and revised meet and confer response to Tesla re
            Avloni                          Tesla's insufficient discovery responses; email to Tesla counsel;
                                            calendared deadline to respond.
4/1/2019    Navruz   Communication 0.1      Email exchange with Citistaff attorneys regarding the deposition
            Avloni                          scheduling of their PMK
4/1/2019    Navruz   Communication 0.1      Email exchange with Cheryl Stevens, counsel for Citistaff,
            Avloni                          regarding depositions.
4/1/2019    Navruz   Communication 0.1      Telephone call with Larry Organ regarding the Citistaff
            Avloni                          deposition.
4/2/2019    Navruz   Communication 0.1      Discussed discovery priorities with Cimone Nunley
            Avloni
4/3/2019    Navruz   Communication 0.1      Telephone call with counsel for nextSource Aaron Langberg
            Avloni                          regarding initial disclosures and depositions.
4/4/2019    Navruz   Communication 0.1      Email exchange with Cimone Nunley
            Avloni
4/4/2019    Navruz   Communication 3        Meeting with Jeannette Vaccaro regarding discovery and Me Too
            Avloni                          witnesses
4/5/2019    Navruz   Review/ Analyze 0.4    Reviewed initial disclosures from Defendant nextSource; email to
            Avloni                          opposing counsel.
4/16/2019   Navruz   Communication 0.1      Discussed stipulation with counsel for West Valley.
            Avloni
4/16/2019   Navruz   Communication 0.1      Discussed depositions of Tom Kawasaki and Michael Wheeler
            Avloni                          with Cimone Nunley.
4/16/2019   Navruz   Communication 0.1      Email to Alameda County Superior Court regarding case status.
            Avloni
4/16/2019   Navruz   Communication 0.1      Email to Tracey Kennedy regarding Tesla's PMK deposition;
            Avloni                          instructions to team regarding amending notice.
4/17/2019   Navruz   Draft/ Revise   0.1    Reviewed and revised the deposition notice for Defendant
            Avloni                          Tesla's PMK.
4/17/2019   Navruz   Communication 0.1      Discussion with Counsel for West Valley Helene Simvoulakis
            Avloni                          regarding witnesses, site inspection.
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Date        User     Activity        Time   Description
4/17/2019   Navruz   Meet            0.1    Team meeting
            Avloni
4/18/2019   Navruz   Review/ Analyze 0.1    Reviewed Defendant Tesla's objections to site inspection
            Avloni
4/19/2019   Navruz   Review/ Analyze 0.3    Reviewed the subpoenas to Michael Wheeler and Tom Kawasaki
            Avloni                          subpoenas; discussed service options with Cimone Nunley.
4/19/2019   Navruz   Draft/ Revise   0.5    Reviewed and revised meet and confer letter related to Tesla's
            Avloni                          discovery responses; email to counsel for Defendant Tesla
                                            regarding meet and confer efforts.
4/19/2019   Navruz   Communication 0.2      Email to counsel for nextSource Aaron Langberg regarding the
            Avloni                          depositions of nextSource's PMK and Wayne Jackson.
4/19/2019   Navruz   Communication 0.1      Email to potential expert Michael Robbins regarding the trial.
            Avloni
4/22/2019   Navruz   Communication 0.1      Message to/from Cimone Nunley re West Valley PMK prep.
            Avloni
4/23/2019   Navruz   Communication 0.1      Email to/from Cimone Nunley re Michael Wheeler and Tamotsu
            Avloni                          Kawasaki subpoenas.
4/23/2019   Navruz   Communication 0.1      Email to expert Michael Robbins.
            Avloni
4/23/2019   Navruz   Communication 0.1      Email exchange with counsel for Tesla Reanne Swafford-Harris
            Avloni                          regarding a meet and confer meeting.
4/24/2019   Navruz   Communication 0.1      Discussed additional discovery to nextSource and Tesla with
            Avloni                          Cimone Nunley
4/24/2019   Navruz   Draft/ Revise   1.5    Drafted and revised discovery requests for Tesla; reviewed 1981
            Avloni                          claims.
4/25/2019   Navruz   Communication 0.1      Email to counsel for Tesla regarding outstanding document
            Avloni                          production.
4/25/2019   Navruz   Communication 0.1      Discussion with Cimone Nunley regarding the depositions of
            Avloni                          nextSource's PMK and Wayne Jackson.
4/25/2019   Navruz   Communication 0.1      Discussion with Cimone Nunley regarding meet and confer
            Avloni                          letters to Tesla, West Valley, and Citistaff
4/25/2019   Navruz   Draft/ Revise   0.3    Revised and signed the deposition subpoenas for nextSource
            Avloni                          PMK and Wayne Jackson. Email to opposing counsel with
                                            subpoenas. Instructions to Sabrina Grislis regarding service and
                                            setting up a court reporter, etc. Confirmed calendared.
4/25/2019   Navruz   Communication 0.6      Telephone call with Demetrica Diaz, La'Drea Jones, and Owen
            Avloni                          Diaz regarding depositions; email to opposing counsel with
                                            availability.
4/30/2019   Navruz   Communication 0.1      Instructions to Sabrina Grislis regarding reaching out to
            Avloni                          emotional distress witness for availability.
4/30/2019   Navruz   Meet            0.1    Team meeting regarding next steps and strategy
            Avloni
4/30/2019   Navruz   Communication 0.1      Telephone call with witness Titus McCaleb.
            Avloni
4/30/2019   Navruz   Communication 0.1      Email to expert Michael Robbins.
            Avloni
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Date        User     Activity        Time   Description
5/2/2019    Navruz   Communication 0.1      Email to Cimone Nunley re Tesla's set 1 responses, outstanding
            Avloni                          issues.
5/2/2019    Navruz   Communication 0.1      Email to Tesla's counsel re meet and confer meeting for
            Avloni                          outstanding discovery issues.
5/3/2019    Navruz   Communication 0.2      Call with Titus mccaleb
            Avloni
5/4/2019    Navruz   Communication 0.1      Rev'd deposition notices for La'Drea Jones and Demetrica
            Avloni                          Holmes, saved, added to calendar, instructions to SN.
5/4/2019    Navruz   Communication 0.1      Email to counsel for all defendants re discovery meeting.
            Avloni
5/4/2019    Navruz   Review/ Analyze 0.1    Rev'd summary of outstanding Tesla discovery; saved.
            Avloni
5/4/2019    Navruz   Communication 0.1      Email to/from Titus McCaleb re availability for deposition.
            Avloni
5/4/2019    Navruz   Communication 0.1      Email to counsel for all defendants re Titus McCaleb's availability
            Avloni                          for deposition.
5/4/2019    Navruz   Draft/ Revise   0.5     Revised and finalized meet and confer letter to Tesla re their
            Avloni                          discovery responses; email to Tesla re meet and confer letter.
5/6/2019    Navruz   Communication 0.1      Email to all opposing counsel re scheduling of Titus McCaleb's
            Avloni                          depo.
5/6/2019    Navruz   Communication 0.1      Email to Tituc McCaleb re putting date on hold.
            Avloni
5/9/2019    Navruz   Communication 0.1      Email to/from Tesla counsel re in person meeting to meet and
            Avloni                          confer re their discovery responses.
5/12/2019   Navruz   Review/ Analyze 0.1    Reviewed depo objection re Wayne Jackson.
            Avloni
5/12/2019   Navruz   Communication 0.1      Email to counsel for all defendants re Titus McCaleb depo
            Avloni                          location.
5/12/2019   Navruz   Communication 0.1      Email to Titus McCaleb re depo details.
            Avloni
5/12/2019   Navruz   Communication 0.1      Email to/from nextSource counsel Juan Araneda re Owen Diaz's
            Avloni                          availability for depo.
5/12/2019   Navruz   Communication 0.1      Email to Cimone re emotional distress witness prep for
            Avloni                          depositions.
5/12/2019   Navruz   Communication 0.1      Email to/from counsel for all defendants re discovery disputes.
            Avloni
5/13/2019   Navruz   Communication 0.1      Email to court reporter re Kawasaki depo.
            Avloni
5/20/2019   Navruz   Appearance/     2.5    Met with Demetrica and LaDrea re depo prep (2.0); travel
            Avloni   Attend                 to/from (.5)
5/20/2019   Navruz   Plan/ Prepare   0.2    prepared for call with expert Michael Robbins.
            Avloni
5/20/2019   Navruz   Communication 0.4      Call with expert Michael Robbins re case.
            Avloni
5/21/2019   Navruz   Appearance/     10.4 Deposition of Demetrica Holmes (7.0); travel to/from depo (3.1);
            Avloni   Attend               meeting with CLT (.3)
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Date        User     Activity        Time   Description
5/21/2019   Navruz   Communication 0.3      Telephone call with Cimone Nunley regarding Tesla's discovery
            Avloni                          responses
5/22/2019   Navruz   Communication 0.1      Email to/from Tesla counsel Reanne Swafford-Harris re in-person
            Avloni                          meet and confer meeting.
5/22/2019   Navruz   Communication 0.2      Discussed discovery with Cimone Nunley
            Avloni
5/22/2019   Navruz   Meet            0.1    team meeting.
            Avloni
5/23/2019   Navruz   Communication 0.1      Email to Sabrina re Owen Diaz depo.
            Avloni
5/29/2019   Navruz   Plan/ Prepare   1.3    Tesla PMK depo prep: rev'd client's depo transcripts; rev'd new
            Avloni                          doc production; rev'd new discovery responses
5/30/2019   Navruz   Review/ Analyze 0.1    Reviewed deposition notice/doc requests for Owen Diaz,
            Avloni                          calendared deadlines.
5/31/2019   Navruz   Draft/ Revise   0.2    email to/from Citistaff counsel re citistaff PMK depo; amended
            Avloni                          notice; served OC via email; instructions to Sabrina Grislis re
                                            reserving room and court reporter.
5/31/2019   Navruz   Communication 0.1      Rev'd email from West Valley counsel re Kossaiyan
            Avloni                          depo/confidential designations; instructions to Sabrina Grislis .
5/31/2019   Navruz   Review/ Analyze 0.4    Rev'd Nextsource's discovery requests, reserched service re
            Avloni                          Federal Express - improper.
5/31/2019   Navruz   Communication 0.2      Email to La'Drea Jones re availability.
            Avloni
5/31/2019   Navruz   Communication 0.1      Email to opposing counsel for all defendants re expert
            Avloni                          disclosures.
5/31/2019   Navruz   Communication 0.2      Email to/from expert Michael Robbins re case. Reviewed/signed
            Avloni                          retainer.
5/31/2019   Navruz   Communication 0.1      Email to Tesla counsel Reanne Swafford-Harris re meet and
            Avloni                          confer disc meeting.
5/31/2019   Navruz   Communication 0.1      Text to LaDrea Jones re depo.
            Avloni
5/31/2019   Navruz   Plan/ Prepare   2      Rev'd docs and depo - for expert Michael Robbins; email to
            Avloni                          expert with requested info. TC with Michael Robbins. Brief call
                                            with Larry Organ.
   6/3/2019 Navruz   Communication 0.2      discussed trial with Larry Organ
            Avloni
   6/3/2019 Navruz   Communication 0.1      Email to/from Tesla counsel re in person meet and confer
            Avloni                          meeting.
   6/4/2019 Navruz   Review/ Analyze 0.1    rev'd amended deposition notice for ladrea jones, instructions to
            Avloni                          Sabrina Grislis.
   6/4/2019 Navruz   Communication 0.2      Email to Bernard Alexander with Complaint and declarations.
            Avloni                          Organized declarations.
   6/4/2019 Navruz   Communication 0.1      Email to/from nextSource counsel Juan Araneda re trial
            Avloni                          continuance.
   6/4/2019 Navruz   Communication 0.1      Email to/from Tesla counsel Patricia Jeng re Lamar Patterson
            Avloni                          deposition.
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Date       User      Activity        Time   Description
   6/4/2019 Navruz   Communication 0.2      Discussion with Larry Organ regarding potential association of
            Avloni                          Bernard Alexander
   6/5/2019 Navruz   Communication 0.1      Email to Lamar Patterson ; VM to Lamar Patterson re depo
            Avloni
   6/5/2019 Navruz   Communication 0.1      Email to/from Tesla's counsel's paralegal re Lamar Patterson
            Avloni                          depo.
   6/5/2019 Navruz   Plan/ Prepare   1.5    Pulled docs for Larry Organ's Citistaff PMK depo; organized docs.
            Avloni
   6/5/2019 Navruz   Communication 0.1      Email to Tesla counsel re trial continuance.
            Avloni
   6/7/2019 Navruz   Communication 0.1      Phone call with Larry Organ regarding in-person meet and confer
            Avloni                          meeting with Tesla counsel
  6/12/2019 Navruz   Review/ Analyze 0.5    Reviewed discovery responses to TEsla's Requests for Admission
            Avloni                          and Requests for Production, Set Two. discussed with Cimone
                                            Nunley.
  6/12/2019 Navruz   Review/ Analyze 0.1    Reviewed email from Tesla counsel re stipulation and
            Avloni                          continuance.
  6/12/2019 Navruz   Review/ Analyze 0.1    Saved notes from Larry Organ re judy timbreza.
            Avloni
  6/12/2019 Navruz   Communication 0.4      Communication with Larry Organ and Cimone Nunley regarding
            Avloni                          discovery responses
  6/14/2019 Navruz   Communication 0.1      email to/from oC nextsource re extension of time to respond to
            Avloni                          their discovery requests to Owen Diaz and Demetric Di-az
  6/17/2019 Navruz   Meet            4.4    prep for meeting with titus mccaleb (.5); meeting with titus
            Avloni                          mccaleb (2.7); travel to/from meeting with titus mccaleb (1.2)
  6/17/2019 Navruz   Meet            0.4    Meeting with Larry Organ re strategy - Titus Mccaleb,
            Avloni                          nextSource, owen diaz depo
  6/17/2019 Navruz   Review/ Analyze 0.1    Reviewed Owen Diaz depo notice.
            Avloni
  6/17/2019 Navruz   Communication 0.1      Email to counsel for all defendants re La'Drea Jones depo
            Avloni
  6/17/2019 Navruz   Communication 0.1      Email to/from Larry Organ, Cimone Nunley, and Sabrina Grislis re
            Avloni                          Demetrica Holmes depo
  6/17/2019 Navruz   Communication 0.1      Telephone call with Cimone Nunley regarding Owen Diaz's
            Avloni                          deposition prep
  6/18/2019 Navruz   Appearance/     10     appeared for mccaleb depo (6); meeting with Owen Diazt (1);
            Avloni   Attend                 travel to/from (3)
  6/18/2019 Navruz   Review/ Analyze 0.1    rev'd court order re stip to continue trial.
            Avloni
  6/18/2019 Navruz   Communication 0.1      Email to expert Michael Robbins re update, trial date, etc.
            Avloni
  6/18/2019 Navruz   Communication 0.1      Email to Sabrina Grislis re saving nextsource docs.
            Avloni
  6/19/2019 Navruz   Communication 0.1      Email to expert Michael Robbins re retainer.
            Avloni
  6/20/2019 Navruz   Appearance/     6      LaDrea Jones Depo appear (2.0); meeting with CLT (1.0); travel
            Avloni   Attend                 to/from (3)
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Date       User      Activity        Time   Description
  6/20/2019 Navruz   Communication 0.1      Email to Cimone Nunley re key witnesses to depose
            Avloni
  6/20/2019 Navruz   Communication 0.1      Telephone call with Cimone Nunley regarding depositions,
            Avloni                          discovery responses
  6/21/2019 Navruz   Plan/ Prepare   1.5    Reviewed Owen Diaz's depo transcripts and summary in prep for
            Avloni                          day 3 depo.
  6/21/2019 Navruz   Appearance/   5.5      appeared for Owen Diaz depo (4); travel to/from (1.0); discussion
            Avloni   Attend                 with client depo prep (.5)
  6/24/2019 Navruz   Communication 0.1      Email to Kris Organ re payment to expert Michael Robbins.
            Avloni
  6/28/2019 Navruz   Draft/ Revise   0.1    Forwarded Lamar Patterson deposition subpoena to witness.
            Avloni
   7/1/2019 Navruz   Communication 0.1      Email to Cimone Nunley re Lamar Patterson depo
            Avloni
   7/1/2019 Navruz   Review/ Analyze 0.1    Reviewed amended subpoena for Lamar Patterson's deposition.
            Avloni
   7/1/2019 Navruz   Communication 0.1      Email to Sabrina Grislis re Titus McCaleb and La'drea Jones
            Avloni                          deposition transcripts.
   7/2/2019 Navruz   Communication 0.1      Email to/from Sabrina Grislis re Owen Diaz's medical records
            Avloni
   7/9/2019 Navruz   Communication 0.1      Email to Cimone Nunley re subpoena to California Civil Rights
            Avloni                          Law Group regarding case materials from the Dewitt Lambert
                                            arbitration.
  7/10/2019 Navruz   Communication 0.2      Telephone call with Cimone Nunley regarding discovery plan
            Avloni
  7/16/2019 Navruz   Meet            1.5    meeting re depositions, witnesses.
            Avloni
  7/22/2019 Navruz   Communication 0.1      Email to/from Tesla counsel re subpoena to California Civil Rights
            Avloni                          Law Group regarding case materials from the Dewitt Lambert
                                            arbitration.
  7/22/2019 Navruz   Communication 0.2      Discussion with Cimone Nunley re subpoena timing (to California
            Avloni                          Civil Rights Law Group regarding case materials from the Dewitt
                                            Lambert arbitration); discovery plan
  7/22/2019 Navruz   Communication 0.1      discussion with Larry Organ re strategy.
            Avloni
  7/22/2019 Navruz   Review/ Analyze 0.3    revised Requests for Production objections for Lamar Patterson
            Avloni                          deposition. email to Cimone Nunley re corrections.
  7/22/2019 Navruz   Draft/ Revise   0.3    revised stipulation increasing number of depositions in this
            Avloni                          matter.
  7/23/2019 Navruz   Review/ Analyze 0.1    reviewed revised stipulation regarding increasing number of
            Avloni                          depositions in this matter, counted depos taken thus far, email
                                            to Cimone Nunley.
  7/23/2019 Navruz   Communication 0.5      Call w/ Bernard Alexander, Larry Organ and Cimone Nunley re
            Avloni                          case
  7/23/2019 Navruz   Communication 0.1      follow up discussion with Larry Organ/Cimone Nunley following
            Avloni                          meeting with Bernard Alexnader
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Date       User      Activity        Time   Description
  7/24/2019 Navruz   Draft/ Revise   1      Email to Bernard Alexander re summary; drafted summary;
            Avloni                          discussed with Cimone Nunley docs and list of witnesses.
                                            reviewed depo and docs
  7/25/2019 Navruz   Communication 0.3      met with Cimone Nunley re Lamar Patterson deposition
            Avloni
  7/25/2019 Navruz   Communication 0.1      email to team re adding danielle modica as witness to initial
            Avloni                          disclosures.
  7/26/2019 Navruz   Appearance/     5.5    deposition of lamar patterson (4.0); travel to/from depo (1.5)
            Avloni   Attend
  7/26/2019 Navruz   Meet            0.6    Met with client Owen Diaz re his employment with CitiStaff
            Avloni
  7/26/2019 Navruz   Meet            0.3    Met with Tesla counsel Reanne Swafford-Harris re subpoena to
            Avloni                          California Civil Rights Law Group for case materials from the
                                            Dewitt Lambert arbitration.
  7/29/2019 Navruz   Communication 0.1      Call w Cimone Nunley re Lamar Patterson deposition.
            Avloni
   8/2/2019 Navruz   Communication 0.1      Email to counsel for all defendants re stipulation to increase the
            Avloni                          number of deposition
   8/5/2019 Navruz   Meet            0.2    Meet with Cimone Nunley to discuss response to Tesla's meet
            Avloni                          and confer letter
   8/5/2019 Navruz   Communication 0.1      Discuss Bernard Alexander's discovery request additions with
            Avloni                          Cimone Nunley and Larry Organ
   8/6/2019 Navruz   Communication 0.3      Call w Cimone Nunley re joint discovery dispute statement re
            Avloni                          subpoena to California Civil Rights Law Group for case materials
                                            from Dewitt Lambert arbitration
   8/7/2019 Navruz   Draft/ Revise   1      revised joint discovery dispute letter re subpoena to Californai
            Avloni                          Civil Rights Law Group for case materials from Dewitt Lambert
                                            arbitration.
   8/8/2019 Navruz   Communication 0.1      Email to/from Citistaff counsel Cheryl Stephens re Citistaff's
            Avloni                          objection to stipulation to increase number of depositions.
   8/8/2019 Navruz   Communication 0.1      Email to Sabrina Grislis re Lamar Patterson deposition transcript
            Avloni                          review.
   8/8/2019 Navruz   Communication 0.1      Email to Sabrina Grislis re Lamar Patterson deposition transcript
            Avloni                          payment.
   8/8/2019 Navruz   Communication 0.1      Email to Bernard Alexander re call/set up.
            Avloni
   8/8/2019 Navruz   Communication 0.1      Email to all opposing counsel re joint discovery dispute
            Avloni                          statement re number of depositions
   8/8/2019 Navruz   Communication 0.2      Discussion with Cimone Nunley regarding Tesla's modified
            Avloni                          discovery dispute letter
   8/9/2019 Navruz   Draft/ Revise   1.3    revised joint discovery dispute statement re subpoena to
            Avloni                          California Civil Rights Law Group for case materials from the
                                            Dewitt Lambert arbitration
  8/12/2019 Navruz   Draft/ Revise   0.3    Revised meet and confer letter re Owen Diaz's disc responses to
            Avloni                          Tesla
  8/15/2019 Navruz   Communication 0.1      email to/from Bernard Alexander re availability.
            Avloni
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Date       User      Activity        Time   Description
  8/15/2019 Navruz   Communication 0.2      Discussion of additional discovery to propound with Cimone
            Avloni                          Nunley
  8/16/2019 Navruz   Plan/ Prepare   0.1    Prepared for team meeting call - reviewed witness chart, call
            Avloni                          with Cimone Nunley.
  8/16/2019 Navruz   Meet            0.6    Team meeting with Bernard Alexander, Cimone Nunley, Larry
            Avloni                          Organ re strategy, depos, discovery.
  8/16/2019 Navruz   Communication 0.2      Call with Cimone Nunley re tasks for next week, outstanding
            Avloni                          meet and confers, etc.
  8/16/2019 Navruz   Draft/ Revise   0.1    organized notes from team meeting into action items; circulated
            Avloni                          to Bernard Alexander, Larry Organ, Cimone Nunley, and Sabrina
                                            Grislis.
  8/19/2019 Navruz   Review/ Analyze 0.2    Reviewed Orrick's order re discovery dispute; discussion with
            Avloni                          Larry Organ.
  8/19/2019 Navruz   Review/ Analyze 0.1    Revised Larry Organ's letter to Tesla's counsel for the Dewitt
            Avloni                          Lambert arbitration, Danielle Ochs, re subpoena to Californai
                                            Civil Rights Law Group for case materials from Dewitt Lambert
                                            arbitration.
  8/23/2019 Navruz   Communication 0.1      email to counsel for all defendants to meet and confer re
            Avloni                          number and scheduling of depos
  8/23/2019 Navruz   Communication 0.1      email to Bernard Alexander re assoc. of counsel.
            Avloni
  8/26/2019 Navruz   Communication 0.1      Email to/from Bernard Alexander re association of counsel.
            Avloni
  8/27/2019 Navruz   Communication 0.1      Instructions to Sabrina Grislis re filing assoc of counsel for
            Avloni                          Bernard Alexander
   9/2/2019 Navruz   Communication 0.1      Email to all OC to meet and confer regarding scheduling for
            Avloni                          additional depositions
   9/2/2019 Navruz   Communication 0.1      Email to Bernard Alexander, Larry Organ, Cimone Nunley, and
            Avloni                          Sabrina Grislis re joint case management statement; email to
                                            West Valley counsel Cheryl Stephens re joint case management
                                            statement.
   9/2/2019 Navruz   Draft/ Revise   0.1    revised joint case management statement.
            Avloni
   9/2/2019 Navruz   Draft/ Revise   0.3    revised joint discovery dispute letter regarding Tesla's discovery
            Avloni                          responses; Email to counsel for Tesla re discovery dispute.
   9/2/2019 Navruz   Communication 0.1      Email to counsel for all defendants re stipulation to change time
            Avloni                          for MSJ opposition and reply filings
   9/2/2019 Navruz   Communication 0.1      Email to Cimone Nunley re next steps/strategy.
            Avloni
   9/3/2019 Navruz   Communication 0.1      Email to/from Tesla counsel Patricia Jeng re Joint Discovery
            Avloni                          Dispute letter regarding Tesla's discovery responses.
   9/3/2019 Navruz   Communication 0.1      Email to all opposing counsel with joint case management
            Avloni                          statement; reviewed Larry Organ's revisions.
   9/3/2019 Navruz   Communication 0.2      Discussion with Larry Organ re Tesla PMK topics
            Avloni
   9/3/2019 Navruz   Communication 0.1      Email to Tesla counsel re PMK topics.
            Avloni
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Date       User      Activity         Time   Description
   9/4/2019 Navruz   Communication 0.1       Email to Tesla counsel re PMK topic numbers.
            Avloni
   9/9/2019 Navruz   Communication 0.1       Emails to/from all opposing counsel re discovery dispute
            Avloni                           meeting.
   9/9/2019 Navruz   Communication 0.1       Email to Tesla counsel Patricia Jeng re PMK topics.
            Avloni
   9/9/2019 Navruz   Plan/ Prepare    1      prepared for meeting with tesla, citistaff and nextsource counsel
            Avloni                           re pmk topics, as well as number of depositions
   9/9/2019 Navruz   Meet             2.7    Meet & confer with Tesla's counsel re pMK topics/refusal to
            Avloni                           meet and confer; met and conferred with nextSource counsel re
                                             pmk topics; met and conferred with Citistaff, Tesla, and
                                             nextSource counsel re number of depos; met and conferred with
                                             cs re pmk topics.
   9/9/2019 Navruz   Travel Expense   1.1    travel to/from fisher phillips to meet and confer with all opposing
            Avloni                           counsel re pmk topics, number of depos, stipulation re msj
                                             briefing schedule
   9/9/2019 Navruz   Review/ Analyze 0.1     Reviewed new docs from Tesla - map, job descriptions, etc.
            Avloni
   9/9/2019 Navruz   Communication 0.2       Telephone call with Cimone Nunley after my meet and confer
            Avloni                           meeting with Opposing Counsel
   9/9/2019 Navruz   Communication 0.1       Discussion with Cimone Nunley regarding her meet and confer
            Avloni                           efforts with opposing counsel to prepare for meet and confer
                                             meeting
   9/9/2019 Navruz   Communication 0.1       Call with Cimone Nunley regarding PMK issues with Citistaff,
            Avloni                           nextSource, and Tesla
   9/9/2019 Navruz   Communication 0.5       Call with Cimone Nunley prior to my meet and confer meeting
            Avloni                           with opposing counsel for her to help prep me
  9/10/2019 Navruz   Communication 0.1       Email to Bernard Alexander re case management and strategy.
            Avloni
  9/10/2019 Navruz   Communication 0.2       Call w/ Cimone Nunley re discovery
            Avloni
  9/10/2019 Navruz   Appearance/   2.6       travel to CMC - attend CMC - return from CMC
            Avloni   Attend
  9/10/2019 Navruz   Communication 0.2       discussed with Cimone Nunley discovery/motion task list
            Avloni
  9/10/2019 Navruz   Review/ Analyze 0.4     Reviewedd trial related calendaring; added missing dates. Email
            Avloni                           to Sabrina Grislis re further instructions.
  9/10/2019 Navruz   Communication 0.1       Email to Tesla counsel re failure to respond to RPD, Set 7
            Avloni
  9/10/2019 Navruz   Communication 0.1       Email to Tesla counsel re PMK topics.
            Avloni
  9/10/2019 Navruz   Communication 0.1       Email to nextSource counsel re PMK topics
            Avloni
  9/10/2019 Navruz   Draft/ Revise    0.4    Revised meet and confer letter to nextsource re PMK topics.
            Avloni
  9/10/2019 Navruz   Communication 0.1       Email to Bernard Alexander re psych expert.
            Avloni
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Date       User      Activity        Time   Description
  9/10/2019 Navruz   Review/ Analyze 0.4    Reviewed Tesla's response to requests for production Nos. 65-68 -
            Avloni                          reviewed docs/other responses to confirm docs not produced.
                                            Email to Tesla counsel re issue with no responsive docs being
                                            produced, request to amend, withdraw issue from joint dispute
                                            letter
  9/10/2019 Navruz   Draft/ Revise   2      Reviewed meet and confer history; Revised joint dispute letter re
            Avloni                          number of depositions; email to all opposing counsel re joint
                                            dispute letter and MSJ briefing schedule; email to team re
                                            revisions and strategy
  9/11/2019 Navruz   Communication 0.1      Email to/from Tesla counsel regarding responses to requests for
            Avloni                          production and joint dispute letter.
  9/11/2019 Navruz   Review/ Analyze 0.2    Rev'd Bernard Alexander case law on N-word.
            Avloni
  9/11/2019 Navruz   Research        1.3    Researched psychs; email to team with finding. researched psych
            Avloni                          treatment for black men, etc.
  9/11/2019 Navruz   Review/ Analyze 0.1    Rev'd Tracey Kennedy's email re Tesla's discovery responses.
            Avloni                          instructions to Sabrina Grislis re proof of service - include LA
                                            address; calendared dl
  9/12/2019 Navruz   Meet            1.2    Meet with Cimone Nunley, Larry Organ, and Bernard Alexander
            Avloni                          to discuss discovery and expert strategy
  9/12/2019 Navruz   Meet            0.3    Meeting with Cimone Nunley & Larry Organ re Tesla PMK topics
            Avloni
  9/12/2019 Navruz   Draft/ Revise   0.2    further revised telsa discovery joint dispute letter.
            Avloni
  9/12/2019 Navruz   Communication 0.1      Email to/from Tesla counsel re Plaintiffs' discovery responses.
            Avloni
  9/12/2019 Navruz   Communication 0.1      Email to Bernard Alexander re pleadings.
            Avloni
  9/12/2019 Navruz   Communication 0.2      Summarized team meeting notes; email to team re: delegated
            Avloni                          tasks
  9/12/2019 Navruz   Communication 0.1      Email to all opposing counsel re MSJ briefing schedule &
            Avloni                          additional depositions
  9/13/2019 Navruz   Communication 0.1      Email to Tesla counsel re meet and confer on discovery
            Avloni
  9/13/2019 Navruz   Review/ Analyze 0.1    Reviewed bernarTesla's addition to opening
            Avloni
  9/13/2019 Navruz   Communication 0.1      Email to/from nextsource atty re pmk depo
            Avloni
  9/13/2019 Navruz   Plan/ Prepare   0.7    Prepared for meeting with Tesla counsel re Tesla pMK topics; and
            Avloni                          Plaintiffs' discovery responses
  9/13/2019 Navruz   Meet            2.7    met with tesla oc re pmk topics, depositions, scheduling,
            Avloni                          plaintiffs' disc responses (1.3); travel to/from (1.4)
  9/13/2019 Navruz   Communication 0.1      Communication with Cimone Nunley regarding scheduling with
            Avloni                          opposing counsel and setting up meeting with opposing counsel
  9/13/2019 Navruz   Communication 0.2      Telephone call with Cimone Nunley regarding meet and confer
            Avloni                          related to the PMK topics
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Date       User      Activity        Time   Description
  9/17/2019 Navruz   Communication 0.1      Email to all opposing counsel re number of depositions issue.
            Avloni
  9/17/2019 Navruz   Communication 0.1      Reviewed revisions to joint dispute re written discovery
            Avloni
  9/17/2019 Navruz   Communication 0.1      Email to all opposing counsel re joint dispute - written discovery
            Avloni                          meet and confer.
  9/17/2019 Navruz   Communication 0.1      discussed dispute letter regarding number of depositions with
            Avloni                          Cimone Nunley.
  9/17/2019 Navruz   Communication 0.1      Reviewed order re MSC - email to team re availability; reviewed
            Avloni                          calendar
  9/18/2019 Navruz   Communication 0.1      Email to Sabrina Grislis re MSC.
            Avloni
  9/18/2019 Navruz   Review/ Analyze 0.1    Reviewed new document production from Tesla.
            Avloni
  9/19/2019 Navruz   Communication 0.1      Email to/from Juan re meet and confer meeting regarding
            Avloni                          nextSource PMK topics
  9/19/2019 Navruz   Review/ Analyze 0.1    Reviewed defendants' portion to number of depositions dispute
            Avloni                          letter; Email to all defendants' counsel.
  9/19/2019 Navruz   Communication 0.1      discussed oustanding discovery with Larry Organ and Cimone
            Avloni                          Nunley
  9/19/2019 Navruz   Draft/ Revise   0.3    revised Plaintiffs' discovery requests to tesla - instructions to
            Avloni                          Sabrina Grislis for service - worked on language.
  9/19/2019 Navruz   Communication 0.1      Discussion with staff regarding Tesla RPD issue
            Avloni
  9/20/2019 Navruz   Communication 0.1      Call w/ Cimone Nunley re joint dispute letter regarding number
            Avloni                          of depositions
  9/23/2019 Navruz   Communication 0.2      Call w/ Larry Organ re experts.
            Avloni
  9/23/2019 Navruz   Communication 0.1      Email to expert michael robbins re expert report.
            Avloni
  9/23/2019 Navruz   Communication 0.1      Email to/from expert Michael Robbins.
            Avloni
  9/24/2019 Navruz   Communication 0.1      Email to all opposing counsel re expert disclosures.
            Avloni
  9/24/2019 Navruz   Communication 0.1      Voicemail and Email to nextSource re meet and confer over PMK
            Avloni                          topics.
  9/27/2019 Navruz   Communication 0.3      Telephone call with Bernard Alexander and Larry Organ
            Avloni                          regarding experts
  9/27/2019 Navruz   Meet            0.1    Meet with Larry Organ regarding experts
            Avloni
  9/28/2019 Navruz   Review/ Analyze 0.1    Reviewed meet and confer letter to nextSource re PMK topics.
            Avloni                          Instructions to Cimone Nunley.
  10/1/2019 Navruz   Communication 0.1      instructions to Sabrina Grislis re notices and subpoenas for
            Avloni                          additional depositions of Marconi, Kawasaki, V. Martinez, and
                                            Delgado
  10/1/2019 Navruz   Meet            0.1    Team Meeting
            Avloni
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Date       User      Activity        Time   Description
  10/2/2019 Navruz   Communication 0.1      Call with Owen Diaz re Citistaff
            Avloni
  10/2/2019 Navruz   Review/ Analyze 0.2    Reviewed Tesla's responses to RPD, Set 3
            Avloni
  10/2/2019 Navruz   Communication 0.1      Email to Tesla's counsel re Rpd, set 7 responses and objections.
            Avloni
  10/3/2019 Navruz   Review/ Analyze 0.1    reviewed discovery dispute order
            Avloni
  10/3/2019 Navruz   Plan/ Prepare   1.3    Reviewed judge's order; discussed which additional depositions
            Avloni                          to take with team; calendared out depositions - created chart;
                                            instructions to Sabrina Grislis re subpoena service/dates/etc.
  10/3/2019 Navruz   Communication 0.1      Recap to team re strategy depo.
            Avloni
  10/3/2019 Navruz   Communication 0.1      Email to Kathy re AZ location for deposition of Jackelin Delgado
            Avloni
  10/3/2019 Navruz   Communication 0.2      Email to all opposing counsel with proposed depo schedule,
            Avloni                          details, etc.
  10/3/2019 Navruz   Review/ Analyze 0.2    Reviewed depo notices and subpoenas for Marconi, Kawasaki, V.
            Avloni                          Martinez, and Delgado depos
  10/3/2019 Navruz   Communication 0.6      Discussion with Larry Organ, Cimone Nunley, and Bernard
            Avloni                          Alexander regarding deposition strategy for Marconi, Kawasaki,
                                            V. Martinez, and Delgado depos
  10/3/2019 Navruz   Communication 0.2      Discussion with Larry Organ and Cimone Nunley regarding
            Avloni                          strategy
  10/4/2019 Navruz   Communication 0.1      Communication with Larry Organ and Cimone Nunley regarding
            Avloni                          expert Amy Oppenheimer
  10/8/2019 Navruz   Communication 0.1      Email to Sabrina Grislis re kawasaki deposition.
            Avloni
  10/8/2019 Navruz   Communication 0.1      Email to all opposing counsel re Marconi, Kawasaki, V. Martinez,
            Avloni                          and Delgado depos.
  10/8/2019 Navruz   Communication 0.1      Email to all opposing counsel re time estimates for Marconi,
            Avloni                          Kawasaki, V. Martinez, and Delgado depositions.
  10/8/2019 Navruz   Research        0.2    Prepare for deposition of Erin Marconi
            Avloni
  10/8/2019 Navruz   Meet            0.1    discussed Marconi, Kawasaki, V. Martinez, and Delgado
            Avloni                          deposition logistics with Larry Organ
  10/8/2019 Navruz   Communication 0.1      Email to Cimone Nunley re nextSource discovery responses.
            Avloni
  10/8/2019 Navruz   Meet            1.3    Team meeting re discovery and outstanding depositions
            Avloni
  10/9/2019 Navruz   Review/ Analyze 0.1    Rev'd email from Josue Torres; discussed with Larry Organ.
            Avloni
  10/9/2019 Navruz   Communication 0.1      discussed with Cimone Nunley re witnesses, potentially deposing
            Avloni                          Josue Torres.
  10/9/2019 Navruz   Communication 0.1      Email to Josue Torres
            Avloni
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Date       User      Activity        Time   Description
  10/9/2019 Navruz   Communication 0.3      Discuss deposition scheduling for Marconi, Kawasaki, V.
            Avloni                          Martinez, and Delgado depositions and remote access issues
                                            with Cimone Nunley
 10/10/2019 Navruz   Other           0.3    Reviewed Dr. Reading's report; saved docs to file.
            Avloni
 10/10/2019 Navruz   Communication 0.1      Researched Josue Torres's current whereabouts for service
            Avloni
 10/10/2019 Navruz   Communication 0.1      email to/from chartwell re Jackelin Delgado deposition
            Avloni
 10/10/2019 Navruz   Communication 0.2      Call with Cimone Nunley and Larry Organ re expert disclosures
            Avloni
 10/10/2019 Navruz   Communication 0.1      Discuss deposition scheduling with Larry Organ and Cimone
            Avloni                          Nunley
 10/10/2019 Navruz   Communication 0.1      Discuss logistics, service, and timing Josue Torres deposition with
            Avloni                          Cimone Nunley
 10/11/2019 Navruz   Communication 0.1      Email to Chartwell counsel re veronica martinez depo.
            Avloni
 10/11/2019 Navruz   Communication 0.1      Email to Chartwell Counsel re Veronica Martinez deposition
            Avloni                          subpoena.
 10/11/2019 Navruz   Communication 0.1      Reviewed email from Tesla regarding their RPD responses
            Avloni
 10/14/2019 Navruz   Draft/ Revise   0.2    Revised marconi deposition stipulation; email to/from Sabrina
            Avloni                          Grislis, Cimone Nunley, Bernard Alexander, and Larry Organ.
 10/14/2019 Navruz   Draft/ Revise   0.2    Further revised stipulation regarding Marconi deposition; email
            Avloni                          to /from Tesla counsel Patricia Jeng
 10/14/2019 Navruz   Communication 0.1      Email to all opposing counsel re marconi deposition stipulation.
            Avloni
 10/14/2019 Navruz   Communication 0.1      Email to/from Susan re Marconi deposition stipulation.
            Avloni
 10/14/2019 Navruz   Plan/ Prepare   0.3    Prepared for meeting with Tesla counsel Patricia Jeng re Tesla
            Avloni                          RPD responses.
 10/14/2019 Navruz   Communication 2.2      met and conferred in person with Tesla counsel Patricia Jeng re
            Avloni                          tesla discovery responses (.7); travel to/from (1.5)
 10/14/2019 Navruz   Communication 0.1      Telephone call with Larry Organ and Cimone Nunley regarding
            Avloni                          Marconi deposition stipulation
 10/15/2019 Navruz   Communication 0.1      Email to Patricia Jeng re Tesla's responses to RPD, Set 7.
            Avloni
 10/15/2019 Navruz   Communication 0.2      Discussion with Cimone Nunley re Tesla's responses to RPD, set
            Avloni                          7.
 10/15/2019 Navruz   Review/ Analyze 0.6    Reviewed citistaff pmk and tesla pmk discovery dispute letters
            Avloni
 10/16/2019 Navruz   Review/ Analyze 0.5    Reviewed doc production; discussed with Cimone Nunley; email
            Avloni                          to team.
 10/16/2019 Navruz   Communication 0.2      discussed Veronica Martinez deposition and discovery with Larry
            Avloni                          Organ and Cimone Nunley.
 10/16/2019 Navruz   Communication 0.2      Discussed deposition of Veronica Martinez with Larry Organ and
            Avloni                          Cimone Nunley
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Date       User      Activity        Time   Description
 10/17/2019 Navruz   Communication 0.2      Call with Cimone Nunley re Citistaff MSJ
            Avloni
 10/18/2019 Navruz   Review/ Analyze 0.1    Reviewed stipulation to extend time to file discovery dispute
            Avloni                          letters
 10/18/2019 Navruz   Communication 0.2      meet and confer with Patricia Jeng re Donet deposition
            Avloni
 10/18/2019 Navruz   Review/ Analyze 1.5    Reviewed, revised joint dispute letters re site inspection and
            Avloni                          tesla PMK. discuss with Cimone Nunley re strategy. discussion
                                            with Larry Organ re discovery dispute issues strategy.
 10/21/2019 Navruz   Review/ Analyze 0.1    Reviewed notice of recent decision drafted by Cimone Nunley re
            Avloni                          Martinez decision - instructions for filing, review by Larry Organ.
 10/22/2019 Navruz   Communication 0.3      Discuss all defendants' PMK topics and Josue Torres with Cimone
            Avloni                          Nunley
 10/23/2019 Navruz   Communication 0.1      Reviewed Orrick's order on discovery disputes.
            Avloni
 10/23/2019 Navruz   Communication 0.1      Email to all opposing counsel re scheduing Donet depo.
            Avloni
 10/23/2019 Navruz   Communication 0.1      Communication with Larry Organ regarding discovery order
            Avloni
 10/24/2019 Navruz   Communication 0.2      Call w Larry Organ re Donet depo - alerted to time, location,
            Avloni                          documents to pull, strategy, logistics
 10/24/2019 Navruz   Draft/ Revise   0.2    Communication with Cimone Nunley re SROGs to next source,
            Avloni                          reviewed PMK topics at issue - revised SROGs drafted by Cimone
                                            Nunley accordingly, email to nextSource counsel serving SROGs,
                                            email to Sabrina Grislis instructions to serve via US mail on all
                                            parties.
 10/24/2019 Navruz   Plan/ Prepare   0.2    Pulled docs for Donet depo; instuctions to Sabrina Grislis re trial
            Avloni                          subpoena, etc.
  11/4/2019 Navruz   Communication 0.1      Call with Cimone Nunely and Larry Organ regarding Natasha
            Avloni                          assisting on deposition summaries
  11/8/2019 Navruz   Communication 0.2      Discussed expert depositions/supplementing initial
            Avloni                          disclosures/shifting expert discovery cutoff with Cimone Nunley
                                            and Larry Organ
  11/8/2019 Navruz   Communication 0.1      Provide feedback to Cimone Nunley regarding her email to
            Avloni                          opposing counsel regarding the Court's October 3 discovery
                                            order
 11/13/2019 Navruz   Draft/ Revise   0.3    Prepared discovery requests for Citistaff; Email to Cimone
            Avloni                          Nunley.
 11/23/2019 Navruz   Communication 0.1      Reviewed Cimone Nunley's email to/from Tesla counsel Patricia
            Avloni                          Jeng re witness contact information. Email to Cimone Nunley re
                                            Citistaff discovery disputes.
 12/27/2019 Navruz   Communication 0.1      Email to Larry Organ, Cimone Nunley, Bernard Alexander, and
            Avloni                          Sabrina Grislis re trial related deadlines.
 12/27/2019 Navruz   Review/ Analyze 0.1    Reviewed Citistaff responses to SROG, Set 2.
            Avloni
 12/27/2019 Navruz   Communication 0.1      Email to/from Cimone Nunley, Larry Organ, Sabrina Grislis, and
            Avloni                          Bernard Alexander re deadlines.
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Date       User      Activity        Time   Description
   1/2/2020 Navruz   Review/ Analyze 1      Reviewed and revised MSC statement
            Avloni
   1/2/2020 Navruz   Meet            0.6    Meet with Bernard Alexander, Cimone Nunley, Larry Organ and
            Avloni                          Susan Organ re MSC and case strategy
   1/3/2020 Navruz   Communication 0.4      Discussed with Larry Organ and Cimone Nunley sanctions
            Avloni                          motion, depositions, witnesses, trial strategy.
  1/10/2020 Navruz   Draft/ Revise   0.3    Revised declaration in support of motion for sanctions.
            Avloni
  1/13/2020 Navruz   Communication 0.1      Discussion with Cimone Nunley re mediation.
            Avloni
  1/13/2020 Navruz   Communication 0.1      Email to team re Reading deposition.
            Avloni
  1/14/2020 Navruz   Review/ Analyze 0.1    Reviewed request for unredacted info from Tesla. Instructions to
            Avloni                          Sabrina Grislis.
  1/14/2020 Navruz   Meet            0.1    Team Meeting
            Avloni
  1/17/2020 Navruz   Communication 0.1      Email to/from Citistaff counsel Cheryl Stephens re designations.
            Avloni
  1/17/2020 Navruz   Communication 0.1      Call w/ Cimone Nunley re citistaff confidentiality designations.
            Avloni
  1/17/2020 Navruz   Communication 0.1      Discussion with Larry Organ and Cimone Nunley re Owen Diaz's
            Avloni                          personnel info disclosed in discovery.
  1/17/2020 Navruz   Other           0.1    Resolved EXTTI billing for depositions.
            Avloni
  1/20/2020 Navruz   Communication 0.1      Email to/from expert Amy Oppenheimer re availability.
            Avloni
  1/20/2020 Navruz   Communication 0.1      Email to Tesla's counsel re Amy Oppenheimer deposition.
            Avloni
  1/23/2020 Navruz   Review/ Analyze 0.1    Reviewed Tesla motion re retaining confidentiality of documents
            Avloni                          and attached athina martinez declaration.
  1/27/2020 Navruz   Communication 0.1      Email to Bernard Alexander re trial date.
            Avloni
  1/27/2020 Navruz   Communication 0.1      discussed with Cimone Nunley reply re motion for sanctions.
            Avloni
  1/28/2020 Navruz   Communication 0.1      Email to Tesla counsel Patricia Jeng re Amy Oppenheimer depo;
            Avloni                          email to/from Amy Oppenheimer re depo time; Calendared Amy
                                            Oppenheimer depo.
   2/3/2020 Navruz   Review/ Analyze 1.1    Motion for sanctions - reviewed motion and supporting docs;
            Avloni                          reviewed opp and supporting docs.
   2/3/2020 Navruz   Draft/ Revise   2.6    Revised reply ISusan Organ of motion for sanctions, admin
            Avloni                          motion, Sabrina Grislis and Cimone Nunley decl, discussion with
                                            Cimone Nunley, discussion with Sabrina Grislis .
   2/5/2020 Navruz   Communication 0.1      Emails re meeting with Harry.
            Avloni
  2/13/2020 Navruz   Communication 1.1      Telephone call with Larry Organ, Bernard Alexander, Cimone
            Avloni                          Nunley, Susan Organ, and jury consultant Harry Plotkin regarding
                                            trial strategy and preparation
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Date       User      Activity        Time   Description
  2/17/2020 Navruz   Communication 0.1      Email to Harry re focus group with Nichols Research.
            Avloni
  2/19/2020 Navruz   Communication 0.2      Discussion with Cimone Nunley re item/to-do list.
            Avloni
  2/19/2020 Navruz   Communication 0.1      Emailed team docs re potential witnes Jackel Williams.
            Avloni
  2/19/2020 Navruz   Communication 0.1      Email to/from Amy Oppenheimer re call.
            Avloni
  2/19/2020 Navruz   Communication 0.1      Email to Plotkin re focus group. Email to Larry Organ re payment.
            Avloni
  2/20/2020 Navruz   Communication 0.1      Email to Bernard re plotkin cost.
            Avloni
  2/24/2020 Navruz   Review/ Analyze 0.4    Rev'd Amy Oppenheimer's amended report; noted comments;
            Avloni                          email to team.
  2/29/2020 Navruz   Review/ Analyze 0.1    Skimmed through Amy Oppenheimer report; email to Larry
            Avloni                          Organ re updated report.
   3/3/2020 Navruz   Communication 0.1      Rev'd email from harry re voir dire ideas. Instructions to Cimone
            Avloni                          Nunley re next steps.
   3/5/2020 Navruz   Communication 0.1      Discussion with Larry Organ regarding expert Amy Oppenheimer
            Avloni                          and strategy
  3/11/2020 Navruz   Communication 0.1      Discussion with Cimone Nunley re witness Jackel.
            Avloni
  3/21/2020 Navruz   Review/ Analyze 0.8    Reviewed and revised Motion in Limine 1. Researched to make
            Avloni                          sure nothing missing.
  3/21/2020 Navruz   Draft/ Revise   0.3    Revised/Reviewed Motion in Limine 2.
            Avloni
  3/21/2020 Navruz   Review/ Analyze 0.4    Rev'd and revised Motion in Limine 3; researched case law.
            Avloni
  3/21/2020 Navruz   Review/ Analyze 0.4    Reviewed and revised Motion in Limine 4; researched cases.
            Avloni
  3/21/2020 Navruz   Review/ Analyze 0.1    Rev'd Motion in Limine No. 5
            Avloni
  3/21/2020 Navruz   Review/ Analyze 0.4    Rev'd Motion in Limine 6; research.
            Avloni
  3/21/2020 Navruz   Communication 0.2      Email to Cimone Nunley/Larry Organ re Motions in Limine; text
            Avloni                          to Cimone Nunley and Larry Organ re Motions in Limine.
  3/22/2020 Navruz   Communication 0.5      Call w/ Cimone Nunley and Larry Organ re strategy.
            Avloni
  3/23/2020 Navruz   Review/ Analyze 0.1    Rev'd Motion in Limine 7, email to Cimone Nunley with feedback.
            Avloni
  3/23/2020 Navruz   Communication 0.1      Email to/from Amy Oppenheimer re depo check.
            Avloni
  3/24/2020 Navruz   Communication 0.2      Call w/ Larry Organ, and then Cimone Nunley re Motions in
            Avloni                          Limine, me too, punitive damages.
  3/26/2020 Navruz   Other           0.1    Instructions to Sabrina Grislis re Amy Oppenheimer
            Avloni                          payment/transcript.
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Date       User      Activity        Time   Description
  3/27/2020 Navruz   Communication 0.4      Discussion with Larry Organ and Cimone Nunley re strategy.
            Avloni
  3/27/2020 Navruz   Communication 0.1      Email to/from Sabrina Grislis and Cimone Nunley re Motion in
            Avloni                          Limine witness decs.
  3/31/2020 Navruz   Other           0.2    Located witness jeff henry; search. Email to team with findings.
            Avloni
   4/2/2020 Navruz   Review/ Analyze 0.1    Rev'd orders and filings from today, email to Sabrina Grislis re
            Avloni                          calendaring.
   4/2/2020 Navruz   Communication 0.1      Email to/from Sabrina Grislis re witnesses.
            Avloni
   4/3/2020 Navruz   Review/ Analyze 0.1    Rev'd witness list.
            Avloni
   4/3/2020 Navruz   Communication 0.1      Email to Sabrina Grislis and Cimone Nunley re witness.
            Avloni
   4/3/2020 Navruz   Communication 0.1      Email to team re witnesses, subpoenas.
            Avloni
   4/3/2020 Navruz   Communication 0.1      Email to from investigator Stu Kohler re witness Jeff Henry
            Avloni
   4/3/2020 Navruz   Communication 0.2      Phone call with Larry Organ regarding witness information
            Avloni
   4/3/2020 Navruz   Communication 0.2      Phone call with Larry Organ, Cimone Nunley, and Sabrina Grislis
            Avloni                          regarding witness information for trial subpoenas
   4/5/2020 Navruz   Communication 0.1      Email to/from Stu re witness location.
            Avloni
   4/5/2020 Navruz   Communication 0.1      Email to team re emotional distress
            Avloni
   4/6/2020 Navruz   Communication 0.1      Email to/from team re emotional distress
            Avloni
   4/6/2020 Navruz   Communication 0.1      Phone call with Larry Organ, Cimone Nunley, and Sabrina Grislis
            Avloni                          regarding status of case
   4/7/2020 Navruz   Communication 0.6      Call w/ Cimone Nunley and Larry Organ re pretrial strategy and
            Avloni                          to-do list
   4/8/2020 Navruz   Communication 0.1      Telephone meeting with Larry Organ, Cimone Nunley, and
            Avloni                          Sabrina Grislis regarding tasks
  4/10/2020 Navruz   Communication 0.5      Telephone meeting with Larry Organ, Bernard Alexander, Cimone
            Avloni                          Nunley, and Susan Organ to discuss trial tasks and strategy

  4/11/2020 Navruz   Draft/ Revise   2      Revised joint disputed section of joint pretrial statement.
            Avloni
  4/12/2020 Navruz   Draft/ Revise   0.6    Revised jury instruction no. 10.
            Avloni
  4/12/2020 Navruz   Review/ Analyze 1.5    Rev'd joint jury instructions.
            Avloni
  4/13/2020 Navruz   Communication 0.1      Email to Sabrina Grislis re instructions for setting friday's meeting
            Avloni                          re strategy.
  4/15/2020 Navruz   Communication 0.1      Email to team re meeting.
            Avloni
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Date       User      Activity        Time   Description
  4/15/2020 Navruz   Communication 0.1      Email to/from Stu re Jeffrey Henry
            Avloni
  4/15/2020 Navruz   Communication 0.2      Phone call with Larry Organ regarding section 1981 standards
            Avloni
  4/16/2020 Navruz   Meet            1      Met with Larry Organ and Cimone Nunley to discuss strategy,
            Avloni                          themes, strong facts, weak facts, law, jury instructions, agenda
                                            for tomorrow's call with Harry Plotkin, etc.
  4/16/2020 Navruz   Other           1.6    Rev'd atty-work product notes, demonstratives, case law,
            Avloni                          prepared chart for tomorrow's team meeting.
  4/17/2020 Navruz   Review/ Analyze 0.1    Rev'd stip re Motions in Limine.
            Avloni
  4/17/2020 Navruz   Communication 0.1      Email to Harry and Bernard re today's meeting agenda, etc.
            Avloni
  4/17/2020 Navruz   Review/ Analyze 0.2    Rev'd Foster MIL, email to Cimone Nunley re minor edits.
            Avloni
  4/17/2020 Navruz   Meet            2.1    Meeting with team re strategy, themes, demonstratives.
            Avloni
  4/20/2020 Navruz   Review/ Analyze 0.1    Reviewed juror questionnaire
            Avloni
  4/21/2020 Navruz   Communication 0.1      Phone call with Larry Organ regarding timing in the case
            Avloni
  4/22/2020 Navruz   Communication 0.1      Call w/ Larry Organ and Cimone Nunley re jury instructions.
            Avloni
   5/6/2020 Navruz   Communication 0.1      Email to Cimone Nunley re Friday meeting with team.
            Avloni
  5/11/2020 Navruz   Communication 0.2      Call w/ Cimone Nunley re Diaz Motion in Limine rulings, trial
            Avloni                          date.
  5/18/2020 Navruz   Communication 0.1      Email to Sabrina Grislis re updating calendar with new trial date.
            Avloni
  5/22/2020 Navruz   Review/ Analyze 0.1    Rev'd order re Motions in Limine.
            Avloni
  5/22/2020 Navruz   Communication 0.7      Call w/ Larry Organ and Bernard Alexander re Motion in Limine
            Avloni                          rulings and strategy.
  5/27/2020 Navruz   Communication 0.1      Email to/from Harry Plotkin re trial date.
            Avloni
   6/4/2020 Navruz   Communication 0.1      Email to Susan Organ re concept Black rights don't matter at
            Avloni                          Tesla
   6/9/2020 Navruz   Communication 0.1      Email to/from team re next meeting time/date.
            Avloni
   6/9/2020 Navruz   Communication 0.1      Rev'd email from Sabrina Grislis to/from Larry Organ re
            Avloni                          availability, email to team with meeting time, instructions to
                                            Sabrina Grislis re setting up meeting.
  6/24/2020 Navruz   Review/ Analyze 0.1    Rev'd Tesla's case management statement.
            Avloni
  6/25/2020 Navruz   Communication 0.1      Email to/from Bernard re focus group.
            Avloni
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Date       User      Activity        Time   Description
  6/30/2020 Navruz   Communication 0.1      Email to team re zoom trial.
            Avloni
  7/20/2020 Navruz   Communication 0.1      Rev'd email from Harry Plotkin re focus groups, email to Larry
            Avloni                          Organ, Cimone Nunley, Bernard Alexander re focus group
                                            planning.
  7/24/2020 Navruz   Communication 0.1      Email to/from Harry Plotkin re focus group.
            Avloni
  7/31/2020 Navruz   Communication 0.1      Discuss meet and confer letter with Cimone Nunley
            Avloni
   8/5/2020 Navruz   Communication 0.1      Call w/ Larry Organ re focus group.
            Avloni
   8/5/2020 Navruz   Review/ Analyze 0.1    Rev'd power point slides.
            Avloni
   8/5/2020 Navruz   Communication 0.1      Rev'd emails re focus group planning.
            Avloni
   8/6/2020 Navruz   Meet            1.3    Trial/Focus Group planning with Mika, Harry, Cimone Nunley,
            Avloni                          Sabrina Grislis, Larry Organ, Susan Organ
  8/10/2020 Navruz   Communication 0.1      Email to Cimone Nunley and Larry Organ re meet and confer
            Avloni                          deadline.
  8/15/2020 Navruz   Appearance/     4      Focus Group
            Avloni   Attend
  8/15/2020 Navruz   Meet            0.9    Post focus group meeting and debrief with Harry Plotkin, and
            Avloni                          trial team
  8/17/2020 Navruz   Review/ Analyze 0.1    Rev'd Harry's notes re focus group; email to Cimone Nunley re
            Avloni                          notes.
  8/17/2020 Navruz   Communication 0.1      Rev'd Bernard Alexander's email re nextSource powerpoint;
            Avloni                          email to Cimone Nunley.
  8/17/2020 Navruz   Communication 0.1      Call w/ Larry Organ re strategy/focus group.
            Avloni
  8/17/2020 Navruz   Meet            0.2    Team Meeting
            Avloni
  8/19/2020 Navruz   Meet            1.6    Meet with Harry Plotkin and trial team to discuss themes and
            Avloni                          strategy post focus group
  8/20/2020 Navruz   Review/ Analyze 0.1    Rev'd Harry Plotkin's questionnaire; email to Harry re
            Avloni                          outstanding issues.
  8/24/2020 Navruz   Review/ Analyze 0.1    Rev'd order from court re pretrial dates - request to Sabrina
            Avloni                          Grislis to adjust calendar.
  8/30/2020 Navruz   Communication 0.1      Rev'd email from Harry Plotkin re trial setting conference
            Avloni                          questions, responded to email, added questions to calendar
                                            entry; added Bernard to calendared event.
   9/1/2020 Navruz   Communication 0.1      Emailed Court info re appearance for trial setting conference.
            Avloni
  9/23/2020 Navruz   Communication 0.1      Phone call with Larry Organ, Cimone Nunley, and Sabrina Grislis
            Avloni                          regarding the settlement conference
  9/30/2020 Navruz   Communication 0.1      Email from/to Harry re update on case.
            Avloni
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Date       User      Activity        Time   Description
 10/22/2020 Navruz   Communication 0.2      Discussed strategy and upcoming team meeting with Cimone
            Avloni                          Nunley
 10/23/2020 Navruz   Meet            0.9    Team meeting re themes, trial related issues, etc.
            Avloni
  11/2/2020 Navruz   Meet            1      Meeting with Larry, Bernard and Cimone re trial theme.
            Avloni
 11/12/2020 Navruz   Communication 0.4      Telephone call with Larry Organ regarding trial prep
            Avloni
  1/15/2021 Navruz   Communication 0.1      Rev'd Tesla's case management statement, email to Sabrina
            Avloni                          Grislis re P's case management statement.
  2/17/2021 Navruz   Review/ Analyze 0.2    Reviewed and revised stip to continue trial.
            Avloni
  6/18/2021 Navruz   Communication 0.1      Email from/to Bernard re team meeting.
            Avloni
  7/19/2021 Navruz   Other           1.7    meeting with Client, Cimone Nunley, Susan, Larry and Sabrina re
            Avloni                          client update, emotional distress, lost wages.
  8/16/2021 Navruz   Meet            4.2    Meet with team to prepare for trial - discussed witnesses,
            Avloni                          strategy, defenses, key points for each witness, which witnesses
                                            not to include, etc.
  8/26/2021 Navruz   Review/ Analyze 0.1    Rev'd Sabrina Grislis's email to clt re depo prep; added dates to
            Avloni                          calendar.
  8/26/2021 Navruz   Communication 0.1      Rev'd email from Sabrina Grislis re focus group, emailed payment
            Avloni                          info and next steps.
   9/4/2021 Navruz   Other           0.4    Assisted with feedback re focus group presentation.
            Avloni
   9/4/2021 Navruz   Draft/ Revise   0.5    Reviewed and revised Larry's script for focus group - our story.
            Avloni
   9/4/2021 Navruz   Draft/ Revise   2.1    Revised moderator's script for focus group; drafted/revised
            Avloni                          Tesla's position statement for focus group.
   9/5/2021 Navruz   Draft/ Revise   0.8    Revised Larry's script for afternoon focus group, adjusted' Tesla's
            Avloni                          position statement.
   9/5/2021 Navruz   Appearance/     4.1    Focus group: appear, assist, participate.
            Avloni   Attend
   9/5/2021 Navruz   Meet            0.4    Meet with Larry Organ, Cimone Nunley, Sabrina Grislis, and
            Avloni                          Susan Organ after focus groups to debrief
   9/9/2021 Navruz   Review/ Analyze 0.7    Reviewed decs for Maggie Crosby complaints. Email to team re
            Avloni                          locating complaints.
   9/9/2021 Navruz   Other           0.1    calendared trial related deadlines.
            Avloni
   9/9/2021 Navruz   Other           0.1    Discussed urgent trial related tasks with Larry. Sent email to
            Avloni                          team re same.
  9/10/2021 Navruz   Communication 0.1      Email to/from Amy Oppenheimer re trial prep.
            Avloni
  9/10/2021 Navruz   Plan/ Prepare   1.3    Met with Cimone Nunley, Larry Organ, Bernard Alexander,
            Avloni                          Sabrina Grislis re trial prep
  9/11/2021 Navruz   Communication 0.1      Email to/from Larry Organ re robert hurtado
            Avloni
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Date       User      Activity        Time   Description
  9/12/2021 Navruz   Research        0.1    Researched Robert Hortado; saved findings in key docs.
            Avloni
  9/12/2021 Navruz   Draft/ Revise   0.5    Reviewed, revised and provided ideas re Dr. Reading direct.
            Avloni
  9/12/2021 Navruz   Draft/ Revise   2.4    revised opening statement
            Avloni
  9/13/2021 Navruz   Plan/ Prepare   0.1    Email to team re me too prep.
            Avloni
  9/13/2021 Navruz   Plan/ Prepare   0.2    Met with Amy Oppenheimer re trial.
            Avloni
  9/13/2021 Navruz   Review/ Analyze 0.6    Rev'd and analyzed updated exhibit list; email to Larry, Cimone
            Avloni                          and Bernard about issues, areas to focus on in opp/cross/direct,
                                            thoughts.
  9/13/2021 Navruz   Plan/ Prepare   2.2    Prepared for logistics call with Amy Oppenheimer; reviewed
            Avloni                          depo trans w/ issues pull; reviewed Amy's report; prepared
                                            direct outline
  9/14/2021 Navruz   Communication 0.4      Reviewed witness list; sent team thoughts on several witnesses;
            Avloni                          discussion with Larry Organ re strategy.
  9/15/2021 Navruz   Communication 0.1      Emailed Amy Oppenheimer re upcoming meeting, and excerpts.
            Avloni
  9/15/2021 Navruz   Review/ Analyze 0.5    Reviewed LaDrea Jones' transcript; analyzed; emailed team
            Avloni                          thoughts.
  9/19/2021 Navruz   Other           0.1    researched erin marconi miller.
            Avloni
  9/19/2021 Navruz   Plan/ Prepare   0.7    Trial witness prep - reviewed Amy Oppenheimer's investigation
            Avloni                          and notes; drafted outline.
  9/19/2021 Navruz   Communication 0.5      Discussion with Larry Organ regarding expert Amy
            Avloni                          Oppenheimer's outline
  9/20/2021 Navruz   Other           2      Media outreach.
            Avloni
  9/20/2021 Navruz   Draft/ Revise   3.9    Finished preparing direct for Amy Oppenheimer. ; reviewed and
            Avloni                          analyzed report and info in transcript.
  9/21/2021 Navruz   Communication 0.1      Call w/ Helene from West valley staffing re witness testimony.
            Avloni
  9/21/2021 Navruz   Plan/ Prepare   0.3    Prepared Amy Oppenheimer for her examinaiton.
            Avloni
  9/21/2021 Navruz   Communication 0.1      Discussed with Cimone Nunley witness logistics - id/vaccination.
            Avloni
  9/21/2021 Navruz   Communication 0.1      Message to Amy Oppenheimer re zoom meeting.
            Avloni
  9/21/2021 Navruz   Draft/ Revise   1      Reviewed jury instruction; email to/from Amy Oppenheimer re
            Avloni                          adjusting prep time; researched/briefed issue re disc
                                            designations by non-parties, and using Jones and Lambert.
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Date       User      Activity        Time   Description
  9/22/2021 Navruz   Plan/ Prepare   5      Watched opening statement and provided feedback, edits;
            Avloni                          discussed strategy with Larry, discussed 3 mini briefs with larry;
                                            reviewed discovery designation related to mini brief; reviewed
                                            nigel jones dec and testimony related to mini brief. discussed
                                            mini brief strategy with Cimone Nunley.
  9/22/2021 Navruz   Research        5.6    Juror background research; discussion with Larry Organ, Bernard
            Avloni                          Alexander and Susan Organ voir dire and potential jurors.

  9/23/2021 Navruz   Research        2.2    Further research on prospective jurors. Updated team on
            Avloni                          research.
  9/23/2021 Navruz   Communication 0.6      Discussion with Cimone, Harry, Larry, Bernard re jury
            Avloni                          instructions.
  9/23/2021 Navruz   Review/ Analyze 0.5    Rev'd tesla's briefing re using discovery of third party entities;
            Avloni                          drafted response, discussed with Larry Organ, emailed Sabrina
                                            Grislis for filing.
  9/23/2021 Navruz   Review/ Analyze 0.4    Further research on prospective jurors.
            Avloni
  9/24/2021 Navruz   Draft/ Revise   3.4    Rev'd Motion in Limine related to nigel jones, reviewed court's
            Avloni                          ruling re nigel jones mil, researched admissiability of nigel jones
                                            testimony, drafted brief re admissibility of nigel jones testimony.
  9/24/2021 Navruz   Appearance/     7      Trial - travel to/from Diaz trial appear for voir dire
            Avloni   Attend
  9/25/2021 Navruz   Plan/ Prepare   2.8    DIAZ - assisted with opening statement prep
            Avloni
  9/25/2021 Navruz   Meet            0.7    Meeting with Amy Oppenheimer and Larry re demonstratives,
            Avloni                          testimony, outline, etc.
  9/25/2021 Navruz   Review/ Analyze 0.7    Pulled exhibits for Amy Oppenheimer with trial, rather than
            Avloni                          exhibit stamps.
  9/25/2021 Navruz   Review/ Analyze 0.3    Rev'd media articles, pulled Diaz excerpts for depo prep.
            Avloni
  9/26/2021 Navruz   Plan/ Prepare   2      Amy Oppenheimer: reviewed powerpoint and report outline;
            Avloni                          discussion with larry and cimone; revised powerpoint and report
                                            outline, added trial exhibits; emailed back to Amy.
  9/27/2021 Navruz   Other           6.5    Diaz Trial - Day 1; appear (5); travel t/from (1.5)
            Avloni
  9/27/2021 Navruz   Draft/ Revise   1.2    Demetric Diaz: Analyzed counter designations and objections
            Avloni                          made by Tesla; reviewed Demetric's transcript; reviewed court's
                                            Motion in Limine ruling on this issue; discussed strategy with LO;
                                            drafted P's response to Tesla's designations and objections.
  9/27/2021 Navruz   Communication 0.5      Discuss trial strategy with Emily Kohlheim
            Avloni
  9/27/2021 Navruz   Communication 0.6      Phone conference with Larry Organ, Sabrina Grislis, Bernard
            Avloni                          Alexander, and Cimone Nunley to debrief, discuss strategy, and
                                            tasks
  9/28/2021 Navruz   Appearance/     6.5    Appeared in court (5); travel to/from (1.5)
            Avloni   Attend
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Date       User      Activity        Time   Description
  9/28/2021 Navruz   Plan/ Prepare   0.7    Worked on closing argument: outlined team notes - sabrina,
            Avloni                          susan, cimone's, etc.
  9/29/2021 Navruz   Appearance/     6      appeared for trial; drive to/from
            Avloni   Attend
  9/29/2021 Navruz   Plan/ Prepare   1      began working on closing powerpoint.
            Avloni
  9/29/2021 Navruz   Plan/ Prepare   0.4    Assisted with prep for lamar patterson direct.
            Avloni
  9/29/2021 Navruz   Plan/ Prepare   2      Worked on closing argument powerpoint slide.
            Avloni
  9/30/2021 Navruz   Appearance/     5.5    Attended trial, drive to/from, discussed strategy w/ team,
            Avloni   Attend                 assisted with witness prep.
  9/30/2021 Navruz   Draft/ Revise   6      Revised closing statement slides, pulled material, etc.
            Avloni
  9/30/2021 Navruz   Meet            2.2    Meet with Larry Organ, Bernard Alexander, Cimone Nunley,
            Avloni                          Sabrina Grislis, and Susan Organ to discuss remaining tasks and
                                            strategy
  10/1/2021 Navruz   Appearance/     4      Appeared for trial, discussed strategy, drive to/from trial.
            Avloni   Attend
  10/1/2021 Navruz   Meet            3      Meeting with Larry, Cimone, Bernard and Susan re closing
            Avloni                          argument power point slides.
  10/1/2021 Navruz   Communication 0.3      Discussed trial strategy with susan organ.
            Avloni
  10/1/2021 Navruz   Draft/ Revise   2      revised and drafted additional closing slides.
            Avloni
  10/2/2021 Navruz   Draft/ Revise   7      Drafted opp to tesla's motion to strike Mahla dec, prepared my
            Avloni                          dec, prepared exhibits, researched legal and factual issues,
                                            reviewed mahla's report and prior transcript, as well as trial
                                            testimony.
  10/2/2021 Navruz   Meet            0.7    Met to discuss closing powerpoint slides and strategy with
            Avloni                          Cimone Nunely and Susan Organ
  10/2/2021 Navruz   Draft/ Revise   2      Worked on closing powerpoint slides.
            Avloni
  10/2/2021 Navruz   Meet            0.2    Meet with Larry Organ to discuss our opposition to defendant's
            Avloni                          motion to strike the testimony of Charles Mahla
  10/3/2021 Navruz   Draft/ Revise   0.8    Revised and finalized opposition to Defendant's motion to strike
            Avloni                          Charles Mahla's testimony; merged and finalized exhibits for
                                            filing.
  10/3/2021 Navruz   Draft/ Revise   1.5    Prepared Ramon Martinez and Robert Hurtado supervisor slides -
            Avloni                          reviewed and pulled exhibits, reviewed relevant testimony for
                                            the closing PowerPoint
  10/3/2021 Navruz   Draft/ Revise   0.2    Reviewed La'Drea Jones' trial transcript and created slide for the
            Avloni                          closing powerpoint.
  10/3/2021 Navruz   Review/ Analyze 0.2    Reviewed Jackelin Delgado Smith trial transcript for content for
            Avloni                          closing Powerpoint.
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Date       User      Activity        Time   Description
  10/3/2021 Navruz   Communication 0.4      Jumped into discussion with Bernard Alexander and Larry Organ
            Avloni                          and Susan Organ regarding rebuttal, and discussed exhibit 106
                                            with Larry Organ and Susan Organ subsequently.
  10/3/2021 Navruz   Plan/ Prepare   3.5    Reviewed Ramon Martinez's testimony for closing argument;
            Avloni                          met with Cimone Nunley, Sabrina Grislis, Larry Organ, and Susan
                                            Organ regarding rebuttal. Prepared rebuttal arguments, typed up
                                            notes from meeting and sent to Susan Organ so she can prepare
                                            final rebuttal slides, searched for quotes for rebuttal slides.

  10/3/2021 Navruz   Meet            0.1    Discussed Jackelin Delgado Smith's trial transcript content for use
            Avloni                          in closing PowerPoint with Larry Organ
  10/4/2021 Navruz   Appearance/   6.5      Appeared in court for closing and voir dire; assisted with packup,
            Avloni   Attend                 etc. Travel to and from court
  10/6/2021 Navruz   Communication 0.1      Telephone call with Larry Organ regarding motion fee research
            Avloni
  10/7/2021 Navruz   Communication 0.2      Discussion with Larry Organ regarding appeal and other issues
            Avloni
  10/8/2021 Navruz   Review/ Analyze 0.1    Reviewed judgment; sent email to Cimone Nunley regarding
            Avloni                          edits.
 10/11/2021 Navruz   Paralegal       0.1    Set up zoom call for meeting with Michael Rubin.
            Avloni
 10/12/2021 Navruz   Meet            1      Meet with Michael Rubin, Jonathan Rosenthal, Larry Organ,
            Avloni                          Cimone Nunley, and Sabrina Grislis regarding next steps of Diaz
                                            case in preparation for appeal (left early)
 10/22/2021 Navruz   Research        0.8    Researched post-judgment interest on attorney fees - and when
            Avloni                          interest begins to accrue. Emailed summary to team.
  11/2/2021 Navruz   Review/ Analyze 0.7    Rev'd and revised Bill of Costs, and supporting Nunley
            Avloni                          declaration.
  11/2/2021 Navruz   Communication 0.1      Discussed bill of costs with Cimone, edits re deposition costs.
            Avloni
 11/18/2021 Navruz   Research        1.3    Reviewed Tesla's post trial brief; researched cases related to
            Avloni                          punitive damages and ed damages, analyzed Exxon case, 10th
                                            circuit case re comparisons, and searched for high punitive
                                            damages ratio cases.
 11/18/2021 Navruz   Meet            1.3    Meeting with Larry Organ, Cimone Nunley, Bernard, Michael,
            Avloni                          Jono regarding Diaz's post trial brief, strategy, delegated work.

 11/23/2021 Navruz   Review/ Analyze 0.9    Reviewed punitive damages and emotional distress cases.
            Avloni
 11/24/2021 Navruz   Appearance/     0.7    Meeting re post trial brief strategy with cimone, larry, michael,
            Avloni   Attend                 jono, sabrina and bernard.
  12/6/2021 Navruz   Draft/ Revise   5.5    Drafted request for judicial notice re widespread media
            Avloni                          dissemination; researched relevant case law related to issue;
                                            researched and pulled up 20 publications.
  12/7/2021 Navruz   Draft/ Revise   0.2    Revised RJN, and discussed attachments with Sabrina.
            Avloni
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Date       User      Activity      Time   Description
  1/14/2022 Navruz   Appearance/   1      Oral arg practice session.
            Avloni   Attend
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Date       User    Activity        Time   Description
11/27/2017 Noah    Research        0.4    Research removability regarding section 1981 claims.
           Baron
12/1/2017 Noah     Research        0.9    Research the deadlines relating to removal from state to federal
           Baron                          court.
12/1/2017 Noah     Research        1.1    Research damages relating to Unruh, section 1981, and Ralph Act
           Baron                          claims.
5/10/2018 Noah     Other           0.2    Provide tech support to Navruz Avloni during the deposition prep
           Baron                          of client Owen Diaz.
5/22/2018 Noah     Plan/ Prepare   0.5    Prepare documents in preparation for the deposition of Owen
           Baron                          Diaz.
6/4/2018   Noah    Research        0.4    Research regarding section 1981 claims.
           Baron
6/4/2018   Noah    Research        0.8    Conflict research
           Baron
6/6/2018   Noah    Review/ Analyze 0.3    Review the deposition footage.
           Baron
6/8/2018   Noah    Meet            0.4    Meeting with Ramzi Nimr regarding Owen Diaz's deposition
           Baron
10/9/2018 Noah     Research        0.5    Research section 1981 jury instructions.
           Baron
10/16/2018 Noah    Research        1.1    Research regarding section 1981, joint employer, and duty to
           Baron                          prevent.
10/26/2018 Noah    Draft/ Revise   1      Draft a meet and confer letter regarding the subpoenas to Owen
           Baron                          Diaz's current employers.
10/26/2018 Noah    Research        1.8    Research regarding federal privacy right in discovery; draft meet
           Baron                          and confer letter.
10/29/2018 Noah    Draft/ Revise   1      Research and draft meet and confer letter to Defendants Tesla
           Baron                          and Citistaff subpoenas for Plaintiffs' current employment
                                          records.
10/29/2018 Noah    Draft/ Revise   0.3    Further draft and revise the meet and confer letter to Tesla
           Baron                          regarding its subpoenas to Plaintiffs.
10/29/2018 Noah    Meet            0.1    Discuss feedback on meet and confer letter with Cady Sartorius
           Baron
10/30/2018 Noah    Draft/ Revise   0.8    Revise the meet and confer letters regarding the subpoenas to
           Baron                          Plaintiffs' subsequent employers
10/30/2018 Noah    Communication 0.1      Calls to subpoena recipients not to produce pending conflict
           Baron                          resolution
10/30/2018 Noah    Communication 0.1      Communications with Navruz Avloni regarding contacting
           Baron                          subpoenaed employers and Wheels of Justice to give notice of
                                          our objection.
10/30/2018 Noah    Meet            0.1    Meet with Larry Organ regarding the meet and confer letter
           Baron                          about Defendant Citistaff's subpoena to AC transit.
10/30/2018 Noah    Draft/ Revise   0.4    Revise the meet and confer letter to Defendant Citistaff's
           Baron                          subpoena to AC Transit.
10/30/2018 Noah    Communication 0.1      Emails to Wheels of Justice, AC Transit, Glazier Steel, and Alamillo
           Baron                          Rebar regarding Plaintiffs' notice of objection to subpoenas and
                                          instruction not to produce.
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Date       User    Activity      Time    Description
10/30/2018 Noah    Communication 0.2     Emails and call Wheels of Justice and AC Transit regarding
           Baron                         Plaintiff's notice of objection and instruction not to produce.
10/30/2018 Noah    Review/ Analyze 0.3   Review previous discovery requests and responses for
           Baron                         information for meet and confer letter
10/30/2018 Noah    Communication 0.1     Call with Owen Diaz regarding current employer and
           Baron                         employment status
10/30/2018 Noah    Communication 0.1     Emails to Navruz Avloni regarding the meet and confer letters.
           Baron
10/31/2018 Noah    Communication 0.1     Call with AC Transit regarding instruction not to produce
           Baron                         documents responsive to subpoena pending parties' resolution.

10/31/2018 Noah    Communication 0.4     Call with counsel for Defendants Tesla and Citistaff regarding
           Baron                         meet and confer efforts relating to subpoenas to Plaintiffs'
                                         subsequent employers (0.5); call with client regarding current
                                         employment (0.2).
10/31/2018 Noah    Research        0.3   research for meet & confer efforts re third party motion to quash
           Baron                         on privacy and relevance grounds
11/1/2018 Noah     Review/ Analyze 0.1   Review emails and call summaries of meet and confer efforts
           Baron                         with counsel for Defendants Citistaff and Tesla.
11/2/2018 Noah     Communication 0.4     Call w opp counsel re meet & confer on subpoenas; meet w Larry
           Baron                         Organ & Cimone Nunley re new discovery requests
11/5/2018 Noah     Review/ Analyze 0.1   Review of Defendant Tesla's notice of continued depo of
           Baron                         Demetric Di-az
11/5/2018 Noah     Review/ Analyze 0.1   Review of Defendant Tesla's notice of continued depo of Owen
           Baron                         Diaz
11/9/2018 Noah     Review/ Analyze 0.1   Review emails between Larry Organ and opposing counsel
           Baron                         regarding scheduling depositions.
11/12/2018 Noah    Draft/ Revise   0.4   Research and draft response email to opposing counsel regarding
           Baron                         third party subpoenas
11/12/2018 Noah    Communication 0.1     Review of emails from opposing counsel regarding Plaintiffs'
           Baron                         objections to third party subpoenas
11/20/2018 Noah    Draft/ Revise   1     Draft a discovery dispute letter regarding Defendant's
           Baron                         subpoenas.
11/21/2018 Noah    Communication 0.1     Call to AC Transit counsel regarding discovery dispute as to
           Baron                         subpoena
11/21/2018 Noah    Draft/ Revise   0.3   Reviewed Cimone Nunley's changes to the joint discovery dispute
           Baron                         brief; make revisions to brief.
11/26/2018 Noah    Communication 0.1     Review of email from opposing counsel; draft and send reply.
           Baron
11/27/2018 Noah    Communication 0.1     Email with opposing counsel regarding status of dispute letter
           Baron
12/10/2018 Noah    Meet            0.2   Meet with Larry Organ and Navruz Avloni regarding West Valley
           Baron                         PMK depo prep
12/10/2018 Noah    Review/ Analyze 2.7   Review of initial document disclosures and discovery; prepare for
           Baron                         the deposition of Defendant West Valley's PMK.
12/14/2018 Noah    Meet            0.4   Assisted Sabrina Grislis with filing the joint stipulation to
           Baron                         continue the trial and amend the complaint via ECF.
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Date        User    Activity        Time   Description
1/2/2019    Noah    Review/ Analyze 0.1    Review of news article regarding Tesla's HR department
            Baron
1/2/2019    Noah    Review/ Analyze 0.1    Review team emails regarding Tesla in the news
            Baron
1/2/2019    Noah    Meet            0.2    Meet with Cimone Nunley regarding discovery
            Baron
1/9/2019    Noah    Review/ Analyze 0.1    Review emails between Plaintiffs' counsel and opposing
            Baron                          counsels.
1/22/2019   Noah    Meet            0.1    team meeting
            Baron
3/27/2019   Noah    Meet            0.1    team meeting
            Baron
4/17/2019   Noah    Meet            0.1    team mtg
            Baron
5/22/2019   Noah    Meet            0.1    team mtg
            Baron
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Date         User     Activity          Time   Description
1/23/2023    Molly    Communication     0.8    call with counsel re PMK at trial
             Durkin
1/23/2023    Molly    Research          0.8    research re PMK testimony at trial
             Durkin
2/2/2023     Molly    Meet              0.2    call w counsel re MIL
             Durkin
2/2/2023     Molly    Draft/ Revise     0.6    revising MIL footnote
             Durkin
2/6/2023     Molly    Communication     0.1    call with Marqui Hood re punitive damages scope briefing
             Durkin
2/7/2023     Molly    Draft/ Revise     6.6    briefing re punitive damages liability
             Durkin
2/8/2023     Molly    Communication     0.7    call with Marqui re punitive damages briefing
             Durkin
2/8/2023     Molly    Draft/ Revise     3.3    drafting briefing re punitive damages
             Durkin
2/16/2023    Molly    Communication     0.1    Strategy call with Larry & Marqui
             Durkin
2/22/2023    Molly    Communication     0.1    Call w/ Marqui
             Durkin
2/22/2023    Molly    Communication     0.4    call w/ Marqui re reference to "jury trial" in joint pretrial
             Durkin                            statement
2/23/2023    Molly    Communication     0.3    call w Marqui re pretrial briefing
             Durkin
2/23/2023    Molly    Communication     0.2    call with Marqui and Cimone re pretrial briefing
             Durkin
2/23/2023    Molly    Communication     0.4    call with Marqui re pretrial briefing
             Durkin
2/23/2023    Molly    Research          2.9    Research re pretrial briefing re reference to first trial
             Durkin
2/23/2023    Molly    Communication     0.2    call with Marqui re briefing on reference to first trial
             Durkin
2/23/2023    Molly    Draft/ Revise     1.6    Draft/revise briefing re reference to prior trial
             Durkin
2/24/2023    Molly    Research          0.3    Research re mention of prior trial issue
             Durkin
2/24/2023    Molly    Draft/ Revise     0.6    Review/Revise/Research re briefing on reference to prior trial
             Durkin
2/27/2023    Molly    Communication     0.1    Call with Marqui re strategy
             Durkin
2/27/2023    Molly    Communication     0.2    call w/ Marqui re strategy
             Durkin
3/2/2023     Molly    Communication     0.5    call with co counsel re strategy on MIL
             Durkin
3/2/2023     Molly    Review/ Analyze   0.2    Reviewing transcripts re feces incident
             Durkin
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Date         User     Activity          Time   Description
3/2/2023     Molly    Review/ Analyze   0.1    Reviewing order on pretrial conference
             Durkin
3/2/2023     Molly    Draft/ Revise     0.7    preparing filing re feces incident
             Durkin
3/3/2023     Molly    Draft/ Revise     0.1    Review/revise submission re feces incident
             Durkin
3/10/2023    Molly    Research          0.2    Research re HR Manager
             Durkin
3/22/2023    Molly    Communication     0.2    call w/ Marqui re juror research
             Durkin
3/22/2023    Molly    Research          0.8    Potential juror research
             Durkin
3/24/2023    Molly    Review/ Analyze   0.2    Reviewing Tesla's objection to demonstratives
             Durkin
3/24/2023    Molly    Communication     0.1    Call with Marqui Hood re Tesla's objection to demonstratives
             Durkin
3/24/2023    Molly    File/ Serve       0.7    Revise and file admin motion to bring equipment into courtroom
             Durkin
3/24/2023    Molly    File/ Serve       0.3    Filing response to objection to Oppenheimer slides and
             Durkin                            testimony
3/24/2023    Molly    File/ Serve       0.1    Filing response to objections to jury instructions
             Durkin
3/26/2023    Molly    Communication     0.1    Call with Marqui re legal research
             Durkin
3/29/2023    Molly    Draft/ Revise     0.3    Trial brief re objection to cross exam of Diaz
             Durkin
3/30/2023    Molly    Draft/ Revise     4.6    Legal research and drafting mtn for mistrial
             Durkin
4/5/2023     Molly    Meet              1.2    Meet with Larry, Cimon, Marqui, Bernard Alexander, Michael
             Durkin                            Ruben, Jono Rosenthal, Dustin Collier re strategy
4/5/2023     Molly    Research          0.8    Gather press clippings
             Durkin
6/27/2023    Molly    Draft/ Revise     1.7    Reviewing cites in reply brief re Motion for New Trial
             Durkin
6/28/2023    Molly    Draft/ Revise     0.5    Review/edit reply brief to Motion for New Trial
             Durkin
8/16/2023    Molly    Review/ Analyze   2.1    Reviewing briefing and record re: Tesla response to notice of new
             Durkin                            evidence
8/16/2023    Molly    Meet              0.5    Meeting re Tesla's response to Notice of new Evidence
             Durkin
8/16/2023    Molly    Communication     0.2    Call with Marqui re briefing re new evidence
             Durkin
8/16/2023    Molly    Draft/ Revise     6.6    Drafting reply re Plaintiff's Notice of New Evidence ISO motion
             Durkin                            for retrial
8/17/2023    Molly    Communication     0.4    Email to M Rubin, L Organ, B. Alexander, M. Hood, C. Nunley, J.
             Durkin                            Rosenthal re draft reply brief ISO notice of new evidence
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Date         User     Activity        Time   Description
8/17/2023    Molly    Communication   0.1    Call with MH re reply briefing re Notice of New Evidence
             Durkin
8/17/2023    Molly    Communication   0.1    Call with Marqui re reply briefing
             Durkin
8/17/2023    Molly    Communication   0.2    Call with Marqui re reply brief
             Durkin
8/17/2023    Molly    Draft/ Revise   0.9    Drafting/editing reply brief re notice of additional evidence
             Durkin
8/18/2023    Molly    Draft/ Revise   0.2    Review/edit Reply re: Notice of New Evidence
             Durkin
8/18/2023    Molly    Draft/ Revise   0.9    Review/revise admin motion to file under seal
             Durkin
8/18/2023    Molly    Communication   0.1    Email to team re Admin Motion to File Under Seal
             Durkin
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Date         User    Activity           Time   Description
10/18/2019   Teodora File/ Serve        0.3    Serve deposition notice of Erin Marconi
             Gagauz
10/18/2019   Teodora Communication      0.2    Call with Jean Ger to receive instructions for serving the
             Gagauz                            deposition notice of Erin Marconi
10/21/2019   Teodora Communication      0.1    Call with Cimone Nunley requesting I scan and email the Proof of
             Gagauz                            Service regarding the Marconi deposition
3/3/2020     Teodora Paralegal          0.2    Assist Sabrina Grislis with preparing the chambers copies of the
             Gagauz                            stipulation
6/2/2020     Teodora Draft/ Revise      1.1    Calculate the new pretrial deadlines using the new trial date
             Gagauz
6/3/2020     Teodora Communication      0.2    verify pre trial DL's; send email to Cimone Nunley and Sabrina
             Gagauz                            Grislis;
6/11/2020    Teodora Communication      0.1    communication w Cimone Nunley re pre trial DL's; update task
             Gagauz                            list.
6/17/2020    Teodora Communication      0.1    communication with Sabrina Grislis re Pre Trial DL
             Gagauz
6/22/2020    Teodora Draft/ Revise      0.9    remove old pre trial DL's; add new ones to calendar
             Gagauz
9/17/2021    Teodora Postage/Delivery   0.3    create and print FedEx label for Debra Pas CRR to send pretrial
             Gagauz                            hearing transcripts
9/21/2021    Teodora Communication      0.1    call with Helene A. Simvoulakis; communications with Navruz
             Gagauz                            Avloni re same
9/28/2021    Teodora Travel Expense     2      travel to/ from courthouse
             Gagauz
10/11/2021   Teodora Paralegal          0.3    Create FedEx package for Michael Rubin
             Gagauz
10/11/2021   Teodora Postage/Delivery   0.2    FedEx drop off, package to Michael Rubin.
             Gagauz
7/25/2022    Teodora Plan/ Prepare      0.1    updated the calendar re new trial date and communications with
             Gagauz                            Sabrina Grislis re same
12/21/2022   Teodora Appearance/        3.1    ED focus Group and Debrief
             Gagauz Attend
2/14/2023    Teodora Meet               1.1    meet with Sabrina Grislis and Cameron Hartquist re focus group
             Gagauz
2/16/2023    Teodora Appearance/        3.3    Diaz focus group
             Gagauz Attend
2/20/2023    Teodora Communication      0.2    received email from Larry Organ re date of the next focus group
             Gagauz                            and discussed with Cameron Hartquist next steps
2/20/2023    Teodora Paralegal          0.1    updated the focus group time on the calendar
             Gagauz
2/20/2023    Teodora Plan/ Prepare      0.8    stared prepping for the focus group 2/26; survey monkey add
             Gagauz                            and logged in into all accounts; communications with Sabrina
                                               Grislis and Cameron Hartquist re same
2/20/2023    Teodora Plan/ Prepare      1      posted a craigslist ad for feb 26 focus group and created survey
             Gagauz                            monkey link
2/20/2023    Teodora Review/ Analyze    0.2    reviewed focus group survey monkey responses for feb 26 focus
             Gagauz                            group
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Date        User    Activity          Time   Description
2/20/2023   Teodora Review/ Analyze   0.4    review survey monkey responses from craigslist ad and delete
            Gagauz                           the incomplete
2/21/2023   Teodora Review/ Analyze   0.2    sorted the incomplete forms on survey monkey for 2/26 focus
            Gagauz                           group
2/22/2023   Teodora Plan/ Prepare     0.5    saved the responses to Survey Monkey Craigslist posting in DB;
            Gagauz                           deleted the Craiglist posts re same and communications with
                                             Cameron Hartquist re logistics
2/22/2023   Teodora Plan/ Prepare     0.4    reviewed the focus group responses to select participants and
            Gagauz                           closed the focus group link in Survey Monkey
2/22/2023   Teodora Review/ Analyze   0.2    reviewed list saved by Cam for the focus group and highlighted
            Gagauz                           the repeat participants
2/23/2023   Teodora Meet              0.4    meet with Cameron Hartquist and Sabrina Grislis re trial binders
            Gagauz                           and pre-trial
2/23/2023   Teodora Plan/ Prepare     2.1    Prepared the MIL Binder for the pre-trial meeting
            Gagauz
2/24/2023   Teodora Communication     0.2    with Cameron Hartquist re Focus Group Logistics
            Gagauz
2/24/2023   Teodora Plan/ Prepare     0.2    created label for focus group gmail and updated the
            Gagauz                           confidentiality agreement
2/24/2023   Teodora Paralegal         1.1    sent confidentiality agreements for the focus group
            Gagauz
2/24/2023   Teodora Plan/ Prepare     0.2    sent agreements for the focus group and updated the doc
            Gagauz
2/27/2023   Teodora Appearance/       5      prior and post focus group preparation and payments; attend the
            Gagauz Attend                    focus group and coordinating it with CH
2/27/2023   Teodora Review/ Analyze   0.2    reviewed survey monkey responses to post group survey
            Gagauz
3/2/2023    Teodora Appearance/       1.7    attend focus group
            Gagauz Attend
3/20/2023   Teodora Communication     0.2    re in-office trial help strategy
            Gagauz
3/22/2023   Teodora Plan/ Prepare     0.8    assembled exhibit binders
            Gagauz
3/22/2023   Teodora Research          1.5    jury research and attending meeting re same
            Gagauz
3/23/2023   Teodora Plan/ Prepare     1.4    assembled exhibit binders
            Gagauz
3/23/2023   Teodora Meet              1.2    with Sabrina Grislis and Cameron Hartquist re trial directory
            Gagauz                           videos
3/23/2023   Teodora Communication     0.3    with Sabrina Grislis and Cameron Hartquist re the focus group
            Gagauz                           tasks and strategy
3/24/2023   Teodora Meet              1.4    trial directory with Sabrina Grislis; exhibit prep.
            Gagauz
3/24/2023   Teodora Appearance/       4.1    courthouse trial arrangements
            Gagauz Attend
3/24/2023   Teodora Plan/ Prepare     1.1    called and confirmed focus group participants
            Gagauz
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Date        User    Activity        Time   Description
3/24/2023   Teodora Communication   0.5    called addl focus group participants
            Gagauz
4/18/2023   Teodora Paralegal       0.1    added Cimone Nunley's travel expenses for trial
            Gagauz
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Date       User         Activity          Time   Description
12/17/2018 Jean Ger     Communication     0.1    Email to Kathy with Bridget Mattos and Associates regarding the
                                                 cancelled deposition.
12/20/2018 Jean Ger     File/ Serve       0.2    Draft the proofs of service and serve Owen Diaz's responses to
                                                 Defendant Citstaff's discovery request and Demetric Di-az
                                                 responses to Defendant Tesla's discovery request.
3/14/2019    Jean Ger   File/ Serve       1.2    Finalize deposition notices, prepare proof of service, and serve
                                                 via mail and email on opposing counsels.
4/3/2019     Jean Ger   Communication     0.1    Investigate Judy Timbreza on PeopleMap to search for address.
6/5/2019     Jean Ger   Deposition        1.2    depo prep - print docs for Titus McCaleb depo
6/12/2019    Jean Ger   Communication     0.1    call from saja re deponent status (Titus McCaleb)
6/21/2019    Jean Ger   Paralegal         0.2    send witness fee to deponent Titus, save to records
6/24/2019    Jean Ger   Communication     0.1    call w/ cimone re diaz discovery
6/24/2019    Jean Ger   File/ Serve       0.6    service - owen depo objs.
7/17/2019    Jean Ger   Paralegal         0.1    save pretrial order to file
9/16/2019    Jean Ger   Meet              0.1    Meet with team to discuss case status, trial planning and
                                                 discovery
10/1/2019    Jean Ger   Meet              0.1    Team Meeting
10/3/2019    Jean Ger   Communication     0.1    call with Sabrina Grislis re fedex info
10/9/2019    Jean Ger   Draft/ Revise     0.7    Draft Trial Subp. and Standby Agreement - Kawasaki
10/9/2019    Jean Ger   Plan/ Prepare     0.2    print out protective order for today's depo, call from Cece re
                                                 today's depo
10/9/2019    Jean Ger   Paralegal         0.2    credit card form for tomorrow's depo, confirm w Cimone Nunley,
                                                 fax over and save to DB
10/9/2019 Jean Ger      Paralegal         0.1    upload standby agreement and trial subp. template to file
10/11/2019 Jean Ger     File/ Serve       0.6    serve expert disclosures
10/18/2019 Jean Ger     Communication     0.2    Call with Teodora Gagauz re instructions for service for today -
                                                 Macroni deposition
10/18/2019 Jean Ger     Draft/ Revise     0.2    Review draft, Revise POS for Marconi Deposition - Send to
                                                 Teodora Gagauz for service with labels
10/21/2019 Jean Ger     Review/ Analyze   0.1    Review Teodora Gagauz letter re NOD of Macroni
10/22/2019 Jean Ger     Meet              0.3    Meet - listen to Larry Organ practice of MSJ rebuttal for
                                                 tomorrow's hearing
10/23/2019   Jean Ger   Meet              0.5    Meet re MSJ Hearing practice
10/29/2019   Jean Ger   Communication     0.2    Call with FedEx to receive settlement package
10/30/2019   Jean Ger   Deposition        0.1    send transcripts to Sabrina for saving (Delgado)
11/1/2019    Jean Ger   Meet              0.1    Team Meeting
12/3/2019    Jean Ger   Communication     0.1    Email to team re MSJ hearing reset, add to calendar
12/27/2019   Jean Ger   Meet              0.2    Team Meeting - Discuss needing to brainstorm MILs, discuss MSC
                                                 statement, case strategy
3/23/2020    Jean Ger   Other             0.4    troubleshooting compressed file issue for trial exhibits with
                                                 Sabrina Grislis
4/8/2020     Jean Ger   Communication     0.1    Send invoice to Sabrina Grislis for costs - Torreano reporting
9/17/2021    Jean Ger   Communication     0.1    Email to Teodora Gagauz regarding tasks related to trial prep -
                                                 creating FedEx label and Zoom meetings.
9/17/2021    Jean Ger   Paralegal         0.1    Create Zoom meeting for Larry Organ and Michael Wheeler; add
                                                 to calendar.
9/17/2021    Jean Ger   Communication     0.1    Text message to Larry Organ regarding coordinating emailing
                                                 witnesses Zoom meeting links.
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Date         User       Activity          Time   Description
9/17/2021    Jean Ger   Paralegal         0.1    Create Tom Kawasaki Zoom meeting for witness preparation;
                                                 add to calendar.
9/17/2021    Jean Ger   Communication     0.1    Email Tamotsu Kawasaki the Zoom meeting information for trial
                                                 preparation with Larry Organ.
9/17/2021    Jean Ger   Communication     0.1    Email to witness Michael Wheeler with Zoom meeting dial-in
                                                 information for witness prep.
9/22/2021    Jean Ger   Meet              1.6    Meet with Bernard Alexander, Larry Organ, Susan Organ, Navruz
                                                 Avloni, Sabrina Grislis, Cimone Nunley, Julianne Stanford, and
                                                 Emily Kohlheim via ZOOM for opening statement practice.

9/25/2021    Jean Ger   Meet              1.3    Meet via ZOOM with trial team and other participants for second
                                                 run through of opening statement. Left after providing my
                                                 feedback.
9/29/2021    Jean Ger   Communication     7.5    Drive to (2.0)/from trial (1.0); Attend Trial (4.5)
9/30/2021    Jean Ger   Communication     0.1    Call with Susan Organ regarding defense strategy and plaintiff
                                                 testimony.
9/30/2021    Jean Ger   Communication     0.2    Draft and send text message regarding issue flagged for redirect.
9/30/2021    Jean Ger   Communication     0.2    Draft and send email per Susan Organ's request to Larry Organ
                                                 about team observation from defense's examination of Owen
                                                 Diaz.
10/4/2021    Jean Ger   Appearance/       6.8    Attend closing argument (5.0); drive to/from CA Northern
                        Attend                   District Courthouse (1.8)
10/5/2021    Jean Ger   Paralegal         0.1    Save verdict form ( docket number 291) to file.
10/11/2021   Jean Ger   Paralegal         0.1    Update expenses.
12/22/2021   Jean Ger   Communication     0.1    Email response to Sabrina Grislis regarding binders task.
12/27/2021   Jean Ger   Communication     0.1    Call with Larry Organ regarding post-trial binders task.
12/28/2021   Jean Ger   Research          1.9    Research and compile cases cited in defendant's NOTICE OF
                                                 MOTION AND MOTION FOR JUDGMENT AS A MATTER OF LAW,
                                                 NEW TRIAL AND/OR REMITTITUR PURSUANT TO FEDERAL RULES
                                                 OF CIVIL PROCEDURE 50 AND 59 using WestLaw.
12/28/2021 Jean Ger     Communication     0.1    Draft and send email to Larry Organ with cases cited in
                                                 defendant's post trial motion.
12/28/2021 Jean Ger     Communication     0.1    Call with Larry Organ regarding TOA cases cited in defendant's
                                                 post trial motion, references to the trial transcript record task,
                                                 and compiling an electronic combined PDF for Michael Ruben.
12/28/2021 Jean Ger     Communication     0.1    Email response to Larry Organ regarding clarification on
                                                 compiling case citations task.
12/28/2021 Jean Ger     Research          0.4    Continue aggregating case citations in post trial motions from
                                                 WestLaw.
12/29/2021 Jean Ger     Research          0.7    Aggregating cases cited in post-trial motion on WestLaw.
12/29/2021 Jean Ger     Research          1.3    Finish aggregating case citations in post-trial motions in
                                                 WestLaw.
12/29/2021 Jean Ger     Paralegal         0.3    Organizing cases pulled from post-trial motions.
12/30/2021 Jean Ger     Review/ Analyze   1.4    Finish organizing and removing duplicate cases/reviewing case
                                                 citations in post-trial motions. Aggregate into one PDF with
                                                 bookmarks alphabetically.
12/30/2021 Jean Ger     Paralegal         0.1    Save combined case citations from post-trial motions to file.
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Date       User       Activity        Time   Description
12/30/2021 Jean Ger   Communication   0.1    MSabrina Grislis request to Julianne Stanford regarding help with
                                             finding two missing case citations in post-trial briefing.
12/30/2021 Jean Ger   Communication   0.1    Text message to Larry Organ providing status update on post-
                                             trial motions task.
12/30/2021 Jean Ger   Paralegal       0.1    Locate two missing citations from post-trial motions on Westlaw.

12/30/2021 Jean Ger   Paralegal       0.1    Combine case citations in post-trial motions into single PDF with
                                             bookmarks, alphabetized; save to file.
12/30/2021 Jean Ger   Paralegal       0.1    Revise combined PDF of case citations in post-trial briefing as
                                             requested by Larry Organ and save to file.
12/30/2021 Jean Ger   Paralegal       3.7    Pulling transcript citations from trial transcripts and aggregating
                                             into single PDF for post-trial motion work.
12/30/2021 Jean Ger   Paralegal       0.1    Upload and save aggregated trial transcript citations to file.
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Date       User       Activity         Time Description
8/24/2018  Sabrina    Communication 0.3 Call Judge Orrick's clerk to clarify rules for remote appearances
           Grislis                          for Case Management Conferences.
8/24/2018 Sabrina     Plan/ Prepare    0.4 Set up Court Call appearance for upcoming Case Management
           Grislis                          Conference.
8/28/2018 Sabrina     Postage/Delivery 0.1 Print Case Management Statement and FedEx label for mailing.
           Grislis
8/28/2018 Sabrina     File/ Serve     0.2   FedEx drop off of Case Management Statement courtesy copy to
           Grislis                          Judge Orrick.
8/28/2018 Sabrina     File/ Serve     0.3   File Joint Case Management Statement with the help of Cimone
           Grislis                          Nunley
10/9/2018 Sabrina     Paralegal       0.5   Prepare exhibits for mediation brief
           Grislis
10/12/2018 Sabrina    Paralegal       0.6   Review case costs prior to mediation.
           Grislis
10/16/2018 Sabrina    Paralegal       0.2   Client call regarding mediation.
           Grislis
10/16/2018 Sabrina    Paralegal       0.1   Save costs costs.
           Grislis
11/9/2018 Sabrina     Meet            0.1   Meet with Larry Organ regarding service of discovery
           Grislis
11/9/2018 Sabrina     File/ Serve     0.3   Serve Plaintiffs' notices of videotaped depositions of Defendants
           Grislis                          West Valley's and Citistaff's persons most knowledgeable and
                                            request for production of documents via personal delivery.
11/9/2018   Sabrina   Communication 0.2     Contact Godspeed courier to schedule personal delivery of the
            Grislis                         deposition notices of Defendants' West Valley and Citistaff
                                            persons most knowledgeable
11/12/2018 Sabrina    Paralegal       1     Review and update costs and expenses in case.
           Grislis
11/15/2018 Sabrina    Draft/ Revise   1.5   Draft and serve the deposition notices of Edward Romero and
           Grislis                          Monica Deleon.
11/15/2018 Sabrina    Communication 0.2     Email to investigator Stu Kohler regarding locating Rothaj Foster
           Grislis                          and Wayne Jackson
11/16/2018 Sabrina    File/ Serve     0.4   Serve the deposition notices of Ramon Martinez, Wayne
           Grislis                          Jackson, and Rothaj Foster
11/16/2018 Sabrina    Draft/ Revise   0.8   Draft the deposition notices and subpoenas for Ramon
           Grislis                          Martinez, Rothaj Foster, and Wayne Jackson
11/20/2018 Sabrina    File/ Serve     0.3   Serve the deposition notices for Defendants Tesla's and
           Grislis                          Citistaff's persons most knowledgeable by US mail and
                                            electronic mail.
11/26/2018 Sabrina    Paralegal       0.8   Investigate witness Ramon Martinez for subpoena
           Grislis
11/28/2018 Sabrina    Paralegal       2     Prepare exhibits for Edward Romero deposition.
           Grislis
11/29/2018 Sabrina    Communication 0.2     Telephone call with Larry Organ regarding preparing exhibits for
           Grislis                          deposition
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Date         User      Activity        Time Description
12/5/2018    Sabrina   Paralegal       2.1 Prepare the exhibit binders for the deposition of Monica Deleon
             Grislis
12/10/2018   Sabrina   Meet            0.1   Meet with Larry Organ to discuss preparation of exhibits for
             Grislis                         tomorrow's deposition of West Valley PMK
12/14/2018   Sabrina   File/ Serve     0.4   File stipulation to continue trial and amend complaint and the
             Grislis                         amended complaint on ECF with the assistance of Noah Baron
12/20/2018   Sabrina   Communication 0.3     Discuss courtesy copy requirements with Cimone Nunley
             Grislis
12/26/2018   Sabrina   Communication 0.1     Discuss filing amended complaint with Cimone Nunley, review
             Grislis                         instructions
12/26/2018   Sabrina   File/ Serve     0.3   File amended complaint for damages via ECF
             Grislis
1/3/2019     Sabrina   Paralegal       0.5   Calendar new deadlines per the trial continuance stipulation
             Grislis
1/22/2019    Sabrina   Paralegal       0.1   team meeting
             Grislis
2/12/2019    Sabrina   File/ Serve     0.4   Serve Plaintiff Owen Diaz's interrogatories, set two; request for
             Grislis                         production of documents, set four to Defendant Tesla
3/11/2019    Sabrina   Paralegal       0.3   Prepare amended discovery responses for Plaintiff.
             Grislis
3/11/2019    Sabrina   File/ Serve     0.3   Serve Plaintiffs' Supplemental Initial Disclosures
             Grislis
3/26/2019    Sabrina   File/ Serve     0.3   Serve Plaintiffs' site inspection demand
             Grislis
3/27/2019    Sabrina   Meet            0.1   team meeting
             Grislis
4/2/2019     Sabrina   File/ Serve     0.3   Serve Plaintiff's Third Amended Notice of Deposition of
             Grislis                         Citistaff's PMK
4/26/2019    Sabrina   File/ Serve     0.3   Serve the deposition notice of nextSource's PMK; fourth
             Grislis                         amended Wayne Jackson deposition notice and subpoena
5/29/2019    Sabrina   Paralegal       2.2   Prepare the deposition exhibits for the deposition of Tesla's PMK
             Grislis
6/6/2019     Sabrina   Communication 0.2     Discuss responses to Tesla's discovery with Cimone Nunley
             Grislis
6/10/2019    Sabrina   Draft/ Revise   1     Draft discovery response shells
             Grislis
7/9/2019     Sabrina   Paralegal       0.5   organize subpoenas
             Grislis
7/10/2019    Sabrina   Paralegal       0.3   Follow up with witness regarding errata sheet
             Grislis
7/24/2019    Sabrina   Paralegal       0.2   call Patterson to confirm depo
             Grislis
7/25/2019    Sabrina   Communication 0.1     Discuss summarizing depositions with Cimone Nunley
             Grislis
8/7/2019     Sabrina   Paralegal       0.1   pay depo invoice for client depositions - esquire
             Grislis
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Date       User      Activity      Time Description
8/13/2019  Sabrina   Paralegal     0.2 calling about Lamar depo invoice - Chase
           Grislis
8/16/2019 Sabrina    File/ Serve   0.5   Serve Plaintiff's supplemental discovery requests
           Grislis
8/28/2019 Sabrina    Paralegal     0.4   organize correspondence folder
           Grislis
8/28/2019 Sabrina    Paralegal     0.2   file association of counsel for Bernard Alexander
           Grislis
9/10/2019 Sabrina    Paralegal     2     prep docs for CMC
           Grislis
9/11/2019 Sabrina    Paralegal     3     prep discovery reqs for service
           Grislis                       serve to SF offices
9/11/2019 Sabrina    Meet          0.1   Meet with Larry Organ regarding discovery
           Grislis
9/11/2019 Sabrina    Communication 0.1   Telephone call with Larry Organ regarding discovery deadlines
           Grislis
9/16/2019 Sabrina    Paralegal     0.1   Meet with team to discuss case status, trial planning and
           Grislis                       discovery
9/18/2019 Sabrina    Paralegal     0.1   TC w client re settlement conference date
           Grislis
9/18/2019 Sabrina    Paralegal     0.7   TC with clients re MSC - email to clerk with dates
           Grislis
9/19/2019 Sabrina    Paralegal     0.4   prep shells for MSJ opp
           Grislis
10/1/2019 Sabrina    Meet          0.1   Team Meeting
           Grislis
10/2/2019 Sabrina    Paralegal     7     support/prep MSJ opp and admin motion for filing; serve
           Grislis
10/3/2019 Sabrina    Communication 0.1   Call to Jean Ger about FedEx information I need to send case
           Grislis                       documents
10/4/2019 Sabrina    Communication 0.1   Communication with Larry Organ regarding materials to provide
           Grislis                       to expert
10/7/2019 Sabrina    Paralegal     0.5   organize depo schedule, FU re witnesses
           Grislis
10/7/2019 Sabrina    Paralegal     0.3   calendaring check
           Grislis
10/7/2019 Sabrina    Research      0.6   Research witness information for scheduling depositions
           Grislis
10/8/2019 Sabrina    Communication 0.1   Communication with Larry Organ regarding this week's
           Grislis                       deposition schedule
10/8/2019 Sabrina    Communication 0.2   Discuss witness status with Cimone Nunley
           Grislis
10/9/2019 Sabrina    Communication 0.1   Communication with Larry Organ regarding Josue Torres
           Grislis                       deposition
10/10/2019 Sabrina   Communication 0.1   Discuss task related to Tesla's financial statements with Cimone
           Grislis                       Nunley
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Date       User      Activity        Time Description
10/11/2019 Sabrina   Paralegal       1    saving invoices and POSs
           Grislis
10/14/2019 Sabrina   Review/ Analyze 2.6   Review Tesla's public financial statements
           Grislis
10/14/2019 Sabrina   Review/ Analyze 1.3   Prepare deposition summary of West Valley staffing's PMK
           Grislis                         Teresa Kossayian
10/15/2019 Sabrina   Paralegal       0.6   depo summary
           Grislis
10/16/2019 Sabrina   Paralegal       0.5   review/save depo videos
           Grislis
10/16/2019 Sabrina   Paralegal       1.2   depo summary
           Grislis
10/17/2019 Sabrina   Paralegal       0.7   depo summary
           Grislis
10/21/2019 Sabrina   Paralegal       0.2   courtesy copies to judge
           Grislis
10/22/2019 Sabrina   Plan/ Prepare   0.8   Assist preparing for the motion for summary judgement hearing;
           Grislis                         prepare notes for argument
10/24/2019 Sabrina   Paralegal       0.7   find court reporter last minute for the deposition of Andres
           Grislis                         Donet
10/24/2019 Sabrina   File/ Serve     0.4   File transcript request form for Motion for Summary Judgement
           Grislis                         hearing; phone call with Richard Duvall regarding my typo of
                                           2020 instead of 2019 on request form, clarification on my
                                           request.
10/24/2019 Sabrina   Paralegal       0.4   Prepare exhibits, trial subpoena, disclosure form for deposition
           Grislis                         of Andres Donet
10/30/2019 Sabrina   Paralegal       0.3   Save and label Tesla and nextSource Motions for Summary
           Grislis                         judgement to file
10/30/2019 Sabrina   Paralegal       0.3   save and organize deposition exhibits
           Grislis
11/5/2019 Sabrina    Paralegal       0.7   Follow up with experts regarding their depositions and
           Grislis                         scheduling
11/5/2019 Sabrina    Review/ Analyze 0.3   Prepare deposition summary of Veronica Martinez
           Grislis
11/19/2019 Sabrina   Paralegal       0.2   save Tesla's motion to retain confidentiality
           Grislis
11/19/2019 Sabrina   Paralegal       2     MSJ opp exhibits
           Grislis
11/19/2019 Sabrina   Draft/ Revise   1     Finalize the briefing for the opposition to the Motion for
           Grislis                         Summary Judgement: create table of contents and table of
                                           authorities, check for correct dates and signatures, convert to
                                           PDF
11/19/2019 Sabrina   Draft/ Revise   1     Finalize the exhibits to the opposition to Tesla's MSJ and related
           Grislis                         administrative motion to file under seal
11/19/2019 Sabrina   File/ Serve     0.7   File and serve the oppositions and related administrative
           Grislis                         motions to the Motions for Summary Judgement
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Date       User       Activity      Time Description
11/20/2019 Sabrina    Paralegal     2.4 prepare and send courtesy copies of Plaintiff's Opposition to
           Grislis                       Tesla's Motion for Summary Judgement
11/20/2019 Sabrina    Communication 0.2 Telephone call with Cimone Nunley to receive instructions
           Grislis                       related to courtesy copies of administrative motion
12/23/2019 Sabrina    Communication 0.1 Discussion with Cimone Nunley about informing witness Michael
           Grislis                       Wheeler of new trial date
12/30/2019 Sabrina    Communication 0.3 Discussion with Cimone Nunley regarding the procedure for
           Grislis                       challenging confidentiality designations
1/2/2020   Sabrina    Paralegal     0.7 research local rules re settlement conference statement
           Grislis
1/2/2020   Sabrina    Paralegal      1.6   review Tesla doc prod for confidentiality challenge
           Grislis
1/2/2020   Sabrina    Paralegal      0.5   send/prep courtesy copy of settlement conference statement
           Grislis
1/3/2020   Sabrina    Paralegal      0.4   Prep to send payment of MSJ transcript court reporter fee
           Grislis
1/3/2020   Sabrina    Paralegal      0.5   resending/serving settlement conference statement with correct
           Grislis                         demand amount
1/3/2020   Sabrina    Paralegal      3.8   doc review for confidentiality challenge
           Grislis
1/7/2020   Sabrina    Communication 0.1    Discussion with Cimone Nunley about preparing binder for
           Grislis                         mandatory settlement conference
1/13/2020 Sabrina     File/ Serve    0.3   File administrative motion to file documents under seal for
           Grislis                         motion for sanctions with the assistance of Cimone Nunley
1/14/2020 Sabrina     Communication 0.1    Discuss courtesy copies of motion for sanctions with Cimone
           Grislis                         Nunely before sending; request she reviews documents before i
                                           send
1/14/2020   Sabrina   Paralegal      0.7   Prepare and send chambers copies of administrative motion to
            Grislis                        file documents under seal and of motion for sanctions
2/3/2020    Sabrina   Paralegal      0.3   dec for motion for sanctions reply
            Grislis
2/3/2020    Sabrina   Paralegal      2.1   prep and file reply and admin motion for sanctions motion
            Grislis
2/3/2020    Sabrina   Paralegal      0.3   prep depo cites for reply
            Grislis
2/19/2020   Sabrina   Communication 0.5    Meet with Cimone Nunley to review items on pretrial checklist
            Grislis
3/2/2020    Sabrina   Communication 0.1    Telephone call with Cimone Nunley regarding production of Amy
            Grislis                        Oppenheimer documents
3/3/2020    Sabrina   Paralegal      0.2   prep courtesy copy of trial continuance stip with Teo
            Grislis
3/3/2020    Sabrina   Paralegal      1.1   Amy Oppenheimer doc prod - redacting and serving
            Grislis
3/10/2020   Sabrina   File/ Serve    0.1   File notice of appearance of Cimone Nunley via ECF
            Grislis
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Date        User      Activity      Time Description
3/10/2020   Sabrina   Meet          1.2 Meet with Cimone Nunley, Larry Organ, and Susan Organ to
            Grislis                      discuss case status and upcoming to do items
3/13/2020   Sabrina   File/ Serve   0.2 File unredacted motion for summary judgement oppositions and
            Grislis                      exhibits pursuant to court's order
3/13/2020   Sabrina   Draft/ Revise 0.6 Prepare redactions to motion for summary judgement
            Grislis                      oppositions and exhibits for refiling pursuant to the court's
                                         order
3/22/2020   Sabrina   Communication 0.1 Phone call with Cimone Nunley regarding trial exhibits
            Grislis
3/23/2020   Sabrina   Communication 0.1     Phone call with Cimone Nunley regarding format of trial exhibits
            Grislis
3/23/2020   Sabrina   Paralegal       0.4   Compress trial exhibits, address tech issues with assistance of
            Grislis                         Jean Ger
3/24/2020   Sabrina   Communication 0.1     Call with Larry Organ regarding trial witness information
            Grislis
3/27/2020   Sabrina   Communication 0.1     Discussion with Cimone Nunley regarding me too task to
            Grislis                         complete
4/2/2020    Sabrina   Communication 0.1     Email exchange with Navruz Avloni regarding witness
            Grislis                         information
4/2/2020    Sabrina   Paralegal       0.3   Calendar new trial related deadlines
            Grislis
4/2/2020    Sabrina   Communication 0.1     Discussion with Larry Organ regarding witness information
            Grislis
4/3/2020    Sabrina   Communication 0.1     Email exchange with Larry Organ regarding task relating to
            Grislis                         objections to deposition designations of Owen Diaz
4/3/2020    Sabrina   Draft/ Revise   0.4   Prepare table including Defendant Tesla's designations of Owen
            Grislis                         Diaz's deposition testimony and Plaintiff's objections
4/3/2020    Sabrina   Communication 0.1     Phone call with Larry Organ regarding trial exhibits
            Grislis
4/3/2020    Sabrina   Communication 0.2     Phone call with Larry Organ, Cimone Nunley, and Navruz Avloni
            Grislis                         regarding witness information for trial subpoenas
4/6/2020    Sabrina   Communication 0.1     Phone call with Larry Organ, Navruz Avloni, and Cimone Nunley
            Grislis                         regarding status of case
4/7/2020    Sabrina   Communication 0.1     Call with Cimone Nunley to discuss the witness declaration
            Grislis                         status
4/8/2020    Sabrina   Communication 0.1     Phone call with Larry Organ, Navruz Avloni, and Cimone Nunley
            Grislis                         regarding upcoming tasks
4/10/2020   Sabrina   Communication 0.1     Phone call with Larry Organ regarding exhibits
            Grislis
4/17/2020   Sabrina   Meet            2.1   Meet with jury consultant Harry Plotkin, along with Larry Organ,
            Grislis                         Bernard Alexander, Navruz Avloni, Cimone Nunley, and Susan
                                            Organ to discuss trial, themes
4/22/2020   Sabrina   Communication 0.1     Phone call with Larry Organ regarding OCRing trial exhibits
            Grislis
4/22/2020   Sabrina   Plan/ Prepare   0.4   OCR trial exhibits, save to iPads and Dropbox
            Grislis
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Date        User      Activity      Time Description
4/27/2020   Sabrina   Communication 0.1 Phone call with Larry Organ regarding filing of pretrial
            Grislis                      conference documents
4/27/2020   Sabrina   Communication 0.1 Additional phone call with Larry Organ regarding filing of pretrial
            Grislis                      conference documents
4/27/2020   Sabrina   Communication 0.1 Follow up phone call with Larry Organ regarding filing of pretrial
            Grislis                      conference documents
5/6/2020    Sabrina   Communication 0.3 Phone call with Cimone Nunley regarding pretrial tasks and
            Grislis                      deadlines
6/17/2020   Sabrina   Meet          1.6 Meet with Harry Plotkin, Larry Organ, Bernard Alexander,
            Grislis                      Cimone Nunley, and Susan Organ regarding case themes and
                                         strategy
7/10/2020  Sabrina    Paralegal     0.2 (STATE COURT) - save order from domain web, update calendar
           Grislis                       with new CMC date
7/29/2020 Sabrina     Meet          0.7 Meet with Mika Hilaire, Bernard Alexander, Larry Organ, Cimone
           Grislis                       Nunley, Susan Organ re focus group
7/29/2020 Sabrina     Meet          0.7 Meet with Larry Organ, Bernard Alexander, Cimone Nunley,
           Grislis                       Susan Organ, and Mika Hilaire regarding the focus group
8/6/2020   Sabrina    Meet          1.3 Meet with team, Harry and Mika to discuss focus group
           Grislis
8/13/2020 Sabrina     Communication 0.1      Call with Cimone Nunley regarding deposition videos needed for
           Grislis                           focus group presentation
8/14/2020 Sabrina     Meet             0.5   Meet with Larry Organ, Cimone Nunley, and Susan Organ
           Grislis                           regarding focus group
8/15/2020 Sabrina     Appearance/      4     Attend Zoom focus group, take notes and observe
           Grislis    Attend
8/15/2020 Sabrina     Meet             0.9   Post focus group meeting and debrief with Harry Plotkin, Dustin
           Grislis                           Collier, and trial team
8/17/2020 Sabrina     Meet             0.2   team meeting
           Grislis
8/19/2020 Sabrina     Meet             1.6   Meet with Harry Plotkin and trial team to discuss themes and
           Grislis                           strategy post focus group
9/23/2020 Sabrina     Meet             0.1   Phone meeting with Larry Organ, Cimone Nunley, and Navruz
           Grislis                           Avloni regarding the settlement conference
10/23/2020 Sabrina    Meet             0.9   Meet with trial team to discuss themes, trial issues, etc.
           Grislis
11/12/2020 Sabrina    Communication 0.1      Telephone call with Larry Organ regarding trial
           Grislis
11/13/2020 Sabrina    Communication 0.3      Telephone call with Cimone Nunley regarding calendaring
           Grislis                           deadlines
2/12/2021 Sabrina     Paralegal        0.2   Create Zoom meeting for 2/16 meeting with OC to discuss trial
           Grislis                           date, send to OC and share calendar event.
3/3/2021   Sabrina    Paralegal        0.3   Update calendar with new trial date
           Grislis
6/22/2021 Sabrina     Meet             0.8   Trial prep meeting with Cimone Nunley, Larry Organ, and
           Grislis                           Bernard Alexander
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Date        User      Activity        Time Description
6/28/2021   Sabrina   Paralegal       0.6 Mark Owen Diaz's miniscript deposition testimony with Defense
            Grislis                        counsel's designations for attorneys and client to review
6/28/2021   Sabrina   Communication 0.1     Email to Larry, Nav, and Cimone that Owen's highlighted
            Grislis                         testimony is completed; confirming that I will send to client and
                                            set up Zoom
6/28/2021   Sabrina   Communication 0.1     Email to client Owen Diaz with Zoom meeting information for
            Grislis                         prep with Larry; attached deposition testimony highlighted with
                                            Tesla's designations for client to review
6/28/2021   Sabrina   Paralegal       0.1   Set up Zoom meeting for Owen and Larry on July 17 to prepare
            Grislis                         for trial, review testimony designated by Tesla
7/1/2021    Sabrina   Review/ Analyze 0.3   Review and highlight the deposition testimony designated by
            Grislis                         Defendant for use at trial for Demetric Di-az's deposition
7/1/2021    Sabrina   Communication 0.1     Email to Larry Organ, Navruz Avloni, and Cimone Nunley
            Grislis                         regarding the highlighted deposition testimony for Defendant's
                                            designations of Demetric Di-az's deposition testimony
7/19/2021   Sabrina   Paralegal       0.7   Print and prepare documents for client to pick up for trial prep
            Grislis
7/19/2021   Sabrina   Meet            1.5   Meet with Owen Diaz to discuss case (left early)
            Grislis
7/19/2021   Sabrina   Paralegal       0.1   Upload deposition videos to shared folder for client
            Grislis
7/19/2021   Sabrina   Communication 0.1     Email to client informing him that videos are being uploaded
            Grislis
7/21/2021   Sabrina   Communication 0.1     Call with Cimone Nunley about witnesses for trial
            Grislis
7/27/2021   Sabrina   Research        2.4   Organize witness information and research witness location
            Grislis
8/16/2021   Sabrina   Meet            4.2   Meet with team to prepare for trail (witnesses, schedules, focus
            Grislis                         groups)
8/17/2021   Sabrina   Paralegal       0.3   Check that we have the original transcripts for depositions
            Grislis                         noticed by us
8/18/2021   Sabrina   Draft/ Revise   1.2   Draft survey monkey for focus group
            Grislis
8/18/2021   Sabrina   Draft/ Revise   0.2   Draft Craigslist ad for 9/5 focus group
            Grislis
8/18/2021   Sabrina   Meet            0.9   Meet with Larry, Bernard, Cimone, and Harry (partial) to discuss
            Grislis                         upcoming trial and focus group [late arrival]
8/18/2021   Sabrina   Communication 0.2     Call with Cimone Nunley to discuss witnesses for trial
            Grislis
8/25/2021   Sabrina   Paralegal       0.3   Reorganize witness folders in trial folder on Dropbox
            Grislis
8/25/2021   Sabrina   Paralegal       0.3   Post focus group ad, double check everything is included and
            Grislis                         correct
8/26/2021   Sabrina   Communication 0.2     Call and follow up email to client Owen Diaz regarding prep for
            Grislis                         trial
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Date        User      Activity        Time Description
8/26/2021   Sabrina   Paralegal       0.1 Order day 3 deposition video from Owen Diaz
            Grislis
8/27/2021   Sabrina   Communication 0.2     Call with Lamar Patterson regarding trial
            Grislis
8/31/2021   Sabrina   Review/ Analyze 1     Review potential focus group participants' responses to Survey
            Grislis
9/1/2021    Sabrina   Communication 0.2     Call with Cimone Nunley to discuss focus group participant
            Grislis                         selection
9/1/2021    Sabrina   Review/ Analyze 0.9   Review survey responses to select focus group participants
            Grislis
9/1/2021    Sabrina   Paralegal       0.2   Create Zoom meetings for the two focus group panels on 9/5
            Grislis
9/1/2021    Sabrina   Communication 1.9     Call focus group panelists to confirm availability
            Grislis
9/3/2021    Sabrina   Meet            0.1   Meet with Cimone Nunley and Larry Organ to discuss focus
            Grislis                         group
9/3/2021    Sabrina   Draft/ Revise   0.2   Draft post-focus group survey on Survey Monkey
            Grislis
9/3/2021    Sabrina   Communication 0.2     Call with Cimone Nunley about changes to post-focus group
            Grislis                         survey
9/3/2021    Sabrina   Communication 0.1     Email to team about this Sunday's focus groups
            Grislis
9/3/2021    Sabrina   Draft/ Revise   0.2   Revise post-focus group survey
            Grislis
9/5/2021    Sabrina   Appearance/     4.1   Attend focus groups
            Grislis   Attend
9/5/2021    Sabrina   Plan/ Prepare   0.6   Prepare for focus groups
            Grislis
9/5/2021    Sabrina   Paralegal       0.5   Send payment to focus group participants
            Grislis
9/5/2021    Sabrina   Meet            0.4   Meet with Larry Organ, Cimone Nunley, Navruz Avloni, and
            Grislis                         Susan Organ after the focus group panels to debrief
9/8/2021    Sabrina   Paralegal       0.5   Review pretrial order for dates regarding exhibits and
            Grislis                         demonstratives
9/8/2021    Sabrina   Paralegal       0.2   Upload exhibits to Trial Pad for use at trial
            Grislis
9/9/2021    Sabrina   Research        1.9   Research witnesses for trial on PeopleMap to find their best
            Grislis                         addresses for service of trial subpoena
9/10/2021   Sabrina   Plan/ Prepare   2.1   Prepare and send trial subpoenas for witnesses
            Grislis
9/10/2021   Sabrina   Meet            1.3   Meet with Larry, Bernard, Cimone, Navruz, and Susan about trial
            Grislis                         prep
9/10/2021   Sabrina   Communication 0.3     Text witnesses Lamar Patterson, Nigel Jones, Michael Wheeler,
            Grislis                         and Titus McCaleb about their trial subpoenas
9/11/2021   Sabrina   Paralegal       2.5   Upload exhibits to TrialPad for use at trial
            Grislis
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Date        User      Activity        Time Description
9/11/2021   Sabrina   Paralegal       2    Review supplies and place order for items needed at trial
            Grislis
9/11/2021   Sabrina   Paralegal       0.5   Prepare trial box and review contents to see what else needs to
            Grislis                         be ordered
9/12/2021   Sabrina   Paralegal       1.5   Finish uploading exhibits to TrialPad for use at trial
            Grislis
9/12/2021   Sabrina   Communication 0.1     Email to team to request their vaccination information for trial
            Grislis
9/12/2021   Sabrina   Paralegal       0.2   Save team's vaccination information to provide to court
            Grislis
9/12/2021   Sabrina   Communication 0.1     Email to team to get list of deposition videos we need synced
            Grislis                         with transcripts for use at trial
9/12/2021   Sabrina   Review/ Analyze 1.1   Review defendant's exhibits and compare them to the
            Grislis                         previously sent exhibits to look for any discrepancies
9/12/2021   Sabrina   Review/ Analyze 0.2   Review list of deposition videos to ensure which ones were
            Grislis                         recorded and are in our possession
9/12/2021   Sabrina   Communication 0.1     Text to Nigel Jones regarding preparing for trial testimony and
            Grislis                         itinerary for planning
9/12/2021   Sabrina   Communication 0.1     Email Bridget Mattos and Associates about getting deposition
            Grislis                         videos and transcripts synced for use at trial
9/13/2021   Sabrina   File/ Serve     0.1   Serve trial subpoenas on Tesla
            Grislis
9/13/2021   Sabrina   Draft/ Revise   0.2   Prepare Proof of Service of trial subpoenas
            Grislis
9/13/2021   Sabrina   Review/ Analyze 0.3   Review trial subpoenas for witnesses to ensure accuracy before
            Grislis                         serving
9/14/2021   Sabrina   Draft/ Revise   0.1   Prepare Certified of Service for serving Wayne Jackson trial
            Grislis                         subpoena
9/14/2021   Sabrina   File/ Serve     0.1   Serve Wayne Jackson trial subpoena on nextSource counsel per
            Grislis                         agreement
9/14/2021   Sabrina   Communication 0.2     Texting with lamar to set up service of trial subpoena and
            Grislis                         coordinate prep
9/14/2021   Sabrina   Communication 0.1     Email to Larry, Cimone, Navruz, and Bernard about who can do
            Grislis                         prep with Lamar and La'Drea
9/14/2021   Sabrina   Communication 0.1     Texting with La'Drea Jones about setting up prep for trial
            Grislis
9/14/2021   Sabrina   Communication 0.1     Send trial subpoena to process server Rob Goodstein for service
            Grislis                         on lamar patterson
9/14/2021   Sabrina   Communication 0.1     Email to Titus McCaleb about setting up prep for trial
            Grislis
9/14/2021   Sabrina   Communication 0.1     Call to San Anselmo Inn about a room for Cimone for trial
            Grislis
9/14/2021   Sabrina   Communication 0.1     Email to Kathy at Bridget Mattos and Associates (court reporter)
            Grislis                         about shared deposition videos for syncing project
9/14/2021   Sabrina   Paralegal       0.1   Share file with deposition videos with Kathy for syncing
            Grislis
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Date        User      Activity      Time Description
9/14/2021   Sabrina   Communication 0.2 Emailing with Kathy at Bridget Mattos and Associates about
            Grislis                      getting deposition videos synced with transcripts for use at trial
9/15/2021   Sabrina   Communication 0.1 Email exchange with Kathy and Bridget Mattos and Associates
            Grislis                      regarding synced deposition videos
9/15/2021   Sabrina   Paralegal     8    Prepare binders for use at trial of Plaintiff's exhibits, Defendant's
            Grislis                      exhibits, deposition testimony
9/15/2021   Sabrina   Communication 0.2 Email exchange with team regarding our request for daily trial
            Grislis                      transcripts
9/15/2021   Sabrina   File/ Serve   0.2 File Plaintiffs' request for daily trial transcripts
            Grislis
9/15/2021   Sabrina   Communication 0.2      Call with Michael Wheeler regarding his trial appearance and
            Grislis                          testimony
9/15/2021   Sabrina   Communication 0.1      Email to team regarding Michael Wheeler's prep for trial
            Grislis                          testimony
9/15/2021   Sabrina   Communication 0.3      Email to Michael Wheeler with the Zoom information for his
            Grislis                          prep, deposition transcript, and notice of acknowledgement to
                                             sign
9/15/2021   Sabrina   Communication 0.1      Email to ipro rep Katarina regarding issue with downloading
            Grislis                          software for deposition clips
9/15/2021   Sabrina   Communication 0.5      Discussion with Larry Organ regarding exhibits and trial
            Grislis                          preparation
9/16/2021   Sabrina   Paralegal        3     Prepare binders for use at trial
            Grislis
9/16/2021   Sabrina   Review/ Analyze 0.2    Prepare chart with status of service of witnesses
            Grislis
9/16/2021   Sabrina   Communication 0.2      Email to team with the witness service status chart; request
            Grislis                          information on who else needs to be served
9/16/2021   Sabrina   Communication 0.5      Call Comcast to make request for phone records of Ramon
            Grislis                          Martinez call
9/16/2021   Sabrina   Draft/ Revise    0.4   Draft the written request to comcast for phone records of
            Grislis                          Ramon Martinez call
9/16/2021   Sabrina   Communication 0.4      Send written request to Comcast of phone records from Ramon
            Grislis                          Martinez call - several attempts made because of fax failure
9/19/2021   Sabrina   Communication 0.1      Discussion with Larry Organ regarding Kevin McGinn's testimony
            Grislis
9/20/2021   Sabrina   Draft/ Revise    0.4   Revise Plaintiff's deposition designations of Kevin McGinn's
            Grislis                          deposition testimony
9/20/2021   Sabrina   Communication 0.1      Email to Kathy at Bridget Mattos and Associates regarding
            Grislis                          additional deposition video needing syncing, request update for
                                             remainder of videos
9/20/2021   Sabrina   Paralegal        0.1   Set up Zoom meeting for prep with La'Drea Jones on Wednesday
            Grislis                          at 4 pm
9/20/2021   Sabrina   Communication 0.1      Email Zoom meeting information to La'Drea Jones
            Grislis
9/20/2021   Sabrina   Communication 0.1      Call to Wayne Jackson, left voicemail, about trial subpoena and
            Grislis                          signing notice of acknowledgement
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Date        User      Activity      Time Description
9/20/2021   Sabrina   Communication 0.1 Send reminder via AdobeSign to Wayne Jackson regarding the
            Grislis                      subpoena and notice of acknowledgement
9/20/2021   Sabrina   Communication 0.1 Email to Gus Ham about the deposition video of Erin Marconi
            Grislis                      issues
9/20/2021   Sabrina   Draft/ Revise 0.1 Update chart of service status of trial subpoenas
            Grislis
9/20/2021   Sabrina   Communication 0.1     Email to team with status update of witness service chart
            Grislis
9/20/2021   Sabrina   Draft/ Revise   0.2   Finalize the joint pretrial conference statement, exhibit list, and
            Grislis                         witness list for filing
9/20/2021   Sabrina   File/ Serve     0.2   File the joint pretrial conference statement, exhibit list, and
            Grislis                         witness list
9/20/2021   Sabrina   Draft/ Revise   0.1   Add in Defendant's counter designations of Kevin McGinn's
            Grislis                         testimony
9/20/2021   Sabrina   Paralegal       0.1   Save the file stamped joint witness list, exhibit list, and pretrial
            Grislis                         conference statement
9/20/2021   Sabrina   Communication 0.1     Send Larry Organ the revised version of Kevin McGinn's
            Grislis                         designations including Defendant's counterdesignations
9/20/2021   Sabrina   Draft/ Revise   0.2   Finalize the revised deposition designations of Kevin mcGinn
            Grislis
9/20/2021   Sabrina   File/ Serve     0.2   File the revised deposition designations of Kevin mcGinn
            Grislis
9/21/2021   Sabrina   Paralegal       5.3   Put together binders for trial
            Grislis
9/21/2021   Sabrina   Draft/ Revise   0.4   Draft cover letter for subpoena to Monica Deleon
            Grislis
9/21/2021   Sabrina   Paralegal       0.6   Search for originals of discovery responses in physical files of
            Grislis                         discovery responses which are exhibits in the trial
9/21/2021   Sabrina   Paralegal       0.6   Upload synced transcripts and video files of Veronica Martinez,
            Grislis                         Annalisa Heisen, and Ed Romero to TrialDirector
9/21/2021   Sabrina   Paralegal       0.5   Prepare and send FedEx package to Tom Kawasaki of anticipated
            Grislis                         exhibits for his trial testimony
9/21/2021   Sabrina   Communication 0.1     Email to Navruz Avloni, Cimone Nunley, Bernard Alexander, and
            Grislis                         Larry Organ asking who is available to talk with Titus McCaleb
9/22/2021   Sabrina   Paralegal       0.1   Order deposition video of Demetric Di-az for use in trial
            Grislis
9/22/2021   Sabrina   Communication 0.1     Email to Larry Organ and team confirming I ordered the
            Grislis                         deposition video of Demetric Di-az
9/22/2021   Sabrina   Communication 0.1     Email to Larry Organ and team about Nigel Jones testimony and
            Grislis                         appearance at trial
9/22/2021   Sabrina   Paralegal       0.1   Save Amy Oppenheimer's handwritten notes from her
            Grislis                         deposition into her trial folder
9/22/2021   Sabrina   Communication 0.1     Email to Titus McCaleb asking what time he is available to talk
            Grislis                         with an attorney today
9/22/2021   Sabrina   Draft/ Revise   1.1   Prepare chart for filing with Defendant's designation of Demetric
            Grislis                         Di-az's and Plaintiffs objections
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Date        User      Activity         Time Description
9/22/2021   Sabrina   Meet             1.6 Meet with team for BernarTesla's first run of opening practice
            Grislis
9/22/2021   Sabrina   Communication 0.1      Call with Cimone Nunley to discuss outstanding trial tasks
            Grislis
9/22/2021   Sabrina   Draft/ Revise    2     Draft the chart for filing with Defendant's designations of
            Grislis                          Demetric Di-az's deposition testimony and Plaintiff's objections
9/22/2021   Sabrina   Communication 0.5      Email exchanges with Chase Court Reporting company about
            Grislis                          obtaining the video files of Demetric Di-az's deposition
                                             testimony
9/22/2021   Sabrina   Communication 0.1      Send Defendant's counsel our proposed demonstratives for
            Grislis                          opening statements
9/22/2021   Sabrina   Communication 0.1      Send Defendant's counsel our proposed revised designations of
            Grislis                          Demetric Di-az's deposition testimony
9/22/2021   Sabrina   Communication 0.1      Call with Titus McCaleb regarding his prep call with Bernard
            Grislis                          Alexander this afternoon
9/22/2021   Sabrina   Communication 0.1      Email to Bernard Alexander confirming his call time with
            Grislis                          McCaleb and providing his contact number
9/22/2021   Sabrina   Paralegal        1     Complete preparing the trial binders
            Grislis
9/22/2021   Sabrina   File/ Serve      0.2   File the chart with Defendant's designations of Demetric Di-az
            Grislis                          deposition testimony and our objections
9/22/2021   Sabrina   Draft/ Revise    0.3   Finalize the chart with Defendant's designations of Demetric
            Grislis                          Di'az deposition testimony with our objections
9/22/2021   Sabrina   Communication 0.1      Call and follow up email to Wayne Jackson inquiring about his
            Grislis                          vaccination status
9/22/2021   Sabrina   Communication 0.1      Send Jean Davis and Erin Hamilton the list of Plaintiff's and
            Grislis                          Defendant's witness/counsel list for presentation to potential
                                             jurors
9/22/2021   Sabrina   Draft/ Revise    0.2   Add the names of our witnesses, staff, and counsel who will be
            Grislis                          present at the trial to the list Defendant provided for
                                             presentation to the jury
9/23/2021   Sabrina   Travel Expense   0.6   Travel to the Northern District courthouse
            Grislis
9/23/2021   Sabrina   Other            0.9   Drop off supplies and test technology at the Northern District
            Grislis                          Courthouse
9/23/2021   Sabrina   Other            0.8   Return from the Northern District courthouse
            Grislis
9/24/2021   Sabrina   Appearance/   8        Appear for trial: jury selection. Travel to and from the
            Grislis   Attend                 courthouse.
9/24/2021   Sabrina   Communication 0.1      Call to Wayne Jackson, left voicemail, letting him know of mask
            Grislis                          requirement during testimony
9/24/2021   Sabrina   Communication 0.1      Follow up with Bridget Matos' office regarding the synced videos
            Grislis                          for the deposition testimony
9/24/2021   Sabrina   Meet             0.4   Meet with Larry Organ and Susan Organ regarding
            Grislis                          demonstratives
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Date        User      Activity        Time Description
9/25/2021   Sabrina   Meet            2    Meet with Bernard Alexander, CCRLG team, and others to
            Grislis                        practice opening statement and provide feedback
9/27/2021   Sabrina   Appearance/     8    Appear at trial, day 1. Travel to and from the courthouse.
            Grislis   Attend
9/27/2021   Sabrina   Communication 0.6     Phone conference with Larry Organ, Navruz Avloni, Bernard
            Grislis                         Alexander, and Cimone Nunley to debrief, discuss strategy, and
                                            tasks
9/27/2021   Sabrina   Meet            0.6   Meet with Larry Organ, Bernard Alexander, Susan Organ, and
            Grislis                         Cimone Nunley regarding additional tasks
9/28/2021   Sabrina   Appearance/     8     Appear at trial, day 2. Travel to and from the courthouse
            Grislis   Attend
9/29/2021   Sabrina   Appearance/     8     Appear at trial, day 3. Travel to and from the courthouse.
            Grislis   Attend
9/29/2021   Sabrina   Meet            0.8   Meet with team over lunch to discuss witnesses
            Grislis
9/30/2021   Sabrina   Appearance/     8.5   Appear at trial, day 4. Travel to and from the courthouse.
            Grislis   Attend
9/30/2021   Sabrina   Meet            2.2   Meet with Larry Organ, Bernard Alexander, Cimone Nunley,
            Grislis                         Navruz Avloni, and Susan Organ to discuss remaining tasks and
                                            strategy
10/1/2021   Sabrina   Appearance/   7.5     Appear at trial, day 5. Travel to and from the courthouse.
            Grislis   Attend
10/1/2021   Sabrina   Communication 0.1     Call with Larry Organ regarding exhibits
            Grislis
10/2/2021   Sabrina   Communication 0.1     Call with Larry Organ to discuss designated deposition testimony
            Grislis                         for use in trial
10/2/2021   Sabrina   Plan/ Prepare   2.6   Prepare videos of deposition testimony of Annalisa Heisen and
            Grislis                         Erin Marconi
10/3/2021   Sabrina   Meet            2     Meet with Larry Organ, Navruz Avloni, Cimone Nunley, and
            Grislis                         Susan Organ to brainstorm ideas for rebuttal slides
10/4/2021   Sabrina   Appearance/     10    Appear at trial, day 6. Wait for jury's verdict. Travel to and from
            Grislis   Attend                the courthouse.
10/7/2021   Sabrina   Meet            0.5   Post-trial check in meeting with Larry Organ, Bernard Alexander,
            Grislis                         and Cimone Nunley. Discussed next steps regarding billing,
                                            motions.
10/7/2021  Sabrina    Communication 0.1     Call with Larry Organ to discuss exhibit issues
           Grislis
10/12/2021 Sabrina    Meet            1.5   Meet with Michael Rubin, Jonathan Rosenthal, Larry Organ,
           Grislis                          Cimone Nunley, and Navruz Avloni regarding next steps of Diaz
                                            case in preparation for appeal
10/14/2021 Sabrina    Paralegal       0.1   Save the contact information for counsel working on appeal
           Grislis
10/14/2021 Sabrina    Paralegal       0.1   Save final admitted exhibits into separate folder
           Grislis
10/14/2021 Sabrina    File/ Serve     0.1   File Plaintiff's proposed judgement
           Grislis
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Date       User        Activity      Time Description
10/14/2021 Sabrina     Communication 0.2 Draft and send email to the clerk with a word version of
           Grislis                        Plaintiff's proposed judgement explaining that the parties could
                                          not come to an agreement
10/19/2021 Sabrina     Paralegal     0.1 Save judgement, docket number 307, to file
           Grislis
11/2/2021 Sabrina      Review/ Analyze 1.5   Review case costs to ensure that all recoverable costs are
           Grislis                           included in Bill of Costs to file today
11/2/2021 Sabrina      Review/ Analyze 2     Review Bill of Costs against exhibits to the bill of costs to check
           Grislis                           the math was done correctly and correct dollar amount
11/2/2021 Sabrina      File/ Serve     0.2   File and serve Plaintiff Owen Diaz's bill of costs and supporting
           Grislis                           documents
11/2/2021 Sabrina      Paralegal       0.8   Prepare binder of chambers copy of Plaintiff Owen Diaz's bill of
           Grislis                           costs
11/2/2021 Sabrina      Communication 0.1     Email word version of Bill of Costs document to required email
           Grislis                           address
11/2/2021 Sabrina      Communication 0.2     Calls and texts with Cimone Nunley regarding the bill of costs
           Grislis
11/3/2021 Sabrina      Other           0.2   Go to Post Office and send chambers copy of Plaintiff's Bill of
           Grislis                           Costs
11/11/2021 Sabrina     Research        0.9   Research jurors contact information on PeopleMap
           Grislis
11/24/2021 Sabrina     Meet            0.8   Meet with Larry Organ, Cimone Nunley, Navruz Avloni, Bernard
           Grislis                           Alexander, Jonathan Rosenthal and Michael Rubin to discuss
                                             opposition to Tesla's motion for judgement as a matter of law
12/5/2021    Sabrina   Draft/ Revise   1     Correct formatting issues on Plaintiff's opposition brief
             Grislis
12/7/2021    Sabrina   Draft/ Revise   0.5   Create the table of contents and table of authorities for
             Grislis                         Plaintiff's Opposition to Defendant's motion to judgement as a
                                             matter of law
12/7/2021    Sabrina   Paralegal       0.1   Review Judge Orrick's standing order regarding chamber's
             Grislis                         copies; no copies required per standing order
12/7/2021    Sabrina   File/ Serve     0.1   File Plaintiff's Opposition to Defendant's Motion for Judgement
             Grislis                         as a Matter of Law
12/7/2021    Sabrina   File/ Serve     0.1   File Plaintiff's Request for Judicial Notice
             Grislis
12/7/2021    Sabrina   Draft/ Revise   0.8   Prepare and combine the attachments to Plaintiff's Request for
             Grislis                         Judicial Notice; PDF document to prepare for filing
12/7/2021    Sabrina   Draft/ Revise   2.4   Draft the table of contents and table of authorities for Plaintiff's
             Grislis                         Opposition to Defendant's Motion for Judgement as a Matter of
                                             Law; correct formatting issues
12/7/2021    Sabrina   Communication 0.2     Email exchange with Jonathan Rosenthal about formatting
             Grislis                         issues on Plaintiff's Opposition brief
1/20/2022    Sabrina   Draft/ Revise   2     Draft the timeline of case events to use for reviewing time
             Grislis                         entries in preparation for our attorneys fees motion
2/1/2022     Sabrina   Review/ Analyze 3.5   Review time entries.
             Grislis
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Date         User      Activity        Time Description
2/3/2022     Sabrina   Review/ Analyze 2.3 Review time entries
             Grislis
2/9/2022     Sabrina   Research        0.2   Research the case National Abortion Federation (3:15-cv-3522-
             Grislis                         WHO) for the declaration of Foran in support of their motion for
                                             attorneys fees; send to Larry Organ.
2/9/2022     Sabrina   Review/ Analyze 1.4   Review time entries.
             Grislis
3/14/2022    Sabrina   Research        0.1   Download attorneys fees declaration and order in related case
             Grislis                         Stewart v. Kaiser
3/14/2022    Sabrina   Communication 0.1     Send attorneys fees declaration and order from SF County
             Grislis                         Superior Court case Stewart v. Kaiser to Larry Organ
4/19/2022    Sabrina   Communication 0.1     Set up Zoom link and circulate among Michael Rubin, Jonathan
             Grislis                         Rosenthal, Bernard Alexander
4/19/2022    Sabrina   Review/ Analyze 1     Review time entries
             Grislis
4/22/2022    Sabrina   File/ Serve     0.1   File the joint stipulation regarding the schedule for filing
             Grislis                         attorney's fees motion
4/22/2022    Sabrina   Draft/ Revise   0.2   Finalize the joint stipulation regarding the schedule for filing
             Grislis                         attorney's fees motion prior to filing
4/22/2022    Sabrina   Communication 0.1     Email the word version of the proposed order of joint stipulation
             Grislis                         regarding the schedule for filing attorney's fees motion to Judge
                                             Orrick's clerk
5/19/2022    Sabrina   Paralegal       0.4   Order the transcript of the post-trial hearing
             Grislis
9/19/2022    Sabrina   Paralegal       0.1   Prepare Zoom link for this evening's meeting; circulate with
             Grislis                         Michael Rubin, Jonathan Rosenthal, Bernard Alexander, and
                                             Larry Organ
11/10/2022 Sabrina     Paralegal       0.4   Review files on Dropbox for deposition videos
           Grislis
11/10/2022 Sabrina     Communication 0.2     Share Dropbox folders with Kathy at Bridget Mattos and
           Grislis                           Associates with deposition videos
11/10/2022 Sabrina     Paralegal       0.1   Prepare Zoom link for meeting on December 12
           Grislis
11/10/2022 Sabrina     Communication 0.1     Send Zoom link for December 12 meeting to team
           Grislis
11/15/2022 Sabrina     Draft/ Revise   0.2   Update the Certificate of Service to list Tesla's new counsel
           Grislis
11/15/2022 Sabrina     Draft/ Revise   0.2   Draft the Case Management Statement (for state court matter)
           Grislis
11/15/2022 Sabrina     Paralegal       0.3   Review the state court docket for history of defendants'
           Grislis                           appearances
11/15/2022 Sabrina     Draft/ Revise   0.1   Prepare the POS for the state court CMS
           Grislis
11/15/2022 Sabrina     File/ Serve     0.1   File and serve Plaintiffs' CMS (State Court)
           Grislis
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Date       User      Activity        Time Description
11/16/2022 Sabrina   Paralegal       0.1 Update the calendar with the new CMC date (state court)
           Grislis
12/7/2022 Sabrina    Paralegal       0.1   Save minute order from today's hearing on the scope of retrial;
           Grislis                         ask about ordering hearing transcript
12/12/2022 Sabrina   Meet            2.7   Team meeting to discuss retrial; scope of retrial
           Grislis
12/13/2022 Sabrina   Paralegal       0.1   Prepare and send Zoom meeting information to opposing
           Grislis                         counsel for meeting on December 21
12/13/2022 Sabrina   Draft/ Revise   0.1   Draft the transcript order form for the December 7, 2022
           Grislis                         hearing
12/13/2022 Sabrina   File/ Serve     0.1   File the transcript order form for the December 7, 2022 hearing
           Grislis
1/9/2023   Sabrina   Communication 0.1     Email to Marla Knox regarding the 12/7/2022 hearing transcript
           Grislis
1/9/2023   Sabrina   Paralegal       0.2   Locate and send to Larry Organ Plaintiff's exhibits 136-139
           Grislis
1/9/2023   Sabrina   Communication 0.2     Send Larry Organ and Bernard Alexander the contact
           Grislis                         information for witnesses Jackson and Wheeler
1/9/2023   Sabrina   Communication 0.1     Email to Karen Elizondo at Dr. Reading's office about trial
           Grislis                         testimony
1/13/2023 Sabrina    Paralegal       0.2   Review Judge Chen's calendar for information on Tesla securities
           Grislis                         litigation with Alex Spiro
1/13/2023 Sabrina    Communication 0.1     Send Larry Organ the information for the Tesla Securities
           Grislis                         litigation trial on Monday
1/16/2023 Sabrina    Communication 0.1     Send the Zoom link for 1/17 CMC to team
           Grislis
1/17/2023 Sabrina    Appearance/     7.5   Attend the trial in Tesla Securities Litigation; observe voir dire
           Grislis   Attend
1/18/2023 Sabrina    Appearance/     2.5   Attend the trial in Tesla Securities Litigation; watch opening
           Grislis   Attend                statements only
1/18/2023 Sabrina    Paralegal       0.2   Prepare and file transcript request for 1/17 case management
           Grislis                         conference
1/19/2023 Sabrina    Meet            0.8   Meet with team to prepare for MILs
           Grislis
1/20/2023 Sabrina    Communication 0.1     Email to court reporter Peggy regarding CMC Transcript
           Grislis
1/23/2023 Sabrina    Appearance/     6     Attend Tesla Securities trial to observe Musk testify and Spiro
           Grislis   Attend                technique
1/30/2023 Sabrina    Draft/ Revise   1.3   Draft Plaintiff's deposition designations per Larry's notes on
           Grislis                         designations from last trial
1/30/2023 Sabrina    Draft/ Revise   0.8   Draft Plaintiff's discovery designations for new trial
           Grislis
1/31/2023 Sabrina    Draft/ Revise   0.4   Revise plaintiff's discovery designations and deposition
           Grislis                         designations per Larry Organ's feedback
1/31/2023 Sabrina    Communication 0.2     Send opposing counsel our pretrial exchange documents
           Grislis
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Date         User      Activity        Time Description
1/31/2023    Sabrina   Draft/ Revise   0.3 Finalize Plaintiff's pretrial documents by converting to PDF
             Grislis
1/31/2023    Sabrina   Draft/ Revise   0.3   Prepare Plaintiff's proposed exhibit list
             Grislis
1/31/2023    Sabrina   Draft/ Revise   0.2   Add time estimates to Plaintiff's witness list
             Grislis
1/31/2023    Sabrina   Draft/ Revise   0.2   Prepare the exhibits to Plaintiff's MILs
             Grislis
2/1/2023     Sabrina   File/ Serve     0.2   File notice of appearance of Marqui Hood
             Grislis
2/3/2023     Sabrina   File/ Serve     0.2   File Plaintiff's MILs and supporting documents via ECF
             Grislis
2/3/2023     Sabrina   Draft/ Revise   3.2   Edit and finalize Plaintiff's MILs, declaration of Nunley, and
             Grislis                         exhibits
2/6/2023     Sabrina   Draft/ Revise   0.8   Revise the exhibit list by adding in the deposition exhibit number
             Grislis                         and date
2/6/2023     Sabrina   Communication 0.1     Call with Larry Organ regarding additions to the the exhibit list
             Grislis
2/7/2023     Sabrina   Draft/ Revise   0.4   Insert the witness associations into the exhibit list
             Grislis
2/8/2023     Sabrina   Paralegal       0.1   Create Zoom meeting for trial team today
             Grislis
2/8/2023     Sabrina   Communication 0.1     Send Zoom meeting information to trial team for today's
             Grislis                         meeting
2/8/2023     Sabrina   Paralegal       0.4   Locate and download the videos for use with Trial Director of
             Grislis                         Demetric Diaz, Annalisa Heisen, Erin Marconi, and Kevin McGinn
2/8/2023     Sabrina   Meet            0.7   Meet with trial team to discuss future briefing, exchange
             Grislis                         documents
2/8/2023     Sabrina   Paralegal       0.9   Create the deposition designation videos for Demetric Di-az, Erin
             Grislis                         Marconi, Annalisa Heisen, and Kevin McGinn
2/8/2023     Sabrina   File/ Serve     0.1   File the Joint Witness List
             Grislis
2/8/2023     Sabrina   File/ Serve     0.1   File the Joint Exhibit list
             Grislis
2/8/2023     Sabrina   File/ Serve     0.1   File the proposed jury instructions
             Grislis
2/8/2023     Sabrina   Draft/ Revise   0.3   Edit the header, caption page, and signature block for the Joint
             Grislis                         Exhibit List
2/8/2023     Sabrina   Draft/ Revise   0.3   Edit the header, caption page, and signature block for the Joint
             Grislis                         Witness List
2/8/2023     Sabrina   Draft/ Revise   0.3   Edit the header, caption page, and signature block for the joint
             Grislis                         jury instructions
2/8/2023     Sabrina   Draft/ Revise   0.6   Combine Plaintiff's potions and Defendant's portions into the
             Grislis                         joint pretrial statement.
2/8/2023     Sabrina   Communication 0.2     Calls with Larry Organ regarding this evening's filings and status
             Grislis
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Date         User      Activity        Time Description
2/8/2023     Sabrina   Draft/ Revise   0.2 Finalize and convert to PDF for filing the joint exhibit list
             Grislis
2/8/2023     Sabrina   Draft/ Revise   0.2   Finalize and convert to PDF for filing the joint witness list
             Grislis
2/8/2023     Sabrina   Draft/ Revise   0.2   Finalize and convert to PDF for filing the joint jury instructions
             Grislis
2/8/2023     Sabrina   Review/ Analyze 0.6   Review the docket to determine the confidentiality status of
             Grislis                         exhibits to Plaintiff's MIL opp
2/9/2023     Sabrina   Paralegal       1.9   Review Plaintiff's MIL Opps and pull citations; review citations
             Grislis                         for what is confidential versus public
2/9/2023     Sabrina   Communication 0.1     Email to Larry Organ with the confidential citations in Plaintiff's
             Grislis                         MIL Opp
2/9/2023     Sabrina   Paralegal       0.3   Create audio files from the depositions of Owen Diaz
             Grislis
2/9/2023     Sabrina   Paralegal       0.5   Print proposed trial exhibits for client
             Grislis
2/9/2023     Sabrina   Paralegal       0.5   Review proposed joint exhibit list versus exhibit list for old trial.
             Grislis                         Locate old exhibit 380, create Defendant's newly created exhibit
                                             380
2/9/2023     Sabrina   Communication 0.1     Notify Larry Organ that Defendant added a newly created
             Grislis                         exhibit, 380, to the joint exhibit list
2/9/2023     Sabrina   Paralegal       0.5   Create flashdrive to send to client with review documents
             Grislis
2/9/2023     Sabrina   Paralegal       0.2   Create FedEx label and send package to client
             Grislis
2/10/2023    Sabrina   Draft/ Revise   0.9   Prepare the exhibits to the declaration of Cimone Nunley in
             Grislis                         support of Plaintiff's MIL Opps
2/10/2023    Sabrina   Draft/ Revise   0.6   Prepare the table of contents and table of authorities in
             Grislis                         Plaintiff's MIL opps
2/10/2023    Sabrina   Draft/ Revise   0.3   Finalize by editing the caption, header, and signature block,
             Grislis                         check signatures and dates, and convert to PDF Plaintiff's MIL
                                             opps
2/10/2023    Sabrina   Draft/ Revise   0.2   Finalize by editing the caption, header, and signature block,
             Grislis                         check signatures and dates, convert to PDF, and combine with
                                             exhibits the declaration of Cimone Nunley in support of
                                             Plaintiff's MIL opp
2/10/2023    Sabrina   Draft/ Revise   0.3   Combine exhibits to Plaintiff's MIL opp
             Grislis
2/10/2023    Sabrina   Review/ Analyze 0.6   Review Plaintiff's MIL opp for additional citations and exhibits
             Grislis
2/10/2023    Sabrina   File/ Serve     0.2   File Plaintiff's MIL opp, declaration, and supporting exhibits
             Grislis
2/10/2023    Sabrina   Draft/ Revise   0.2   Finalize for filing the revised joint exhibit list
             Grislis
2/10/2023    Sabrina   File/ Serve     0.1   File the revised joint exhibit list
             Grislis
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Date         User      Activity        Time Description
2/13/2023    Sabrina   Research        2.5 Research witnesses
             Grislis
2/13/2023    Sabrina   Draft/ Revise   0.4   Draft chart for status of witness subpoenas
             Grislis
2/13/2023    Sabrina   Draft/ Revise   0.4   Draft cover letter to accompany subpoenas
             Grislis
2/13/2023    Sabrina   Paralegal       0.1   Create and send Zoom link to team
             Grislis
2/13/2023    Sabrina   Draft/ Revise   0.2   Begin drafting subpoena packet for service on Wayne Jackson
             Grislis
2/13/2023    Sabrina   Paralegal       0.5   Calculate witness fees based on estimated address/mileage for
             Grislis                         witnesses
2/13/2023    Sabrina   Draft/ Revise   0.3   Finalize for filing Plaintiff's discovery designations, Plaintiff's
             Grislis                         objections to Defendant's Designations of Di-az, and Plaintiff's
                                             deposition designations
2/13/2023    Sabrina   File/ Serve     0.2   File Plaintiff's Deposition Designations, Plaintiff's Discovery
             Grislis                         Designations, and Plaintiff's objections to Defendant's
                                             Designations of Demetric Di-az
2/13/2023    Sabrina   Paralegal       0.2   Save filed documents from this evening to the folder
             Grislis
2/14/2023    Sabrina   Meet            4.2   Meet with trial team (left early)
             Grislis
2/14/2023    Sabrina   Meet            1     Meet with Teodora Gagauz and Cameron Hartquist to discuss
             Grislis                         the focus group
2/14/2023    Sabrina   Paralegal       0.8   Select focus group particiapants
             Grislis
2/15/2023    Sabrina   Paralegal       0.1   Create zoom link, send to focus group participants
             Grislis
2/16/2023    Sabrina   Communication 0.2     Send Michael Rubin Word versions of Plaintiff's recent filings
             Grislis
2/16/2023    Sabrina   Paralegal       4.1   Create clips of Owen Diaz's deposition to show during focus
             Grislis                         group
2/16/2023    Sabrina   Communication 0.2     Send Larry Organ the running times of the video clips for focus
             Grislis                         group
2/16/2023    Sabrina   Paralegal       0.2   Send the confidentiality agreement to the focus group
             Grislis                         participants
2/16/2023    Sabrina   Appearance/     3.1   Attend the focus group (2.0), arrive early to monitor room, stay
             Grislis   Attend                afterward for discussion and to pay participants
2/17/2023    Sabrina   Meet            0.6   Team meeting to discuss witnesses, exhibits, and trial plan
             Grislis
2/17/2023    Sabrina   Draft/ Revise   0.2   Fix formatting issues on the joint stipulation before filing
             Grislis
2/17/2023    Sabrina   Communication 0.1     Email to Mari Henderson regarding filing the joint stipulation
             Grislis
2/17/2023    Sabrina   File/ Serve     0.1   Serve the trial subpoenas to Victor Quintero and Ramon
             Grislis                         Martinez on counsel for Tesla
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Date         User      Activity      Time Description
2/17/2023    Sabrina   Draft/ Revise 0.1 Prepare the proof of service of the trial subpoenas to Quintero
             Grislis                      and Martinez on counsel for Tesla
2/17/2023    Sabrina   Communication 0.2 Email to Rob Goodstein requesting personal service of trial
             Grislis                      subpoenas and front of witness fee checks to Edward Romero,
                                          Michael Wheeler, and Wayne Jackson
2/17/2023    Sabrina   Draft/ Revise 0.3 Finalize the subpoenas and subpoena packets to Michael
             Grislis                      Wheeler, Wayne Jackson, Ed Romero, Ramon Martinez, and
                                          Victor Quintero
2/17/2023    Sabrina   Communication 0.1 Email the proposed order regarding the joint stipulation to
             Grislis                      Judge Orrick's P.O. email address
2/21/2023    Sabrina   Draft/ Revise 0.2 Prepare the subpoena to Edward Romero to serve on Counsel
             Grislis                      for Tesla
2/21/2023    Sabrina   File/ Serve   0.1 Serve the subpoena to Edward Romero on counsel for Tesla
             Grislis
2/22/2023    Sabrina   Communication 0.1     Send Dustin Collier the Zoom link for the meet and confer with
             Grislis                         counsel for Tesla
2/23/2023    Sabrina   Paralegal       2.5   Prepare binders for pretrial conference
             Grislis
2/23/2023    Sabrina   Communication 0.1     Email to Jean Perley requesting transcript
             Grislis
2/27/2023    Sabrina   Communication 0.1     Email to Larry Organ and Cimone Nunley with my questions for
             Grislis                         Judge Orrick at pretrial conference
2/27/2023    Sabrina   Paralegal       0.5   Revise the survey and post the craiglist ads for Thursday's focus
             Grislis                         group
2/27/2023    Sabrina   Draft/ Revise   0.2   Draft Plaintiff's daily transcript order form
             Grislis
2/27/2023    Sabrina   Communication 0.1     Call to Larry Organ regarding the pretrial conference
             Grislis
2/27/2023    Sabrina   File/ Serve     0.2   File Plaintiff's transcript order form for daily trial transcripts
             Grislis
2/28/2023    Sabrina   Communication 0.1     Call with Larry Organ regarding Diaz witnesses
             Grislis
2/28/2023    Sabrina   Communication 0.1     Email to Rob Goodstein regarding service on Jackson and
             Grislis                         Wheeler
2/28/2023    Sabrina   Paralegal       0.8   Review survey responses to select focus group participants
             Grislis
2/28/2023    Sabrina   Communication 0.8     Call focus group participants to confirm selection
             Grislis
3/1/2023     Sabrina   Communication 0.5     Follow up with focus group participants; email confirmation
             Grislis                         notice
3/2/2023     Sabrina   Draft/ Revise   0.2   Prepare the subpoena and proof of service of Jackson subpoena
             Grislis                         on nextSource counsel
3/2/2023     Sabrina   Draft/ Revise   0.1   Draft the email serving the Wayne Jackson subpoena on
             Grislis                         nextSource counsel
3/2/2023     Sabrina   File/ Serve     0.1   Serve the subpoena to Wayne Jackson on nextSource
             Grislis
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Date        User      Activity      Time Description
3/2/2023    Sabrina   Meet          2.8 Meet with trial team
            Grislis
3/2/2023    Sabrina   Communication 0.2   Follow up with focus group participants regarding the
            Grislis                       confidentiliaty agreements
3/2/2023    Sabrina   Communication 0.3   Send confidentiality agreements to participants of tonight's
            Grislis                       focus group
3/2/2023    Sabrina   Appearance/   2     Attend the focus group
            Grislis   Attend
3/2/2023    Sabrina   Meet          1     Meet with team after the focus group to debrief
            Grislis
3/2/2023    Sabrina   Paralegal     0.3   Start focus group early to monitor zoom room
            Grislis
3/2/2023    Sabrina   Paralegal     0.4   Prepare clip of Demetric Di-az to use in this evening's focus
            Grislis                       group
3/4/2023    Sabrina   Appearance/   3     Attend focus group
            Grislis   Attend
3/4/2023    Sabrina   Meet          1.6   Meet with team to debrief after focus group
            Grislis
3/4/2023    Sabrina   Paralegal     0.3   Start focus group early to manage room
            Grislis
3/6/2023    Sabrina   Paralegal     0.3   Book rooms for Cimone Nunley and Marqui Hood
            Grislis
3/6/2023    Sabrina   Communication 0.1   Send Cimone Nunley the chart of Annalisa Heisen's trial
            Grislis                       testimony
3/6/2023    Sabrina   Communication 0.1   Email to Diaz team to organize who needs an exhibit binder
            Grislis
3/7/2023    Sabrina   Communication 0.2   Call with Richard Duvall regarding Plaintiff's trial transcript
            Grislis                       request
3/7/2023    Sabrina   Communication 0.1   Email to Ruth Ekahus regarding the transcript from the pretrial
            Grislis                       conference
3/7/2023    Sabrina   Paralegal     1.1   Begin preparing exhibit binders
            Grislis
3/8/2023    Sabrina   Paralegal     0.2   Post Craigslist ads for March 13 focus group
            Grislis
3/8/2023    Sabrina   Meet          0.9   Meet with trial team
            Grislis
3/8/2023    Sabrina   Paralegal     0.1   Pull the motion for new trial from the Littleton case
            Grislis
3/8/2023    Sabrina   Communication 0.1   Confirm availability with Dustin Collier for witness exam meeting
            Grislis
3/8/2023    Sabrina   Communication 0.1   Send motion for new trial to Michael Rubin and Larry Organ
            Grislis
3/8/2023    Sabrina   Communication 0.1   Follow up with Rob Goodstein regarding status of service on
            Grislis                       Michael Wheeler
3/8/2023    Sabrina   Research      0.1   Find Jackelin Delgado's Facebook and Instagram
            Grislis
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Date         User      Activity      Time Description
3/8/2023     Sabrina   Communication 0.1 Send Cimone Nunley links to Jackelin Delgado's social media
             Grislis                      accounts
3/9/2023     Sabrina   Communication 0.1 Respond to Dustin Collier regarding the outline for Amy
             Grislis                      Oppenheimer
3/10/2023    Sabrina   Communication 0.2 Respond to Mario Gutierrez regarding Plaintiff's experts'
             Grislis                      demonstratives; deposition transcripts for trial; trial transcripts
                                          for retrial
3/13/2023    Sabrina   Appearance/   2    Attend focus group
             Grislis   Attend
3/13/2023    Sabrina   Paralegal     0.2 Begin focus group early to monitor room
             Grislis
3/13/2023    Sabrina   Meet             0.7   Meet with team after focus group
             Grislis
3/13/2023    Sabrina   Communication 0.1      Send confidentilaty agreements to participants
             Grislis
3/13/2023    Sabrina   Communication 0.1      Follow up with focus group participants
             Grislis
3/13/2023    Sabrina   Communication 0.1      Follow up with Rob regarding service of trial subpoenas
             Grislis
3/13/2023    Sabrina   Paralegal        0.1   Create post focus group survey
             Grislis
3/14/2023    Sabrina   Communication 0.1      Call with Wayne Jackson regarding trial
             Grislis
3/14/2023    Sabrina   Communication 0.1      Follow up call to Wayne Jackson, sent text
             Grislis
3/14/2023    Sabrina   Communication 0.1      Call to Michael Wheeler, left voicemail
             Grislis
3/14/2023    Sabrina   Communication 0.1      Call to Larry Organ regarding my call with Wayne Jackson, left
             Grislis                          voicemail
3/14/2023    Sabrina   Communication 0.1      Call with Larry Organ and Dustin Collier regarding my
             Grislis                          conversation with Wayne Jackson
3/14/2023    Sabrina   Paralegal        0.9   Prepare TrialDirector video of Demetric Di-az
             Grislis
3/14/2023    Sabrina   Draft/ Revise    0.7   Draft the list of designations of Demetric Di-az's deposition
             Grislis                          testimony by party, add time for each clip
3/14/2023    Sabrina   Draft/ Revise    1.1   Draft list of designations of Erin Marconi's deposition testimony
             Grislis                          by party, add times for each clip
3/14/2023    Sabrina   Paralegal        0.8   Begin to prepare TrialDirector video of Erin Marconi
             Grislis
3/14/2023    Sabrina   Draft/ Revise    0.6   Draft the list of designations of Annalisa Heisen's deposition
             Grislis                          testimony by party, add times for each clip
3/14/2023    Sabrina   Draft/ Revise    0.2   Draft the list of designations of Kevin McGinn's deposition
             Grislis                          testimony by party, add times for each clip
3/14/2023    Sabrina   Paralegal        0.2   Add audio files of Owen Diaz's depositions to shared Drive
             Grislis
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Date         User      Activity      Time Description
3/14/2023    Sabrina   Communication 0.1 Email to Owen Diaz about audio files
             Grislis
3/14/2023    Sabrina   Communication 0.1     Email to Dustin Collier and Larry Organ with Wayne Jackson's
             Grislis                         contact information
3/14/2023    Sabrina   Communication 0.2     Email Wayne Jackson the subpoena and his trial testimony; send
             Grislis                         standby agreement for signature via AdobeSign
3/14/2023    Sabrina   Communication 0.1     Send Larry Organ the subpoena and standby agreement for
             Grislis                         Michael Wheeler
3/14/2023    Sabrina   Communication 0.1     Email Rob Goodstein to call off service of Michael Wheeler
             Grislis
3/14/2023    Sabrina   Communication 0.1     Email to Kathy and Cyril at Bridget Mattos and Associates
             Grislis                         requesting the synced deposition video of Michael Wheeler
3/14/2023    Sabrina   Draft/ Revise   0.1   Draft letter for witness La'Drea Jones
             Grislis
3/14/2023    Sabrina   Communication 0.1     Send La'Drea Jones her cover letter and subpoena
             Grislis
3/14/2023    Sabrina   Research        0.1   Research case Dickson v. Tesla on Santa Clara County Court's
             Grislis                         website
3/14/2023    Sabrina   Research        0.1   Research case Dickson v Tesla on ECF, Northern District; get
             Grislis                         docket report
3/14/2023    Sabrina   Communication 0.1     Send findings regarding Dickson v Tesla to Larry Organ
             Grislis
3/15/2023    Sabrina   Paralegal       0.2   Begin downloading the recordings from previous focus groups
             Grislis
3/16/2023    Sabrina   Paralegal       3.2   Prepare deposition videos to present in trial
             Grislis
3/17/2023    Sabrina   Paralegal       0.6   Begin narrowing down focus group participants
             Grislis
3/17/2023    Sabrina   Communication 0.1     Email Cameron Hartquist instructions for focus group selection
             Grislis
3/17/2023    Sabrina   Meet            5.1   Meet with team to discuss trial strategy
             Grislis
3/17/2023    Sabrina   Paralegal       0.5   Select focus group alternates and make contact
             Grislis
3/17/2023    Sabrina   Communication 0.1     Email to court reporter supervisor Kristen Melen regarding
             Grislis                         Realtime
3/17/2023    Sabrina   Draft/ Revise   0.8   Create demonstratives
             Grislis
3/18/2023    Sabrina   Paralegal       2.1   Prepare exhibit binders
             Grislis
3/18/2023    Sabrina   Communication 0.1     Send confidentiality agreements via AdobeSign
             Grislis
3/18/2023    Sabrina   Communication 0.2     Follow up with focus group participants
             Grislis
3/18/2023    Sabrina   Appearance/     3     Attend focus group
             Grislis   Attend
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Date         User      Activity        Time Description
3/18/2023    Sabrina   Paralegal       0.2 Begin focus group early to monitor room
             Grislis
3/19/2023    Sabrina   Paralegal       0.5   Revise deposition videos of Demetric Diaz and Erin Marconi
             Grislis
3/20/2023    Sabrina   Draft/ Revise   1.4   Draft the list of the deposition designations of the videos of
             Grislis                         Demetric Di-az, Annalisa Heisen, Erin Marconi, and Kevin
                                             McGinn in trial director
3/20/2023    Sabrina   Plan/ Prepare   4.1   Fine tune the deposition videos of Demetric Di-az, Annalisa
             Grislis                         Heisen, Erin Marconi, and Kevin McGinn in trial director
3/20/2023    Sabrina   Paralegal       0.2   Send payment to focus group participant
             Grislis
3/20/2023    Sabrina   Plan/ Prepare   1.2   Prepare exhibit binders
             Grislis
3/20/2023    Sabrina   Paralegal       0.1   Provide subpoena and standby agreement for Michael Wheeler
             Grislis
3/20/2023    Sabrina   Paralegal       0.4   Finish selecting focus group participants
             Grislis
3/21/2023    Sabrina   Paralegal       0.1   Send Bernard Alexander the printer driver software
             Grislis
3/21/2023    Sabrina   Draft/ Revise   0.6   Create polls on Zoom for focus group
             Grislis
3/21/2023    Sabrina   Communication 0.1     Email to Dustin Collier and Larry Organ regarding using polling
             Grislis                         for tonight's focus group
3/21/2023    Sabrina   Meet            2.1   Meet with Dustin Collier and Cimone Nunley to practice timing
             Grislis                         of exam rehearsals
3/21/2023    Sabrina   Draft/ Revise   0.2   Revise the exhibit list
             Grislis
3/21/2023    Sabrina   Communication 0.1     Send the revised exhibit list to Larry Organ for review
             Grislis
3/21/2023    Sabrina   Appearance/   3       Attend focus group. Log in early to monitor room. Stay on after
             Grislis   Attend                to debrief and send payment to participants
3/22/2023    Sabrina   Communication 0.1     Send Elizabeth Malay the zoom link
             Grislis
3/22/2023    Sabrina   Communication 0.1     Send Marqui Hood, Cimone Nunley, and Elizabeth Malay the
             Grislis                         Zoom link
3/22/2023    Sabrina   Paralegal       4.1   Prepare exhibit binders for trial
             Grislis
3/22/2023    Sabrina   Communication 0.1     Send the further revised exhibit list to counsel for Tesla
             Grislis
3/22/2023    Sabrina   Communication 0.1     Email to Jean Davis regarding scheduling set up/supply drop off
             Grislis                         in courtroom
3/23/2023    Sabrina   Paralegal       0.1   Run PeopleMap report on Tamotsu Kawasaki
             Grislis
3/23/2023    Sabrina   Communication 0.1     Send PeopleMap report to Dustin Collier and Larry Organ
             Grislis
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Date         User      Activity      Time Description
3/23/2023    Sabrina   Communication 0.1 Email to court reporter Marla Knox regarding payment for trial
             Grislis                      transcripts.
3/23/2023    Sabrina   Paralegal     2.1 Finish preparing the exhibit binders
             Grislis
3/23/2023    Sabrina   Communication 0.2      Email to trial team about coordinating driving to San Francisco
             Grislis
3/24/2023    Sabrina   Appearance/   3.1      Travel to San Francisco to drop off supplies at courtroom; set up
             Grislis   Attend                 supplies in courtroom and test the technology; return to office.
3/24/2023    Sabrina   Communication 0.2      Contact potential focus group participants
             Grislis
3/25/2023    Sabrina   Paralegal        0.3   Dropoff exhibit binder to Michael Rubin's home
             Grislis
3/25/2023    Sabrina   Appearance/   3        Attend focus group. Join focus group early to monitor room.
             Grislis   Attend                 Stay on after to debrief and send payment to participants.
3/25/2023    Sabrina   Communication 0.1      Send confidentiality agreement to focus group participants
             Grislis
3/25/2023    Sabrina   Communication 0.1      Send Zoom link for trial to team
             Grislis
3/25/2023    Sabrina   Communication 0.1      Email team a reminder that Judge Orrick requires masks in his
             Grislis                          courtroom
3/26/2023    Sabrina   Meet             1.1   Meet with team to practice opening statement. Practice tech.
             Grislis
3/26/2023    Sabrina   Paralegal        0.3   Review opening statement notes and power point
             Grislis
3/26/2023    Sabrina   Communication 0.1      Email Tamotsu Kawasaki his trial subpoena
             Grislis
3/27/2023    Sabrina   Appearance/   11.5 Travel to San Francisco for trial. Attend day one of trial. Travel
             Grislis   Attend             back after trial.
3/27/2023    Sabrina   Communication 0.1 Email Plaintiff's witnesses for Tuesday to opposing counsel
             Grislis
3/28/2023    Sabrina   Appearance/   8.5      Travel to San Francisco for trial. Attend trial. Travel back to
             Grislis   Attend                 office.
3/28/2023    Sabrina   Communication 0.1      Send day 1 trial transcripts to team
             Grislis
3/28/2023    Sabrina   Communication 0.1      Email to Marla Knox requesting that she include Cimone Nunley
             Grislis                          on her emails
3/28/2023    Sabrina   Communication 0.1      Send Dustin Collier and Larry Organ the designations for Erin
             Grislis                          Marconi for review and finalizing.
3/28/2023    Sabrina   Communication 0.1      Send list of Wednesday's witnesses to opposing counsel
             Grislis
3/28/2023    Sabrina   Communication 0.1      Email to opposing counsel updating Plaintiff's witness order for
             Grislis                          Wednesday
3/28/2023    Sabrina   Draft/ Revise    0.2   Draft exhibit 140, the designations of Erin Marconi
             Grislis
3/28/2023    Sabrina   Draft/ Revise    0.1   Revise exhibit 140 after noticing errors
             Grislis
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Date         User      Activity         Time Description
3/28/2023    Sabrina   Paralegal        0.4 Review the deposition video of Erin Marconi for accuracy.
             Grislis
3/29/2023    Sabrina   Appearance/   8.4      Travel to San Francisco for trial, attend trial, travel back to
             Grislis   Attend                 office.
3/29/2023    Sabrina   Communication 0.1      Send updated exhibit 140 to Asher Griffin
             Grislis
3/29/2023    Sabrina   Research         0.2   Research the Youtube account that Defense counsel referred to
             Grislis
3/29/2023    Sabrina   Communication 0.1      Send Youtube findings to Cimone Nunley
             Grislis
3/29/2023    Sabrina   Communication 0.1      Send Zoom link to team for debrief
             Grislis
3/29/2023    Sabrina   Communication 0.1      Send Judge's Zoom link to team for their 3 pm hearing
             Grislis
3/29/2023    Sabrina   Communication 0.1      Email to Kris Organ requesting he submit payment on open
             Grislis                          invoices
3/29/2023    Sabrina   Meet             0.7   Meet with team to debrief (left early)
             Grislis
3/29/2023    Sabrina   Communication 0.1      Forward the day's trial transcripts to the team
             Grislis
3/29/2023    Sabrina   Communication 0.2      Email to Larry Organ regarding the designations of Demetric Di-
             Grislis                          az's deposition testimony
3/30/2023    Sabrina   Appearance/      8.7   Travel to San Francisco for trial, attend trial, travel back to
             Grislis   Attend                 office.
3/30/2023    Sabrina   Meet             0.8   Meet with team to debrief and discussing closing
             Grislis
3/30/2023    Sabrina   Paralegal        0.1   Send Zoom link to team for debrief meeting
             Grislis
3/30/2023    Sabrina   Paralegal        0.2   Prepare binder for Cimone
             Grislis
3/30/2023    Sabrina   Paralegal        0.1   Prepare final exhibits binder
             Grislis
3/30/2023    Sabrina   Communication 0.1  Forward trial transcripts to team; send text message that I sent
             Grislis                      the transcripts
3/30/2023    Sabrina   Communication 0.1 Coordinate with Charles Mahla regarding his appearance via
             Grislis                      Zoom
3/31/2023    Sabrina   Appearance/   11.4 Travel to San Francisco for trial, attend trial, travel home.
             Grislis   Attend
4/3/2023     Sabrina   Appearance/   7.5 Travel to San Francisco, wait for jury to finish deliberating and
             Grislis   Attend             hear verdict, travel back to office.
4/4/2023     Sabrina   Communication 0.1 Communication with Wayne Jackson regarding witness fees
             Grislis
4/4/2023     Sabrina   Communication 0.1      Communication with Michael Wheeler regarding witness fees
             Grislis
4/4/2023     Sabrina   Communication 0.1      Phone call with Larry Organ regarding witness fees for Michael
             Grislis                          Wheeler and Wayne Jackson
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Date         User      Activity        Time Description
4/5/2023     Sabrina   Meet            1.2 Meet with team to discuss next steps on case
             Grislis
4/5/2023     Sabrina   Research        1.2   Research jurors on PeopleMap to find contact information
             Grislis
4/5/2023     Sabrina   Communication 0.1     Email Marqui Hood with my juror research findings
             Grislis
4/20/2023    Sabrina   Communication 0.1     Email to focus group participant
             Grislis
4/20/2023    Sabrina   Communication 0.1     Send Marla Knox's W-9 to bookkeeper
             Grislis
4/24/2023    Sabrina   Communication 0.2     Email to Kris Organ clarifying the payments to MK Litigation
             Grislis
4/24/2023    Sabrina   Communication 0.1     Share additional expenses with Cimone Nunley
             Grislis
6/28/2023    Sabrina   Communication 0.1     Send Corinne Johnson Demetric Di-az's testimony exhibit
             Grislis
7/24/2023    Sabrina   Communication 0.1     Email to Cimone Nunley and Larry Organ about dismissal of
             Grislis                         state court parties
8/8/2023     Sabrina   File/ Serve     0.2   File Plaintiff's notice of new evidence
             Grislis
8/15/2023    Sabrina   Paralegal       0.2   Save Defendant's opposition to notice of new evidence to file
             Grislis
8/16/2023    Sabrina   Meet            0.5   Meet with team to discuss reply brief re new evidence
             Grislis
8/16/2023    Sabrina   Research        0.4   Investigate job titles of individuals identified in evidence in new
             Grislis                         evidence [email chain re graffiti]
8/18/2023    Sabrina   File/ Serve     0.2   File Plaintiff's request for leave to file reply
             Grislis
8/18/2023    Sabrina   Paralegal       0.2   Save ECF filed documents- reply brief re notice of new evidence
             Grislis
8/18/2023    Sabrina   Draft/ Revise   2.5   Draft administrative motion to seal documents and supporting
             Grislis                         declaration
8/18/2023    Sabrina   Communication 0.3     Communications with Molly Durkin regarding administrative
             Grislis                         motion to seal
8/18/2023    Sabrina   Draft/ Revise   2.2   Draft the administrative motion to consider whether documents
             Grislis                         should be sealed per Jean Perley's research
8/18/2023    Sabrina   Communication 0.1     Email to Michael Rubin regarding declaration ISO administrative
             Grislis                         motions to seal
8/18/2023    Sabrina   Draft/ Revise   0.1   Draft the Proof of Service re unredacted documents ISO
             Grislis                         Plaintiff's notice of new evidence
8/18/2023    Sabrina   Communication 0.1     Email the word version of the proposed order unsealing new
             Grislis                         evidence to clerk
7/21/2023    Sabrina   File/ Serve     1     (State Court) OneLegal order no. 20849181, file CMS
             Grislis
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Date       User        Activity      Time    Description
12/14/2022 Cameron     Communication 0.1     Printing transcript emails for Larry and communicating with
           Hartquist                         Sabrina.
12/14/2022 Cameron     Communication 0.7     Coordinating and mailing check for transcripts from 12/07/22.
           Hartquist                         Communicating via email with Larry Organ and Sabrina Grislis.
1/4/2023   Cameron     Plan/ Prepare   0.1   Saving MK Transcript Check FedEx charge to file.
           Hartquist
2/14/2023 Cameron      Communication 1       Calling potential focus group participants.
           Hartquist
2/15/2023 Cameron      Plan/ Prepare   1.1   Calling and updating spreadsheet for focus group participants
           Hartquist                         and emailing Sabrina.
2/16/2023 Cameron      Meet            3     Focus group prep, meeting, and debrief.
           Hartquist
2/20/2023 Cameron      Plan/ Prepare   0.6   Craigslist ad posting and focus group planning
           Hartquist
2/22/2023 Cameron      Plan/ Prepare   1.2   Selecting focus group participants and updating spreadsheets.
           Hartquist
2/23/2023 Cameron      Communication 2       Focus group participant planning and contacting.
           Hartquist
2/24/2023 Cameron      Communication 3.3     Focus group planning and communicating with Teo. Calls to
           Hartquist                         participants and sending Zoom link emails.
2/25/2023 Cameron      Communication 0.4     Saving confidentiality agreements and contacting focus group
           Hartquist                         participants.
2/26/2023 Cameron      Draft/ Revise   0.2   Drafting post focus group email.
           Hartquist
2/26/2023 Cameron      Draft/ Revise   0.8   Drafting focus group survey and communicating with Larry
           Hartquist                         about questions.
2/26/2023 Cameron      Meet            4.6   Focus group prep and moderating group. Sending post group
           Hartquist                         survey.
2/27/2023 Cameron      Other           0.1   Saving Zoom recording to folder.
           Hartquist
2/28/2023 Cameron      Other           0.5   Updating focus group lists and downloading survey responses.
           Hartquist
3/1/2023   Cameron     Communication 0.3     Saving focus group results and messaging Cimone
           Hartquist
3/17/2023 Cameron      Plan/ Prepare   2.5   Focus group participant selection.
           Hartquist
3/20/2023 Cameron      Communication 3       Focus group participant selection and prep
           Hartquist
3/21/2023 Cameron      Plan/ Prepare   1.1   Setting up Elmo video software.
           Hartquist
3/21/2023 Cameron      Communication 3.5     Focus group participant prep and communication.
           Hartquist
3/22/2023 Cameron      Plan/ Prepare   0.8   Binders
           Hartquist
3/22/2023 Cameron      Plan/ Prepare   1.5   Jury research.
           Hartquist
3/22/2023 Cameron      Plan/ Prepare   0.5   Jury selection
           Hartquist
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Date        User        Activity         Time   Description
3/22/2023   Cameron     Plan/ Prepare    0.7    Binder preparation
            Hartquist
3/23/2023   Cameron     Plan/ Prepare    1.5    Trial director training from Sabrina and witness binder
            Hartquist                           preparation.
3/23/2023   Cameron     Plan/ Prepare    0.8    Witness binder preparation.
            Hartquist
3/24/2023   Cameron     Travel Expense   4.1    Travel to courthouse to deliver trial equipment and exhibits
            Hartquist
3/24/2023   Cameron     Communication 2.5       Focus group preparation
            Hartquist
3/24/2023   Cameron     Communication 0.2       Emailing focus group participants. Updating spreadsheets.
            Hartquist
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Date        User   Activity        Time   Description
1/4/2023    Marqui Communication 1.3      Diaz strategy meeting
            Hood
1/6/2023    Marqui Draft/ Revise   0.3    Reviewing proposed jury instructions
            Hood
1/6/2023    Marqui Review/ Analyze 0.5    reviewing prior hearing & evid re: strategy mtg
            Hood
1/19/2023   Marqui Communication 0.7      Strategy call with co counsel re: MILs & meet and confer with
            Hood                          Tesla
1/19/2023   Marqui Review/ Analyze 0.5    Reviewing trial testimony
            Hood
1/23/2023   Marqui Draft/ Revise   0.5    Review of MILs
            Hood
1/23/2023   Marqui Research        2      Researching PMK replacement testimony issue
            Hood
1/26/2023   Marqui Research        1.4    Researching pursuing equitable relief at retrial, former ee status,
            Hood                          other possible avenues.
1/26/2023   Marqui Communication 0.7      Call w/ co-counsel re: PMK substitution/due process,
            Hood                          employer/contractor
1/30/2023   Marqui Review/ Analyze 2.6    Reviewing trial transcripts
            Hood
2/1/2023    Marqui Communication 1.8      Strategy meeting Tesla's MILs, etc.
            Hood
2/2/2023    Marqui Communication 2.3      Meet and Confer call with D counsel & post call strategy session
            Hood
2/2/2023    Marqui Draft/ Revise   1.6    Review of PMK depo and edit/draft FN for MIL 2
            Hood
2/2/2023    Marqui Review/ Analyze 1      Reviewing PMK depo re: MIL 2
            Hood
2/6/2023    Marqui Review/ Analyze 0.3    Review of Hurtado & Donet transcripts re: MILS
            Hood
2/6/2023    Marqui Communication 0.3      Reviewing emails
            Hood
2/6/2023    Marqui Review/ Analyze 4.4    Review of record re: Tesla's assertion that puni liability is at
            Hood                          issue at retrial
2/7/2023    Marqui Review/ Analyze 1.8    Review of record for add'l citations to add to brief re: punitive
            Hood                          damages liability/verdict form
2/7/2023    Marqui Draft/ Revise   2.1    Edits & redrafting punitive damages briefing re verdict form
            Hood
2/8/2023    Marqui Draft/ Revise   0.3    Reviewing/edits to punis brief
            Hood
2/8/2023    Marqui Communication 0.8      Team meeting
            Hood
2/8/2023    Marqui Communication 0.7      Call with co counsel re punis addendum
            Hood
2/13/2023   Marqui Communication 0.9      Strategy Call re: joint pretrial statement
            Hood
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Date      User   Activity        Time   Description
2/14/2023 Marqui Communication 2.3      Team strategy meeting
          Hood
2/14/2023 Marqui Communication 2.2      Team Strategy session -- afternoon session
          Hood
2/14/2023 Marqui Review/ Analyze 0.5    reviewing joint pretrial stmt prior to strategy session
          Hood
2/15/2023 Marqui Communication 0.5      Strategy call re: stips meet & confer w/ co counsel
          Hood
2/15/2023 Marqui Communication 0.8      Meet and confer w/ Tesla re: stips and referencing "prior trial"
          Hood
2/16/2023 Marqui Review/ Analyze 0.4    Doc production review for news tip email
          Hood
2/16/2023 Marqui Review/ Analyze 0.7    Review of focus group script & email suggestions
          Hood
2/16/2023 Marqui Communication 0.1      Call with Durkin, Organ re: strategy
          Hood
2/16/2023 Marqui Plan/ Prepare   1.7    Diaz: Focus group with Organ
          Hood
2/17/2023 Marqui Communication 0.7      Team meeting with Organ, Alexander, Collier, Nunley
          Hood
2/17/2023 Marqui Communication 0.1      Email to Organ re: rebuttal wits to Tesla's HR wit
          Hood
2/20/2023 Marqui Review/ Analyze 1.6    Reviewing decs for rebuttal evidence to PMQ testimony
          Hood
2/20/2023 Marqui Review/ Analyze 1.7    Reviewing decs re: rebuttal evidence for PMK testimony re:
          Hood                          preventative measures
2/21/2023 Marqui Communication 0.1      Call to Ellen Pansky re ethics consult
          Hood
2/21/2023 Marqui Review/ Analyze 1.4    Reviewing Heisen deposition
          Hood
2/21/2023 Marqui Review/ Analyze 1.1    Reviewing Heisen depo & exhibits
          Hood
2/22/2023 Marqui Communication 0.2      Email to ethics counsel Erin Joyce
          Hood
2/22/2023 Marqui Communication 0.1      Call with Durkin re; M&C
          Hood
2/22/2023 Marqui Plan/ Prepare   0.3    Review of joint pretrial stmt prep for M&C call with defense
          Hood                          counsel
2/22/2023 Marqui Communication 0.5      M&C call with Organ, Rubin, Alexander, Nunley, Collier & D
          Hood                          counsel re: reference to prior trial
2/22/2023 Marqui Communication 0.4      Post M&C call call w/ Organ, Alexander, Rubin, Nunley, Collier
          Hood
2/22/2023 Marqui Communication 0.2      Intake call with admin re Ellen Pansky
          Hood
2/22/2023 Marqui Research        0.4    Legal research re: propriety of mentioning prior trial at retrial
          Hood
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Date      User   Activity       Time   Description
2/23/2023 Marqui Research       0.7    Caselaw research re: mention of prior trial at retrial
          Hood
2/23/2023 Marqui Research       1.3    Researching instructing 2nd jury re 1st "jury determination"
          Hood                         issue
2/23/2023 Marqui Draft/ Revise  2.3    Drafting briefing re: "determination" v "verdict"
          Hood
2/23/2023 Marqui Communication 0.1     email to Rubin re: foundation question
          Hood
2/23/2023 Marqui Communication 0.1     Call with Organ re: ethics & prior jury briefing
          Hood
2/24/2023 Marqui Draft/ Revise  0.8    Final edits to briefing re mention of prior trial
          Hood
2/24/2023 Marqui Communication 0.5     Pretrial Conference strategy call with Organ, Alexander, Nunley,
          Hood                         Rosenthal, Rubin
2/24/2023 Marqui Draft/ Revise  0.2    final edits to prior verdict briefing
          Hood
2/24/2023 Marqui Plan/ Prepare  0.2    Reviewing Pansky retainer agreement re: ethics consult & email
          Hood                         to Organ, Stanford, Grislis
2/24/2023 Marqui Communication 0.1     call with Larry Organ re: Pansky consult
          Hood
2/26/2023 Marqui Plan/ Prepare  3      Attending focus group
          Hood
2/27/2023 Marqui Communication 0.1     Call with Durkin RE Diaz status
          Hood
2/27/2023 Marqui Appearance/    1.5    Attending pretrial conference
          Hood Attend
2/27/2023 Marqui Communication 0.2     Post hearing call with Larry Organ, Dustin Collier, and Cimone
          Hood                         Nunley
3/2/2023 Marqui Review/ Analyze 1      Reviewing materials/arguments re: Tesla's jury instruction
          Hood                         redline, Tesla's request to exclude Wheeler testimony
3/2/2023 Marqui Plan/ Prepare   2.7    Strategy meeting with Larry Organ, Cimone Nunley, Dustin
          Hood                         Collier, Sabrina Grislis etc
3/2/2023 Marqui Review/ Analyze 0.8    Reviewing docs re: Wheeler proffer: MILs, Diaz & Wheeler
          Hood                         testimony
3/2/2023 Marqui Review/ Analyze 0.2    Review of proposed jury instruction briefing
          Hood
3/2/2023 Marqui Review/ Analyze 0.4    Review of focus group script
          Hood
3/2/2023 Marqui Plan/ Prepare   2      Attending focus group
          Hood
3/3/2023 Marqui Communication 0.2      Email to the team re: Wheeler proffer
          Hood
3/3/2023 Marqui Draft/ Revise   0.4    Edits to Wheeler proffer
          Hood
3/4/2023 Marqui Plan/ Prepare   4.5    focus group and analysis with Larry Organ team and Dustin
          Hood                         Collier Law team
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Date        User   Activity        Time   Description
3/8/2023    Marqui Communication   1      Strategy meeting with Larry Organ, Cimone Nunley, Dustin
            Hood                          Collier, Elizabeth Malay, V. Joshua Socks, Sabrina Grislis
3/13/2023   Marqui Plan/ Prepare   1.8    Observing/feedback re: cross exam of Owen Diaz
            Hood
3/13/2023   Marqui Plan/ Prepare   2.7    Focus group & analysis: Larry Organ, Sabrina Grislis, Cimone
            Hood                          Nunley, Dustin Collier, etc.
3/18/2023   Marqui Plan/ Prepare   4.5    Focus group & strategy session -- Larry Organ, Cimone Nunley,
            Hood                          Dustin Collier+team, Emily Kohlheim
3/21/2023   Marqui Plan/ Prepare   2.8    Focus group & strategy meeting
            Hood
3/22/2023   Marqui Communication   2.2    Strategy meeting: Larry Organ, Bernard Alexander, Michael
            Hood                          Rubin, Cimone Nunley, Jonathan Rosenthal, Dustin Collier etc.
3/22/2023   Marqui Plan/ Prepare   1.5    Team meeting with Plotkin, Larry Organ, Dustin Collier, Bernard
            Hood                          Alexander, Cimone Nunley re: jury pool. Discussions of
                                          demonstratives.
3/22/2023 Marqui Research          1.8    Research re: potential juror/juror survey
          Hood
3/22/2023 Marqui Plan/ Prepare     1.3    Team meeting with Larry Organ, Bernard Alexander, Dustin
          Hood                            Collier, Cimone Nunley, Jonathan Rosenthal, Sabrina Grislis, LM,
                                          etc.
3/25/2023 Marqui Draft/ Revise   5        sope of exam chart
          Hood
3/29/2023 Marqui Review/ Analyze 0.3      Review of complaint re: Timbreza related references
          Hood
3/29/2023 Marqui Review/ Analyze 0.8      Diaz depo review re: LaDrea tesla application
          Hood                            testimony/open/strategizing direct of LaDrea.
3/29/2023 Marqui Draft/ Revise   0.4      assist w/ pocket brief re: MIL violation/conviction
          Hood
3/30/2023 Marqui Review/ Analyze 1.1      Review of Owen's 3/39 testimony to prep for redirect.
          Hood
3/31/2023 Marqui Draft/ Revise   7.8      motion for retrial legal research & drafting
          Hood
4/5/2023 Marqui Communication 1.2         Strategy meeting: Larry Organ, Cimone Nunley, Dustin Collier,
          Hood                            Michael Rubin, Jonathan Rosenthal, Molly Durkin etc.
4/5/2023 Marqui Draft/ Revise    0.5      Drafting juror interview questions
          Hood
4/6/2023 Marqui Communication 0.2         Calling jurors: spoke with Juror 3 - rescheduled call
          Hood
4/7/2023 Marqui Communication 0.4         Contacting jurors
          Hood
4/7/2023 Marqui Communication 0.3         Contacting jurors
          Hood
4/10/2023 Marqui Communication 0.1        Call to juror 3, receipt of text, email to team
          Hood
4/11/2023 Marqui Communication 0.4        Juror calls & emails
          Hood
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Date      User   Activity        Time   Description
4/11/2023 Marqui Communication 0.2      Juror calls & emails
          Hood
4/12/2023 Marqui Review/ Analyze 0.1    Review of stip re: attys fee motion
          Hood
4/12/2023 Marqui Communication 0.1      Email to ethics counsel Pansky
          Hood
4/14/2023 Marqui Communication 0.7      Fee motion meeting w/ Cimone Nunley, Michael Rubin, Dustin
          Hood                          Collier, LO
4/24/2023 Marqui Communication 0.1      Email to Michael Rubin, Jonathan Rosenthal, Larry Organ,
          Hood                          Cimone Nunley, Bernard Alexander, and Dustin Collier re Dr.
                                        Reading's testimony
5/1/2023  Marqui Communication   0.5    Calling & emailing jurors to solicit feedback. Convo with Ivana
          Hood                          Kalabkova's daughter.
5/2/2023 Marqui Communication    0.6    Texts/call with Juror AnnaMarie Livesey
          Hood
5/2/2023 Marqui Communication    0.3    Review of notes & email to team re: juror interview
          Hood
5/2/2023 Marqui Draft/ Revise    0.5    Drafting juror decl.,
          Hood
5/2/2023 Marqui Research         0.2    Researching Fed law re juror decl.
          Hood
5/2/2023 Marqui Draft/ Revise    0.2    Edits to Juror dec. based on Cimone Nunley research &
          Hood                          circulating to team
5/2/2023 Marqui Communication    0.2    Call with Larry Organ and Cimone Nunley re: juror decl.
          Hood
5/3/2023 Marqui Draft/ Revise    0.3    Edits to juror declaration, email to Cimone Nunley + team re:
          Hood                          changes necessary to file under seal
5/4/2023 Marqui Communication    0.1    Review of Juror 22 email re: dec & email to team explaining
          Hood                          communication
6/27/2023 Marqui Draft/ Revise   0.9    Checking citations re: Motion for new trial
          Hood
6/28/2023 Marqui Draft/ Revise   2      Motion for new trial, confirming & editing cites
          Hood
6/28/2023 Marqui Draft/ Revise   0.6    Checking cites/edits to Opp for new trial
          Hood
7/6/2023 Marqui Communication    0.1    email to team re: Reading (Larry Organ, Dustin Collier, Bernard
          Hood                          Alexander, Cimone Nunley, Michael Rubin, Jonathan Rosenthal,
                                        Sabrina Grislis)
8/16/2023 Marqui Review/ Analyze 0.8    Review & analysis of Tesla's brief responding to Diaz's new
          Hood                          evidence argument. Prep for team call.
8/16/2023 Marqui Communication 0.5      Team mtg -- re: submitting request for reply brief re: new
          Hood                          evidence briefing
8/16/2023 Marqui Review/ Analyze 1.2    Tracking down origin of discovery request/court orders that
          Hood                          resulted in the production of the newly produced evidence
                                        (Vaughn) re nword graffiti during Diaz's employment period
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Date      User   Activity        Time   Description
8/16/2023 Marqui Review/ Analyze 0.5    Researching possible conflicts in Tesla's argument re: "no
          Hood                          centralized database re complaints" in briefing submitted in
                                        Vaughn.
8/16/2023 Marqui Communication 0.2      Call with Molly Durkin re: new evidence reply briefing
          Hood
8/16/2023 Marqui Communication 0.1      Call w/ Larry Organ re: declaration re: Vaughn facts submission
          Hood                          in Diaz
8/16/2023 Marqui Draft/ Revise   0.5    Drafting dec. re; new evidence reply
          Hood
8/16/2023 Marqui Review/ Analyze 0.8    Reviewing retrial transcripts for evidentiary citation re: motion
          Hood                          for new trial, reply brief re: new evidence
8/16/2023 Marqui Draft/ Revise   0.4    Drafting Larry Organ declaration ISO notice of new evidence
          Hood
8/16/2023 Marqui Review/ Analyze 0.1    locating exhibits for reply re new evidence
          Hood
8/16/2023 Marqui Draft/ Revise   0.5    Review & edits to Reply briefing re: new evidence
          Hood
8/17/2023 Marqui Communication 0.1      Call w/ Molly Durkin re: reply brief ISO notice of new evidence
          Hood                          edits
8/17/2023 Marqui Draft/ Revise   0.3    Edits to Reply brief ISO notice of new evidence & decs
          Hood
8/17/2023 Marqui Draft/ Revise   0.8    Add' edits to dec & exhibits ISO notice of new evidence, pulling
          Hood                          record info for reply brief pre Michael Rubin edits
8/17/2023 Marqui Draft/ Revise   0.5    New Evidence reply: harmonizing edits/new exh. & cites
          Hood
8/17/2023 Marqui Communication 0.2      Call w/ Molly Durkin re reply edits
          Hood
8/17/2023 Marqui Draft/ Revise   0.5    Pulling exhibits for Hood Dec. and checking cites
          Hood
8/17/2023 Marqui Review/ Analyze 0.3    Locating new reply brief cites
          Hood
8/17/2023 Marqui Draft/ Revise   0.1    Final edits to Michael Rubin dec version 4
          Hood
8/17/2023 Marqui Draft/ Revise   0.2    Final edits and cite addition to Reply brief re new evid
          Hood
8/17/2023 Marqui Communication 0.1      Email to team re: final versions of reply ISO notice of new
          Hood                          evidence, download issues
8/18/2023 Marqui Communication 0.2      Call w/ Molly Durkin re: finalizing filing
          Hood
8/18/2023 Marqui Draft/ Revise   0.5    Redacting reply brief ISO notice of new evidence
          Hood
8/18/2023 Marqui Draft/ Revise   0.4    Finalizing redactions of Request for Leave, Hood dec & exhibits
          Hood
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Date      User   Activity        Time   Description
8/18/2023 Marqui Draft/ Revise   1.4    Researching requirements re: Amin Motion to Consider Whether
          Hood                          Another Party's Material should be sealed, drafting motion,
                                        reviewing dec & order

8/18/2023 Marqui Review/ Analyze 0.1    Researching requirements re: Amin Motion to Consider Whether
          Hood                          Another Party's Material should be sealed

10/4/2023 Marqui Communication 0.8      Strategy mtg re: motion for mistrial ruling, Michael Rubin,
          Hood                          Bernard Alexander, Larry Organ, Cimone Nunley, Dustin Collier,
                                        Sabrina Grislis, Corrine Johnson
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Date        User     Activity      Time   Description
8/7/2020    Emily    Communication 0.1    Email to Larry Organ regarding jury instruction research.
            Kohlheim
8/7/2020    Emily    Research      1.2    Conducted legal research on jury instruction issue about
            Kohlheim                      whether a company is someone's employer.
8/10/2020   Emily    Research      7.2    Conducted further legal research regarding jury instructions.
            Kohlheim
8/10/2020   Emily    Communication 0.1    Emailed legal research notes re: jury instructions to Larry Organ
            Kohlheim                      for review.
8/11/2020   Emily    Communication 0.1    Responded to Larry Organ email regarding jury instruction
            Kohlheim                      objection.
8/11/2020   Emily    Draft/ Revise 2.6    Drafted jury instruction objection.
            Kohlheim
8/11/2020   Emily    Communication 0.1    Emailed jury instruction objection draft to Larry Organ for
            Kohlheim                      review.
9/22/2021   Emily    Meet          1.6    Opening practice
            Kohlheim
9/22/2021   Emily    Meet          0.6    Opening practice
            Kohlheim
9/27/2021   Emily    Appearance/   4.5    Trial Day 1 attendance and strategy notes
            Kohlheim Attend
9/27/2021   Emily    Communication 0.5    Discuss trial strategy with NA
            Kohlheim
9/27/2021   Emily    Draft/ Revise 0.7    Trial day 1 strategy notes
            Kohlheim
9/27/2021   Emily    Communication 0.1    Email to Navruz Avloni re trial day 1 notes
            Kohlheim
9/30/2021   Emily    Communication 0.1    Email to Navruz Avloni re closing practice
            Kohlheim
1/19/2022   Emily    Communication 0.3    Call with Cimone Nunley regarding the damages hearing.
            Kohlheim
1/10/2023   Emily    Meet          0.1    Team meeting regarding trial strategy.
            Kohlheim
2/16/2023   Emily    Meet          2.5    Attended focus group and debrief meeting with team.
            Kohlheim
2/17/2023   Emily    Communication 0.2    Contacting counsel from defamation case against Elon Musk for
            Kohlheim                      trial transcripts.
2/28/2023   Emily    Communication 0.1    Emailed and left voicemail for L. Lin Wood regarding trial
            Kohlheim                      transcripts from defamation case in which Alex Spiro was
                                          opposing counsel.
3/2/2023    Emily    Meet          3.1    Attended focus group and team debrief session.
            Kohlheim
3/3/2023    Emily    Meet          0.2    Review damages results from focus group survey and discuss
            Kohlheim                      focus group comments with Larry Organ.
3/4/2023    Emily    Meet          4.6    Attended focus group and debrief with team.
            Kohlheim
3/5/2023    Emily    Meet          3      Attended testimony practice with client and team, provided
            Kohlheim                      feedback.
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Date      User      Activity       Time   Description
3/10/2023 Emily    Meet            0.3    Met with Larry Organ and Teodora Gagauz regarding trial
          Kohlheim                        strategy and transcript review.
3/10/2023 Emily    Review/ Analyze 0.4    Reviewing trial transcripts from Unsworth v. Musk.
          Kohlheim
3/13/2023 Emily    Meet            3.5    Attended client examination practice.
          Kohlheim
3/13/2023 Emily    Meet            2.1    Attended focus group and debrief with team.
          Kohlheim
3/13/2023 Emily    Review/ Analyze 1.5    Reviewed Unsworth v. Musk trial transcripts.
          Kohlheim
3/14/2023 Emily    Review/ Analyze 0.4    Reviewing trial transcripts from Unsworth v. Musk.
          Kohlheim
3/15/2023 Emily    Review/ Analyze 5.2    Reviewing transcripts from Unsworth and Littleton trials.
          Kohlheim
3/16/2023 Emily    Review/ Analyze 0.3    Reviewing Littleton v. Musk transcripts.
          Kohlheim
3/17/2023 Emily    Meet            0.1    Met with Larry Organ regarding findings from other Spiro trial
          Kohlheim                        transcripts.
3/17/2023 Emily    Review/ Analyze 0.6    Reviewing Littleton v. Musk transcripts and taking notes
          Kohlheim                        regarding strategy.
3/17/2023 Emily    Meet            3.5    Team meeting regarding trial strategy.
          Kohlheim
3/18/2023 Emily    Meet            0.9    Team meeting regarding trial strategy and focus group
          Kohlheim                        preparation.
3/18/2023 Emily    Meet            4.6    Attended focus group and took notes, attended team debrief
          Kohlheim                        and provided feedback.
3/19/2023 Emily    Meet            4.5    Attended team meeting regarding trial strategy, prepared chart
          Kohlheim                        of witness testimony from first trial.
3/20/2023 Emily    Review/ Analyze 3.4    Reviewed client testimony from first trial and created chart of
          Kohlheim                        testimony regarding racist conduct and emotional distress.
3/21/2023 Emily    Meet            2.7    Attended focus group and debrief with team.
          Kohlheim
3/22/2023 Emily    Communication 0.1      Call with Julianne Stanford regarding focus groups and trial
          Kohlheim                        strategy.
3/22/2023 Emily    Review/ Analyze 0.4    Reviewed email from jury coordinator and jury questionnaire
          Kohlheim                        with first 2 juror responses.
3/22/2023 Emily    Review/ Analyze 1      Reviewed deposition designations for Annalisa Heisen from first
          Kohlheim                        trial and for retrial, made a chart to compare and sent to Larry
                                          Organ for review.
3/23/2023 Emily    Communication 0.1      Call with Larry Organ regarding response to opposing counsel's
          Kohlheim                        email regarding deposition designations.
3/23/2023 Emily    Communication 0.2      Reviewed deposition designations and drafted response to
          Kohlheim                        opposing counsel.
3/25/2023 Emily    Communication 0.1      Call with Larry Organ regarding review of discovery responses
          Kohlheim                        regarding client's emotional distress.
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Date      User      Activity       Time   Description
3/25/2023 Emily    Review/ Analyze 1      Reviewed discovery responses and made note of responses
          Kohlheim                        regarding client's emotional distress. Sent to Larry Organ for
                                          review.
3/26/2023 Emily    Communication 0.1      Reviewed team emails regarding expert testimony and jury
          Kohlheim                        selection.
3/26/2023 Emily    Review/ Analyze 0.3    Reviewed discovery responses regarding witnesses.
          Kohlheim
3/26/2023 Emily    Meet            2.1    Attended team meeting for opening statement practice,
          Kohlheim                        provided feedback.
3/27/2023 Emily    Meet            1.1    Attended team meeting regarding opening statement debrief
          Kohlheim                        and witness examination strategy.
4/4/2023 Emily     Meet            0.3    Meet with Larry Organ regarding trial.
          Kohlheim
5/3/2023 Emily     Communication 0.1      Reviewed team emails regarding juror misconduct.
          Kohlheim
5/3/2023 Emily     Communication 0.1      Communication with Marqui Hood and Cameron Hartquist
          Kohlheim                        regarding meeting to discuss Dr. Reading.
5/4/2023 Emily     Communication 0.1      Communication with Marqui Hood and Cameron Hartquist
          Kohlheim                        regarding meeting to discuss Dr. Reading.
5/5/2023 Emily     Meet            0.1    Met with Larry Organ regarding potential mistrial and retrial.
          Kohlheim
5/8/2023 Emily     Meet            0.6    Met with Marqui Hood and Cameron Hartquist regarding Dr.
          Kohlheim                        Reading.
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Date         User Activity           Time Description
4/30/2018    Ramzi Plan/ Prepare     0.3 Prepare Proof of Service for Plaintiffs' discovery requests to
             Nimr                         Defendant West Valley, set one; notices of deposition of Rovilla
                                          Wetle and Monica Deleon
5/1/2018     Ramzi Draft/ Revise     0.2 Prepare the Proof of Service for Plaintiff Owen Diaz's
             Nimr                         interrogatories to Defendants Tesla and Citistaff, sets one; notice
                                          of deposition of Defendant Tesla's person most knowledgeable

5/11/2018    Ramzi File/ Serve       1.1   Prepare proof of service, mail, and serve Plaintiff Demetric Di-az
             Nimr                          responses to Defendant Tesla's request for production of
                                           documents.
5/17/2018    Ramzi Plan/ Prepare     0.1   Printing deposition materials for Owen Diaz
             Nimr
5/21/2018    Ramzi Other             0.1   Scan/save deposition subpoena for the production of business
             Nimr                          records
6/5/2018     Ramzi Research          1     Research joint employer.
             Nimr
6/5/2018     Ramzi Plan/ Prepare     0.7   Prepare a trial subpoena for Rovila Wetle.
             Nimr
6/6/2018     Ramzi Meet              0.2
             Nimr
6/6/2018     Ramzi Plan/ Prepare     1     Figuring out camcorder data saving process and saving files of
             Nimr                          deposition of Rovila Wetle.
6/7/2018     Ramzi Appearance/       5.9   Appear for the deposition of Javier Caballero; act as
             Nimr Attend                   videographer.
6/8/2018     Ramzi Plan/ Prepare     0.8   Prepare for mediation and prepare documents for mediation.
             Nimr
6/8/2018     Ramzi Meet              0.4   Meet with Noah Baron to discuss the client's deposition
             Nimr
6/11/2018    Ramzi Appearance/       7.5   Appear at mediation, travel to and from.
             Nimr Attend
6/12/2018    Ramzi Meet              0.3   Meet with Navruz Avloni regarding documents
             Nimr
6/13/2018    Ramzi Review/ Analyze   1.1   Review and summarize documents.
             Nimr
6/14/2018    Ramzi Plan/ Prepare     0.7   Organize the folder and discuss document summary.
             Nimr
6/15/2018    Ramzi Draft/ Revise     4.1   Draft the document summary of the Initial Disclosures.
             Nimr
6/18/2018    Ramzi Review/ Analyze   0.6   Review the complaint.
             Nimr
6/18/2018    Ramzi Draft/ Revise     2.6   Prepare the document summary of the initial disclosures.
             Nimr
6/19/2018    Ramzi Draft/ Revise     3.4   Draft summary of initial disclosures.
             Nimr
6/19/2018    Ramzi Draft/ Revise     0.6   Draft a summary of discovery responses in case.
             Nimr
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Date          User Activity           Time Description
6/20/2018     Ramzi Draft/ Revise     3.8 Draft a discovery summary
              Nimr
6/20/2018     Ramzi Draft/ Revise     1     Draft a list of missing documents
              Nimr
6/22/2018     Ramzi Review/ Analyze   2.8   Review document production
              Nimr
6/25/2018     Ramzi Draft/ Revise     2     Draft a summary and analysis of document production.
              Nimr
6/25/2018     Ramzi Review/ Analyze   2.5   Review the complaint, documents, discovery to familiarize with
              Nimr                          the case.
6/28/2018     Ramzi Meet              0.1   Met with Navruz Avloni to discuss strategy
              Nimr
6/29/2018     Ramzi Plan/ Prepare     0.7   Review and prepare materials for strategy meeting.
              Nimr
7/5/2018      Ramzi Research          1.7   Research and investigate witnesses
              Nimr
7/5/2018      Ramzi Research          2     Further investigate and research witnesses.
              Nimr
7/6/2018      Ramzi Draft/ Revise     3.5   Draft witness chart.
              Nimr
7/9/2018      Ramzi Draft/ Revise     1.5   Draft witness chart.
              Nimr
7/11/2018     Ramzi Communication     0.2   Conversation with Larry Organ regarding soundbites.
              Nimr
7/11/2018     Ramzi Review/ Analyze   1.2   Review documents and witness notes.
              Nimr
10/16/2018    Ramzi Appearance/       6.5   Mediation
              Nimr Attend
10/16/2018    Ramzi Review/ Analyze   1     Review case materials before mediation
              Nimr
11/26/2018    Ramzi Communication     0.1   Call to client regarding Ramon Martinez
              Nimr
11/26/2018    Ramzi Communication     0.1   Communication with Owen Diaz regarding deposition
              Nimr                          preparation.
11/26/2018    Ramzi Plan/ Prepare     5     Prepare for the deposition of Edward Romero.
              Nimr
11/27/2018    Ramzi Review/ Analyze   4.5   Deposition preparation for Edward Romero
              Nimr
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Date          User       Activity        Time   Description
4/18/2018     Cimone     Communication   0.2    Send amended notice of deposition to clients
              Nunley                            Owen Diaz and Demetric Di-az for their
                                                depositions via e-mail.
4/27/2018     Cimone     Review/ Analyze 0.9    Review initial disclosures from Defendant
              Nunley                            Tesla, Inc.
4/27/2018     Cimone     Review/ Analyze 0.8    Review and summarize initial disclosures from
              Nunley                            defendant Tesla, Inc.
4/27/2018     Cimone     Meet            0.3    Meet with Larry Organ regarding case strategy
              Nunley
5/2/2018      Cimone     Draft/ Revise   3.7    Draft responses to requests for production
              Nunley                            and interrogatories, Set One, from Defendant
                                                Citistaff Solutions, Inc. to Owen Diaz
5/2/2018      Cimone     Meet            0.2    Meet with Larry Organ and Navruz Avloni
              Nunley                            regarding settlement
5/3/2018      Cimone     Draft/ Revise   2.5    Draft responses to requests for production,
              Nunley                            Set One, from Defendants Citistaff Solutions,
                                                Inc. and Tesla, Inc. to Plaintiffs Owen Diaz and
                                                Demetric Di-az
5/5/2018      Cimone     Communication   0.2    Call client Owen Diaz to prepare responses to
              Nunley                            requests for production, Set One, from
                                                Defendant Tesla. Inc. and Defendant Citistaff
                                                Solutions, Inc.
5/5/2018      Cimone     Communication   0.1    Send e-mail to Navruz Avloni with questions
              Nunley                            regarding discovery responses and deposition
                                                scheduling
5/9/2018      Cimone     Draft/ Revise   4.9    Draft responses to defendant Tesla, Inc.'s
              Nunley                            requests for production, Set One, to Plaintiff
                                                Owen Diaz
5/9/2018      Cimone     Draft/ Revise   0.3    Draft responses to Defendant Citistaff
              Nunley                            Solutions, Inc.'s requests for production, Set
                                                One, to Plaintiff Owen Diaz
5/11/2018     Cimone     Draft/ Revise   1.9    Draft responses to Citistaff's request for
              Nunley                            production of documents to Owen Diaz
5/11/2018     Cimone     Draft/ Revise   2.1    Edit client Owen Diaz's responses to Tesla
              Nunley                            request for production of documents.
5/11/2018     Cimone     Draft/ Revise   0.6    Continue editing Owen Diaz's discovery
              Nunley                            responses to Citistaff's request for production
                                                of documents
5/12/2018     Cimone     Draft/ Revise   1.9    Revise Plaintiff Owen Diaz's responses to
              Nunley                            Defendant Tesla's request for production of
                                                documents
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Date          User       Activity        Time   Description
5/18/2018     Cimone     Communication   0.1    phone call with client to discuss additional
              Nunley                            docs for Tesla and Citistaff's RPDs- resumes
                                                and insurance info
6/6/2018      Cimone     Review/ Analyze 0.2    Briefly review Defendants Citistaff and Tesla's
              Nunley                            responses to requests for production of
                                                documents and interrogatories.
6/8/2018      Cimone     Communication   0.5    Meet with Larry Organ, Noah Baron, and
              Nunley                            Ramzi Nimr regarding the depositions of Javier
                                                Caballero and Victor Quintero.
6/8/2018      Cimone     Communication   0.1    Call clients to remind of Monday mediation
              Nunley
8/28/2018     Cimone     File/ Serve     0.3    Help Sabrina Grislis file Joint Case
              Nunley                            Management Statement on ECF.
9/5/2018      Cimone     Review/ Analyze 0.5    Review Tesla's discovery responses in
              Nunley                            preparation for meet and confer letter.
9/5/2018      Cimone     Communication   0.1    Discussion with Navruz Avloni regarding
              Nunley                            witness list and discovery requests
9/6/2018      Cimone     Review/ Analyze 1.7    Review Javier Caballero deposition to evaluate
              Nunley                            potential supplemental discovery requests.

9/6/2018      Cimone     Review/ Analyze 1.4    Review Victor Quintero deposition for
              Nunley                            information regarding potential additional
                                                discovery requests.
9/6/2018      Cimone     Review/ Analyze 1.3    Review file, create list of potential deponents
              Nunley
9/6/2018      Cimone     Review/ Analyze 0.7    Review Tesla, Citistaff, and West Valley's
              Nunley                            discovery responses, begin drafting meet and
                                                confer letter regarding outstanding discovery
                                                issues
9/7/2018      Cimone     Meet            0.2    Meet with Navruz Avloni regarding
              Nunley                            depositions to take in case.
9/7/2018      Cimone     Review/ Analyze 0.7    Review Rovila Wetle deposition for names of
              Nunley                            additional potential deponents
9/7/2018      Cimone     Meet            0.3    Meet with Navruz Avloni and Larry Organ to
              Nunley                            review list of individuals to depose
9/7/2018      Cimone     Review/ Analyze 0.2    Review Owen Diaz deposition transcript for
              Nunley                            names of coworkers.
9/7/2018      Cimone     Review/ Analyze 0.3    Review discovery responses from Tesla,
              Nunley                            Citistaff, and West Valley to identify issues for
                                                meet and confer.
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Date          User       Activity        Time   Description
9/10/2018     Cimone     Research        0.3    Save and label research into video deposition
              Nunley                            objections
9/10/2018     Cimone     Review/ Analyze 0.7    Review discovery responses from Tesla,
              Nunley                            Citistaff, and West Valley for meet and confer
                                                letter
9/10/2018     Cimone     Draft/ Revise   1.2    Draft additional special interrogatories to
              Nunley                            Defendant Tesla from Plaintiff Owen Diaz
9/10/2018     Cimone     Draft/ Revise   0.4    Draft supplemental requests for production of
              Nunley                            documents to Defendant Tesla
9/11/2018     Cimone     Draft/ Revise   0.2    Revise interrogatories to Defendant Tesla per
              Nunley                            conversation with Noah Baron regarding
                                                different messaging applications.
9/11/2018     Cimone     Draft/ Revise   0.9    Draft the person most knowledgeable
              Nunley                            deposition notice for Defendant West Valley.
9/12/2018     Cimone     Draft/ Revise   0.5    Draft the person most knowledgeable
              Nunley                            deposition notice for Defendant Citistaff.
9/12/2018     Cimone     Draft/ Revise   0.5    Prepare deposition notice and subpoena for
              Nunley                            Wayne Jackson.
9/19/2018     Cimone     Communication   0.1    Phone conversation with client Owen Diaz
              Nunley                            regarding potential 10/16 mediation date
9/19/2018     Cimone     Communication   0.1    Email to client Owen Diaz with date for
              Nunley                            mediation.
10/16/2018    Cimone     Research        0.5    Research applicability of section 1981 to
              Nunley                            failure to prevent claims
10/16/2018    Cimone     Communication   0.1    Phone call with Navruz Avloni regarding failure
              Nunley                            to prevent and section 1981 claims.
10/18/2018    Cimone     Research        0.5    Research recent jury verdicts for Section 1981
              Nunley                            claims
10/23/2018    Cimone     Research        1      Research whether current employer
              Nunley                            information is discoverable.
10/25/2018    Cimone     Communication   0.3    Draft meet and confer letter regarding
              Nunley                            subpoenas to clients' current employers
10/30/2018    Cimone     Research        0.3    Research regarding relevance issue
              Nunley
11/9/2018     Cimone     Plan/ Prepare   0.3    Prepare documents for Larry Organ's 2 PM
              Nunley                            phone call with opposing counsel regarding
                                                deposition scheduling
11/9/2018     Cimone     Communication   0.3    Prepare Larry Organ for our 2:00 call with
              Nunley                            opposing counsel regarding deposition
                                                scheduling
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Date          User       Activity        Time   Description
11/9/2018     Cimone     Communication   0.7    Phone call with opposing counsel and Larry
              Nunley                            Organ regarding deposition scheduling.
11/9/2018     Cimone     Draft/ Revise   0.9    Prepare deposition notices for service,
              Nunley                            prepare cover letter to accompany notices,
                                                email opposing counsel cover letter and
                                                notices.
11/15/2018    Cimone     Research        0.3    Research whether employees must be
              Nunley                            subpoenaed in federal court for deposition
11/15/2018    Cimone     Communication   0.1    Review emails regarding deposition scheduling
              Nunley
11/20/2018    Cimone     Communication   0.2    Phone call to client Demetric Di-az to confirm
              Nunley                            availability for deposition.
11/20/2018    Cimone     Review/ Analyze 0.1    Review the discovery dispute letter regarding
              Nunley                            Defendant's subpoenas to plaintiffs'
                                                employers
11/21/2018    Cimone     Communication   0.2    Phone call with AC Transit regarding
              Nunley                            Defendant's subpoena; advised them that the
                                                dispute is not yet resolved.
11/21/2018    Cimone     Communication   0.3    Draft email to opposing counsel requesting we
              Nunley                            consolidate dispute over new Defendant
                                                Tesla's new subpoenas to Plaintiffs' employers
                                                with the ongoing dispute regarding subpoenas
                                                to Plaintiffs' employers.
11/21/2018    Cimone     Review/ Analyze 0.2    Review discovery requests to confirm we have
              Nunley                            already requested all needed information.
11/21/2018    Cimone     Communication   0.2    Meet with Larry Organ regarding additional
              Nunley                            discovery requests
11/26/2018    Cimone     Research        0.4    Attempt to locate Edward Romero on social
              Nunley                            media
11/26/2018    Cimone     Communication   0.1    Discuss clients' deposition preparation with
              Nunley                            Larry Organ
11/26/2018    Cimone     Communication   0.2    Phone call to client Owen Diaz to confirm that
              Nunley                            he can make deposition preparation meeting
                                                tomorrow
11/26/2018    Cimone     Review/ Analyze 3.8    Review clients' deposition transcripts in
              Nunley                            preparation for tomorrow's deposition
                                                preparation meeting
11/26/2018    Cimone     Review/ Analyze 1.2    Review the topics covered in clients'
              Nunley                            depositions.
11/27/2018    Cimone     Plan/ Prepare   0.6    Review client's depositions to prepare for
              Nunley                            11/27 meeting
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Date          User       Activity        Time   Description
11/27/2018    Cimone     Meet            1.8    Meet with clients to prepare for their
              Nunley                            depositions
11/27/2018    Cimone     Communication   0.1    Send records request to Wheels of Justice for
              Nunley                            records subpoenaed from clients' employers
11/27/2018    Cimone     Communication   0.4    Call Wheels of Justice to order records from
              Nunley                            Home Depot
11/27/2018    Cimone     Review/ Analyze 0.1    Review records from Alamillo Rebar, Glazier
              Nunley                            Steel, and AC Transit
11/28/2018    Cimone     Communication   0.2    Discuss additional discovery requests with
              Nunley                            Larry Organ
11/28/2018    Cimone     Review/ Analyze 1.6    Review document production to ensure
              Nunley                            updated discovery requests are not
                                                duplicative and to evaluate need for meet and
                                                confer letter
11/28/2018    Cimone     Draft/ Revise   2.1    Propound additional discovery requests to all
              Nunley                            defendants
11/29/2018    Cimone     Communication   0.2    Leave voicemail with Tom Kawasaki and send
              Nunley                            follow up email
11/29/2018    Cimone     Communication   0.4    Phone conversation with Larry Organ
              Nunley                            regarding discovery
11/29/2018    Cimone     Communication   0.3    Phone call with Tom Kawasaki regarding
              Nunley                            declaration
11/29/2018    Cimone     Communication   0.1    Email to investigator Stu Kohler regarding
              Nunley                            Ramon Martinez information
11/29/2018    Cimone     Plan/ Prepare   0.2    Transcribe conversation with Tom Kawasaki
              Nunley                            for Larry Organ
11/29/2018    Cimone     Communication   0.2    Telephone call with Larry Organ regarding
              Nunley                            witness Tom Kawasaki, depositions
11/30/2018    Cimone     Communication   0.2    Phone call with clients Owen Diaz and
              Nunley                            Demetric Di-az to discuss subpoenaed
                                                documents
11/30/2018    Cimone     Communication   0.1    Discuss with Larry Organ whether we
              Nunley                            represent La'Drea Jones and Demetrica Diaz in
                                                their emotional distress witness depositions.
11/30/2018    Cimone     Draft/ Revise   1.2    Draft subpoena to nextSource
              Nunley
11/30/2018    Cimone     Plan/ Prepare   2      Pull exhibits and begin outline for the
              Nunley                            deposition of Monica Deleon
12/4/2018     Cimone     Communication   1      prepare and serve jackson depo subpoena
              Nunley
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Date          User       Activity        Time   Description
12/4/2018     Cimone     Plan/ Prepare   3.1    prepare outline and sort documents for
              Nunley                            deleon depo
12/4/2018     Cimone     Meet            1.8    Meet with Navruz Avloni and Larry Organ to
              Nunley                            discuss case strategy
12/5/2018     Cimone     Communication   0.5    speak with demetrica and la'drea re
              Nunley                            scheduling of their depositions, check
                                                availability, email them depo notices
12/5/2018     Cimone     Meet            1.5    discuss strategy with Navruz Avlonivruz Avloni
              Nunley                            and Larry Organ
12/5/2018     Cimone     Draft/ Revise   2.7    draft de leon depo outline
              Nunley
12/5/2018     Cimone     Meet            0.5    Further case strategy meeting with Navruz
              Nunley                            Avloni and Larry Organ
12/10/2018    Cimone     Meet            0.6    meet w/Larry Organ, Noah Baron, and Navruz
              Nunley                            Avloni to discuss potentially adding defendant
12/10/2018    Cimone     Communication   0.2    Discuss West Valley PMK depo with Noah
              Nunley                            Baron
12/10/2018    Cimone     Draft/ Revise   1      draft responses to Tesla and Citistaff RPDs, set
              Nunley                            2, to Owen and Demetric; provide to Navruz
                                                Avloni for review; incorporate Navruz Avloni
                                                feedback
12/10/2018    Cimone     Draft/ Revise   1.4    draft meet and confer letter re Tesla's
              Nunley                            responses to discovery requests
12/17/2018    Cimone     Other           0.2    review wheels of justice invoice to ensure paid
              Nunley                            and recorded in mycase
12/17/2018    Cimone     Draft/ Revise   4      research and draft meet and confer letters to
              Nunley                            Tesla, WV, Citistaff
12/18/2018    Cimone     Communication   0.2    draft email to opposing counsel taking
              Nunley                            tomorrow's deposition off calendar
12/18/2018    Cimone     Communication   0.2    speak with La'Drea and Demetrica- get their
              Nunley                            availability for depositions
12/19/2018    Cimone     Draft/ Revise   1.2    draft responses to tesla/citistaff ROGs
              Nunley
12/20/2018    Cimone     Communication   0.3    discuss courtesy copy requirements with
              Nunley                            Sabrina Grislis
12/20/2018    Cimone     Draft/ Revise   1      call clients and get answers to Tesla/Citstaff
              Nunley                            ROGs, answer Tesla/Citistaff ROGs
12/20/2018    Cimone     Communication   0.1    Discuss case with Navruz Avloni
              Nunley
12/21/2018    Cimone     Communication   0.3    phone call with Owen to discuss additional
              Nunley                            details for SPROG responses
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Date          User       Activity        Time   Description
12/24/2018    Cimone     Draft/ Revise   3.2    prepare responses to Tesla/Citistaff ROGs to
              Nunley                            Owen- Set Two
1/2/2019      Cimone     Meet            0.2    Meet with Noah Baron to discuss discovery
              Nunley
1/9/2019      Cimone     Communication   0.2    discuss demetric arrest w/Larry Organ and NB
              Nunley
1/9/2019      Cimone     Research        1.4    research meaning of "unavailability" under
              Nunley                            FRE 804 to see if Demetric's incarceration
                                                constitutes unavailability
1/18/2019     Cimone     Other           0.2    confirm all deadlines are calendared correctly
              Nunley
1/22/2019     Cimone     Meet            0.1    team meeting
              Nunley
2/7/2019      Cimone     Communication   0.1    discuss potential settlement of case (+lambert
              Nunley                            +patterson) w/Larry Organ and NA
2/12/2019     Cimone     Draft/ Revise   3.8    draft m&c to tesla regarding their discovery
              Nunley                            responses to date
2/12/2019     Cimone     Communication   0.1    Discussion with Navruz Avloni regarding meet
              Nunley                            and confer letter to Tesla
2/13/2019     Cimone     Plan/ Prepare   0.1    calendar d/l for Tesla to respond to RPD- set 4
              Nunley                            and ROG- set 2 (to be served by Sabrina Grislis
                                                on 2/19)
2/13/2019     Cimone     Draft/ Revise   1.3    edit meet and confer to West Valley; tesla
              Nunley
2/15/2019     Cimone     Research        0.7    review recent Ninth Circuit Â§1981 decision
              Nunley
2/20/2019     Cimone     Draft/ Revise   3.7    draft meet and confer to tesla re discovery
              Nunley                            responses
2/20/2019     Cimone     Communication   0.1    Discussion with Navruz Avloni regarding the
              Nunley                            relationship between Citistaff and Tesla
2/20/2019     Cimone     Communication   0.1    Discussed discovery with Navruz Avloni
              Nunley
2/21/2019     Cimone     Draft/ Revise   5.4    draft meet and confer letter to Tesla
              Nunley
2/25/2019     Cimone     Draft/ Revise   1      revise m&c to tesla
              Nunley
3/1/2019      Cimone     Draft/ Revise   0.3    edit meet and confer letter to Tesla re their
              Nunley                            discovery responses
3/1/2019      Cimone     Communication   0.1    review email from Helene Simouvlakis (West
              Nunley                            Valley counsel) confirming 2/28 phone convo
                                                and save to DB
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Date          User       Activity        Time   Description
3/2/2019      Cimone     Plan/ Prepare   0.1    review calendar, ensure all deadlines
              Nunley                            calendared
3/7/2019      Cimone     Communication   0.3    discuss discovery plan, depositions with
              Nunley                            Navruz Avlonivruz Avloni
3/8/2019      Cimone     Draft/ Revise   3.3    review Vaughn declarations for additional
              Nunley                            witnesses and amend initial disclosures with
                                                additional witnesses
3/11/2019     Cimone     Draft/ Revise   0.3    Update initial disclosures. Email to Sabrina
              Nunley                            Grislis for service.
3/11/2019     Cimone     Draft/ Revise   0.6    draft site inspection demand
              Nunley
3/12/2019     Cimone     Draft/ Revise   0.2    draft cover letter to accompany deposition
              Nunley                            notices to OC
3/12/2019     Cimone     Draft/ Revise   2.6    depo notices and subpoenas to Wayne
              Nunley                            Jackson and Citistaff PMK
3/13/2019     Cimone     Draft/ Revise   1.5    draft deposition notices
              Nunley
3/13/2019     Cimone     Communication   0.1    discuss additional discovery with Larry Organ
              Nunley
3/13/2019     Cimone     Meet            0.3    discuss discovery, depo notices with Navruz
              Nunley                            Avloni
3/14/2019     Cimone     Draft/ Revise   0.3    edit meet and confer letter re depos per
              Nunley                            Navruz Avloni feedback
3/14/2019     Cimone     Draft/ Revise   0.1    amend nextsource PMK notice per Navruz
              Nunley                            Avloni feedback
3/14/2019     Cimone     Draft/ Revise   0.1    amend tesla pmk depo notice per Navruz
              Nunley                            Avloni feedback
3/14/2019     Cimone     Draft/ Revise   0.1    amend west valley PMK depo notice per
              Nunley                            Navruz Avloni Feedback
3/14/2019     Cimone     Communication   0.2    draft email to Jean Ger containing depo
              Nunley                            notices for service
3/15/2019     Cimone     Review/ Analyze 0.3    review discovery responses from Tesla
              Nunley
3/15/2019     Cimone     Draft/ Revise   0.2    update witness list
              Nunley
3/15/2019     Cimone     Communication   0.2    reply to OC email with alternative dates for
              Nunley                            West Valley PMK depo
3/18/2019     Cimone     Communication   0.1    email to OC re depo scheduling
              Nunley
3/18/2019     Cimone     Communication   0.2    discuss depo scheduling with Navruz Avloni-
              Nunley                            email to OC re depo scheduling
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Date          User       Activity        Time   Description
3/19/2019     Cimone     Communication   0.1    email to Tesla counsel- when can we expect
              Nunley                            response to M&C? calendar new d/l for next
                                                week
3/19/2019     Cimone     Communication   0.1    send previously drafted site inspection
              Nunley                            request to Navruz Avloni for review
3/19/2019     Cimone     Communication   0.1    reply to Tesla counsel email confirming
              Nunley                            response to our M&C by nd of week
3/22/2019     Cimone     Communication   0.1    email to tesla counsel- when will we receive
              Nunley                            response to feb m&c letter?
3/22/2019     Cimone     Draft/ Revise   0.3    amend Tesla and West Valley PMK notices;
              Nunley                            send f/u email to counsel for Citistaff and
                                                NextSource re availability
3/22/2019     Cimone     Communication   0.1    email copies of tesla and West Valley PMK
              Nunley                            notices to OC
3/25/2019     Cimone     Other           0.3    update active client list/to-do list
              Nunley
3/26/2019     Cimone     Communication   0.1    send site inspection demand for service to
              Nunley                            Sabrina Grislis
3/26/2019     Cimone     Communication   0.1    Discuss site inspection demand with Navruz
              Nunley                            Avloni
3/26/2019     Cimone     Communication   0.1    Discuss initial disclosures and depositions with
              Nunley                            Navruz Avloni
3/26/2019     Cimone     Communication   0.1    Discuss MSJ with Navruz Avloni
              Nunley
3/27/2019     Cimone     Draft/ Revise   0.5    meet and confer to citistaff
              Nunley
3/27/2019     Cimone     Meet            0.1    team meeting
              Nunley
3/27/2019     Cimone     Other           0.1    pull scheduling order from file and send to
              Nunley                            Sabrina Grislis to recalendar deadlines
3/29/2019     Cimone     Meet            1      meet with Navruz Avloni and Larry Organ to
              Nunley                            discuss discovery
3/29/2019     Cimone     Plan/ Prepare   0.9    review discovery to prep for mtg with Navruz
              Nunley                            Avloni and Larry Organ
3/29/2019     Cimone     Draft/ Revise   1.5    meet and confer to tesla- reply to 3/28 ltr
              Nunley
4/1/2019      Cimone     Review/ Analyze 0.1    review today's mail received in case
              Nunley
4/2/2019      Cimone     Draft/ Revise   0.3    revise depo notice for Citistaff PMK
              Nunley
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Date          User       Activity        Time   Description
4/2/2019      Cimone     Communication   0.1    send citistaff PMK to Sabrina Grislis for service
              Nunley
4/2/2019      Cimone     Communication   0.1    Discuss discovery priorities with Navruz Avloni
              Nunley
4/3/2019      Cimone     Communication   0.1    email to Navruz Avloni and Larry Organ re
              Nunley                            depos
4/3/2019      Cimone     Review/ Analyze 1.3    review previously propounded discovery to
              Nunley                            ensure no duplicative requests being sent
4/3/2019      Cimone     Communication   0.2    phone call w/witness michael wheeler to get
              Nunley                            depo availability
4/3/2019      Cimone     Communication   0.2    t/c to witness Tom Kawasaki for his depo
              Nunley                            availability
4/3/2019      Cimone     Communication   0.1    text with Navruz Avloni re M&C letters
              Nunley
4/3/2019      Cimone     Draft/ Revise   0.7    draft depo notices to wheeler, kawasaki,
              Nunley                            timbreza
4/3/2019      Cimone     Draft/ Revise   1.7    propound additional discovery to Tesla
              Nunley
4/3/2019      Cimone     Review/ Analyze 1.2    review and summarize discovery for M&C
              Nunley                            letter to Tesla
4/5/2019      Cimone     Review/ Analyze 0.7    review discovery to prepare for drafting meet
              Nunley                            and confer letter to Tesla
4/5/2019      Cimone     Review/ Analyze 0.1    review nextsource initial disclosures
              Nunley
4/9/2019      Cimone     Communication   0.1    review response to M&C letter from Tesla
              Nunley                            counsel
4/10/2019     Cimone     Draft/ Revise   1      draft response to tesla M&C
              Nunley
4/11/2019     Cimone     Plan/ Prepare   0.5    prepare Kawasaki and Wheeler depo notices
              Nunley
4/11/2019     Cimone     Review/ Analyze 0.2    review FRCP re issuing subpoenas
              Nunley
4/15/2019     Cimone     Communication   0.1    leave voicemail for wheeler- address for
              Nunley                            service of process
4/15/2019     Cimone     Communication   0.2    email to Kawasaki w/notice and request for
              Nunley                            address
4/15/2019     Cimone     Review/ Analyze 1.3    review & summarize Tesla RPD responses- sets
              Nunley                            3&4
4/15/2019     Cimone     Draft/ Revise   0.5    draft second response to tesla meet and
              Nunley                            confer
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Date          User       Activity        Time   Description
4/15/2019     Cimone     Draft/ Revise   1      finish drafting M&C letter to Tesla re their
              Nunley                            prior letters
4/17/2019     Cimone     Meet            0.1    Team meeting
              Nunley
4/17/2019     Cimone     Plan/ Prepare   0.3    review discovery propounded- prepare list for
              Nunley                            meeting
4/17/2019     Cimone     Review/ Analyze 0.1    review West Valley objections to PMK notice
              Nunley
4/17/2019     Cimone     Draft/ Revise   2.1    draft meet and confer
              Nunley
4/18/2019     Cimone     Research        0.5    review protective order standard
              Nunley
4/18/2019     Cimone     Review/ Analyze 2.9    review additional discovery responses from
              Nunley                            Tesla
4/18/2019     Cimone     Draft/ Revise   1.2    finish drafting response to Tesla's 4/8 meet
              Nunley                            and confer letter
4/18/2019     Cimone     Communication   0.1    leave voicemail with Michael Wheeler re depo
              Nunley                            scheduling
4/18/2019     Cimone     Communication   0.1    leave voicemail for Kawasaki re depo
              Nunley                            scheduling
4/19/2019     Cimone     Communication   0.1    Telephone conference with Kawasaki to
              Nunley                            confirm availability on 5/20 for depo
4/19/2019     Cimone     Review/ Analyze 0.2    review Wheeler/Kawasaki Notices with Navruz
              Nunley                            Avloni
4/19/2019     Cimone     Draft/ Revise   0.8    revise kawasaki/wheeler notices, research
              Nunley                            service requirements, prep service stipulations
4/19/2019     Cimone     Research        0.5    research depo limit wrt multiple PMKs
              Nunley
4/19/2019     Cimone     Draft/ Revise   0.2    update witness scheduling sheet
              Nunley
4/24/2019     Cimone     Plan/ Prepare   0.1    consolidate list of addtl discovery to propound
              Nunley                            on nextSource and Tesla for mtg with Navruz
                                                Avloni
4/24/2019     Cimone     Draft/ Revise   2.9    propound additional discovery to Tesla/NS --
              Nunley                            review with Navruz Avloni -- edit additional
                                                discovery -- prepare POS -- personally serve on
                                                OC
4/24/2019     Cimone     Other           0.1    calendar d/l for discovery propounded
              Nunley
4/24/2019     Cimone     Review/ Analyze 0.3    review tesla's supplemental discovery
              Nunley                            responses
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Date          User       Activity        Time   Description
4/25/2019     Cimone     Other           0.3    update ACL, discuss depo scheduling with
              Nunley                            Navruz Avloni
4/25/2019     Cimone     Communication   0.1    convo with Navruz Avloni about upcoming
              Nunley                            tasks; meet and confer effors
4/25/2019     Cimone     Draft/ Revise   0.3    amend depo notices to NS PMK and Wayne
              Nunley                            Jackson
4/26/2019     Cimone     Draft/ Revise   4.1    letter to Tesla re addtl discovery responses
              Nunley
4/26/2019     Cimone     Communication   0.1    Discussed the depositions of Michael Wheeler
              Nunley                            and Tamotsu Kawasaki with Navruz Avloni
4/29/2019     Cimone     Draft/ Revise   2.9    draft m&c to tesla
              Nunley
4/30/2019     Cimone     Meet            0.1    team meeting
              Nunley
4/30/2019     Cimone     Draft/ Revise   3.3    meet and confer to tesla
              Nunley
5/1/2019      Cimone     Draft/ Revise   0.1    meet and confer to tesla
              Nunley
5/1/2019      Cimone     Draft/ Revise   0.3    draft meet and confer to tesla
              Nunley
5/1/2019      Cimone     Draft/ Revise   1.2    meet and confer to tesla
              Nunley
5/2/2019      Cimone     Review/ Analyze 0.1    review NS initial disclosures- email to NA
              Nunley
5/2/2019      Cimone     Review/ Analyze 1.6    review and summarize outstanding meet and
              Nunley                            confer issues with respect to all defendants.
5/5/2019      Cimone     Plan/ Prepare   0.6    prepare docs and request summary of
              Nunley                            discovery sent to all deefendants for Navruz
                                                Avloni meeting with all OC on 5/9
5/7/2019      Cimone     Communication   0.9    call la'drea - call demetrica - send out emails
              Nunley                            re depo scheduling
5/10/2019     Cimone     Communication   0.2    t/c to client re depo availability
              Nunley
5/10/2019     Cimone     Other           0.1    upload titus depo notice to DB
              Nunley
5/16/2019     Cimone     Plan/ Prepare   2      pull exhibits for jackson depo
              Nunley
5/17/2019     Cimone     Draft/ Revise   0.4    draft RPD set 6 to Tesla for personal service
              Nunley                            today
5/20/2019     Cimone     Communication   0.1    t/c with Navruz Avloni re demetrica and
              Nunley                            la'drea depo prep
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Date          User       Activity         Time   Description
5/20/2019     Cimone     Plan/ Prepare    0.5    prep brief timeline for Navruz Avloni for
              Nunley                             demetrica/ladrea depo prep meetings
5/20/2019     Cimone     Review/ Analyze 0.1     review completed subpoena
              Nunley                             acknowledgement from Kawasaki
5/21/2019     Cimone     Communication    0.3    t/c with Navruz Avloni re discovery
              Nunley
5/22/2019     Cimone     Research         1.1    research and start drafting stip re depos
              Nunley
5/22/2019     Cimone     Communication    0.2    Discussed discovery with Navruz Avloni
              Nunley
5/24/2019     Cimone     Draft/ Revise    0.5    draft discovery requests to tesla, nextsource,
              Nunley                             citistaff
5/24/2019     Cimone     Draft/ Revise    0.5    update Martinez and Timbreza depo notices
              Nunley
6/6/2019      Cimone     Communication    0.2    discuss responses to discovery propounded by
              Nunley                             tesla with Sabrina Grislis
6/6/2019      Cimone     Communication    1.4    review discovery requests from Tesla to clients-
              Nunley                             summarize and send to clients w/request for
                                                 f/u call
6/6/2019      Cimone     Communication    0.1    Telephone conference with Larry Organ re
              Nunley                             m&c to citistaff
6/7/2019      Cimone     Communication    0.1    Telephone conference with Owen re discovery
              Nunley                             responses (set up call for tomorrow)
6/7/2019      Cimone     Communication    0.5    Telephone conference with clt re discovery
              Nunley                             responses to Tesla requests
6/10/2019     Cimone     Review/ Analyze 0.2     review Larry Organ notes from Citistaff PMK
              Nunley                             depo and save to DB
6/10/2019     Cimone     Communication    0.1    email to Sabrina Grislis re discovery responses
              Nunley                             to Tesla requests
6/11/2019     Cimone     Communication    0.1    text to wheeler to confirm depo
              Nunley
6/11/2019     Cimone     Draft/ Revise    2.2    draft discovery responses to Tesla requests
              Nunley
6/12/2019     Cimone     Draft/ Revise    4.2    draft responses to Tesla discovery
              Nunley
6/12/2019     Cimone     Postage/Delivery 0.3    prepare discovery responses for mailing
              Nunley
6/12/2019     Cimone     Communication    0.2    discuss wheeler depo w/Larry Organ, NA
              Nunley
6/12/2019     Cimone     Communication    0.4    Discussion with Larry Organ and Navruz Avloni
              Nunley                             regarding discovery responses
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Date          User       Activity         Time   Description
6/12/2019     Cimone     Communication    0.1    Discussed Tesla's discovery responses to RFAs
              Nunley                             and RPDs with Navruz Avloni
6/17/2019     Cimone     Communication    0.1    t/c with Navruz Avloni re owen depo prep
              Nunley
6/17/2019     Cimone     Review/ Analyze 6.6     review & summarize days 1 and 2 of owen
              Nunley                             depo
6/18/2019     Cimone     Review/ Analyze 1.7     finish summarizing owen depo transcript
              Nunley
6/18/2019     Cimone     Draft/ Revise    2.5    draft objections to owen depo notice
              Nunley
6/18/2019     Cimone     Plan/ Prepare    0.5    adjust deadlines and ACL based on judge
              Nunley                             orrick's approval of stip to continue trial
6/18/2019     Cimone     Review/ Analyze 0.1     review email from Navruz Avloni re demetrica
              Nunley                             depo transcripts
6/25/2019     Cimone     Draft/ Revise    7.6    draft responses to NS discovery, create POS,
              Nunley                             drop in mail
6/26/2019     Cimone     Review/ Analyze 0.5     review wheeler depo
              Nunley
6/28/2019     Cimone     Review/ Analyze 0.5     review wheeler depo
              Nunley
7/3/2019      Cimone     Draft/ Revise    1.8    review docs- create witness list
              Nunley
7/5/2019      Cimone     Review/ Analyze 2.7     review/summarize docs in file; compile
              Nunley                             witness list
7/8/2019      Cimone     Review/ Analyze 5.4     review and summarize key docs to ensure all
              Nunley                             necessary witnesses are deposed
7/10/2019     Cimone     Communication    0.2    discuss discovery with Navruz Avloni
              Nunley
7/10/2019     Cimone     Draft/ Revise    1.3    draft subpoena, notice of subpoena,
              Nunley                             attachment for subpoena to our office re
                                                 lambert docs
7/10/2019     Cimone     Postage/Delivery 0.5    print and mail subpoena for lambert docs
              Nunley
7/11/2019     Cimone     Review/ Analyze 0.1     review CNR from Action Health Center and
              Nunley                             upload to DB
7/11/2019     Cimone     Review/ Analyze 2.6     review WV000001-586 for witness names
              Nunley
7/11/2019     Cimone     Communication    0.1    t/c to Larry Organ for clarification on
              Nunley                             subpoena issue
7/11/2019     Cimone     Draft/ Revise    0.9    compile witness list
              Nunley
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Date          User       Activity        Time   Description
7/12/2019     Cimone     Plan/ Prepare   1.2    prepare witness list
              Nunley
7/15/2019     Cimone     Review/ Analyze 2.9    complete doc review/witness list
              Nunley
7/16/2019     Cimone     Plan/ Prepare   0.7    prepare witness list in advance of meeting
              Nunley                            with Navruz Avloni and LO
7/16/2019     Cimone     Meet            1.5    meet w/Larry Organ and Navruz Avloni re
              Nunley                            witness list
7/16/2019     Cimone     Plan/ Prepare   1.2    create updated witness chart
              Nunley
7/18/2019     Cimone     Draft/ Revise   1.9    create updated witness/to do list
              Nunley
7/18/2019     Cimone     Draft/ Revise   0.9    draft stip re addtl depos
              Nunley
7/18/2019     Cimone     Communication   0.1    text message to Owen Diaz to set up call
              Nunley
7/18/2019     Cimone     Communication   0.1    Telephone conference with Owen Diaz
              Nunley
7/18/2019     Cimone     Research        1.1    research standards for objections for 30(b)(6)
              Nunley                            depos
7/18/2019     Cimone     Communication   0.2    Telephone conference with Owen re
              Nunley                            Timbreza; "Robert"
7/19/2019     Cimone     Draft/ Revise   1.2    draft stip to increase number of depos
              Nunley
7/19/2019     Cimone     Draft/ Revise   4.2    draft meet and confer to nextsource re
              Nunley                            discovery
7/22/2019     Cimone     Communication   0.6    discuss subpoenas with Navruz Avloni- send
              Nunley                            updated copies to Sabrina Grislis with
                                                instructions for service
7/22/2019     Cimone     Communication   0.1    email to Navruz Avloni, Sabrina Grislis re
              Nunley                            subpoena to our office
7/23/2019     Cimone     Draft/ Revise   0.4    revise stip re additional depos per Navruz
              Nunley                            Avloni edits
7/23/2019     Cimone     Draft/ Revise   0.6    s/w Larry Organ about changes to stip- discuss
              Nunley                            with Navruz Avloni- make changes to stip

7/23/2019     Cimone     Communication   0.2    email to parties enclosing stip for increasing #
              Nunley                            of depos
7/23/2019     Cimone     Meet            0.5    phone mtg with Navruz Avloni, Larry Organ,
              Nunley                            Bernard Alexander
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Date          User       Activity        Time   Description
7/23/2019     Cimone     Draft/ Revise   1.1    draft meet and confer to NS
              Nunley
7/23/2019     Cimone     Communication   0.1    Follow up discussion with Larry Organ and
              Nunley                            Navruz Avloni after meeting with Bernard
                                                Alexander
7/24/2019     Cimone     Review/ Analyze 1.4    review key docs- compile summary- send docs
              Nunley                            and depo to bernard
7/25/2019     Cimone     Communication   0.3    discuss patterson depo with Navruz Avloni
              Nunley
7/25/2019     Cimone     Communication   0.1    discuss summarizing depos with Sabrina Grislis
              Nunley
8/5/2019      Cimone     Communication   0.2    review joint letter brief from Tesla OC re
              Nunley                            subpoena of lambert docs; reply to Navruz
                                                Avloni email
8/5/2019      Cimone     Meet            0.2    meet with Navruz Avloni to discuss response
              Nunley                            to tesla meet and confer
8/5/2019      Cimone     Meet            0.5    meet with Navruz Avloni, Noah Baron, Larry
              Nunley                            Organ and discuss "customer" issue
8/5/2019      Cimone     Research        0.5    research unruh customer issue
              Nunley
8/5/2019      Cimone     Draft/ Revise   2.2    draft response to tesla's meet and confer
              Nunley                            letter
8/5/2019      Cimone     Communication   0.1    discuss with Navruz Avloni and Larry Organ-
              Nunley                            Bernard Alexander-proposed discovery
                                                additions
8/6/2019      Cimone     Communication   0.3    t/c with Navruz Avloni re joint discovery
              Nunley                            dispute statement
8/6/2019      Cimone     Communication   0.1    email to Tesla OC: we will provide our half of
              Nunley                            joint discovery statement re Lambert
                                                subpoena tomorrow
8/6/2019      Cimone     Draft/ Revise   4.6    research and outline joint discovery dispute
              Nunley                            statement re Lambert subpoena
8/7/2019      Cimone     Draft/ Revise   5.8    draft joint letter brief re Lambert subpoena
              Nunley
8/8/2019      Cimone     Draft/ Revise   1.4    draft reply to tesla m&c re discovery
              Nunley                            responses
8/8/2019      Cimone     Communication   0.2    discuss tesla's modified discovery dispute
              Nunley                            letter with Navruz Avloni
8/8/2019      Cimone     Draft/ Revise   0.2    tidy meet and confer letter to Tesla counsel
              Nunley                            and send to NA
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Date          User       Activity        Time   Description
8/8/2019      Cimone     Draft/ Revise   0.3    create privilege log
              Nunley
8/8/2019      Cimone     Draft/ Revise   2      joint discovery statement re Tesla's discovery
              Nunley                            responses
8/9/2019      Cimone     Draft/ Revise   0.8    draft revision for discovery dispute letter re
              Nunley                            Tesla's discovery responses
8/12/2019     Cimone     Review/ Analyze 0.2    review filed joint discovery statement re
              Nunley                            Lambert subpoenaand confirm same as
                                                version we sent to OC
8/12/2019     Cimone     Draft/ Revise   1      draft joint discovery statement re Tesla's
              Nunley                            discovery responses
8/12/2019     Cimone     Draft/ Revise   0.9    draft amended discovery responses
              Nunley
8/12/2019     Cimone     Draft/ Revise   0.5    create privilege log
              Nunley
8/13/2019     Cimone     Communication   0.1    review and reply to email from client re
              Nunley                            Robert identity
8/13/2019     Cimone     Draft/ Revise   0.5    draft revised responses to tesla discovery
              Nunley
8/14/2019     Cimone     Draft/ Revise   0.8    prepare supplemental discovery to send to
              Nunley                            tesla
8/15/2019     Cimone     Communication   0.2    t/c from Owen re next steps now that we have
              Nunley                            located Robert
8/15/2019     Cimone     Communication   0.2    discuss addtl discovery with Navruz Avloni
              Nunley
8/16/2019     Cimone     Plan/ Prepare   3.3    review discovery in preparation for meeting
              Nunley                            w/Bernard Alexander
8/16/2019     Cimone     Draft/ Revise   0.8    update written discovery summary
              Nunley
8/16/2019     Cimone     Communication   0.6    strategy call w/ Larry Organ, Navruz Avloni,
              Nunley                            Bernard Alexander
8/16/2019     Cimone     Communication   0.2    Call with Navruz Avloni regarding tasks for
              Nunley                            next week, outstanding meet and confers, etc.
8/19/2019     Cimone     Draft/ Revise   6.8    draft joint dispute letter re Tesla discovery
              Nunley                            responses
8/20/2019     Cimone     Review/ Analyze 0.2    review orrick order re discovery dispute
              Nunley
8/20/2019     Cimone     Draft/ Revise   1.7    draft and revise joint letter brief for additoinal
              Nunley                            depos
8/21/2019     Cimone     Draft/ Revise   2.8    draft discovery dispute letter re tesla's written
              Nunley                            discovery responses
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Date          User       Activity        Time   Description
8/22/2019     Cimone     Draft/ Revise   2      draft joint discovery dispute letter re Tesla's
              Nunley                            discovery responses
8/22/2019     Cimone     Review/ Analyze 0.8    review tesla PMK depo to prep meet and
              Nunley                            confer letter
8/23/2019     Cimone     Draft/ Revise   5.9    draft joint discovery dispute statement re
              Nunley                            Tesla discovery responses
8/23/2019     Cimone     Review/ Analyze 1.1    review pmk depos
              Nunley
8/26/2019     Cimone     Draft/ Revise   1      revise joint discovery statement re written
              Nunley                            discovery
8/26/2019     Cimone     Draft/ Revise   5.3    draft m&c to tesla re PMK topics
              Nunley
8/26/2019     Cimone     Research        0.3    research whether certified videographer
              Nunley                            required by federal rules
8/27/2019     Cimone     Draft/ Revise   3.4    draft m&C to tesla re PMK topics
              Nunley
8/28/2019     Cimone     Draft/ Revise   1      revise joint discovery dispute letter re written
              Nunley                            discovery
8/29/2019     Cimone     Draft/ Revise   2.1    revise joint dispute letter re written discovery
              Nunley                            (trying to hit page limit)
8/29/2019     Cimone     Draft/ Revise   5.1    draft meet and confer re Tesla PMK topics
              Nunley
8/30/2019     Cimone     Draft/ Revise   2.8    draft m&c re PMKs
              Nunley
9/3/2019      Cimone     Draft/ Revise   4.9    draft m&c to tesla re PMK
              Nunley
9/4/2019      Cimone     Draft/ Revise   3.9    draft discovery dispute letter re depos
              Nunley
9/5/2019      Cimone     Draft/ Revise   3.5    meet and confer to tesla re PMK topics
              Nunley
9/9/2019      Cimone     Communication   0.1    discuss meet and confer efforts with NA
              Nunley
9/9/2019      Cimone     Communication   0.1    t/c with Navruz Avloni re PMK issues for all
              Nunley                            defendants
9/9/2019      Cimone     Communication   0.5    t/c with Navruz Avloni to prep for mtg with
              Nunley                            opposing counsel re additional depos, PMK
                                                topics
9/9/2019      Cimone     Communication   0.2    t/c with Navruz Avloni re results of meet and
              Nunley                            confer with OC re addtl depos, PMK topics
9/9/2019      Cimone     Draft/ Revise   1.6    joint discovery brief re written discovery
              Nunley
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Date          User       Activity        Time   Description
9/9/2019      Cimone     Draft/ Revise   0.6    draft additional written discovery
              Nunley
9/9/2019      Cimone     Draft/ Revise   0.9    revise stip re additional depositions and
              Nunley                            circulate among Navruz Avloni, Bernard
                                                Alexander, Larry Organ
9/10/2019     Cimone     Plan/ Prepare   1.6    help Larry Organ plan for CMC
              Nunley
9/10/2019     Cimone     Appearance/     2.6    travel to CMC - attend CMC - return from CMC
              Nunley     Attend
9/10/2019     Cimone     Communication   0.2    discuss priorities/to do with Navruz Avloni
              Nunley
9/10/2019     Cimone     Communication   0.1    email to Navruz Avloni re discovery not
              Nunley                            received from tesla; citistaff
9/10/2019     Cimone     Communication   0.2    Discussion with Navruz Avloni regarding
              Nunley                            discovery
9/11/2019     Cimone     Communication   0.1    discuss additional discovery requests with
              Nunley                            Larry Organ
9/11/2019     Cimone     Communication   0.4    convo w/Larry Organ re his revisions to joint
              Nunley                            dispute statement
9/11/2019     Cimone     Draft/ Revise   5.7    revise/update joint dispute letter
              Nunley
9/12/2019     Cimone     Communication   0.1    email to Julianne Stanford/Sabrina Grislis re
              Nunley                            discovery shells
9/12/2019     Cimone     Draft/ Revise   2.2    draft joint dispute statement re Citistaff PMK
              Nunley                            topics
9/12/2019     Cimone     Plan/ Prepare   0.1    update ACL and update mycase task list for
              Nunley                            Teo
9/12/2019     Cimone     Communication   1.2    t/c with Navruz Avloni, Larry Organ, Bernard
              Nunley                            Alexander re strategy
9/12/2019     Cimone     Draft/ Revise   2.3    draft dispute letter re citistaff PMK
              Nunley
9/12/2019     Cimone     Communication   0.3    send notes to Navruz Avloni re patricia's email
              Nunley
9/12/2019     Cimone     Meet            0.3    Meeting with Larry Organ and Navruz Avloni
              Nunley                            regarding PMK topics
9/13/2019     Cimone     Communication   0.1    review Navruz Avloni email to OC re our
              Nunley                            discovery responses
9/13/2019     Cimone     Communication   0.1    review Larry Organ email re opening
              Nunley                            statement idea
9/13/2019     Cimone     Communication   0.1    save Larry Organ opening statement idea to
              Nunley                            DB
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Date          User       Activity        Time   Description
9/13/2019     Cimone     Communication   0.2    t/c with Navruz Avloni re meet and confer on
              Nunley                            PMK topics
9/13/2019     Cimone     Draft/ Revise   1.5    revise joint dispute ltr re written discovery to
              Nunley                            fit 2.5 pg limit
9/13/2019     Cimone     Communication   0.1    convo with Navruz Avloni re scheduling with
              Nunley                            opposing counsel; email to OC to set up
                                                meeting
9/13/2019     Cimone     Draft/ Revise   1.9    joint dispute letter re site inspection
              Nunley
9/14/2019     Cimone     Draft/ Revise   0.9    draft joint dispute ltr re site inspection
              Nunley
9/16/2019     Cimone     Meet            0.1    Meet with team to discuss case status, trial
              Nunley                            planning and discovery
9/16/2019     Cimone     Draft/ Revise   0.3    draft dispute letter to Citistaff re pmk topics
              Nunley
9/17/2019     Cimone     Draft/ Revise   3.3    joint letter brief re CS PMK
              Nunley
9/17/2019     Cimone     Draft/ Revise   0.5    revise joint letter brief re site inspection
              Nunley
9/17/2019     Cimone     Communication   0.1    Discussed dispute letter with Navruz Avloni
              Nunley
9/19/2019     Cimone     Communication   0.1    discuss Tesla RPD issue with Navruz Avloni
              Nunley
9/19/2019     Cimone     Communication   0.1    discuss procedure for filing discovery dispute
              Nunley                            letter with Sabrina Grislis
9/19/2019     Cimone     Communication   0.1    Discussed discovery with Navruz Avloni and
              Nunley                            Larry Organ
9/20/2019     Cimone     Review/ Analyze 0.2    review OC's revisions to joint letter brief -
              Nunley                            remove line numbers - email Larry Organ,
                                                Navruz Avloni, BA
9/20/2019     Cimone     Draft/ Revise   2.9    draft joint letter brief re tesla pmk topics
              Nunley
9/20/2019     Cimone     File/ Serve     0.3    file joint letter brief re written discovery
              Nunley
9/20/2019     Cimone     Communication   0.1    Telephone call with Navruz Avloni regarding
              Nunley                            joint dispute letter
9/22/2019     Cimone     Draft/ Revise   2      draft joint dispute letter re tesla PMK topics
              Nunley
9/22/2019     Cimone     Draft/ Revise   1      m&c to ns re discovery responses
              Nunley
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Date          User       Activity        Time   Description
9/23/2019     Cimone     Draft/ Revise   0.2    tidy up joint dispute re PMK topics and send to
              Nunley                            Navruz Avloni w/ question
9/23/2019     Cimone     Review/ Analyze 2.3    summarize depos to prep for MSJ
              Nunley
9/24/2019     Cimone     Draft/ Revise   0.5    research/draft memo re 1981 legal standard
              Nunley
9/25/2019     Cimone     Draft/ Revise   1.1    research standards under 1981
              Nunley
9/26/2019     Cimone     Communication   0.2    Telephone conference with client re troy
              Nunley                            dennis
9/27/2019     Cimone     Communication   0.2    t/c with Navruz Avloni and Larry Organ re MSJ
              Nunley                            strategy
9/30/2019     Cimone     Communication   0.1    email to Tesla OC re status of response to
              Nunley                            RPD, set 7
10/3/2019     Cimone     Communication   0.6    discuss w/Larry Organ, Navruz Avloni, Bernard
              Nunley                            Alexander strategy re depos
10/3/2019     Cimone     Draft/ Revise   0.3    cover letter re depos
              Nunley
10/3/2019     Cimone     Communication   0.2    Discussion with Larry Organ and Navruz Avloni
              Nunley                            regarding strategy
10/4/2019     Cimone     Review/ Analyze 0.9    review caballero depo
              Nunley
10/4/2019     Cimone     Communication   0.2    mSabrina Grislis to Sabrina Grislis re
              Nunley                            calendaring
10/4/2019     Cimone     Draft/ Revise   0.2    revise proposed order re MTC arb and send to
              Nunley                            OC
10/4/2019     Cimone     Research        0.6    research joinder issue
              Nunley
10/4/2019     Cimone     Communication   0.1    email to Tesla OC re meeting and conferring in
              Nunley                            person on RPD, set 7 responses; save email to
                                                DB; calendar reminder to f/u
10/4/2019     Cimone     Communication   0.1    email to patricia re m&c availability
              Nunley
10/4/2019     Cimone     Communication   0.1    Communication with Larry Organ and Navruz
              Nunley                            Avloni regarding expert Amy Oppenheimer
10/8/2019     Cimone     Communication   0.1    email to Bernard Alexander re meeting to
              Nunley                            discuss discovery strategy
10/8/2019     Cimone     Communication   0.1    email to Sabrina Grislis; team re Josue Torres
              Nunley                            depo
10/8/2019     Cimone     Communication   0.4    discuss witness status with Sabrina Grislis (0.2)
              Nunley                            - email to OC with witness status (0.2)
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Date          User       Activity        Time   Description
10/8/2019     Cimone     Review/ Analyze 0.1    review emails with Rob Goodstein re status of
              Nunley                            service of deposition notices
10/8/2019     Cimone     Review/ Analyze 0.1    review order granting substitution of atty;
              Nunley                            save to DB
10/8/2019     Cimone     Communication   0.2    email to Tesla counsel re meeting and
              Nunley                            conferring on discovery issues
10/8/2019     Cimone     Communication   0.1    email to Tesla counsel re meeting and
              Nunley                            conferring after thursday depo
10/8/2019     Cimone     Communication   0.3    discuss w/Larry Organ depos
              Nunley
10/8/2019     Cimone     Communication   0.1    email to Tesla OC to update on Martinez
              Nunley                            service confirmation and enclosing Delgado
                                                exhibit
10/8/2019     Cimone     Communication   0.4    circulate exhibit for Delgado exhibit to OC -
              Nunley                            send to Julianne Stanford - print out for Larry
                                                Organ
10/8/2019     Cimone     Meet            1.3    meet w/Bernard Alexander, Larry Organ,
              Nunley                            Navruz Avloni re outstanding discovery
                                                disputes
10/8/2019     Cimone     Plan/ Prepare   1.9    prep for this afternoon's meeting with Navruz
              Nunley                            Avloni, Larry Organ, Bernard Alexander re
                                                discovery
10/8/2019     Cimone     Communication   0.4    discuss tesla RPDs set 7 with Larry Organ;
              Nunley                            circulate email recounting tasks assigned
                                                during 10/8 meeting
10/8/2019     Cimone     Meet            0.1    Meet with Navruz Avloni and Larry Organ
              Nunley                            regarding deposition logistics and expert
                                                reports
10/9/2019     Cimone     Communication   0.1    email to process server rob goodstein re
              Nunley                            marconi service status
10/9/2019     Cimone     Communication   0.1    email to susan kumagai forwarding bridget's
              Nunley                            info for teleconferencing in for Delgado Smith
                                                deposition
10/9/2019     Cimone     Communication   0.1    Telephone conference with Kawasaki to
              Nunley                            confirm he will attend this afternoon's depo
10/9/2019     Cimone     Communication   0.3    discuss torres depo with Larry Organ
              Nunley
10/9/2019     Cimone     Review/ Analyze 0.3    review josue torres docs
              Nunley
10/9/2019     Cimone     Communication   0.1    email to process server rob goodstein re
              Nunley                            marconi subpoena
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Date          User       Activity        Time   Description
10/9/2019     Cimone     Communication   0.3    discuss depo scheduling/remote access with
              Nunley                            Navruz Avloni
10/9/2019     Cimone     Communication   0.3    call Kathy of Bridget Mattos & Associates
              Nunley                            (court reporters) re remote access for depos
10/9/2019     Cimone     Communication   0.2    help Jean Ger w/trial subpoena stuff
              Nunley
10/9/2019     Cimone     Communication   0.3    email to all OC; Sabrina Grislis re remote
              Nunley                            access for depos
10/9/2019     Cimone     Communication   0.1    email to process server Rob Goodstein re
              Nunley                            service of outstanding deposition notices
10/9/2019     Cimone     Communication   0.1    t/c to Susan Kumagai's assistant re remote
              Nunley                            access
10/9/2019     Cimone     Communication   0.1    email copy of most recent amended complaint
              Nunley                            to Charles Mahla (economics expert)

10/9/2019     Cimone     Communication   0.1    Discussed witnesses from Vaughn case; Josue
              Nunley                            Torres deposition with Navruz Avloni
10/10/2019    Cimone     Communication   0.1    discuss torres depo with Navruz Avloni
              Nunley
10/10/2019    Cimone     Communication   0.1    email all OC; bernard alexander re 10/14 depo
              Nunley                            being taken off calendar
10/10/2019    Cimone     Communication   0.2    Discuss expert disclosures with Navruz Avloni
              Nunley                            and Larry Organ
10/10/2019    Cimone     Communication   0.1    discuss tesla financial statements w/Sabrina
              Nunley                            Grislis
10/10/2019    Cimone     Plan/ Prepare   0.3    communicate with opposing counsel, Gus of
              Nunley                            Bernard's office about potentially moving
                                                marconi depo to 10/21
10/10/2019    Cimone     Communication   0.1    t/c with Navruz Avloni and Larry Organ re
              Nunley                            rescheduling depos
10/11/2019    Cimone     Draft/ Revise   2.5    draft expert disclosures
              Nunley
10/11/2019    Cimone     Communication   0.3    email to Navruz Avloni re topics for meet and
              Nunley                            confer counsel with Tesla counsel Patricia Jeng

10/14/2019    Cimone     Communication   0.1    review proposed stip from Tesla counsel
              Nunley                            Patricia Jeng re Marconi depo
10/14/2019    Cimone     Communication   0.1    t/c with Navruz Avloni, Larry Organ re marconi
              Nunley                            depo stip
10/14/2019    Cimone     Communication   0.6    revise stip re marconi depo; email to patricia
              Nunley                            w/revised stip
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Date         User     Activity        Time   Description
10/14/2019   Cimone   Communication   0.1    email to Sabrina Grislis and Gus re 10/21
             Nunley                          marconi depo
10/14/2019   Cimone   Communication   0.1    email to Sabrina Grislis re tesla SEC filings
             Nunley
10/14/2019   Cimone   Communication   0.1    email to torres re speaking via phone to
             Nunley                          arrange his deposition
10/14/2019   Cimone   Draft/ Revise   2.6    revise dispute letter re site inspection
             Nunley
10/14/2019   Cimone   Communication   0.2    t/c to West Valley counsel to attempt to
             Nunley                          obtain signature on stip re Marconi depo
10/14/2019   Cimone   File/ Serve     0.3    file joint stip re marconi depo
             Nunley
10/14/2019   Cimone   Review/ Analyze 0.2    review & start outlining CS reply
             Nunley
10/14/2019   Cimone   Draft/ Revise   3      draft joint letter briefs re PMK topics
             Nunley
10/15/2019   Cimone   Communication   0.3    discuss MSJ hearing prep with Larry Organ
             Nunley
10/15/2019   Cimone   Communication   0.2    discuss tesla response to RPDs, set 7 with
             Nunley                          Navruz Avloni
10/15/2019   Cimone   Draft/ Revise   0.4    update dispute letter re site inspection
             Nunley
10/15/2019   Cimone   Draft/ Revise   0.6    revise joint dispute letters re PMK topics per
             Nunley                          Navruz Avloni feedback, send to all OC
10/15/2019   Cimone   Review/ Analyze 1      review tesla doc production
             Nunley
10/16/2019   Cimone   Communication   0.1    discuss tesla's most recent doc production
             Nunley                          with Navruz Avloni
10/16/2019   Cimone   Review/ Analyze 2.1    review tesla docs for additional info re
             Nunley                          potential deponents and complaints
10/16/2019   Cimone   Draft/ Revise   0.7    supplement initial disclosures
             Nunley
10/16/2019   Cimone   Draft/ Revise   0.8    revise initial disclosures, send to Sabrina
             Nunley                          Grislis for service
10/16/2019   Cimone   Communication   0.5    email to Tesla OC re Donet depo
             Nunley
10/16/2019   Cimone   Plan/ Prepare   1.4    draft questions, print exhibits, print protective
             Nunley                          order for Larry Organ for marconi depo
10/16/2019   Cimone   Plan/ Prepare   0.2    recalendar Tesla MSJ deadlines to conform
             Nunley                          with court's 10/3 order
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Date         User     Activity        Time   Description
10/16/2019   Cimone   Communication   0.2    Discussed deposition of Veronica Martinez
             Nunley                          with Larry Organ and Navruz Avloni
10/17/2019   Cimone   Communication   0.1    Telephone conference with nextSource
             Nunley                          counsel Vince Adams' assistant re remote
                                             access for marconi depo; email to Gus re same

10/17/2019   Cimone   Communication   0.2    Telephone call with Navruz Avloni regarding
             Nunley                          confidential subject
10/18/2019   Cimone   Communication   0.1    email to Susan Kumagai (Citstaff counsel) re
             Nunley                          remote access for marconi depo
10/18/2019   Cimone   Draft/ Revise   2      draft tesla discovery dispute letters/discuss
             Nunley                          with Navruz Avloni
10/18/2019   Cimone   Draft/ Revise   1.5    draft tesla joint dispute letters
             Nunley
10/18/2019   Cimone   Communication   0.1    Call with Larry Organ regarding Tesla discovery
             Nunley                          dispute letter
10/18/2019   Cimone   Communication   0.1    Call with Navruz Avloni regarding Tesla
             Nunley                          discovery dispute letter strategy
10/21/2019   Cimone   Communication   0.1    email to Gus Ham of Bernard Alexander's
             Nunley                          office re marconi depo
10/21/2019   Cimone   Communication   0.1    text to Larry Organ re Tesla's confidential
             Nunley                          designations
10/21/2019   Cimone   Plan/ Prepare   0.5    calendar deadines relating to 10/16 and 10/19
             Nunley                          letters to tesla and 10/20 letter to citistaff
                                             challenging confidential designations
10/21/2019   Cimone   Communication   0.1    Telephone conference with Larry Organ re
             Nunley                          confidentiality designations and new joint
                                             employer case; letter to the court enclosing
                                             updated authority
10/21/2019   Cimone   Communication   0.1    forward new CA appeals court joint employer
             Nunley                          case to Bernard Alexander
10/21/2019   Cimone   Communication   0.1    text to Larry Organ with PMK topics on which
             Nunley                          quintero was designated
10/21/2019   Cimone   Communication   0.1    email Citistaff counsel susan kumagai re depo
             Nunley                          conference call
10/21/2019   Cimone   Communication   0.1    t/c to teo Gagauz to ask her to scan and email
             Nunley                          POS for marconi depo notice
10/21/2019   Cimone   Communication   0.1    send Larry Organ a list of me-too witnesses
             Nunley
10/21/2019   Cimone   Draft/ Revise   1.6    research/draft/review notice of recent
             Nunley                          decision re jimenez (joint employer decision)
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Date          User       Activity        Time   Description
10/21/2019    Cimone     Communication   0.2    Telephone call with Larry Organ and Bernard
              Nunley                            Alexander regarding new case, Jimenez, to use
                                                in oral argument
10/22/2019    Cimone     Communication   0.3    discuss PMK topics and Josue Torres with
              Nunley                            Navruz Avloni
10/23/2019    Cimone     Communication   0.1    Communication with Larry Organ regarding
              Nunley                            discovery order on various discovery dispute
                                                letters
10/28/2019    Cimone     Review/ Analyze 0.1    save marconi transcripts to DB
              Nunley
11/1/2019     Cimone     Plan/ Prepare   0.1    calendar monday mtg w/Bernard Alexander
              Nunley
11/1/2019     Cimone     Other           0.2    set reminder to follow up on stip re jackson
              Nunley                            testimony on 11/4
11/4/2019     Cimone     Review/ Analyze 1.1    review tesla MSJ before convo w/Bernard
              Nunley                            Alexander
11/4/2019     Cimone     Communication   0.4    Telephone conference with BA and Larry
              Nunley                            Organ re Tesla MSJ
11/4/2019     Cimone     Communication   0.7    review CS response to 10/28 email; draft email
              Nunley                            to CS re PMK discovery dispute
11/4/2019     Cimone     Communication   0.1    Telephone conference with Larry Organ,
              Nunley                            Navruz Avloni re natasha of Bryan Schwartz
                                                Law assisting on depo summaries
11/4/2019     Cimone     Communication   0.1    email natasha of Bryan Schwartz Law a copy of
              Nunley                            protective order
11/4/2019     Cimone     Review/ Analyze 0.1    review expert depo notices
              Nunley
11/4/2019     Cimone     Communication   0.1    Telephone call with Larry Organ regarding
              Nunley                            confidential designations in depositions
11/5/2019     Cimone     Communication   0.3    t/c with Natasha of Bryan Schwartz Law re
              Nunley                            summarizing depos for MSJ oppos
11/5/2019     Cimone     Communication   0.2    email to Natasha re MSJ depo summaries
              Nunley
11/7/2019     Cimone     Communication   0.1    email to tracey re Dr. Reading's availability for
              Nunley                            deposition
11/8/2019     Cimone     Communication   0.1    discuss proposed schedule for mtn to retain
              Nunley                            confidentiality briefing with LO
11/8/2019     Cimone     Communication   0.1    email to Reanne accepting proposed altered
              Nunley                            briefing schedule re mtn to retain
                                                confidentiality
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Date          User       Activity        Time   Description
11/8/2019     Cimone     Other           0.3    calendar updated deadlines re mtn to retain
              Nunley                            confidentiality
11/8/2019     Cimone     Communication   0.4    draft email to OC requesting production of
              Nunley                            further documents and information per
                                                court's 10/3 order on discovery disputes; get
                                                feedback from NA; send
11/8/2019     Cimone     Communication   0.2    discuss shifting expert discovery cutoff, expert
              Nunley                            depositions, and supplemental disclosures
                                                w/Larry Organ and NA
11/8/2019     Cimone     Communication   0.1    email to Tracey re expert depo scheduling
              Nunley
11/8/2019     Cimone     Draft/ Revise   0.4    draft MSJ Opp- Tesla
              Nunley
11/11/2019    Cimone     Communication   0.1    Telephone conference with Larry Organ re
              Nunley                            expert depo objections
11/11/2019    Cimone     Communication   0.1    email to Bernard Alexander re status of expert
              Nunley                            depo scheduling
11/11/2019    Cimone     Communication   0.2    research expert disclosure local rules; email to
              Nunley                            Bernard Alexander and Navruz Avloni re
                                                deadlines
11/12/2019    Cimone     Meet            0.3    Meet with Larry Organ regarding motion for
              Nunley                            summary judgement- Tesla
11/13/2019    Cimone     Draft/ Revise   7.4    draft tesla MSJ oppo
              Nunley
11/13/2019    Cimone     Communication   0.2    Discussion with Larry Organ regarding the
              Nunley                            Tesla MSJ opposition
11/13/2019    Cimone     Communication   0.1    Phone call with Larry Organ regarding Tesla's
              Nunley                            discovery responses
11/14/2019    Cimone     Communication   0.3    follow-up email to Tesla counsel patricia jeng
              Nunley                            requesting production of witness info per
                                                court's order
11/14/2019    Cimone     Draft/ Revise   6.1    draft Tesla MSJ Opp
              Nunley
11/14/2019    Cimone     Communication   0.3    email to Tesla counsel patricia jeng re ns
              Nunley                            contract; witness info
11/14/2019    Cimone     Communication   0.3    email to Tesla counsel patricia jeng re NS
              Nunley                            contract
11/15/2019    Cimone     Meet            0.2    Meet with Larry Organ regarding oppositions
              Nunley                            to Motions for Summary Judgement
11/18/2019    Cimone     Communication   0.2    email to CS re confidential designations
              Nunley
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Date          User       Activity        Time   Description
11/18/2019    Cimone     Draft/ Revise   2.5    draft Tesla and nextSource MSJ Opps
              Nunley
11/19/2019    Cimone     Draft/ Revise   10.3   tesla MSJ oppo
              Nunley
11/19/2019    Cimone     Communication   0.7    Meet with Larry Organ regarding the Tesla
              Nunley                            MSJ opposition brief
11/20/2019    Cimone     Communication   0.2    Telephone conference with Sabrina Grislis to
              Nunley                            provide instruction re courtesy copies of
                                                admin motion
11/20/2019    Cimone     Communication   0.1    email to Bernard Alexander re confidentiality
              Nunley                            motion
11/20/2019    Cimone     Communication   0.1    review email sent to Tesla OC with
              Nunley                            confidential documents by Sabrina Grislis to
                                                confirm all docs sent
11/21/2019    Cimone     Communication   0.2    email to Orrick's clerk w/Word version of
              Nunley                            proposed orders ISO mtn to file under seal
11/21/2019    Cimone     Communication   0.2    discuss proposed stip to designate jackson
              Nunley                            testimony w/ LO
12/2/2019     Cimone     Communication   0.1    email to Tesla counsel Patricia Jeng etc re mtn
              Nunley                            to retain confidentiality
12/2/2019     Cimone     Draft/ Revise   0.6    start drafting mtn for sanctions against Tesla
              Nunley
12/4/2019     Cimone     Communication   0.1    email to britt karp of Alexander Morrison &
              Nunley                            Fehr re tesla's mtn to retain confidentiality
12/4/2019     Cimone     Communication   0.1    update calendar entry re MSJ hearings; email
              Nunley                            to Bernard re new date
12/4/2019     Cimone     Communication   0.3    Telephone conference with Britt Karp re mtn
              Nunley                            to retain confidentiality
12/4/2019     Cimone     Draft/ Revise   1      draft motion for sanctions
              Nunley
12/5/2019     Cimone     Draft/ Revise   2.4    draft mtn for sanctions
              Nunley
12/6/2019     Cimone     Communication   0.3    Telephone conference with Britt Karp re mtn
              Nunley                            to retain confidentiality
12/6/2019     Cimone     Draft/ Revise   2.5    prepare admin motion to file under seal ISO
              Nunley                            plaintiff's opp motion to retain confidentiality

12/6/2019     Cimone     Draft/ Revise   5.4    draft mtn for sanctions against tesla re
              Nunley                            discovery responses
12/7/2019     Cimone     Communication   0.1    Telephone conference with Larry Organ re opp
              Nunley                            to motion to retain confidentiality
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Date          User       Activity         Time   Description
12/7/2019     Cimone     Draft/ Revise    1.2    adjust mtn to retain confidentiality opp
              Nunley
12/7/2019     Cimone     Draft/ Revise    3.6    draft mtn for sanctions against tesla
              Nunley
12/8/2019     Cimone     Draft/ Revise    0.7    revise mtn to retain confidentiality oppo
              Nunley
12/8/2019     Cimone     Draft/ Revise    1.3    mtn for sanctions re tesla discovery
              Nunley
12/9/2019     Cimone     Communication    0.1    Telephone conference with Britt Karp re mtn
              Nunley                             to retain confidentiality oppo
12/9/2019     Cimone     Draft/ Revise    8.1    draft, prep exhibits, file, serve courtesy copies
              Nunley                             via email of opposition mtn to retain
                                                 confidentiality
12/10/2019    Cimone     Plan/ Prepare    0.8    print/prep chambers copies of opp to motion
              Nunley                             to retain confidentiality
12/10/2019    Cimone     Postage/Delivery 0.8    finalize courtesy copies of opp to motion to
              Nunley                             retain confidentiality, take to PO
12/16/2019    Cimone     Communication    0.2    t/c and text to michael wheeler to provide
              Nunley                             updates on new trial dates.
12/16/2019    Cimone     Communication    0.4    email and letter to wheeler re new trial dates
              Nunley
12/16/2019    Cimone     Communication    0.1    email to bernard Alexander to see if he needs
              Nunley                             any support for MSJ hearing for all defendants
12/17/2019    Cimone     Travel Expense   3.1    travel to MSJ hearing for all defendants
              Nunley
12/17/2019    Cimone     Appearance/      0.9    attend MSJ hearing for all defendants
              Nunley     Attend
12/17/2019    Cimone     Travel Expense   1      travel from MSJ for all defendants hearing to
              Nunley                             ofc
12/19/2019    Cimone     Other            0.1    remove hearing for motion to retain
              Nunley                             confidentiality from calendar (per orrick's
                                                 12/17 comments)
12/23/2019    Cimone     Communication    0.1    convo w/Sabrina Grislis re letting wheeler
              Nunley                             know about new trial date
12/26/2019    Cimone     Draft/ Revise    1.4    draft motion for sanctions
              Nunley
12/27/2019    Cimone     Communication    0.3    circulate email re team meeting and updated
              Nunley                             pretrial deadlines
12/27/2019    Cimone     Communication    0.2    discuss pretrial deadlines with Navruz Avloni
              Nunley
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Date          User       Activity        Time   Description
12/30/2019    Cimone     Review/ Analyze 0.6    review MSJ ruling for all defendants
              Nunley
12/30/2019    Cimone     Communication   0.3    discuss procedure for challenging other
              Nunley                            confidentiality designations with Sabrina
                                                Grislis
12/30/2019    Cimone     Draft/ Revise   0.6    draft settlement conference statement
              Nunley
12/30/2019    Cimone     Meet            0.7    Telephone meeting with Bernard Alexander
              Nunley                            and Larry Organ regarding post-MSJ work,
                                                settlement strategy
12/31/2019    Cimone     Draft/ Revise   7.4    settlement conference statement
              Nunley
1/2/2020      Cimone     Communication   0.2    Telephone call with Bernard Alexander re
              Nunley                            settlement
1/2/2020      Cimone     Draft/ Revise   1.4    finalize settlement conference statement
              Nunley                            (remove material to bring under page limit)
1/2/2020      Cimone     Draft/ Revise   3.5    draft motion for sanctions against Defendant
              Nunley                            Tesla, Inc.
1/2/2020      Cimone     Meet            0.6    Meet with Larry Organ, Navruz Avloni, Bernard
              Nunley                            Alexander, and Susan Organ to discuss
                                                mandatory settlement conference and
                                                strategy
1/2/2020      Cimone     Communication   0.1    Discussion with Larry Organ regarding
              Nunley                            mandatory settlement conference statement
1/3/2020      Cimone     Communication   0.4    Telephone call with Navruz Avloni, Larry Organ
              Nunley                            re sanctions motion, depositions, witnesses,
                                                trial strategy.
1/7/2020      Cimone     Communication   0.1    discuss mediation binder with Sabrina Grislis
              Nunley
1/9/2020      Cimone     Plan/ Prepare   0.2    add MIL idea to list
              Nunley
1/9/2020      Cimone     Draft/ Revise   2      draft motion for sanctions
              Nunley
1/10/2020     Cimone     Draft/ Revise   1.8    draft decs and revise motion for sanctions
              Nunley
1/13/2020     Cimone     Communication   0.1    text message to owen re current situation at
              Nunley                            work
1/13/2020     Cimone     Communication   0.4    Telephone conference with client re current
              Nunley                            situation at work
1/13/2020     Cimone     Communication   0.3    Telephone conference with Larry Organ,
              Nunley                            clients to discuss MSC
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Date          User       Activity        Time   Description
1/13/2020     Cimone     Communication   0.3    discuss Owen's potential new case with Larry
              Nunley                            Organ
1/13/2020     Cimone     Draft/ Revise   0.9    finalize motion for sanctions for filing; draft
              Nunley                            dec
1/13/2020     Cimone     Communication   0.3    assist Sabrina Grislis with filing admin mtn
              Nunley
1/13/2020     Cimone     Communication   0.1    Discussion with Navruz Avloni regarding
              Nunley                            mandatory settlement conference
1/14/2020     Cimone     Communication   0.1    discuss service of courtesy copies with Sabrina
              Nunley                            Grislis
1/14/2020     Cimone     Communication   0.1    discuss reading invoice/depo with Larry Organ
              Nunley
1/14/2020     Cimone     Communication   0.1    email to Bernard Alexander re Reading
              Nunley                            invoice, deposition
1/14/2020     Cimone     Other           0.1    review chambers copies before Sabrina Grislis
              Nunley                            sends
1/14/2020     Cimone     Communication   0.2    email OC re alternative reading depo dates
              Nunley
1/16/2020     Cimone     Appearance/     8      attend MSC
              Nunley     Attend
1/17/2020     Cimone     Communication   0.1    t/c with Navruz Avloni re email to Cheryl re
              Nunley                            confidentiality
1/17/2020     Cimone     Communication   0.3    draft email to Cheryl re confidentiality
              Nunley
1/17/2020     Cimone     Communication   0.1    t/c with Navruz Avloni/Larry Organ re
              Nunley                            publication of plaintiff's SSN
1/17/2020     Cimone     Communication   0.1    reply to Cheryl email re publication of
              Nunley                            Plaintiff's SSN
1/17/2020     Cimone     Communication   0.1    email to the court notifying of publication of
              Nunley                            plaintiff SSN
1/17/2020     Cimone     Communication   0.1    email to Sabrina Grislis re redacting plaintiff's
              Nunley                            contact info
1/21/2020     Cimone     Draft/ Revise   1.7    draft objections to reading depo notice
              Nunley
1/21/2020     Cimone     Communication   0.1    email to parties re dates for expert depos
              Nunley
1/22/2020     Cimone     Communication   0.2    discuss confidential designations with Larry
              Nunley                            Organ
1/22/2020     Cimone     Other           0.1    save minute order re MSC to file
              Nunley
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Date          User       Activity        Time   Description
1/22/2020     Cimone     Communication   0.1    email to Cheryl- did the court remove non
              Nunley                            redacted doc?
1/27/2020     Cimone     Communication   0.1    Telephone conference with Owen to obtain
              Nunley                            SSN, address for settlement check
1/27/2020     Cimone     Communication   0.1    email to Cheryl w/SSN, W-9, Owen's mailing
              Nunley                            address
1/27/2020     Cimone     Communication   0.1    email to Tracey- we will check on Dr Anthony
              Nunley                            Reading's availability
1/27/2020     Cimone     Communication   0.1    gchat to Sabrina Grislis - please get Dr
              Nunley                            Anthony Reading's availability
1/27/2020     Cimone     Communication   0.1    Discussion with Navruz Avloni regarding the
              Nunley                            reply to the motion for sanctions
1/28/2020     Cimone     Communication   0.3    discuss motion for sanctions with Larry Organ
              Nunley
1/28/2020     Cimone     Communication   0.1    Discussion with Larry Organ regarding jury
              Nunley                            consultant
2/3/2020      Cimone     Draft/ Revise   6      draft reply to motion for sanctions
              Nunley
2/3/2020      Cimone     Draft/ Revise   0.6    prepare decs for motion for sanctions
              Nunley
2/6/2020      Cimone     Draft/ Revise   1.9    draft objections to Amy Oppenheimer depo
              Nunley                            notice
2/11/2020     Cimone     Communication   0.1    email to Tracey- dr reading no longer available
              Nunley                            2/24, can we reset to 2/18?
2/11/2020     Cimone     Communication   0.1    email to dr reading confirming 2/18 date will
              Nunley                            work
2/11/2020     Cimone     Communication   0.1    email to Susan Haines- Amy Oppenheimer
              Nunley                            depo is off for 2/14, we'll provide additional
                                                dates
2/11/2020     Cimone     Communication   0.1    email to Amy Oppeheimer asking for
              Nunley                            additional dates for depo
2/12/2020     Cimone     Communication   0.1    email to Susan Haines from Sheppard Mullin
              Nunley                            confirming new depo date for amy
                                                oppenheimer
2/12/2020     Cimone     Communication   0.1    email to Amy Oppenheimer asking her to hold
              Nunley                            3/2 for depo
2/13/2020     Cimone     Review/ Analyze 0.2    review court's order re unsealing MSJ opps
              Nunley
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Date          User       Activity        Time   Description
2/13/2020     Cimone     Communication   0.1    email to Amy Oppenheimer to obtain
              Nunley                            alternate dates- Amy has a personal, family
                                                emergency and can no longer attend originally
                                                scheduled deposition
2/13/2020     Cimone     Communication   0.1    email to OC w/alternate dates for Amy
              Nunley                            Oppenheimer depo
2/13/2020     Cimone     Communication   0.1    email to Bernard Alexander re Dr Anthony
              Nunley                            Reading depo
2/13/2020     Cimone     Communication   1.1    meeeting w/Larry Organ, Bernard Alexander,
              Nunley                            and Harry Plotkin to discuss case
2/13/2020     Cimone     Plan/ Prepare   0.5    print out opp/reply for motion for sanctions
              Nunley
2/13/2020     Cimone     Communication   0.2    discuss objections to Dr Reading's deposition
              Nunley                            notice with Larry Organ
2/14/2020     Cimone     Communication   0.1    email reading retainer agreement to
              Nunley                            jacqueline of BA's office
2/14/2020     Cimone     Draft/ Revise   0.7    draft objections to Anthony Reading depo
              Nunley                            notice
2/14/2020     Cimone     Review/ Analyze 0.2    review order denying motion for sanctions
              Nunley
2/14/2020     Cimone     Draft/ Revise   1.3    draft letter to tesla re confidential
              Nunley                            deisgnations
2/17/2020     Cimone     Communication   0.1    email client to confirm receipt of corrected W-
              Nunley                            9
2/17/2020     Cimone     Communication   0.1    email OC corrected W-9
              Nunley
2/17/2020     Cimone     Communication   0.1    email to Charles Mahla to obtain docs for
              Nunley                            production
2/17/2020     Cimone     Communication   0.1    email to Charles Mahla requesting doc
              Nunley                            production by 2/21
2/17/2020     Cimone     Communication   0.1    email to Charles Mahla confirming docs to be
              Nunley                            produced by mid week
2/17/2020     Cimone     Draft/ Revise   0.6    draft shell and objections for charles Mahla
              Nunley                            deposition notice
2/17/2020     Cimone     Draft/ Revise   2.5    draft m&c letter to West Valley re confidential
              Nunley                            designations
2/18/2020     Cimone     Plan/ Prepare   0.4    update pretrial checklist
              Nunley
2/18/2020     Cimone     Draft/ Revise   1.3    draft letter to West Valley re confidential
              Nunley                            designations
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Date          User       Activity        Time   Description
2/19/2020     Cimone     Review/ Analyze 0.1    review notice of appearance filed by tesla
              Nunley
2/19/2020     Cimone     Communication   0.1    email to Amy Oppenheimer enclosing updated
              Nunley                            depo notice and requesting status of the
                                                report
2/19/2020     Cimone     Meet            0.2    discuss pretrial checklist with NA
              Nunley
2/19/2020     Cimone     Draft/ Revise   3.1    create complete pretrial checklist from now
              Nunley                            through may
2/19/2020     Cimone     Meet            0.5    meet with Sabrina Grislis to review pretrial
              Nunley                            deadlines
2/20/2020     Cimone     Communication   0.1    discuss payment of focus group fee with Larry
              Nunley                            Organ
2/20/2020     Cimone     Communication   0.1    email to Navruz Avloni re payment of focus
              Nunley                            group fees
2/21/2020     Cimone     Draft/ Revise   0.5    prepare objections and doc production for
              Nunley                            Charles Mahla deposition
2/21/2020     Cimone     Communication   0.1    email documents and deposition objections
              Nunley                            for Charles Malha depo to Sabrina Grislis for
                                                service
2/21/2020     Cimone     Communication   0.2    discuss upcoming action items with susan
              Nunley
2/21/2020     Cimone     Review/ Analyze 0.1    review objections to Charles Mahla depo/doc
              Nunley                            production sent by Sabrina Grislis
2/24/2020     Cimone     Review/ Analyze 0.6    review Amy Oppenheimer amended report
              Nunley                            and email Navruz Avloni. Larry Organ, and
                                                Bernard Alexander with feedback
2/25/2020     Cimone     Communication   0.2    discuss pretrial checklist with Larry Organ
              Nunley
2/27/2020     Cimone     Review/ Analyze 0.2    review SO-created chart of who knew what
              Nunley                            and when
2/27/2020     Cimone     Other           0.4    figure out how to open and download .mbox
              Nunley                            files for Amy Oppenheimer docs
2/27/2020     Cimone     Communication   0.1    discuss orrick's trial calendar with Larry Organ
              Nunley
3/2/2020      Cimone     Plan/ Prepare   2.4    review Amy Oppenheimer doc production,
              Nunley                            mark for redaction, and forward to Sabrina
                                                Grislis to apply redactions and serve
3/2/2020      Cimone     Communication   0.1    Telephone conference with Sabrina Grislis re
              Nunley                            production of Amy Oppenheimer docs
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Date         User       Activity        Time   Description
3/3/2020     Cimone     Other           0.8    mark remaining Amy Oppenheimer docs for
             Nunley                            redaction
3/3/2020     Cimone     Communication   0.3    discuss cast of characters w/SO
             Nunley
3/3/2020     Cimone     Communication   0.1    forward jakel williams docs to LO
             Nunley
3/3/2020     Cimone     Communication   0.1    email to Tracey w/availability for pretrial
             Nunley                            conference call
3/3/2020     Cimone     Communication   0.1    discuss pretrial conference call scheduling
             Nunley                            with Larry Organ
3/3/2020     Cimone     Communication   0.1    email to Bernard Alexander and Gustin Ham to
             Nunley                            set up day/time for pretrial conference call
3/3/2020     Cimone     Other           1      prepare Amy Oppenheimer docs for
             Nunley                            production
3/3/2020     Cimone     Communication   0.2    discuss w/Larry Organ whether to produce
             Nunley                            docs from fact witness jakel williams to tesla
3/3/2020     Cimone     Draft/ Revise   1.3    prepare Amy Oppenheimer doc privilege log
             Nunley
3/3/2020     Cimone     Research        0.4    research Jakel Williams in Vaughn case file
             Nunley
3/3/2020     Cimone     Draft/ Revise   0.9    draft ltr to West Valley re confidential
             Nunley                            designations
3/4/2020     Cimone     Communication   0.1    email to Sabrina Grislis w/tracking info for
             Nunley                            settlement check
3/4/2020     Cimone     Communication   0.1    email to tracey asking if 3/23 still works for
             Nunley                            her
3/4/2020     Cimone     Communication   0.1    email to Bernard- can he please hold 3/23 for
             Nunley                            meet and confer with OC
3/4/2020     Cimone     Communication   0.1    email to tracey kennedy confirming meeting at
             Nunley                            1:00 PM on 3/23
3/4/2020     Cimone     Communication   0.1    email to bernard confirming phone conference
             Nunley                            with opposing counsel at 1:00 PM on 3/23

3/4/2020     Cimone     Draft/ Revise   2.2    complete drafting letter to West Valley re
             Nunley                            confidentiality designations
3/4/2020     Cimone     Communication   0.1    email copy of letter to West Valley to Sabrina
             Nunley                            Grislis with service instructions
3/4/2020     Cimone     Other           0.1    calendar deadlines re West Valley
             Nunley                            confidentiality challenge
3/4/2020     Cimone     Draft/ Revise   1.3    draft meet and confer letter to citistaff
             Nunley                            regarding overdesignation of docs
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Date          User       Activity        Time   Description
3/4/2020      Cimone     Communication   0.1    email to Harry re resetting meeting
              Nunley
3/5/2020      Cimone     Communication   0.3    Telephone conference with Larry Organ re
              Nunley                            impeachment documents
3/5/2020      Cimone     Communication   0.2    Telephone conference with Cheryl Stevens of
              Nunley                            Lafayette Kumagai re confidential designations

3/5/2020      Cimone     Draft/ Revise   0.2    create summary of document confidentiality
              Nunley
3/6/2020      Cimone     Draft/ Revise   5.3    create updated privilege log and document
              Nunley                            production for Amy Oppenheimer docs
3/9/2020      Cimone     Communication   0.1    Voicemail to Judge Orrick's clerk re 3/10
              Nunley                            telephone conference
3/9/2020      Cimone     Communication   0.3    call courtcall to set up telephonic appearance
              Nunley                            for 3/10 conference
3/9/2020      Cimone     Other           0.2    locate Amy Oppenheimer invoices and send to
              Nunley                            LO
3/9/2020      Cimone     Plan/ Prepare   0.1    update CourtCall info on calendar for
              Nunley                            tomorrow's telephone conference
3/10/2020     Cimone     Research        0.3    review local rules for filing notice of
              Nunley                            appearance in cases
3/10/2020     Cimone     Draft/ Revise   0.2    draft notice of appearance of counsel and
              Nunley                            send to Sabrina Grislis for filing
3/10/2020     Cimone     Communication   0.1    email to Helene attaching Orrick's rulings re
              Nunley                            confidentiality
3/10/2020     Cimone     Review/ Analyze 0.1    review email from Orrick's clerk re telephonic
              Nunley                            appearance
3/10/2020     Cimone     Communication   0.2    reply to Helene's email re confidentiality
              Nunley                            designations
3/10/2020     Cimone     Appearance/     0.3    attend telephonic hearing w/Orrick re
              Nunley     Attend                 scheduling (0.2), wait time of 0.1 before being
                                                heard
3/10/2020     Cimone     Communication   0.1    t/c with Cody of Amy's office re recent invoice
              Nunley
3/10/2020     Cimone     Communication   0.1    convey call w/Cody to LO
              Nunley
3/10/2020     Cimone     Meet            1.2    meet w/Larry Organ, Sabrina Grislis, SO to
              Nunley                            discuss case status and to do items
3/10/2020     Cimone     Review/ Analyze 0.6    review court's ruling on MSJs and confidential
              Nunley                            docs to prepare unredacted MSJ for filing
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Date          User       Activity        Time   Description
3/11/2020     Cimone     Communication   0.1    discuss missed status conference w/ilman
              Nunley                            with Larry Organ
3/11/2020     Cimone     Communication   0.2    draft email to Illman
              Nunley
3/11/2020     Cimone     Plan/ Prepare   0.4    update pretrial checklist and deadlines based
              Nunley                            on info obtained from Orrick at yesterday's
                                                telephone conference
3/11/2020     Cimone     Communication   0.1    email to Amy Oppenheimer and Cody Holtz
              Nunley                            requesting copy of W-9
3/11/2020     Cimone     Draft/ Revise   0.6    draft email to Helene re confidentiality
              Nunley                            designations
3/11/2020     Cimone     Communication   0.4    discuss confidentiality challenge to West
              Nunley                            Valley with Larry Organ
3/11/2020     Cimone     Research        0.6    review federal MIL authority for background
              Nunley
3/11/2020     Cimone     Research        0.3    research FRE 902(9) self-authentication
              Nunley                            provision for business docs
3/11/2020     Cimone     Communication   0.1    Discussion with Cimone Nunley about witness
              Nunley                            Jackel Williams
3/12/2020     Cimone     Communication   0.1    email to Harry Plotkin and Bernard Alexander
              Nunley                            re timing of meeting today
3/12/2020     Cimone     Communication   0.1    email to SO to add additional witnesses to
              Nunley                            witness list
3/12/2020     Cimone     Communication   0.1    Telephone conference with Larry Organ re
              Nunley                            scheduling of call with Harry Plotkin and
                                                Bernard Alexander
3/12/2020     Cimone     Communication   0.1    email to Bernard Alexander and Harry Plotkin
              Nunley                            re setting up a call for tomorrow morning at
                                                10:30
3/13/2020     Cimone     Other           0.1    update calendar entry for meet and confer
              Nunley                            session with opposing counsel
3/13/2020     Cimone     Plan/ Prepare   0.4    prepare docs and send to Sabrina Grislis for
              Nunley                            redactions/refiling
3/13/2020     Cimone     File/ Serve     0.2    help Sabrina Grislis efile unredacted MSJ and
              Nunley                            exhibits
3/13/2020     Cimone     Meet            1      meet w/Larry Organ, Bernard Alexander, Harry
              Nunley                            Plotkin re jury selection, MILs
3/13/2020     Cimone     Draft/ Revise   0.4    draft MILs
              Nunley
3/16/2020     Cimone     Communication   0.1    reply to Larry Organ email re adding an
              Nunley                            additional MIL to exclude witnesses
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Date          User       Activity        Time   Description
3/16/2020     Cimone     Draft/ Revise   4.4    draft MILs
              Nunley
3/17/2020     Cimone     Communication   0.3    discuss MiL for Martinez's statement
              Nunley
3/17/2020     Cimone     Research        0.4    attempt to locate owen medical records in file
              Nunley
3/17/2020     Cimone     Draft/ Revise   3.2    draft MILs
              Nunley
3/18/2020     Cimone     Research        0.2    research origin of n word in bathroom
              Nunley
3/18/2020     Cimone     Draft/ Revise   4.1    draft MILs
              Nunley
3/18/2020     Cimone     Draft/ Revise   0.6    draft MILs
              Nunley
3/19/2020     Cimone     Plan/ Prepare   0.2    check orrick's calendar to see if new date set
              Nunley                            for pretrial conf
3/19/2020     Cimone     Draft/ Revise   7.9    Draft mils
              Nunley
3/20/2020     Cimone     Communication   0.3    Telephone Conference with Larry Organ re
              Nunley                            witness list; MILs
3/20/2020     Cimone     Draft/ Revise   6.9    draft MILs
              Nunley
3/21/2020     Cimone     Draft/ Revise   3.2    draft MILs
              Nunley
3/21/2020     Cimone     Research        1.1    research burden of proof in 1981
              Nunley
3/21/2020     Cimone     Communication   0.1    Phone call with Larry Organ regarding
              Nunley                            Plaintiff's MILs
3/21/2020     Cimone     Communication   0.1    Follow up phone call with Larry Organ
              Nunley                            regarding Plaintiff's MILs
3/22/2020     Cimone     Communication   0.5    Telephone call with Navruz Avloni and Larry
              Nunley                            Organ regarding Plaintiff's MILs
3/22/2020     Cimone     Draft/ Revise   5      draft MILs
              Nunley
3/22/2020     Cimone     Communication   0.5    Telephone conference with Bernard Alexander
              Nunley                            and Larry Organ re MILs and pretrial filings
3/22/2020     Cimone     Draft/ Revise   2.7    revise MILs in accordance with Navruz Avloni
              Nunley                            feedback and adjust formatting to be
                                                consistent with Northern District rules.
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Date          User       Activity        Time   Description
3/23/2020     Cimone     Communication   0.5    Telephone calls with Larry Organ regarding
              Nunley                            MILs, Dr. Reading's report, and the trial brief

3/23/2020     Cimone     Communication   0.1    email to Sabrina Grislis re redactions on Dr
              Nunley                            Reading's report
3/23/2020     Cimone     Review/ Analyze 0.3    review Dr Reading's report to note potential
              Nunley                            areas of redaction
3/23/2020     Cimone     Communication   0.1    text message to Sabrina Grislis re marking
              Nunley                            exhibits
3/23/2020     Cimone     Draft/ Revise   5.7    draft trial brief
              Nunley
3/23/2020     Cimone     Draft/ Revise   8.1    draft MILs
              Nunley
3/24/2020     Cimone     Communication   0.1    Email to counsel for Tesla to remit payment to
              Nunley                            Amy Oppenheimer
3/24/2020     Cimone     Communication   0.2    Telephone call with Larry Organ and Navruz
              Nunley                            Avloni regarding me too witnesses, MILs, and
                                                punitive damages
3/24/2020     Cimone     Meet            0.7    Telephone meeting with Bernard Alexander,
              Nunley                            Larry Organ, and Susan Organ to discuss pre-
                                                trial tasks and strategy
3/25/2020     Cimone     Communication   0.4    Telephone conference with Bernard Alexander
              Nunley                            and Larry Organ to prepare for tomorrow's
                                                conference call with opposing counsel
3/25/2020     Cimone     Communication   0.4    Telephone conference with Larry Organ re
              Nunley                            claims to bring to trial, jury instructions
3/25/2020     Cimone     Draft/ Revise   2.5    brief issue of punitive damages under 1981
              Nunley
3/26/2020     Cimone     Meet            0.8    Telephone conference with Defense counsel
              Nunley                            re pretrial issues
3/26/2020     Cimone     Communication   0.3    Telephone conference with Bernard Alexander
              Nunley                            and Larry Organ re pretrial issues
3/26/2020     Cimone     Communication   0.1    email to Amy Oppenheimer re status of
              Nunley                            payment
3/26/2020     Cimone     Review/ Analyze 0.6    review MSJ and trial briefs to start preparing
              Nunley                            joint statement of facts
3/27/2020     Cimone     Meet            0.4    meet with Larry Organ, Navruz Avloni to
              Nunley                            discuss trial strategy
3/27/2020     Cimone     Communication   0.1    discuss me too witness task with Sabrina
              Nunley                            Grislis
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Date          User       Activity        Time   Description
3/27/2020     Cimone     Plan/ Prepare   0.8    prepare list and questionnaire for me-too
              Nunley                            witnesses
3/27/2020     Cimone     Communication   0.1    Telephone conference with Larry Organ to
              Nunley                            confirm he will communicate planned
                                                dismissal to clients
3/27/2020     Cimone     Review/ Analyze 0.3    review pretrial docs in email and confirm all
              Nunley                            have been saved to DB
3/27/2020     Cimone     Review/ Analyze 0.2    review Titus McCaleb's deposition and
              Nunley                            prepepare revised questionnaire for Sabrina
                                                Grislis to use
3/30/2020     Cimone     Review/ Analyze 0.4    review Bernard Alexander's drafted brief re
              Nunley                            disputed issues of law
3/30/2020     Cimone     Communication   0.1    email to Bernard Alexander re brief on
              Nunley                            disputed issues of law
3/30/2020     Cimone     Communication   0.1    email to Bernard Alexander, Navruz Avloni,
              Nunley                            and Larry Organ requesting review of stip for
                                                partial dismissial
3/30/2020     Cimone     Other           0.2    review emails from Tracey Kennedy and Harry
              Nunley                            Plotkin and confirm everything saved to DB
3/30/2020     Cimone     Communication   0.2    Telephone conference with Larry Organ re
              Nunley                            faragher/ellerth
3/30/2020     Cimone     Communication   0.1    email to Bernard Alexander re faragher/ellerth
              Nunley                            issue
3/30/2020     Cimone     Communication   0.4    Telephone conference with Larry Organ re
              Nunley                            new 1981 supreme court case
3/30/2020     Cimone     Other           0.8    review recent supreme court decision re 1981
              Nunley
3/30/2020     Cimone     Meet            0.5    Meet with counsel for Tesla re pretrial topics
              Nunley
3/30/2020     Cimone     Communication   0.4    Telephone conference with Larry Organ,
              Nunley                            Bernard Alexander re joint pretrial to-do items
3/30/2020     Cimone     Review/ Analyze 0.1    review email from Tracey Kennedy enclosing
              Nunley                            updated jury questionnaire
3/31/2020     Cimone     Communication   0.1    review email from OC enclosing stip for
              Nunley                            continuance
3/31/2020     Cimone     Communication   0.2    t/c to Larry Organ to encourage him to review
              Nunley                            stip sent over by Sheppard Mullin
3/31/2020     Cimone     Draft/ Revise   0.3    revise stip in accordance w/Larry Organ edits
              Nunley                            and forward to BA
3/31/2020     Cimone     Research        0.2    locate witness jeff henry via people map and
              Nunley                            send to Sabrina Grislis
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Date          User       Activity        Time   Description
3/31/2020     Cimone     Communication   0.1    reply to Bernard Alexander email enclosing
              Nunley                            revised stip for dismissal
3/31/2020     Cimone     Communication   0.1    email stip for dismissal to OC
              Nunley
4/1/2020      Cimone     Communication   0.1    review email thread re stip for continuance
              Nunley
4/1/2020      Cimone     Communication   0.1    review email from Tesla's counsel and Bernard
              Nunley                            Alexander attaching proposed changes to stip
                                                for dismissal
4/1/2020      Cimone     Draft/ Revise   0.1    review stip for dismissal and add electronic
              Nunley                            signatures
4/1/2020      Cimone     Draft/ Revise   0.1    draft signature attestation page for stip
              Nunley
4/1/2020      Cimone     Meet            0.5    meet with opposing counsel re pretrial issues
              Nunley
4/1/2020      Cimone     Communication   0.5    Telephone conference with Larry Organ and
              Nunley                            Bernard Alexander to discuss status of pretrial
                                                documents
4/1/2020      Cimone     Communication   0.1    email to Sabrina Grislis to confirm Amy
              Nunley                            Oppenheimer errata sheet goes to reporter
                                                today
4/1/2020      Cimone     File/ Serve     0.2    file joint stip for partial dismissal via ECF
              Nunley
4/1/2020      Cimone     Communication   0.1    Telephone conference with Larry Organ re stip
              Nunley                            on Plaintiff's MILs
4/1/2020      Cimone     Draft/ Revise   0.1    revise stip to exclude evidence re plaintiffs'
              Nunley                            MILs
4/1/2020      Cimone     Communication   0.1    email revised stip to OC
              Nunley
4/1/2020      Cimone     Draft/ Revise   2.8    draft pretrial statement (facts, action, relief
              Nunley                            prayed)
4/1/2020      Cimone     Communication   0.1    Telephone conference with Larry Organ re
              Nunley                            Judge Orrick's order granting stip to continue
                                                trial
4/2/2020      Cimone     Review/ Analyze 0.1    review minute order re status conference and
              Nunley                            double-check date/time calendared; save
                                                order to file
4/2/2020      Cimone     Review/ Analyze 0.2    review update deadlines calculated by Sabrina
              Nunley                            Grislis - email her to confirm they are correct
                                                and ok to proceed w/removing old d/ls and
                                                calendaring new ones
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Date         User       Activity        Time   Description
4/2/2020     Cimone     Communication   0.1    reply to Bernard Alexander email re
             Nunley                            settlement discussion with opposing counsel

4/2/2020     Cimone     Communication   0.4    Telephone conference with Larry Organ re
             Nunley                            status of settlement, MIL opps
4/2/2020     Cimone     Communication   0.4    Telephone conference with Larry Organ and
             Nunley                            Bernard Alexander re settlement, MIL strategy
4/2/2020     Cimone     Research        2      prepare research for oppositions to Tesla's
             Nunley                            MILs
4/2/2020     Cimone     Draft/ Revise   1      revise our MILs
             Nunley
4/3/2020     Cimone     Review/ Analyze 0.1    review order granting stip re plaintiffs' MILs
             Nunley
4/3/2020     Cimone     Review/ Analyze 0.2    review file for information about former tesla
             Nunley                            employee jeff henry
4/3/2020     Cimone     Communication   0.1    email investigator Stuart Kohler the additional
             Nunley                            info re witness jeff henry
4/3/2020     Cimone     Research        0.3    search Facebook, linkedin, etc for Jeff Henry
             Nunley
4/3/2020     Cimone     Communication   0.2    email Larry Organ re language in 1981 jury
             Nunley                            instructions
4/3/2020     Cimone     Meet            0.4    meet with opposing counsel to address
             Nunley                            pretrial topics
4/3/2020     Cimone     Communication   0.1    Telephone conference with Larry Organ and
             Nunley                            Bernard Alexander re pretrial stuff
4/3/2020     Cimone     Plan/ Prepare   0.1    prepare redacted version of plaintiffs' exhibit
             Nunley                            3
4/3/2020     Cimone     Communication   0.1    email to Sabrina Grislis with instructions for
             Nunley                            producing trial exhibit 3
4/3/2020     Cimone     Research        0.3    locate Wayne Jackson's facebook
             Nunley
4/3/2020     Cimone     Communication   0.2    Phone call with Larry Organ, Navruz Avloni,
             Nunley                            and Sabrina Grislis regarding witness
                                               information for trial subpoenas
4/6/2020     Cimone     Communication   0.1    review Sabrina Grislis and Stuart Kohler emails
             Nunley                            re status of locating witness jeff henry
4/6/2020     Cimone     Communication   0.1    reply to Navruz Avloni email re excluding
             Nunley                            evidence of Owen termination via MIL
4/6/2020     Cimone     Review/ Analyze 0.5    review Dr Reading's report to see if he
             Nunley                            attributes ED to job loss
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Date         User       Activity        Time   Description
4/6/2020     Cimone     Communication   0.1    Telephone conference with Larry Organ re MIL
             Nunley                            to exclude discussion of Owen's performance

4/6/2020     Cimone     Draft/ Revise   0.7    revise pretrial statement re disputed issues of
             Nunley                            law and forward to Bernard Alexander
4/6/2020     Cimone     Review/ Analyze 0.4    review Susan Organ's prepared timeline and
             Nunley                            provide feedback
4/6/2020     Cimone     Communication   0.1    Phone call with Larry Organ, Navruz Avloni,
             Nunley                            and Sabrina Grislis regarding status of case
4/7/2020     Cimone     Communication   0.2    Telephone conference with Larry Organ to
             Nunley                            discuss 4/7 meeting with illman
4/7/2020     Cimone     Communication   0.1    Telephone conference with Sabrina Grislis to
             Nunley                            discuss witness decs and chart
4/7/2020     Cimone     Appearance/     0.3    attend status conference w/judge Judge
             Nunley     Attend                 Illman
4/7/2020     Cimone     Meet            0.4    meet with opposing counsel to discuss pretrial
             Nunley                            matters
4/7/2020     Cimone     Communication   0.6    Telephone conference with Larry Organ and
             Nunley                            Bernard Alexander to discuss jury instructions
                                               and preparation of pretrial statement
4/7/2020     Cimone     Review/ Analyze 0.1    confirm DL to update Judge Illman on status of
             Nunley                            settlement discussions calendared
4/7/2020     Cimone     Communication   0.6    Telephone conference with Navruz Avloni and
             Nunley                            Larry Organ re pretrial strategy and to-do list
4/8/2020     Cimone     Communication   0.1    leave voicemail for witness mitrel
             Nunley
4/8/2020     Cimone     Communication   0.1    email to Amy Oppenheimer to confirm she
             Nunley                            received payment for her deposition
4/8/2020     Cimone     Communication   0.1    Telephone call with Larry Organ regarding MIL
             Nunley                            on the exclusion of Owen Diaz's work
                                               performance
4/8/2020     Cimone     Communication   0.1    Phone meeting with Larry Organ, Navruz
             Nunley                            Avloni, and Sabrina Grislis regarding upcoming
                                               tasks
4/9/2020     Cimone     Review/ Analyze 0.7    review timeline slides prepared by Susan
             Nunley                            Organ and send her feedback
4/9/2020     Cimone     Communication   0.1    email to Sabrina Grislis re witness subpoenas
             Nunley                            for witnesses Tesla is also calling
4/9/2020     Cimone     Draft/ Revise   2.3    draft remaining portions of pretrial statement
             Nunley
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Date          User       Activity        Time   Description
4/10/2020     Cimone     Other           0.6    update pretrial checklist/Mycase calendar and
              Nunley                            tasks
4/10/2020     Cimone     Meet            0.5    Phone meeting with Larry Organ, Bernard
              Nunley                            Alexander, Navruz Avloni, and Susan Organ
                                                regarding trial strategy and upcoming tasks
4/10/2020     Cimone     Draft/ Revise   1.7    draft pretrial statement
              Nunley
4/10/2020     Cimone     Communication   0.1    Phone call with Larry Organ regarding
              Nunley                            witnesses
4/11/2020     Cimone     Draft/ Revise   1      draft joint pretrial statement
              Nunley
4/13/2020     Cimone     Communication   0.2    Telephone conference with Larry Organ to
              Nunley                            discuss resetting call with OC
4/13/2020     Cimone     Communication   0.2    reply to Navruz Avloni/Larry Organ email re
              Nunley                            1981 contract issue
4/13/2020     Cimone     Draft/ Revise   1      draft MILs
              Nunley
4/16/2020     Cimone     Meet            0.6    phone conference with opposing counsel
              Nunley
4/16/2020     Cimone     Communication   0.1    Telephone conference with Larry Organ to
              Nunley                            clarify two points from meeting
4/16/2020     Cimone     Meet            1      discuss trial strategy with Navruz Avloni and
              Nunley                            Larry Organ
4/16/2020     Cimone     Draft/ Revise   3.7    draft additional MIL re Rothaj Foster/revise
              Nunley                            MIL re Ramon Martinez
4/16/2020     Cimone     Draft/ Revise   0.1    revise proposed stip re pretrial deadlines
              Nunley
4/17/2020     Cimone     Draft/ Revise   0.3    revise MILs and forward revised MILs to OC
              Nunley
4/17/2020     Cimone     Meet            2.1    meet w/Harry Plotkin to discuss themes, etc
              Nunley
4/18/2020     Cimone     Communication   0.1    Phone call with Larry Organ regarding MILs
              Nunley
4/20/2020     Cimone     Communication   0.6    Telephone conference with Larry Organ re
              Nunley                            Wayne Jackson testimony and MILs
4/20/2020     Cimone     Draft/ Revise   6.1    revise MILs, prepare associated docs for filing,
              Nunley                            and file
4/21/2020     Cimone     Communication   0.5    Telephone conference with Larry Organ re
              Nunley                            opps to defendant's MILs
4/21/2020     Cimone     Draft/ Revise   3.5    draft opp to def MILs
              Nunley
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Date          User       Activity        Time   Description
4/22/2020     Cimone     Communication   0.4    Telephone conference with Larry Organ to
              Nunley                            discuss MIL strategy
4/22/2020     Cimone     Draft/ Revise   4.5    draft opps to def MILs
              Nunley
4/22/2020     Cimone     Communication   0.1    Telephone call with Larry Organ and Navruz
              Nunley                            Avloni regarding jury instructions
4/23/2020     Cimone     Draft/ Revise   5.2    draft opp to def MILs
              Nunley
4/23/2020     Cimone     Communication   0.2    Phone call with Larry Organ regarding
              Nunley                            oppositions to Defendant's MILs
4/24/2020     Cimone     Meet            0.5    meet with opposing counsel re exhibits and
              Nunley                            jury instructions
4/24/2020     Cimone     Communication   0.3    Telephone conference with Larry Organ,
              Nunley                            Bernard Alexander re remaining pretrial tasks
4/24/2020     Cimone     Communication   0.2    Telephone conference with Larry Organ re
              Nunley                            remaining pretrial tasks and MILs
4/24/2020     Cimone     Draft/ Revise   7.3    draft MIL oppos
              Nunley
4/25/2020     Cimone     Draft/ Revise   6.5    draft MILs
              Nunley
4/26/2020     Cimone     Draft/ Revise   5.2    draft MIL oppos
              Nunley
4/26/2020     Cimone     Communication   0.7    Telephone conference with Larry Organ re MIL
              Nunley                            strategy, legal section, and federal rules of
                                                evidence 404 argument
4/27/2020     Cimone     Draft/ Revise   13.2   draft MIL oppos
              Nunley
4/27/2020     Cimone     Communication   0.2    Phone call with Larry Organ regarding contract
              Nunley                            theory issues
4/28/2020     Cimone     Communication   0.3    Telephone conference with Larry Organ re
              Nunley                            MIL/trial strategy
4/29/2020     Cimone     Communication   0.3    Telephone conference with Susan Organ re
              Nunley                            copyedits to MIL opps
4/29/2020     Cimone     Draft/ Revise   6.7    draft MIL oppos
              Nunley
4/29/2020     Cimone     Communication   0.1    Phone call with Larry Organ regarding Defense
              Nunley                            exhibits to MILs
4/29/2020     Cimone     Communication   0.1    Phone call with Larry Organ regarding MIL
              Nunley                            oppositions
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Date          User       Activity        Time   Description
4/29/2020     Cimone     Communication   0.1    Phone call with Larry Organ regarding filing
              Nunley                            under seal and need to file MILs not under
                                                seal
4/30/2020     Cimone     Draft/ Revise   0.5    prepare unredacted MILs and supp dec for
              Nunley                            submission to the court and email to Sabrina
                                                Grislis
4/30/2020     Cimone     Plan/ Prepare   0.6    update pretrial checklist
              Nunley
5/1/2020      Cimone     Communication   0.2    Telephone conference with Larry Organ and
              Nunley                            Bernard Alexander re settlement status and
                                                demonstrative exhibits
5/4/2020      Cimone     Draft/ Revise   0.6    revise state court CMS and send to Sabrina
              Nunley                            Grislis for filing
5/4/2020      Cimone     Communication   0.1    Telephone conference with Larry Organ re
              Nunley                            state court CMS
5/4/2020      Cimone     Communication   0.1    email to Sabrina Grislis re state court
              Nunley                            CMC/CMS
5/4/2020      Cimone     Review/ Analyze 0.2    review text of tesla/nextsource MSA
              Nunley                            agreement and text analysis to Larry Organ
5/4/2020      Cimone     Communication   0.5    Telephone conference with Larry Organ re
              Nunley                            contract issue, evidence issue
5/4/2020      Cimone     Draft/ Revise   0.2    email to Tesla's counsel asking if they will
              Nunley                            agree to use of unredacted exhibit 3 for trial
5/5/2020      Cimone     Communication   0.1    reply to Susan Haines email re meeting and
              Nunley                            conferring on redactions to exhibit 3
5/5/2020      Cimone     Communication   0.1    email to Sabrina Grislis with instructions to set
              Nunley                            up meeting to discuss exhibit 3 redactions
5/6/2020      Cimone     Communication   0.3    Telephone conference with Sabrina Grislis re
              Nunley                            pretrial tasks and deadlines
5/6/2020      Cimone     Meet            1      meet w/susan haines re redactions to exh 3
              Nunley
5/6/2020      Cimone     Plan/ Prepare   0.1    prep for 2 PM call with Tesla counsel re
              Nunley                            redactions to trial exhibit 3
5/6/2020      Cimone     Communication   0.1    Phone call with Larry Organ regarding next
              Nunley                            steps
5/7/2020      Cimone     Review/ Analyze 0.1    review court's order re zoom pretrial
              Nunley                            conference
5/7/2020      Cimone     Communication   0.1    email to Bernard Alexander requesting
              Nunley                            availability for call to discuss MIL arguments
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Date          User       Activity        Time   Description
5/7/2020      Cimone     Communication   0.1    email to Navruz Avloni to outline topics of
              Nunley                            discussion for Friday 5/8 meeting with Tesla
                                                counsel
5/7/2020      Cimone     Draft/ Revise   1.4    prepare chart of exhibits admissible vs
              Nunley                            authentic
5/7/2020      Cimone     Communication   0.2    email to OC re exhibit admissibility, witness
              Nunley                            info, exhibit marking status
5/7/2020      Cimone     Communication   0.5    Phone call with Bernard Alexander and Larry
              Nunley                            Organ regarding pretrial conference
5/8/2020      Cimone     Communication   0.7    conference call with opposing counsel re
              Nunley                            pretrial conference
5/8/2020      Cimone     Communication   0.8    Telephone conference with Larry Organ re oral
              Nunley                            argument on MILs
5/8/2020      Cimone     Plan/ Prepare   1.7    prep for oral argument re MILs
              Nunley
5/11/2020     Cimone     Communication   0.4    Telephone conference with Larry Organ,
              Nunley                            Bernard Alexander re MILs
5/11/2020     Cimone     Plan/ Prepare   3      prep for pretrial conference
              Nunley
5/11/2020     Cimone     Appearance/     1.4    appear @ pretrial conference
              Nunley     Attend
5/11/2020     Cimone     Communication   0.2    t/c with Navruz Avloni to update her on rulings
              Nunley                            on MILs
5/11/2020     Cimone     Communication   0.9    Telephone conference with Larry Organ re
              Nunley                            MILs
5/11/2020     Cimone     Communication   0.1    review Vaughn file to see if we have any docs
              Nunley                            that confirm witness Nigel Jones's dates of
                                                employment for opposition to Tesla MILs
5/11/2020     Cimone     Communication   0.1    t/c with nigel jones to ask if he has any docs re
              Nunley                            initial hire at tesla
5/13/2020     Cimone     Communication   0.1    email to Harry to advise we should hold off on
              Nunley                            focus group for now
5/13/2020     Cimone     Communication   0.1    email to Amy Oppenheimer re new trial date
              Nunley
5/13/2020     Cimone     Communication   0.1    email to Dr. Reading re new trial date
              Nunley
5/14/2020     Cimone     Communication   0.3    Telephone conference with Larry Organ re
              Nunley                            MILs
5/19/2020     Cimone     Communication   0.2    Telephone conference with Larry Organ re
              Nunley                            current status and next steps
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Date          User       Activity        Time   Description
5/22/2020     Cimone     Communication   0.7    Telephone conference with Bernard
              Nunley                            Alexander, Larry Organ, Navruz Avloni re MIL
                                                rulings and next steps
5/27/2020     Cimone     Communication   0.1    review email from Harry Plotkin re new trial
              Nunley                            date
5/27/2020     Cimone     Communication   0.1    email to Sabrina Grislis requesting updated
              Nunley                            trial dates
6/10/2020     Cimone     Review/ Analyze 0.1    review updated trial deadlines prepared by
              Nunley                            Teodora Gagauz and provide feedback
6/17/2020     Cimone     Plan/ Prepare   1.1    create updated pretrial checklist
              Nunley
6/17/2020     Cimone     Meet            1.6    meet w/Sabrina Grislis, Larry Organ, Susan
              Nunley                            Organ, Bernard Alexander, Harry Plotkin to
                                                discuss themes and division of labor re trial
7/1/2020      Cimone     Review/ Analyze 0.1    review citistaff state court CMS
              Nunley
7/20/2020     Cimone     Communication   0.1    email Harry Plotkin proposed jury instructions
              Nunley
7/28/2020     Cimone     Other           0.2    pull depo transcripts and MSJ docs and send
              Nunley                            to mika hillaire in preparation for focus group
7/29/2020     Cimone     Meet            0.7    meeting re focus group
              Nunley
7/29/2020     Cimone     Communication   0.1    review slides from Susan Organ and provide
              Nunley                            feedback
7/30/2020     Cimone     Communication   0.1    review email with questions from mika hillaire
              Nunley                            regarding focus group
7/30/2020     Cimone     Communication   0.1    text to Larry Organ re inviting Mika Hillaire to
              Nunley                            next week's trial team meeting
7/30/2020     Cimone     Communication   0.1    email to Harry Plotkin with info re date/time
              Nunley                            of next meeting with mika hillaire for focus
                                                group
7/30/2020     Cimone     Communication   0.1    email to Harry Plotkin re focus group meeting
              Nunley                            day/time
7/31/2020     Cimone     Communication   0.1    review email thread between Larry Organ and
              Nunley                            Mika Hillaire re focus group, reply to her
                                                questions re wife's mental health and
                                                alternate stressors
7/31/2020     Cimone     Communication   0.1    remind Larry Organ to send email attachments
              Nunley                            to harry plotkin before focus group
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Date          User       Activity        Time   Description
7/31/2020     Cimone     Communication   0.1    Discussion with Navruz Avloni regarding meet
              Nunley                            and confer letter to Tesla re pretrial matters
8/6/2020      Cimone     Meet            1.3    meet to prep for focus group
              Nunley
8/6/2020      Cimone     Plan/ Prepare   0.9    work on prepping info for Mika Hillaire for
              Nunley                            focus group
8/7/2020      Cimone     Communication   0.1    Telephone conference with Larry Organ re
              Nunley                            depo videos
8/7/2020      Cimone     Communication   0.1    review and reply to gus ham's email
              Nunley                            requesting depo videos for syncing
8/7/2020      Cimone     Plan/ Prepare   2.8    prepare focus group materials for mika hillaier
              Nunley
8/8/2020      Cimone     Plan/ Prepare   3      prepare focus group docs and items for Mika
              Nunley                            hillaire
8/11/2020     Cimone     Communication   0.1    Telephone conference with Larry Organ re
              Nunley                            focus group prep
8/11/2020     Cimone     Meet            1.2    meeting re focus group
              Nunley
8/13/2020     Cimone     Communication   0.1    Telephone conference with Sabrina Grislis re
              Nunley                            videos for focus group
8/14/2020     Cimone     Meet            0.4    meet w/Larry Organ,Susan Organ, Sabrina
              Nunley                            Grislis re focus group preparations
8/14/2020     Cimone     Draft/ Revise   0.9    fill in missing info from cast of characters
              Nunley
8/14/2020     Cimone     Communication   0.1    email revised cast of characters to Mika
              Nunley                            Hillaire for focus group
8/15/2020     Cimone     Draft/ Revise   0.2    update cast of characters and send to Harry
              Nunley                            Plotkin
8/15/2020     Cimone     Appearance/     4      attend focus group
              Nunley     Attend
8/15/2020     Cimone     Meet            0.9    meet w/Susan Organ, Larry Organ, Navruz
              Nunley                            Avloni, Harry Plotkin, Bernard Alexander and
                                                dustin collier re trial and jury selection
                                                strategy
8/17/2020     Cimone     Meet            0.2    team meeting
              Nunley
8/18/2020     Cimone     Communication   0.1    Phone call with Larry Organ regarding trial
              Nunley                            exhibits
8/19/2020     Cimone     Meet            1.6    meet re focus group and future strategy
              Nunley
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Date          User       Activity        Time   Description
9/1/2020      Cimone     Communication   0.1    Telephone conference with Larry Organ,
              Nunley                            Bernard Alexander re new trial date
9/1/2020      Cimone     Communication   0.1    Telephone conference with Larry Organ re
              Nunley                            new trial date and to do list
9/1/2020      Cimone     Appearance/     0.2    attend trial setting conf
              Nunley     Attend
9/1/2020      Cimone     Communication   0.1    email to Reading to notify of new trial date
              Nunley
9/3/2020      Cimone     Communication   0.1    email to Bernard Alexander, Larry Organ,
              Nunley                            Navruz Avloni re settlement conference
9/8/2020      Cimone     Communication   0.1    Telephone conference with Larry Organ to get
              Nunley                            availability for MSC
9/8/2020      Cimone     Communication   0.1    email to Tracey Kennedy providing our
              Nunley                            availability for MSC
9/9/2020      Cimone     Communication   0.1    email to Sabrina Grislis with instructions for
              Nunley                            calendaring MSC, taking scheduling conf off
                                                calendar, etc.
9/9/2020      Cimone     Communication   0.1    email to Bernard Alexander re latest
              Nunley                            settlement demand
9/10/2020     Cimone     Communication   0.1    Call with Larry Organ regarding the settlement
              Nunley                            conference statement
9/23/2020     Cimone     Communication   0.1    Phone call with Larry Organ, Navruz Avloni,
              Nunley                            and Sabrina Grislis regarding the settlement
                                                conference
10/22/2020    Cimone     Communication   0.2    call with Navruz Avloni re setting agenda for
              Nunley                            tomorrow afternoon's meeting on diaz
10/22/2020    Cimone     Draft/ Revise   0.8    create planning checklist for 10/23 meeting re
              Nunley                            trial preparation and strategy
10/22/2020    Cimone     Communication   0.1    email checklist for tomorrow's meeting to
              Nunley                            everyone
10/22/2020    Cimone     Draft/ Revise   0.7    work on revising settlement conference
              Nunley                            statement
10/23/2020    Cimone     Meet            0.9    trial team meeting to discuss next steps
              Nunley
10/28/2020    Cimone     Draft/ Revise   4.1    draft settlement conf statement
              Nunley
10/29/2020    Cimone     Draft/ Revise   2.7    draft settlement conf statement
              Nunley
10/30/2020    Cimone     Draft/ Revise   0.4    finalize MSC statement and send to illman
              Nunley
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Date          User       Activity        Time   Description
11/2/2020     Cimone     Plan/ Prepare   0.7    prepare outline for meeting and send to trial
              Nunley                            team
11/2/2020     Cimone     Meet            1      trial team meeting
              Nunley
11/13/2020    Cimone     Appearance/     1.1    attend MSC
              Nunley     Attend
11/13/2020    Cimone     Communication   0.3    Telephone conference with Sabrina Grislis re
              Nunley                            recalendaring deadlines
11/13/2020    Cimone     Review/ Analyze 0.9    review/update Bernard Alexander's case
              Nunley                            outline
11/13/2020    Cimone     Communication   0.2    Telephone call with client, Bernard Alexander,
              Nunley                            and Larry Organ regarding the mediators
                                                proposal
11/13/2020    Cimone     Communication   0.5    Post settlement conference debrief call with
              Nunley                            Bernard Alexander and Larry Organ
11/16/2020    Cimone     Draft/ Revise   0.1    download minute entry for MSC and save to
              Nunley                            file
11/16/2020    Cimone     Review/ Analyze 0.6    review Bernard Alexander case outline and
              Nunley                            provide feedback
11/20/2020    Cimone     Communication   0.2    Telephone conference with Larry Organ to
              Nunley                            provide RMI settlement email
11/28/2020    Cimone     Communication   0.1    Phone call with Larry Organ regarding exhibits
              Nunley
12/4/2020     Cimone     Plan/ Prepare   1.2    work on exhibit chart in advance of monday
              Nunley                            meeting with Tesla counsel
12/7/2020     Cimone     Plan/ Prepare   0.7    prep for meeting with OC re exhibit
              Nunley                            admissibility
12/7/2020     Cimone     Communication   0.1    Telephone conference with Larry Organ re
              Nunley                            meeting with OC over exhibit admissibility
12/7/2020     Cimone     Meet            0.8    meet with opposing counsel re exhibits and
              Nunley                            pretrial issues
12/7/2020     Cimone     Communication   0.2    email experts re new trial date
              Nunley
12/8/2020     Cimone     Communication   0.1    Telephone conference with Sabrina Grislis re
              Nunley                            calling witnesses
12/8/2020     Cimone     Communication   0.1    Discussion with Larry Organ regarding
              Nunley                            witnesses
12/8/2020     Cimone     Communication   0.3    Call with Bernard Alexander and Larry Organ
              Nunley                            regarding trial continuance
12/15/2020    Cimone     Appearance/     0.5    attend CMC
              Nunley     Attend
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Date          User       Activity        Time   Description
12/15/2020    Cimone     Appearance/     0.5    attend MSC
              Nunley     Attend
12/16/2020    Cimone     Other           0.5    recalculate and recalendar case deadlines to
              Nunley                            conform with new trial date
12/17/2020    Cimone     Other           0.1    update MSC calendar entry with dial in
              Nunley                            information
1/15/2021     Cimone     Review/ Analyze 0.1    review state court CMS prepped by Sabrina
              Nunley                            Grislis and provide feedback
2/1/2021      Cimone     Review/ Analyze 0.1    review state court CMC order
              Nunley
2/11/2021     Cimone     Communication   0.2    Telephone conference with Larry Organ re
              Nunley                            potential continuance
2/11/2021     Cimone     Communication   0.1    email to Bernard Alexander re potential
              Nunley                            continuance
2/11/2021     Cimone     Communication   0.1    email to OC proposing a call to select
              Nunley                            alternative trial dates
2/16/2021     Cimone     Communication   0.4    zoom call with opposing counsel to agree on
              Nunley                            alternative trial dates
2/17/2021     Cimone     Draft/ Revise   0.7    draft stip for continuance
              Nunley
2/17/2021     Cimone     Communication   0.1    send stip for continuance to Larry
              Nunley                            Organ/Bernard Alexander/Navruz Avloni for
                                                review
2/17/2021     Cimone     Draft/ Revise   0.1    modify stip for continuance based on Navruz
              Nunley                            Avloni feedback
2/17/2021     Cimone     Communication   0.1    send stip for trial continuance to OC
              Nunley
3/1/2021      Cimone     Communication   0.1    email to OC advising i will file trial stip today
              Nunley
3/1/2021      Cimone     File/ Serve     0.3    file stip for continuance
              Nunley
3/1/2021      Cimone     Draft/ Revise   0.2    add electronic signatures and signature
              Nunley                            affirmation to stip, finalize stip for filing
3/2/2021      Cimone     Review/ Analyze 0.1    review order granting continuance
              Nunley
3/2/2021      Cimone     Communication   0.1    email to Harry re new trial date
              Nunley
3/2/2021      Cimone     Communication   0.1    email to Amy Oppenheimer re new trial date
              Nunley
3/2/2021      Cimone     Communication   0.1    email to karen @ dr reading's office with new
              Nunley                            date
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Date          User       Activity        Time   Description
3/2/2021      Cimone     Communication   0.1    Call with Larry Organ regarding trial
              Nunley                            continuance and settlement conference
3/4/2021      Cimone     Communication   0.1    update calendar with dial in info for 6/15
              Nunley                            settlement conference
3/4/2021      Cimone     Communication   0.1    email Bernard Alexander with dial in info for
              Nunley                            6/15 settlement conf
4/23/2021     Cimone     Communication   0.1    email to bernard alexander regarding setting
              Nunley                            up a status meeting
4/28/2021     Cimone     Communication   0.1    email to bernard alexander to set up status
              Nunley                            meeting on 5/24
6/15/2021     Cimone     Appearance/     0.2    attend status conference with settlement
              Nunley     Attend                 judge illman
6/15/2021     Cimone     Communication   0.2    call with bernard alexander and larry organ re
              Nunley                            settlement status conference and next steps
6/22/2021     Cimone     Meet            0.8    Meet with Larry Organ, Bernard Alexander,
              Nunley                            and Sabrina Grislis for trial prep
7/16/2021     Cimone     Meet            1.1    Meet with Larry Organ and Bernard Alexander
              Nunley                            to prepare for opening and trial
7/19/2021     Cimone     Meet            1.7    meet w/client Owen Diaz and team (larry
              Nunley                            organ, navruz avloni, susan organ, sabrina
                                                grislis) to discuss case status, mitigation of
                                                damages
7/20/2021     Cimone     Draft/ Revise   0.6    draft sample focus group topics for Larry
              Nunley                            Organ
7/21/2021     Cimone     Communication   0.1    call with sabrina grislis re locating and
              Nunley                            subpoeanaing trial witnesses
7/27/2021     Cimone     Communication   0.3    Phone call with Larry Organ, Bernard
              Nunley                            Alexander, and Harry Plotkin regarding focus
                                                group
8/3/2021      Cimone     Review/ Analyze 0.1    review state court CMS and give feedback to
              Nunley                            sabrina grislis
8/10/2021     Cimone     Appearance/     0.1    Appear at the case management conference
              Nunley     Attend
8/11/2021     Cimone     Communication   0.1    reply to email from Harry Plotkin clarifying
              Nunley                            proposed voir dire dates and times
8/11/2021     Cimone     Other           0.1    review minute order from 8/10 CMC and
              Nunley                            calendar dates for 9/7 CMC
8/16/2021     Cimone     Communication   0.1    email to harry plotkin to advise he can fly in to
              Nunley                            SF on 9/23 for jury selection if 9/27 trial date
                                                proceeds
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Date          User       Activity        Time   Description
8/16/2021     Cimone     Other           0.2    check state court website for updated case
              Nunley                            management order
8/16/2021     Cimone     Communication   0.1    email updated state court case management
              Nunley                            order to sabrina grislis and request she
                                                calendar new deadlines
8/16/2021     Cimone     Meet            4.2    team meeting to discuss trial prep and focus
              Nunley                            group planning
8/16/2021     Cimone     Communication   0.2    email to larry organ with bullet points to
              Nunley                            address with bernard alexander
8/16/2021     Cimone     Other           0.2    prepare task list for the week and circulate to
              Nunley                            navruz avloni, sabrina grislis, and larry organ
8/17/2021     Cimone     Communication   0.1    email to bernard alexander, harry plotkin, and
              Nunley                            larry organ proposing 8/18 meeting date
8/17/2021     Cimone     Communication   0.1    ask sabrina grislis to prepare and send
              Nunley                            calendar invite for 8/18 meeting with harry
                                                plotkin, bernard alexander, and larry organ
8/18/2021     Cimone     Meet            1.3    Meet with harry plotkin, bernard alexander,
              Nunley                            larry organ, sabrina grislis, and navruz avloni
                                                regarding upcoming focus group and trial
                                                strategy
8/18/2021     Cimone     Communication   0.2    call with sabrina grislis re serving witnesses
              Nunley                            with trial subpoenas
8/18/2021     Cimone     Review/ Analyze 0.4    review johnson v pride industries case from
              Nunley                            5th cir (1981 case)
8/18/2021     Cimone     Review/ Analyze 0.4    review proposed survey and craigslist ad
              Nunley                            prepared by sabrina grislis for internal focus
                                                group
8/18/2021     Cimone     Communication   0.1    email to sabrina grislis enclosing my feedback
              Nunley                            on focus group materials
8/24/2021     Cimone     Communication   0.1    call with Larry Organ re focus group logistics
              Nunley
8/24/2021     Cimone     Communication   0.4    draft email to tracey kennedy re pretrial issues
              Nunley                            and send to larry organ for review
8/24/2021     Cimone     Draft/ Revise   1.9    prepare demonstratives and statements for
              Nunley                            9/4 focus group
8/25/2021     Cimone     Review/ Analyze 0.5    review depositions to confirm which witnesses
              Nunley                            defendant will accept service for
8/25/2021     Cimone     Communication   0.1    send email to opposing counsel tracey
              Nunley                            kennedy, susan haines, patricia jeng, and
                                                stephanie limbaugh re evidence, witness,
                                                potential new trial dates, and jury instructions
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Date          User       Activity        Time   Description
8/25/2021     Cimone     Other           4      prepare presentations for focus group
              Nunley
8/26/2021     Cimone     Plan/ Prepare   2.6    prepare presentations for focus group
              Nunley
8/27/2021     Cimone     Communication   0.3    call with lawrence a. organ re email from
              Nunley                            opposing counsel patricia jeng
8/27/2021     Cimone     Communication   0.3    email to opposing counsel patricia jeng
              Nunley                            regarding her email re new trial dates,
                                                witnesses, tabbed trial exhibits, jury
                                                instructions/questionnaire, and language to
                                                use re demetric's felony
8/27/2021     Cimone     Communication   0.1    email to navruz avloni, larry organ, bernard
              Nunley                            alexander, and harry plotkin to solicit any
                                                feedback/changes for jury questionnaire
8/27/2021     Cimone     Communication   0.1    email to navruz avloni, larry organ, and
              Nunley                            bernard alexander re language for demetric's
                                                felonies
8/27/2021     Cimone     Communication   0.1    text to client requesting copy of demetric's
              Nunley                            plea deal
8/27/2021     Cimone     Communication   0.1    call with client re demetric's convictions/plea
              Nunley                            deal
8/27/2021     Cimone     Plan/ Prepare   1.8    prepare presentations for focus group
              Nunley
8/28/2021     Cimone     Communication   0.1    email to larry organ, navruz avloni, and
              Nunley                            bernard alexander requesting feedback on
                                                language to use re demetric's felonies
8/28/2021     Cimone     Other           3.7    prepare focus group presentations
              Nunley
8/29/2021     Cimone     Plan/ Prepare   3.7    prepare scripts for focus group
              Nunley
8/30/2021     Cimone     Communication   0.3    call to Demetric Di-az's criminal attorney to
              Nunley                            request copy of plea agreement
8/31/2021     Cimone     Plan/ Prepare   5.3    prepare scripts for focus group
              Nunley
9/1/2021      Cimone     Communication   0.2    call with sabrina grislis re selection of focus
              Nunley                            group participants
9/1/2021      Cimone     Review/ Analyze 0.8    review responses to focus group survey and
              Nunley                            provide sabrina grislis with feedback on
                                                selections via email
9/1/2021      Cimone     Draft/ Revise   0.3    draft and send letter to demetric's criminal
              Nunley                            attorney requesting copy of plea agreement
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Date          User       Activity        Time   Description
9/1/2021      Cimone     Plan/ Prepare   4.2    create powerpoints for focus group
              Nunley
9/2/2021      Cimone     Communication   0.2    call with larry organ re status of focus group
              Nunley                            tasks
9/2/2021      Cimone     Plan/ Prepare   3.9    prepare slideshow for focus group
              Nunley
9/3/2021      Cimone     Meet            0.1    meeting with sabrina grislis and larry organ re
              Nunley                            focus group logistics
9/3/2021      Cimone     Communication   0.4    call with lawrence organ re logistics for 9/5
              Nunley                            focus group
9/3/2021      Cimone     Communication   0.2    call with sabrina grislis re post-focus group
              Nunley                            questionnaire
9/3/2021      Cimone     Plan/ Prepare   2.7    draft presenter script for 9/3 focus group
              Nunley
9/4/2021      Cimone     Plan/ Prepare   2.5    prepare moderator script for focus group
              Nunley
9/5/2021      Cimone     Appearance/     4.1    attend focus groups
              Nunley     Attend
9/5/2021      Cimone     Meet            0.4    Meet with Larry Organ, Navruz Avloni, Sabrina
              Nunley                            Grislis, and Susan Organ after focus groups to
                                                debrief
9/5/2021      Cimone     Plan/ Prepare   0.7    Prepare for the focus groups
              Nunley
9/7/2021      Cimone     Appearance/     0.2    attend CMC
              Nunley     Attend
9/7/2021      Cimone     Communication   0.4    call with larry organ and bernard alexander to
              Nunley                            discuss strategy for opening in the next couple
                                                weeks
9/7/2021      Cimone     Communication   0.3    call with larry organ re trial strategy
              Nunley
9/9/2021      Cimone     Plan/ Prepare   5.2    prep client for trial testimony
              Nunley
9/9/2021      Cimone     Meet            4.9    Meet with client Owen Diaz, Larry Organ,
              Nunley                            Susan Organ, and Bernard Alexander for trial
                                                prep
9/9/2021      Cimone     Meet            0.3    Meet with Larry Organ and Bernard Alexander
              Nunley                            regarding trial tasks
9/10/2021     Cimone     Communication   0.4    call with larry organ re trial logistics
              Nunley
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Date          User       Activity        Time   Description
9/10/2021     Cimone     Meet            1.3    meet with larry organ, navruz avloni, bernard
              Nunley                            alexander, susan organ, and sabrina grislis to
                                                discuss trial preparations
9/13/2021     Cimone     Plan/ Prepare   4.6    prepare client for trial testimony
              Nunley
9/15/2021     Cimone     Draft/ Revise   2.1    prepare witness examinations
              Nunley
9/15/2021     Cimone     Meet            1      meet with bernard alexander, larry organ, and
              Nunley                            susan organ to discuss witness examinations
9/15/2021     Cimone     Communication   0.5    Discussion with Larry Organ and Susan Organ
              Nunley                            regarding Veronica Martinez and Jackelin
                                                Delgado testimony
9/16/2021     Cimone     Meet            1      Meet with Larry Organ, Bernard Alexander,
              Nunley                            and Susan Organ regarding witness testimony
                                                and witness order
9/17/2021     Cimone     Communication   0.2    send email to opposing counsel patricia jeng
              Nunley                            regarding incomplete exhibit list; witness erin
                                                marconi; and zoom appearance at pretrial
                                                conference
9/17/2021     Cimone     Plan/ Prepare   2.5    prepare client to testify at trial
              Nunley
9/17/2021     Cimone     Communication   0.1    call witness La'Drea Jones to schedule
              Nunley                            deposition prep meeting
9/17/2021     Cimone     Communication   0.1    email la'drea copy of her deposition testimony
              Nunley                            and a reminder for our prep meeting on 9/22
                                                at 4 PM
9/17/2021     Cimone     Draft/ Revise   1.6    prepare witness examinations
              Nunley
9/19/2021     Cimone     Meet            1.5    Meet with Larry Organ, Bernard Alexander,
              Nunley                            and Susan Organ to prepare for opening
                                                statement
9/20/2021     Cimone     Communication   0.2    Phone call with Larry Organ regarding verdict
              Nunley                            form and jury instructions
9/21/2021     Cimone     Communication   0.2    Attempt to call witness Erin Marconi at 3
              Nunley                            previously-identified numbers
9/21/2021     Cimone     Communication   0.3    Call all numbers listed in investigator's search
              Nunley                            for Erin Marconi and leave voicemails for
                                                working numbers
9/21/2021     Cimone     Research        0.2    Conduct people map search for witness Erin
              Nunley                            Marconi
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Date          User       Activity        Time   Description
9/21/2021     Cimone     Communication   0.1    Call and leave voicemails for all potential
              Nunley                            phone numbers identified for Erin Marconi via
                                                people map search
9/21/2021     Cimone     Communication   0.3    Email to Wayne Jackson providing copy of his
              Nunley                            deposition transcript + exhibits, courthouse
                                                address, and anticipated testimony date/time
9/21/2021     Cimone     Communication   0.1    Email to former Citistaff counsel Constangy
              Nunley                            Brooks et al advising subsequent Citistaff
                                                counsel (Lafayette & Kumagai) is not
                                                responding to our communications and
                                                requesting Monica deLeon's last best known
                                                contact address for service
9/21/2021     Cimone     Communication   0.1    Email to Bernard Alexander, Larry Organ,
              Nunley                            Sabrina Grislis, and Navruz Avloni regarding
                                                status of witness subpoena service
9/21/2021     Cimone     Appearance/     1      Attend final pretrial conference
              Nunley     Attend
9/21/2021     Cimone     Communication   0.9    Call with Bernard Alexander regarding final
              Nunley                            pretrial preparations
9/21/2021     Cimone     Plan/ Prepare   2.1    Prepare examination for witness La'Drea Jones
              Nunley
9/21/2021     Cimone     Other           1      Prepare annotated jury instructions with
              Nunley                            Judge Orrick's rulings from the bench at 9/21
                                                conference
9/21/2021     Cimone     Meet            0.3    Meet with Larry Organ regarding strategy
              Nunley
9/21/2021     Cimone     Communication   0.1    Discussion with Navruz Avloni regarding
              Nunley                            witness logistics relating to vaccination status
                                                and IDs
9/22/2021     Cimone     Communication   0.3    Call with Navruz Avloni regarding
              Nunley                            supplemental briefing on admissibility of me-
                                                too witness testimony
9/22/2021     Cimone     Plan/ Prepare   1.6    Practice opening statement with Bernard
              Nunley                            Alexander
9/22/2021     Cimone     Plan/ Prepare   5.1    Prepare examinations for witnesses Monica
              Nunley                            DeLeon, La'Drea Jones, and Jackelin Delgado
9/22/2021     Cimone     Communication   0.1    Call with Sabrina Grislis regarding outstanding
              Nunley                            trial tasks
9/23/2021     Cimone     Review/ Analyze 0.3    Review Defendant Tesla, Inc.'s demonstrative
              Nunley                            exhibits and advise Larry Organ of objections
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Date          User       Activity        Time   Description
9/23/2021     Cimone     Other           0.9    Ddrop off supplies, test technology hookups,
              Nunley                            and arrange counsel table at CA Northern
                                                District courthouse; travel time to and from
9/23/2021     Cimone     Review/ Analyze 0.6    Review Defendant Tesla, Inc.'s supplemental
              Nunley                            brief regarding designated deposition
                                                testimony from Demetric Di-az
9/23/2021     Cimone     Meet            0.6    Meet with Harry Plotkin, Lawrence Organ,
              Nunley                            Navruz Avloni, and Bernard Alexander
                                                regarding juror selection
9/23/2021     Cimone     Review/ Analyze 1      Review, finalize, and file jury instructions in
              Nunley                            Plaintiff's proposed order
9/23/2021     Cimone     Plan/ Prepare   4.6    Prepare examinations for witnesses Monica
              Nunley                            DeLeon and La'Drea Jones
9/23/2021     Cimone     Draft/ Revise   0.3    Draft pocket brief regarding proposed jury
              Nunley                            instruction 5
9/24/2021     Cimone     Appearance/     7.2    Travel to Northern District courthouse for jury
              Nunley     Attend                 selection; attend jury selection conference;
                                                return travel to office
9/24/2021     Cimone     Plan/ Prepare   5      Prepare examination for witness Monica
              Nunley                            DeLeon
9/24/2021     Cimone     Meet            0.3    Meet with Larry Organ and Bernard Alexander
              Nunley                            regarding Monica DeLeon testimony
9/24/2021     Cimone     Meet            0.3    Meet with Larry Organ and Bernard Alexander
              Nunley                            regarding witnesses and witness order
9/25/2021     Cimone     Plan/ Prepare   2      Rehearse opening statement with Bernard
              Nunley                            Alexander
9/25/2021     Cimone     Plan/ Prepare   6      Prepare examinations for witnesses La'Drea
              Nunley                            Jones (2.7) and Monica DeLeon (3.1)
9/26/2021     Cimone     Plan/ Prepare   1      Meet with witness La'Drea Jones regarding her
              Nunley                            testimony
9/26/2021     Cimone     Review/ Analyze 1.5    Review Federal Rules of Evidence to ensure
              Nunley                            familiarity in advance of trial.
9/26/2021     Cimone     Plan/ Prepare   5      Prepare chart outlining inaccuracies in
              Nunley                            Defendant Tesla, Inc.'s opening statement
                                                slideshow
9/26/2021     Cimone     Draft/ Revise   2.2    Prepare examinations for witnesses Jackelin
              Nunley                            Delgado and Monica DeLeon
9/27/2021     Cimone     Appearance/     7.6    Travel to and from courthouse, appear for trial
              Nunley     Attend                 day 1.
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Date          User       Activity        Time   Description
9/27/2021     Cimone     Communication   0.6    Phone conference with Larry Organ, Navruz
              Nunley                            Avloni, Bernard Alexander, and Sabrina Grislis
                                                to debrief, discuss strategy, and tasks
9/27/2021     Cimone     Meet            0.6    Meet with Larry Organ, Bernard Alexander,
              Nunley                            Susan Organ, and Sabrina Grislis regarding
                                                additional tasks
9/28/2021     Cimone     Communication   0.1    Email to opposing counsel Patricia Jeng
              Nunley                            advising her of the following day's witness
                                                order
9/28/2021     Cimone     Communication   0.1    Email to witness La'Drea Jones advising her of
              Nunley                            the anticipated time of her testimony.
9/28/2021     Cimone     Appearance/     7.6    Appear at trial at CAND courthouse; travel
              Nunley     Attend                 to/from courthouse
9/28/2021     Cimone     Plan/ Prepare   0.7    Prepare redacted version of Tesla/Nextsource
              Nunley                            services agreement per request of opposing
                                                counsel Tracey Kennedy on 9/28

9/28/2021     Cimone     Communication   0.1    Email to opposing counsel Tracey Kennedy,
              Nunley                            Patricia Jeng, and Susan Haines regarding
                                                admitting exhibits we planned to introduce via
                                                Heisen
9/28/2021     Cimone     File/ Serve     2.5    Draft and file designations from Annalisa
              Nunley                            Heisen's deposition testimony
9/28/2021     Cimone     Communication   0.4    Draft email to opposing counsel patricia jeng
              Nunley                            to reject her proposal of stipulating to the
                                                admissibility of Exhibits 3 and 6 in exchange
                                                for Exhibit 379.
9/29/2021     Cimone     Appearance/     7.5    Appear for day 3 of trial; travel to/from
              Nunley     Attend                 courthouse
9/29/2021     Cimone     Draft/ Revise   1      Prepare revised designations of Defendant
              Nunley                            Tesla, Inc.'s discovery responses
9/29/2021     Cimone     Communication   0.2    Email to opposing counsel Tracey Kennedy,
              Nunley                            Patricia Jeng, and Susan Haines with
                                                tomorrow's witness order and discovery
                                                designations
9/29/2021     Cimone     Plan/ Prepare   1      Revise and practice La'Drea Jones examination
              Nunley
9/29/2021     Cimone     Review/ Analyze 0.5    Review La'Drea Jones's deposition tro prepare
              Nunley                            for her examination
9/29/2021     Cimone     Draft/ Revise   1.8    Prepare objections to the Court's draft jury
              Nunley                            instructions
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Date          User       Activity        Time   Description
9/29/2021     Cimone     File/ Serve     0.1    File objections to the Court's draft jury
              Nunley                            instructions
9/29/2021     Cimone     Meet            0.8    Meet with Bernard Alexander, Larry Organ,
              Nunley                            Navruz Avloni, and Sabrina Grislis to strategize
                                                regarding witness testimony
9/30/2021     Cimone     Review/ Analyze 0.8    Review and condense designated deposition
              Nunley                            testimony of Annalisa Heisen
9/30/2021     Cimone     Draft/ Revise   2.8    Prepare objections to Defendant Tesla, Inc.'s
              Nunley                            objections to jury instructions
9/30/2021     Cimone     Appearance/     7      Attend day 4 of trial; travel to and from
              Nunley     Attend                 courthouse
9/30/2021     Cimone     Review/ Analyze 0.3    Review designations from Erin Marconi and
              Nunley                            Demetric Di-az's testimony for submission to
                                                the Court
9/30/2021     Cimone     Draft/ Revise   0.2    Finalize reply to Defendant Tesla, Inc.'s
              Nunley                            objections to the Court's draft jury instructions
                                                based on feedback from Larry Organ

9/30/2021     Cimone     File/ Serve     0.1    File reply to Defendant Tesla, Inc.'s objections
              Nunley                            to draft final jury instructions
9/30/2021     Cimone     Meet            2.2    Meet with Larry Organ, Bernard Alexander,
              Nunley                            Sabrina Grislis, Navruz Avloni, and Susan
                                                Organ to discuss remaining tasks and strategy
10/1/2021     Cimone     Appearance/     6.8    Appear for closing arguments and instructions
              Nunley     Attend                 conference; travel to and from
10/1/2021     Cimone     Meet            3      Meet with Bernard Alexander, Susan Organ,
              Nunley                            Larry Organ, and Navruz Avloni regarding
                                                closing powerpoint presentation
10/1/2021     Cimone     Draft/ Revise   4.5    Prepare closing powerpoint slides
              Nunley
10/2/2021     Cimone     Draft/ Revise   7.1    Draft opposition to Defendant Tesla, Inc.'s
              Nunley                            motion for judgment as a matter of law
10/2/2021     Cimone     Draft/ Revise   0.5    Draft objections to the Court's proposed
              Nunley                            verdict form
10/2/2021     Cimone     Draft/ Revise   0.5    Draft response to Defendant Tesla, Inc.'s
              Nunley                            objection to proposed verdict form
10/2/2021     Cimone     File/ Serve     0.1    File objection to the Court's proposed verdict
              Nunley                            form
10/2/2021     Cimone     File/ Serve     0.1    File response to Defendant Tesla, Inc.'s
              Nunley                            objection to proposed verdict form
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Date          User       Activity        Time   Description
10/2/2021     Cimone     Draft/ Revise   0.7    Prepare exhibits for opposition to Defendant
              Nunley                            Tesla, Inc.'s motion for judgment as a matter
                                                of law
10/2/2021     Cimone     Meet            0.7    Meet to discuss closing powerpoint slides with
              Nunley                            Navruz Avloni and Susan Organ
10/2/2021     Cimone     Meet            0.3    Meet with Larry Organ to discuss Defendant
              Nunley                            Tesla, Inc.'s motion for judgement as a matter
                                                of law
10/3/2021     Cimone     Draft/ Revise   1.4    Finalized opposition to Defendant Tesla, Inc.'s
              Nunley                            motion for judgment as a matter of law based
                                                on feedback from Larry Organ
10/3/2021     Cimone     File/ Serve     0.2    File opposition to Defendant Tesla, Inc.'s
              Nunley                            motion for judgment as a matter of law
10/3/2021     Cimone     Meet            2      Meet with Larry Organ, Navruz Avloni, Sabrina
              Nunley                            Grislis, and Susan Organ to brainstorm ideas
                                                for rebuttal slides
10/3/2021     Cimone     Plan/ Prepare   1.4    Prepare for argument on Defendant Tesla,
              Nunley                            Inc.'s motion for judgment as a matter of law
10/4/2021     Cimone     Appearance/     10.7   Appear at trial, final day. Travel to and from
              Nunley     Attend                 courthouse
10/7/2021     Cimone     Meet            0.5    Meet with Bernard Alexander, Larry Organ,
              Nunley                            and Sabrina Grislis to discuss strategy
                                                regarding posttrial motions
10/7/2021     Cimone     Communication   0.9    Call with Larry Organ and Michael Rubin re
              Nunley                            post-trial motions
10/7/2021     Cimone     Communication   0.1    Phone call with Larry Organ regarding post-
              Nunley                            trial issues
10/8/2021     Cimone     Other           0.5    Pull documents and send to Michael Rubin per
              Nunley                            his request
10/8/2021     Cimone     Other           0.1    Compile list of jurors and send to Sabrina
              Nunley                            Grislis so she can locate via PeopleMap
10/8/2021     Cimone     Communication   0.2    Draft and send email to Michael Rubin
              Nunley                            attaching requested trial exhibits and briefing
10/8/2021     Cimone     Communication   0.1    Call with Larry Organ regarding judgment form
              Nunley
10/8/2021     Cimone     Research        0.5    Research requirements for final judgment
              Nunley
10/8/2021     Cimone     Review/ Analyze 0.1    Review Plaintiff's proposed judgment for
              Nunley                            typographical errors
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Date          User       Activity        Time   Description
10/8/2021     Cimone     Communication   0.1    Email Plaintiff's proposed judgment to
              Nunley                            opposing counsel Tracey Kennedy, Patricia
                                                Jeng, and Susan Haines
10/10/2021    Cimone     Communication   0.2    Phone call with Larry Organ regarding appeal
              Nunley                            issues
10/11/2021    Cimone     Draft/ Revise   0.6    Prepare declaration shell for David
              Nunley                            Oppenheimer for our fee motion
10/11/2021    Cimone     Communication   0.1    Send declaration shell to David Oppenheimer
              Nunley                            for our fee motion
10/11/2021    Cimone     Communication   0.2    Call with Larry Organ to discuss attorney's fee
              Nunley                            motion and juror outreach attempts
10/12/2021    Cimone     Meet            1.5    Meet with Michael Rubin, Jonathan Rosenthal,
              Nunley                            Sabrina Grislis, Larry Organ, and Navruz Avloni
                                                to discuss post-trial motions and possible
                                                issues on appeal
10/13/2021    Cimone     Draft/ Revise   1      Draft motion for attorney's fees
              Nunley
10/18/2021    Cimone     Communication   0.6    Call with Jonathan Rosenthal to address his
              Nunley                            questions about failure to prevent jury
                                                instructions
10/19/2021    Cimone     Draft/ Revise   2.3    Draft motion for attorney's fees
              Nunley
10/20/2021    Cimone     Draft/ Revise   3.4    Draft motion for attorney's fees
              Nunley
10/21/2021    Cimone     Draft/ Revise   14.7   Draft motion for attorney's fees
              Nunley
10/21/2021    Cimone     Communication   0.1    Email to Michael Rubin, Bernard Alexander,
              Nunley                            and Lawrence Organ attaching draft of fee
                                                motion for review
10/22/2021    Cimone     Research        3.5    Research and review Judge Orrick's past
              Nunley                            orders regarding attorney's fees
10/24/2021    Cimone     Draft/ Revise   4.8    Draft motion for attorney's fees
              Nunley
10/25/2021    Cimone     Draft/ Revise   3.3    Draft motion for attorney's fees
              Nunley
10/26/2021    Cimone     Draft/ Revise   3.8    Draft motion for attorney's fees
              Nunley
10/27/2021    Cimone     Research        1.3    Research requirements and format of bill of
              Nunley                            costs
10/27/2021    Cimone     Draft/ Revise   0.6    Prepare bill of costs
              Nunley
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Date          User       Activity        Time   Description
10/28/2021    Cimone     Draft/ Revise   3.1    Prepare bill of costs
              Nunley
10/29/2021    Cimone     Draft/ Revise   1.6    Prepare bill of costs
              Nunley
11/2/2021     Cimone     Draft/ Revise   3.8    Prepare affidavit in support of bill of costs
              Nunley
11/3/2021     Cimone     Review/ Analyze 0.2    Review court's order granting proposed
              Nunley                            stipulation regarding post-trial briefing, and
                                                confirm all deadlines correctly calendared
11/4/2021     Cimone     Draft/ Revise   0.5    Revise proposed verdict publication
              Nunley
11/12/2021    Cimone     Communication   0.2    Call with Larry Organ regarding contacting
              Nunley                            jurors
11/12/2021    Cimone     Research        0.7    Locate phone number for juror Malleswaran
              Nunley                            Viswanathan
11/12/2021    Cimone     Communication   0.1    Leave voicemail for juror Brianne Uyeda
              Nunley
11/12/2021    Cimone     Communication   0.1    Leave voicemail for juror Maninder Johar
              Nunley
11/12/2021    Cimone     Communication   0.1    Call with juror Darien Hall
              Nunley
11/16/2021    Cimone     Communication   0.3    Call with Larry Organ to discuss timing and
              Nunley                            logistics for drafting opposition to Defendant
                                                Tesla, Inc.'s consolidated post-trial motions
11/17/2021    Cimone     Draft/ Revise   4.2    Create outline for opposition to Defendant
              Nunley                            Tesla, Inc.'s consolidated post-trial motions
11/18/2021    Cimone     Communication   0.1    Call with Navruz Avloni to discuss agenda for
              Nunley                            11/18 meeting regarding the opposition to
                                                Defendant Tesla, Inc.'s consolidated post-trial
                                                motions
11/18/2021    Cimone     Meet            1.1    Meet with Bernard Alexander, Michael Rubin,
              Nunley                            Tracy Fehr, Larry Organ, Navruz Avloni,
                                                Jonathan Rosenthal, and Natalie Khoury
                                                regarding strategy for opposing Defendant
                                                Tesla, Inc.'s consolidated post-trial motions
11/19/2021    Cimone     Meet            0.4    Meet with Tracy Fehr to discuss strategy
              Nunley                            regarding Defendant Tesla, Inc.'s consolidated
                                                post-trial motions
11/19/2021    Cimone     Draft/ Revise   4.8    Draft opposition to Defendant Tesla, Inc.'s
              Nunley                            consolidated post-trial motions
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Date          User       Activity        Time   Description
11/20/2021    Cimone     Draft/ Revise   6.3    Draft opposition to Defendant Tesla, Inc.'s
              Nunley                            consolidated post-trial motions
11/21/2021    Cimone     Draft/ Revise   6.3    Draft opposition to Defendant Tesla, Inc.'s
              Nunley                            consolidated post-trial motions
11/22/2021    Cimone     Draft/ Revise   9.9    Draft opposition to Defendant Tesla, Inc.'s
              Nunley                            consolidated post-trial motions
11/23/2021    Cimone     Draft/ Revise   13.1   Draft opposition to Defendant Tesla, Inc.'s
              Nunley                            consolidated post-trial motions
11/24/2021    Cimone     Meet            0.8    Meet with Bernard Alexander, Larry Organ,
              Nunley                            Navruz Avloni, Michael Rubin, Jonathan
                                                Rosenthal, and Sabrina Grislis regarding
                                                opposition to Defendant Tesla, Inc.'s
                                                consolidated post trial motion
11/24/2021    Cimone     Draft/ Revise   3.5    Draft opposition to Defendant Tesla, Inc.'s
              Nunley                            consolidated post-trial motions
11/24/2021    Cimone     Draft/ Revise   4.1    Draft opposition to Defendant Tesla, Inc.'s
              Nunley                            consolidated post-trial motions
11/25/2021    Cimone     Draft/ Revise   3.9    Draft opposition to Defendant Tesla, Inc.'s
              Nunley                            consolidated post-trial motions
11/26/2021    Cimone     Draft/ Revise   12.1   Draft opposition to Defendant Tesla, Inc.'s
              Nunley                            consolidated post-trial motions
11/27/2021    Cimone     Draft/ Revise   6.5    Draft opposition to Defendant Tesla, Inc.'s
              Nunley                            consolidated post-trial motions
11/27/2021    Cimone     Meet            1.3    Meet with Michael Rubin, Larry Organ, and
              Nunley                            Bernard Alexander regarding Plaintiff's
                                                opposition to Defendant Tesla, Inc.'s
                                                consolidated post-trial motions
11/29/2021    Cimone     Draft/ Revise   5.4    Draft opposition to Defendant Tesla, Inc.'s
              Nunley                            consolidated post-trial motions
11/30/2021    Cimone     Draft/ Revise   8.1    Draft opposition to Defendant Tesla, Inc.'s
              Nunley                            consolidated post-trial motions
12/1/2021     Cimone     Draft/ Revise   14.4   Prepare revised draft of opposition to
              Nunley                            Defendant Tesla, Inc.'s consolidated post-trial
                                                motions
12/2/2021     Cimone     Draft/ Revise   2      Prepare analysis of cases contained in
              Nunley                            Defendant Tesla, Inc.'s appendices to its
                                                consolidated post-trial motion, and send via
                                                email to Michael Rubin and Jonathan
                                                Rosenthal for inclusion in Plaintiff Owen Diaz's
                                                opposition to the same
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Date          User       Activity        Time   Description
12/5/2021     Cimone     Research        0.5    Research third-party beneficiary holdings in
              Nunley                            Section 1981 cases for opposition to
                                                Defendant Tesla, Inc.'s consolidated post-trial
                                                motions
12/5/2021     Cimone     Research        0.8    Research California and 9th Circuit verdicts in
              Nunley                            Section 1981 harassment cases for opposition
                                                to Defendant Tesla, Inc.'s consolidated post-
                                                trial motions
12/7/2021     Cimone     Communication   0.1    Call with Larry Organ regarding out-of-circuit
              Nunley                            damages verdicts in Section 1981 cases for
                                                opposition to Defendant Tesla, Inc.'s
                                                consolidated post-trial motions
12/7/2021     Cimone     Research        4      Research damages verdicts for out-of-circuit
              Nunley                            Section 1981 racial harassment cases for
                                                opposition to Defendant Tesla, Inc.'s
                                                consolidated post-trial motions
12/22/2021    Cimone     Review/ Analyze 0.7    Review Defendant Tesla, Inc.'s reply to
              Nunley                            Plaintiff Owen Diaz's opposition to Defendant
                                                Tesla, Inc.'s consolidated post-trial motions

1/13/2022     Cimone     Communication   0.1    Review and respond to email from Michael
              Nunley                            Rubin requesting trial exhibits for oral
                                                argument on Defendant Tesla, Inc.'s
                                                consolidated post-trial motions
1/13/2022     Cimone     Plan/ Prepare   2      Review briefing and case law regarding
              Nunley                            Defendant Tesla, Inc.'s consolidated post-trial
                                                motion in preparation for 1/14/22 practice
                                                session for oral argument
1/14/2022     Cimone     Meet            1.5    Meet with Michael Rubin, Bernard Alexander,
              Nunley                            Larry Organ, Sabrina Grislis, and Jonathan
                                                Rosenthal to discuss upcoming oral argument
                                                for Defendant Tesla, Inc.'s consolidated post-
                                                trial motions
1/19/2022     Cimone     Communication   0.3    Call with Emily Kohlheim regarding hearing on
              Nunley                            Defendant Tesla. Inc.'s consolidated post-trial
                                                motions
1/19/2022     Cimone     Appearance/     2.1    Attend hearing on Defendant Tesla, Inc.'s
              Nunley     Attend                 consolidated post trial motions
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Date          User       Activity        Time   Description
1/19/2022     Cimone     Communication   0.4    Call with Larry Organ and Bernard Alexander
              Nunley                            to discuss hearing on Defendant Tesla, Inc.'s
                                                consolidated post-trial motions and motion for
                                                attorney's fees
1/20/2022     Cimone     Draft/ Revise   2.9    Draft motion for attorney's fees
              Nunley
1/21/2022     Cimone     Review/ Analyze 1.2    Review time entries
              Nunley
1/21/2022     Cimone     Draft/ Revise   5.8    Draft motion for attorney's fees
              Nunley
1/24/2022     Cimone     Draft/ Revise   4.2    Draft motion for attorney's fees
              Nunley
1/25/2022     Cimone     Draft/ Revise   4.9    Draft motion for attorney's feess
              Nunley
1/26/2022     Cimone     Draft/ Revise   4.5    Draft motion for attorneys fees
              Nunley
1/31/2022     Cimone     Other           2.9    Review and revise time entries
              Nunley
4/19/2022     Cimone     Meet            0.8    Meet with Larry ORgan, Bernard Alexander,
              Nunley                            Jonathan Rosenthal, and Michael Rubin re
                                                potential appeal of remittitur order
6/13/2022     Cimone     Meet            0.4    Meet with Larry Organ, Bernard Alexander,
              Nunley                            Michael Rubin, and Jonathan Rosenthal to
                                                discuss Orrick's denial of motion for
                                                certification to appeal and remittitur
6/17/2022     Cimone     Meet            0.8    Meet with client, Michael Rubin, Larry ORgan,
              Nunley                            Bernard Alexander, and Sabrina Grislis re
                                                decision to reject remittitur
6/17/2022     Cimone     Draft/ Revise   0.2    Draft proposed notice of rejection of
              Nunley                            remittitur and send to Larry Organ, Michael
                                                Rubin, and Bernard Alexander for review
6/21/2022     Cimone     File/ Serve     0.2    File notice of rejection of remittitur
              Nunley
7/12/2022     Cimone     Appearance/     0.4    Attend hearing regarding setting new trial
              Nunley     Attend                 date
1/4/2023      Cimone     Meet            1.3    Team meeting regarding evidence strategy for
              Nunley                            retrial
1/5/2023      Cimone     Meet            1.5    meeting regarding scope of retrial and case
              Nunley                            management statement for upcoming case
                                                management conference
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Date          User       Activity        Time   Description
1/9/2023      Cimone     Review/ Analyze 4.5    review transcripts and trial record to prepare
              Nunley                            for drafting motions in limine
1/9/2023      Cimone     Meet            0.3    meet with trial team to prepare for meeting
              Nunley                            with tesla's counsel
1/9/2023      Cimone     Meet            0.5    Meet with opposing counsel for tesla, inc re
              Nunley                            joint case management conference statement

1/9/2023      Cimone     Meet            0.4    Meet with trial team to discuss joint case
              Nunley                            management conference statement
1/10/2023     Cimone     Draft/ Revise   4.9    draft motions in limine
              Nunley
1/12/2023     Cimone     Draft/ Revise   5.9    draft MILs
              Nunley
1/17/2023     Cimone     Draft/ Revise   2.9    research and draft MILs
              Nunley
1/17/2023     Cimone     Appearance/     0.4    attend Jan 17, 2023 case management
              Nunley     Attend                 conference
1/17/2023     Cimone     Communication   0.8    Call with Bernard Alexander, Michael Rubin,
              Nunley                            and Larry Organ re strategy for motions in
                                                limine and other pretrial matters
1/19/2023     Cimone     Meet            0.5    Meet with Michael Rubin, Larry Organ,
              Nunley                            Bernard Alexander, and Marqui Hood re
                                                motions in limine
1/20/2023     Cimone     Draft/ Revise   9.5    Draft MILs.
              Nunley
1/26/2023     Cimone     Communication   0.4    discuss motions in limine with Larry Organ
              Nunley
2/2/2023      Cimone     Review/ Analyze 3.6    Review Defendant Tesla, Inc.'s deposition
              Nunley                            designations, jury instructions, witness list,
                                                and exhibit list; prepare annotated versions
                                                noting the differences between their
                                                submissions and ours
2/2/2023      Cimone     Communication   0.1    Send annotated jury instructions, witness list,
              Nunley                            exhibit list, and deposition designations to
                                                Michael Rubin, Larry Organ, Bernard
                                                Alexander, and Jonathan Rosenthal via email
2/2/2023      Cimone     Meet            1.6    Meet and confer with counsel for tesla, inc re
              Nunley                            pretrial exchange documents
2/9/2023      Cimone     Draft/ Revise   2.7    Prepare memo regarding Tesla's cited cases
              Nunley                            supporting its nominal damages instruction
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Date          User       Activity        Time   Description
2/10/2023     Cimone     Draft/ Revise   2.7    Revise oppositions to Tesla's motions in limine
              Nunley                            and add citations to the record
2/10/2023     Cimone     Review/ Analyze 1.3    Finalize oppositions to Tesla's motions in
              Nunley                            limine for filing
2/14/2023     Cimone     Meet            4.7    Trial team meeting with Larry Organ, Michael
              Nunley                            Rubin, Bernard Alexander, Jonathan
                                                Rosenthal, Dustin Collier, Marqui Hood, and
                                                Elizabeth Malay
2/15/2023     Cimone     Meet            0.8    meet and confer with opposing counsel quinn
              Nunley                            emmanuel re stipulations
2/17/2023     Cimone     Meet            2.6    focus group
              Nunley
2/17/2023     Cimone     Meet            0.7    Meet with Dustin Collier, Bernard Alexander,
              Nunley                            Marqui Hood, Sabrina Grislis, and Larry Organ
                                                to discuss witness assignments and evidence
2/22/2023     Cimone     Meet            0.5    meet and confer with opposing counsel for
              Nunley                            Tesla, Inc. re whether the jury on retrial should
                                                be informed of the first jury's findings
2/22/2023     Cimone     Meet            0.4    Meet with Bernard Alexander, Michael Rubin,
              Nunley                            Larry Organ, Dustin Collier, and Marqui Hood
                                                to discuss Tesla's argument re not telling the
                                                retrial jury about the first jury trial
2/22/2023     Cimone     Research        0.2    Review caselaw provided by Tesla re whether
              Nunley                            retrial jury should be informed of previous jury
                                                findings; annotate and circulate to team
2/22/2023     Cimone     Meet            0.1    call with Marqui Hood and Molly Durkin re
              Nunley                            brief re whether retrial jury should be
                                                informed of first jury finding
2/22/2023     Cimone     Research        0.8    Research whether it is appropriate to inform a
              Nunley                            jury on retrial of the existence of a prior jury
                                                verdict vs unspecified determination
2/24/2023     Cimone     Meet            0.5    meet re pretrial conference on 2/27
              Nunley
2/24/2023     Cimone     Communication   0.1    email to Judge Orrick's courtroom deputy,
              Nunley                            Jean Davis, to inquire whether pretrial
                                                conference will be held via Zoom or in person
2/24/2023     Cimone     Review/ Analyze 0.4    Review briefing re not telling retrial jury about
              Nunley                            first trial, send back to Marqui Hood with edits

2/26/2023     Cimone     Appearance/     3.7    attend focus group
              Nunley     Attend
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Date          User       Activity        Time   Description
2/27/2023     Cimone     Appearance/     3.9    attend pretrial conference; travel to/from
              Nunley     Attend
2/27/2023     Cimone     Research        0.8    Research cases cited by Tesla to support
              Nunley                            argument that nominal punitive damages
                                                instruction is appropriate; prepare summary
                                                of cases and circulate to team
2/28/2023     Cimone     Communication   0.4    meet with dustin collier and larry organ
              Nunley                            regarding 3/2 focus group and witnesses
2/28/2023     Cimone     Communication   0.1    call with cameron hartquist re results of 2/26
              Nunley                            focus group
2/28/2023     Cimone     Communication   0.1    call with sabrina grislis regarding surveys for
              Nunley                            3/2 focus group
3/2/2023      Cimone     Communication   0.2    Call with Molly Durkin and Marqui Hood re
              Nunley                            briefing on Wheeler cart incident
3/2/2023      Cimone     Other           0.4    Pull excerpts from 2/27 pretrial conference
              Nunley                            notes, Wheeler depo, Owen Diaz depo, and
                                                trial transcript regarding incident with feces in
                                                Wheeler's cart; send to Molly Durkin and
                                                Marqui Hood
3/2/2023      Cimone     Meet            2.8    meet with trial team to discuss themes
              Nunley
3/2/2023      Cimone     Plan/ Prepare   2.7    Prepare Wayne Jackson direct examination
              Nunley
3/2/2023      Cimone     Review/ Analyze 0.1    Review focus group script and call Dustin
              Nunley                            Collier with feedback
3/2/2023      Cimone     Appearance/     2.8    Attend focus group re defense themes
              Nunley     Attend
3/3/2023      Cimone     Review/ Analyze 0.2    Review response to Tesla's proposed jury
              Nunley                            instructions and provide feedback to Jonathan
                                                Rosenthal
3/4/2023      Cimone     Appearance/     4.7    attend focus group
              Nunley     Attend
3/8/2023      Cimone     Meet            1      trial team meeting
              Nunley
3/13/2023     Cimone     Appearance/     2.7    attend theme focus group
              Nunley     Attend
3/15/2023     Cimone     Draft/ Revise   3.2    Prepare Quintero direct examination
              Nunley
3/16/2023     Cimone     Draft/ Revise   2.1    Prepare Quintero direct examination
              Nunley
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Date          User       Activity        Time   Description
3/16/2023     Cimone     Draft/ Revise   2.1    Revise Quintero examination script based on
              Nunley                            feedback from Larry Organ
3/22/2023     Cimone     Research        1.9    research potential jurors
              Nunley
3/22/2023     Cimone     Meet            1.7    Discuss juror panel with trial team
              Nunley
3/22/2023     Cimone     Meet            3.9    Meet with trial team to discuss
              Nunley                            demonstratives
3/24/2023     Cimone     Review/ Analyze 0.1    Review file to locate expert report of Amy
              Nunley                            Oppenheimer
3/24/2023     Cimone     File/ Serve     0.3    File expert report of Amy Oppenheimer for
              Nunley                            Court's review
3/24/2023     Cimone     Plan/ Prepare   4.9    Prepare LaDrea Jones examination
              Nunley
3/25/2023     Cimone     Plan/ Prepare   1.6    Prepare La'Drea Jones examination
              Nunley
3/25/2023     Cimone     Review/ Analyze 1.1    Review email from Tesla counsel Asher Griffin
              Nunley                            and review challenged or missing designations
                                                identified in email
3/25/2023     Cimone     Communication   0.2    draft email to Tesla counsel Asher Griffin re
              Nunley                            missing and challenged designations; send to
                                                Larry Organ for review
3/25/2023     Cimone     Plan/ Prepare   1.5    Prepare with witness La'Drea Jones
              Nunley
3/25/2023     Cimone     Appearance/     2.4    Attend focus group re opening statements
              Nunley     Attend
3/25/2023     Cimone     Meet            1.8    Meet to discuss focus group results
              Nunley
3/25/2023     Cimone     Plan/ Prepare   0.3    Review and revise script for focus group re
              Nunley                            opening statements
3/25/2023     Cimone     Review/ Analyze 0.1    Review focus group demographic survey
              Nunley                            responses for 3/25 focus group re opening
                                                statements
3/26/2023     Cimone     Research        2.1    Research Batson issues
              Nunley
3/26/2023     Cimone     Plan/ Prepare   1.8    Prepare Delgado-Smith examination
              Nunley
3/26/2023     Cimone     Meet            2.5    Meet for opening statement
              Nunley                            practice/discussion
3/26/2023     Cimone     Review/ Analyze 0.8    Review Owen Diaz direct examination and
              Nunley                            return to Marqui Hood with comments
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Date          User       Activity        Time   Description
3/26/2023     Cimone     Research        1.4    Research Batson issues
              Nunley
3/27/2023     Cimone     Appearance/     11.7   Attend first day of trial; travel time to/from
              Nunley     Attend
3/27/2023     Cimone     Meet            1.6    trial team meeting
              Nunley
3/27/2023     Cimone     File/ Serve     0.2    File objections to Tesla's opening statement
              Nunley
3/28/2023     Cimone     Appearance/     8.7    Attend day 2 of trial, travel time to/from
              Nunley     Attend
3/28/2023     Cimone     Meet            3.8    Meet with trial team re closing slides
              Nunley
3/28/2023     Cimone     Review/ Analyze 1.5    compare draft final jury instructions to first
              Nunley                            trial jury instructions
3/29/2023     Cimone     Communication   0.5    call with larry organ re Tesla's brief on exh.
              Nunley                            410
3/29/2023     Cimone     Draft/ Revise   2.1    prepare response to tesla brief re exh 420
              Nunley
3/29/2023     Cimone     Draft/ Revise   2.1    Draft objection to Tesla trial brief re exhibit
              Nunley                            410
3/29/2023     Cimone     File/ Serve     0.3    Prepare and file revised jury instruction no. 32
              Nunley
3/29/2023     Cimone     Appearance/     8      Attend day 3 of trial
              Nunley     Attend
3/29/2023     Cimone     Meet            3.2    Meet with trial team re closing, themes
              Nunley
3/30/2023     Cimone     Appearance/     8      Attend Day 4 of trial, travel time to/from
              Nunley     Attend
3/30/2023     Cimone     Draft/ Revise   1      Revise brief re inflammatory and prejudicial
              Nunley                            testimony re navarro and joyce delagrande
3/31/2023     Cimone     Draft/ Revise   8.4    Draft motion for mistrial
              Nunley
3/31/2023     Cimone     File/ Serve     0.3    File objections to Navarro/DeLaGrande
              Nunley                            testimony and motion for mistrial
3/31/2023     Cimone     Appearance/     13.6   Attend 5th day of trial, travel to/from
              Nunley     Attend
4/3/2023      Cimone     Appearance/     10.7   attend day 6 of trial, travel to/from
              Nunley     Attend
4/5/2023      Cimone     Meet            0.8    Meet with trial team to discuss post-trial work
              Nunley
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Date          User       Activity        Time   Description
4/7/2023      Cimone     Research        2.3    Research Judge Orrick's past fee orders for fee
              Nunley                            motion
4/13/2023     Cimone     Draft/ Revise   0.3    Revised proposed stipulation to extend time
              Nunley                            to file attorneys' fees based on edits from
                                                Dustin Collier, Michael Rubin, and Jonathan
                                                Rosenthal; send to the same for review
4/14/2023     Cimone     Draft/ Revise   0.1    Revised proposed stipulation re filing of
              Nunley                            attorney's fee motion
4/14/2023     Cimone     Communication   0.1    Send revised stipulation extending time to file
              Nunley                            attorneys' fee motion to Tesla counsel Dan
                                                Posner
4/14/2023     Cimone     Meet            0.7    Meet with Dustin Collier, Michael Rubin,
              Nunley                            Marqui Hood, and Larry Organ to discuss fee
                                                motion
4/17/2023     Cimone     Draft/ Revise   0.1    Finalize stipulation re extension of time to file
              Nunley                            attorney's fees
4/17/2023     Cimone     File/ Serve     0.1    File stipulation and proposed order extending
              Nunley                            time to file motion for attorney's fees; send
                                                Word version to Judge Orrick's staff
4/17/2023     Cimone     Other           0.2    Prepare mileage reimbursement request for
              Nunley                            trial and submit to Kris Organ and Julianne
                                                Stanford for approval
4/19/2023     Cimone     Research        0.7    Research and review past decisions re Quinn
              Nunley                            Emmanuel's billing rates
4/19/2023     Cimone     Research        1.4    Review Judge Orrick's past fee decisions to
              Nunley                            prepare for drafting attorney's fees motion
4/24/2023     Cimone     Communication   0.1    Send follow-up email to Tesla counsel Asher
              Nunley                            Griffin, Mari Henderson, and Dan Posner to
                                                follow up on stipulation extending time for
                                                post-trial briefing; send email to Jonathan
                                                Rosenthal informing him of the same
4/24/2023     Cimone     Review/ Analyze 1      Review all invoices incurred in case since date
              Nunley                            of first trial
4/24/2023     Cimone     Research        0.8    Research which costs are allowed under
              Nunley                            federal and local rules for inclusion in bill of
                                                costs
4/24/2023     Cimone     Draft/ Revise   0.6    Revise bill of costs to include updated costs
              Nunley                            since date of first trial
4/24/2023     Cimone     Draft/ Revise   0.9    Revise declaration to accompany bill of costs
              Nunley                            to include new costs incurred since first trial
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Date          User       Activity        Time   Description
4/24/2023     Cimone     Communication   0.1    Email Jonathan Rosenthal copy of stipulation
              Nunley                            to extend time to file post-trial motions from
                                                first trial
4/25/2023     Cimone     Draft/ Revise   0.2    Update bill of costs with additional costs
              Nunley                            provided by Larry Organ and Sabrina Grislis
4/25/2023     Cimone     Plan/ Prepare   0.2    Combine and finalize exhibits to bill of costs
              Nunley                            for filing
4/25/2023     Cimone     Draft/ Revise   0.1    Review, finalize, and check math on bill of
              Nunley                            costs and supporting declaration
4/25/2023     Cimone     Plan/ Prepare   0.1    Convert bill of costs and supporting
              Nunley                            declaration to .pdf for filing
4/25/2023     Cimone     File/ Serve     0.1    File Bill of Costs and supporting affidavit
              Nunley
4/25/2023     Cimone     Review/ Analyze 0.1    Review Judge Orrick's standing order to
              Nunley                            determine whether we need to send courtesy
                                                paper copies of bill of costs to chambers.
4/25/2023     Cimone     Research        2.3    Research for cases regarding relatedness
              Nunley                            under Hensley v. Eckhart and Farrar v. Hobby
4/25/2023     Cimone     Draft/ Revise   6.1    Draft motion for attorneys' fees
              Nunley
4/26/2023     Cimone     Research        0.5    Research fee-shifting multiplier cases in the
              Nunley                            9th Circuit
4/26/2023     Cimone     Draft/ Revise   4.2    Draft motion for attorney's fees
              Nunley
4/26/2023     Cimone     Draft/ Revise   0.9    Review motion for attorneys' fees and add
              Nunley                            cites to record
4/28/2023     Cimone     Review/ Analyze 0.2    Review emails to determine whether Plaintiff
              Nunley                            or Tesla proposed increased 35 page limit for
                                                post-trial motions after first trial.
4/28/2023     Cimone     Communication   0.1    Email to Tesla counsel Dan Posner agreeing to
              Nunley                            proposed post-trial briefing schedule and
                                                requesting Tesla reconsider stipulating to
                                                increased page limit
4/28/2023     Cimone     Draft/ Revise   0.3    Prepare stipulation regarding post-trial motion
              Nunley                            briefing schedule; send to Michael Rubin and
                                                Jonathan Rosenthal for review
5/2/2023      Cimone     Review/ Analyze 2      Review Rule 59 motion drafted by Jonathan
              Nunley                            Rosenthal
5/2/2023      Cimone     Communication   0.6    Call with Larry Organ re juror declarations
              Nunley
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Date          User       Activity        Time   Description
5/2/2023      Cimone     Research        1.9    Research juror misconduct issue
              Nunley
5/4/2023      Cimone     Review/ Analyze 3.6    Review new trial motion prepared by Jonathan
              Nunley                            Rosenthal
5/8/2023      Cimone     Communication   0.1    Call with Larry Organ re Tesla's objections to
              Nunley                            bill of costs
5/8/2023      Cimone     Communication   0.1    Email to Larry Organ, Bernard Alexander,
              Nunley                            Michael Rubin, Jonathan Rosenthal, Michael
                                                Rubin, Corrine Johnson, Marqui Hood, and
                                                Dustin Collier regarding upcoming 5/9 call
                                                with Tesla counsel Dan Posner about Tesla's
                                                proposed objections to Plaintiff's bill of costs
5/9/2023      Cimone     Communication   0.2    Call with Tesla counsel Dan Posner and Alex
              Nunley                            Bergman re Tesla's objections to Plaintiff's bill
                                                of costs
5/9/2023      Cimone     Review/ Analyze 1.1    Review new trial motion and send feedback to
              Nunley                            Jonathan Rosenthal and Corrine Johnson
5/10/2023     Cimone     Review/ Analyze 0.3    Review Tesla's new trial motion
              Nunley
5/24/2023     Cimone     Review/ Analyze 4.8    Review and revise time records
              Nunley
6/5/2023      Cimone     Review/ Analyze 2.1    Review reply to Tesla's Rule 59 motion
              Nunley                            prepared by Jonathan Rosenthal and Corrine
                                                Johnson; send via email with comments
6/7/2023      Cimone     Review/ Analyze 0.4    Review opposition to Tesla's Rule 59 motion
              Nunley                            and send comments to Jonathan Rosenthal
                                                and Corrine Johnson
6/14/2023     Cimone     Review/ Analyze 0.2    Review memo prepared by Michael Rubin re
              Nunley                            our reply to Tesla's opposition to our motion
                                                for new trial
6/14/2023     Cimone     Review/ Analyze 0.9    Review Tesla's opposition to our motion for
              Nunley                            new trial
6/14/2023     Cimone     Meet            1.2    Meet with Michael Rubin, Corrine Johnson,
              Nunley                            and Larry Organ to discuss strategy re our
                                                reply to Tesla's opposition to our motion for
                                                new trial
6/20/2023     Cimone     Review/ Analyze 0.3    Review transcripts and docket for rulings
              Nunley                            regarding admissibility of Exhibit 410; send to
                                                Corrine Johnson
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Date          User       Activity        Time   Description
6/20/2023     Cimone     Review/ Analyze 5.1    Review Tesla opposition to new trial motion
              Nunley                            and compile review of factual assertions for
                                                Corrine Johnson
6/22/2023     Cimone     Review/ Analyze 2.6    Review Tesla opposition to our new trial
              Nunley                            motion for factual inaccuracies and send notes
                                                to Corrine Johnson
6/28/2023     Cimone     Review/ Analyze 2.7    Review reply for our new trial motion and
              Nunley                            send feedback to Corrine Johnson
7/10/2023     Cimone     Communication   0.1    Email Dustin Collier, Bernard Alexander,
              Nunley                            Michael Rubin, Jonathan Rosenthal, Corrine
                                                Johnson, and Larry Organ to request
                                                supporting fee declarations, time records, and
                                                fee declarations
7/10/2023     Cimone     Review/ Analyze 4.1    Review and revise California Civil Rights Law
              Nunley                            Group time records
7/12/2023     Cimone     Review/ Analyze 5.3    Review and revise time records
              Nunley
7/19/2023     Cimone     Draft/ Revise   0.2    Prepare case management statement for
              Nunley                            8/15/23 state court case management
                                                conference; send to Sabrina Grislis with
                                                instructions for filing and service
7/20/2023     Cimone     Draft/ Revise   0.3    Revise Whelan dec shell based on request
              Nunley                            from Larry Organ
7/20/2023     Cimone     Review/ Analyze 3.9    Review and revise time records
              Nunley
7/21/2023     Cimone     Review/ Analyze 5.4    Review and revise billing records
              Nunley
7/25/2023     Cimone     Review/ Analyze 3.2    Review and revise time records
              Nunley
7/26/2023     Cimone     Communication   0.1    Send Larry Organ a copy of Michael Rubin's
              Nunley                            most recent draft fee declaration
8/4/2023      Cimone     Draft/ Revise   4.1    Draft supplemental brief re Tesla's failure to
              Nunley                            produce evidence of restroom graffiti
8/4/2023      Cimone     Communication   0.2    Call with Larry Organ and Michael Rubin re
              Nunley                            newly-discovered evidence of bathroom
                                                graffiti in 2016
8/8/2023      Cimone     Communication   0.1    Call with Michael Rubin re notice of new
              Nunley                            evidence in support of mistrial motion
8/8/2023      Cimone     Draft/ Revise   0.3    Revise notice of new evidence and
              Nunley                            accompanying declaration
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Date          User       Activity        Time   Description
8/8/2023      Cimone     Draft/ Revise   0.1    Prepare exhibits to accompany notice of new
              Nunley                            evidence in support of motion for mistrial;
                                                send exhibits and notice of new evidence to
                                                Michael Rubin for review
8/8/2023      Cimone     Draft/ Revise   0.1    Finalize notice of new evidence for filing
              Nunley
8/8/2023      Cimone     Communication   0.2    Send notice of new evidence and declaration
              Nunley                            to Sabrina Grislis with instructions for filing

10/4/2023     Cimone     Meet            1.2    Call with Michael Rubin, Sabrina Grislis,
              Nunley                            Corrine Johnson, Larry Organ, Dustin Collier,
                                                Marqui Hood, and Bernard Alexander
                                                regarding potential appeal of motion denying
                                                new trial
10/5/2023     Cimone     Communication   0.1    Call with Michael Rubin re fee motion
              Nunley
10/5/2023     Cimone     Review/ Analyze 0.2    Review David DiRubertis declaration
              Nunley
10/5/2023     Cimone     Communication   0.1    Email to Bernard Alexander, Larry Organ,
              Nunley                            Jonathan Rosenthal, and Michael Rubin re
                                                DiRubertis declaration
10/5/2023     Cimone     Draft/ Revise   1.5    Revise motion for attorneys' fees
              Nunley
10/5/2023     Cimone     Draft/ Revise   2.1    Prepare objection to Tesla's request for
              Nunley                            judicial notice
10/6/2023     Cimone     Research        1.3    Research Quinn Emmanuel and Sheppard
              Nunley                            Mullin's hourly rates
10/6/2023     Cimone     Communication   0.1    Email to Bernard Alexander providing
              Nunley                            summary of witnesses he examined during
                                                retrial
10/6/2023     Cimone     Review/ Analyze 0.2    Review case file and send email to Michael
              Nunley                            Rubin, Dustin Collier, and Bernard Alexander
                                                requesting their time records and fee
                                                declarations
10/8/2023     Cimone     Review/ Analyze 1.9    Review and revise time records
              Nunley
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Date        User Activity         Time   Description
9/21/2017   Larry Communication   5.8    Meet with Owen in Oakland office, travel to and from San
            Organ                        Anselmo
2/27/2018   Larry Communication   0.3    Meet with Navruz Avloni regarding the Case Management
            Organ                        Conference, General Order no. 71 per the Judge's orders;
                                         determine scope of discovery.
2/27/2018   Larry Appearance/     2.7    Appear at the Case Management Conference before Judge
            Organ Attend                 Orrick, travel to and from courthouse.
3/18/2018   Larry Communication   3.5    Meet with Owen Diaz in Oakland, travel to and from
            Organ
4/4/2018    Larry Deposition      0.1    Review deposition Notice for Demetric Di-az
            Organ
4/9/2018    Larry Plan/ Prepare   1      Prepare for deposition of Demetric Di-az
            Organ
4/27/2018   Larry Meet            0.3    Meet with Cimone Nunley regarding discovery issues and
            Organ                        strategy
4/30/2018   Larry Draft/ Revise   1.1    Revise Requests for Production of Documents and Special
            Organ                        Interrogatories
5/1/2018    Larry Draft/ Revise   0.4    Revise the deposition notice of Defendant Tesla's person most
            Organ                        knowledgeable.
5/1/2018    Larry Meet            0.2    Meet with Navruz Avloni regarding Defendant Tesla's person
            Organ                        most knowledgeable deposition notice
5/1/2018    Larry Draft/ Revise   0.2    Draft additional discovery requests and further edit the
            Organ                        deposition notice of Defendant Tesla's person most
                                         knowledgeable.
5/2/2018    Larry Meet            0.2    Meet with Navruz Avloni and Cimone Nunley regarding
            Organ                        settlement issues
5/10/2018   Larry Plan/ Prepare   2.7    Prepare Owen Diaz for deposition
            Organ
5/10/2018   Larry Communication   0.3    Meet with Navruz Avloni regarding deposition preparation of
            Organ                        client Owen Diaz
5/15/2018   Larry Appearance/     10.5   Appear for the deposition of Demetric Diaz taken by Barbara
            Organ Attend                 Antonucci for 5.0 hours of recorded testimony. Spend time with
                                         client in relating to deposition. Travel to and from deposition.

5/17/2018   Larry Meet            2.4    Meet with Owen to prepare him for his deposition - also present
            Organ                        Navruz Avloni
5/20/2018   Larry Meet            0.1    Meet with Navruz Avloni to discuss deposition of Owen Diaz
            Organ
5/20/2018   Larry Communication   0.1    Discussion with Navruz Avloni regarding settlement numbers
            Organ
5/20/2018   Larry Communication   0.1    Discussion with Navruz Avloni regarding new documents served
            Organ                        by Defendants Tesla and Citistaff
5/20/2018   Larry Communication   0.1    Communication with Navruz Avloni regarding mediation strategy
            Organ
5/21/2018   Larry Communication   0.2    Telephone conference with Navruz Avloni regarding Owen Diaz's
            Organ                        Deposition
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Date        User Activity           Time   Description
5/22/2018   Larry Appearance/       9.8    Appear for deposition of Owen Diaz with Navruz Avloni and
            Organ Attend                   travel to and from San Francisco
6/1/2018    Larry Meet              0.3    Meet with Navruz Avloni to discuss the person most
            Organ                          knowledgeable topics for Defendant Tesla.
6/1/2018    Larry Communication     0.3    Telephone conference with counsel for Tesla Barbara Antonucci
            Organ                          and Naruz Avloni regarding people Tesla will produce for person
                                           most knowledgeable deposition; we will follow up with email.

6/1/2018    Larry Communication     0.1    Discussion with Navruz Avloni regarding mediation brief
            Organ
6/4/2018    Larry Communication     0.2    Telephone conference with Navruz Avloni regarding mediation
            Organ                          privilege and strategy
6/4/2018    Larry Meet              0.3    Meet with Navruz Avloni regarding mediation issues and strategy
            Organ
6/4/2018    Larry Review/ Analyze   0.2    Review West Valley Staffing Responses to Special Interrogatories
            Organ
6/4/2018    Larry Draft/ Revise     2.9    Review documents for mediation and edit mediation brief
            Organ
6/5/2018    Larry Appearance/       7.3    Attend the deposition of Rovilla Wetle (Started by Navruz
            Organ Attend                   Avloni). Review documents on break; meet with Navruz Avloni
                                           regarding questions. Finished the remainder of the deposition.

6/6/2018    Larry Communication     0.4    Discussion with Navruz Avloni regarding tomorrow's depositions
            Organ                          Javier Caballero and Victor Quintero
6/6/2018    Larry Communication     0.1    Email to Opposing Counsel clarifying depositions for tomorrow
            Organ                          will include only 2 witnesses: Javier Caballero and Victor
                                           Quintero
6/6/2018    Larry Communication     0.1    Response from Aaron Langberg, counsel for nextSource,
            Organ                          confirming depositions for tomorrow
6/6/2018    Larry Plan/ Prepare     5.5    Plan for depositions of Victor Quintero and Javier Caballero
            Organ
6/7/2018    Larry Plan/ Prepare     2.3    Plan and prepare for Victor Quintero deposition
            Organ
6/7/2018    Larry Appearance/       7.9    Appear for depositions of Javier Caballero and Victor Quintero in
            Organ Attend                   San Anselmo
6/7/2018    Larry Communication     0.1    Send text to Navruz Avloni regarding depositions today
            Organ
6/8/2018    Larry Communication     0.5    Meet with Cimone Nunley, Noah Baron and Ramzi Nimr to
            Organ                          discuss the depositions of Javier Caballero and Victor Quintero.
6/11/2018   Larry Appearance/       8.4    Appear with Nav Avloni, Clients and Ramzi Nimr for mandatory
            Organ Attend                   settlement conference and travel to and from San Francisco
6/14/2018   Larry Communication     0.2    Discussed expert Dr. Smith and next steps with Navruz Avloni
            Organ
6/15/2018   Larry Communication     0.1    Discussion of confidential designations with Navruz Avloni
            Organ
6/17/2018   Larry Communication     0.1    Email to opposing counsels regarding deposition designations
            Organ
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Date        User Activity          Time   Description
6/18/2018   Larry Communication    0.1    Email from opposing counsel regarding deposition designations
            Organ
7/11/2018   Larry Communication    0.2    Conference with Ramzi Nimr regarding soundbites
            Organ
9/4/2018    Larry Communication    0.1    Meet with Cimone Nunley and Navruz Avloni regarding
            Organ                         settlement and amendment issues
9/4/2018    Larry Communication    0.1    Telephone conference with Navruz Avloni and Barbara
            Organ                         Antonucci, counsel for Defendants Tesla and Citistaff, regarding
                                          mediation prior to the Case Management Conference.
9/4/2018    Larry Appearance/      0.3    Court Call Appearance at 2:00 PM for Case Management
            Organ Attend                  Conference. Judge Orrick who informed us of a likely delay in trial
                                          due to criminal trial; he offered to transfer case to Magistrate or
                                          other judge.
9/7/2018   Larry Meet              0.3    Meet with Cimone Nunley and Navruz Avloni regarding the list of
           Organ                          individuals to depose in this case
10/8/2018 Larry Communication      0.1    Discussion with Navruz Avloni regarding mediation brief
           Organ
10/9/2018 Larry Draft/ Revise      1      Revise Mediation Statement
           Organ
10/9/2018 Larry Meet               0.1    Meet with Navruz Avloni regarding edits to mediation brief.
           Organ
10/15/2018 Larry Plan/ Prepare     2.9    Prepare for mediation by reviewing papers and evidence.
           Organ
10/16/2018 Larry Appearance/       8.5    Appear for mediation with Jeff Ross -- Ramzi also attended -- We
           Organ Attend                   communicated offers to Mediator. No offers from Defense. travel
                                          to and from Oakland
10/16/2018 Larry Communication     0.1    Communication with Navruz Avloni regarding mediation and next
           Organ                          steps
10/16/2018 Larry Communication     0.1    Call with Noah Baron regarding research on section 1981 and
           Organ                          liability for failing to prevent harassment.
10/18/2018 Larry Review/ Analyze   0.4    Review Jury Verdicts found by Cimone Nunley.
           Organ
10/18/2018 Larry Communication     0.1    Email to Mediator Jeff Ross regarding jury verdicts in race cases.
           Organ
10/30/2018 Larry Draft/ Revise     0.2    Revise the meet and confer letters regarding the subpoenas to
           Organ                          current employer for Owen Diaz
10/30/2018 Larry Communication     0.1    Telephone messages for Barbara Antonucci and Aaron
           Organ                          Rutschman regarding meet and confer on Defendants Tesla's and
                                          Citistaff's subpoenas
10/30/2018 Larry Communication     0.1    Email exchange setting meet and confer for 11:00 tomorrow and
           Organ                          send meet and confer letter
10/30/2018 Larry Communication     0.1    Meet with Noah Baron regarding my edits to the meet and
           Organ                          confer letter regarding Defendants' subpoenas to subsequent
                                          employers.
10/30/2018 Larry Communication     0.1    Communication with Navruz Avloni regarding meet and confer
           Organ                          requirements.
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Date       User Activity             Time   Description
10/30/2018 Larry Communication       0.1    Telephone conference with Navruz Avloni regarding discovery
           Organ
10/30/2018 Larry Meet                0.1    Meet with Noah Baron to discuss meet and confer letter
           Organ                            regarding AC Transit subpoena
10/31/2018 Larry Review/ Analyze     0.9    Review letter from Aaron Rutschman regarding discovery issues;
           Organ                            researching regarding the discovery issues; meet with Noah
                                            Baron regarding the same.
10/31/2018 Larry Communication       0.3    Telephone conference with Counsel for Defendants Citistaff and
           Organ                            Tesla, Aaron Rutschman, and Noah Baron regarding subpoena
                                            scope issues for Owen Diaz's current employers.
11/2/2018    Larry Plan/ Prepare     0.2    Prepare for call with counsel for Defendants Citistaff and Tesla,
             Organ                          Aaron Rutchman, regarding Defendant's subpoenas.
11/2/2018    Larry Communication     0.3    Telephone conf. with Aaron Rutschman and Noah re discovery
             Organ                          issues relating to subpoenas - he will reframe and send to me.
11/4/2018    Larry Review/ Analyze   0.3    Review depositions to date
             Organ
11/4/2018    Larry Communication     0.1    Send email to opposing counsel regarding meeting to schedule
             Organ                          depositions
11/9/2018    Larry Plan/ Prepare     0.4    Prepare for telephone conference by reviewing deposition
             Organ                          notices
11/9/2018    Larry Communication     0.7    Telephone conference with opposing counsel and Cimone
             Organ                          Nunley regarding depositions
11/9/2018    Larry Communication     0.1    Telephone conference with Navruz Avloni regarding the
             Organ                          depositions of Defendants West Valley and Citistaff's persons
                                            most knowledgeable.
11/9/2018    Larry Draft/ Revise     0.2    Review and revise the deposition notices to Defendants West
             Organ                          Valley and Citistaff's persons most knowledgeable.
11/9/2018    Larry Communication     0.1    Meet with Sabrina Grislis regarding service of discovery
             Organ
11/9/2018    Larry Communication     0.1    Telephone conference with Navruz Avloni regarding my
             Organ                          telephone call with opposing counsel about the West Valley and
                                            Citistaff person most knowledgeable depositions.
11/9/2018    Larry Communication     0.3    Discussion with Cimone Nunley to prepare for 2:00 pm call with
             Organ                          opposing counsel
11/13/2018   Larry Communication     0.2    Email exchanges regarding scheduling for depositions
             Organ
11/21/2018   Larry Communication     0.2    Meet with Cimone Nunley regarding additional discovery
             Organ
11/26/2018   Larry Communication     0.2    Discussion with Cimone Nunley regarding discovery
             Organ
11/26/2018   Larry Communication     0.1    Discuss client deposition preparation with Navruz Avloni
             Organ
11/27/2018   Larry Meet              0.9    Meet with clients to prepare them for deposition
             Organ
11/28/2018   Larry Communication     0.1    Email to Sabrina Grislis regarding deposition exhibit preparation
             Organ
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Date       User Activity         Time   Description
11/28/2018 Larry Communication   0.1    Meet with Ramzi Nimr regarding deposition preparation
           Organ
11/28/2018 Larry Communication   0.2    Meet with Cimone Nunley regarding discovery
           Organ
11/28/2018 Larry Plan/ Prepare   2.5    Review exhibits for deposition
           Organ
11/28/2018 Larry Plan/ Prepare   4.4    Additional preparation for deposition of Edward Romano; review
           Organ                        documents and draft outline
11/29/2018 Larry Plan/ Prepare   0.6    Revise outline for deposition of Ed Romero
           Organ
11/29/2018 Larry Communication   0.2    Telephone conference with Sabrina Grislis regarding exhibits for
           Organ                        the deposition of Edward Romero
11/29/2018 Larry Plan/ Prepare   6.5    Prepare for deposition of Ed Romero
           Organ
11/29/2018 Larry Communication   0.4    Call with Cimone Nunley regarding discovery
           Organ
11/29/2018 Larry Communication   0.2    Call with Cimone Nunley regarding her call with Tamotsu
           Organ                        Kawasaki; depositions
11/30/2018 Larry Plan/ Prepare   1.4    Prepare for deposition of Edward Romero prior to deposition
           Organ
11/30/2018 Larry Appearance/     7.1    Appear for Ed Romero deposition in San Anselmo
           Organ Attend
11/30/2018 Larry Communication   0.1    Discussion with Cimone Nunley regarding Demetrica Diaz and
           Organ                        La'Drea Jones depositions
12/2/2018 Larry Plan/ Prepare    6.7    Prepare for Owen Diaz's deposition by reviewing exhibits and
           Organ                        new evidence; review prior deposition transcripts; make notes.
12/3/2018   Larry Appearance/    6.2    Appear for Day 2 of Owen Diaz; deposition went over time;
            Organ Attend                permitted counsel for Tesla Barbara Antonucci and counsel for
                                        West Valley Fenn Horton to ask questions after time had expired;
                                        travel to and from San Francisco.
12/4/2018  Larry Communication   0.1    Telephone conference with Navruz Avloni and research regarding
           Organ                        deposition length.
12/4/2018 Larry Meet             1.8    Case Strategy Meeting with Navruz Avloni and Cimone Nunley.
           Organ
12/4/2018 Larry Research         0.1    Research information about length of depositions
           Organ
12/5/2018 Larry Meet             1.5    Meet with Cimone Nunley and Navruz Avloni regarding strategy
           Organ
12/5/2018 Larry Meet             0.5    Additional meeting with Navruz Avloni and Cimone Nunley
           Organ                        regarding strategy
12/5/2018 Larry Draft/ Revise    1.5    Revise Supplemental Disclosures and review relevant documents
           Organ
12/8/2018 Larry Draft/ Revise    1      Draft beginning of Opening Statement
           Organ
12/10/2018 Larry Meet            0.6    Meet with Navruz Avloni, Noah Baron and Cimone Nunley to
           Organ                        discuss strategy and whether amended complaint is needed
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Date       User Activity           Time   Description
12/10/2018 Larry Communication     0.1    Email to opposing counsel regarding the need to amend
           Organ                          complaint and extend deadlines
12/10/2018 Larry Plan/ Prepare     3.5    Prepare for West Valley PMK deposition
           Organ
12/10/2018 Larry Communication     0.1    Meet with Noah Baron regarding preparation for the West Valley
           Organ                          PMK deposition.
12/10/2018 Larry Communication     0.1    Meet with Sabrina Grislis regarding preparation of the exhibits
           Organ                          for tomorrow's deposition of West Valley's PMK
12/10/2018 Larry Communication     0.1    Email exchange with opposing counsel regarding the trial
           Organ                          continuance and Defendant nextSource addition to case
12/10/2018 Larry Communication     0.1    Telephone conference with counsel for Tesla and Citistaff,
           Organ                          Barbara Antonucci, regarding the trial continuance
12/10/2018 Larry Review/ Analyze   0.2    Review proposed joint stipulation to amend complaint and add
           Organ                          nextSource as a Defendant
12/10/2018 Larry Meet              0.2    Meet with Navruz Avloni and Noah Baron regarding West Valley
           Organ                          PMK Deposition prep
12/13/2018 Larry Communication     0.1    Phone call with Navruz Avloni regarding amending complaint
           Organ
12/28/2018 Larry Communication     0.2    Meet with Navruz Avloni regarding discovery responses
           Organ
12/28/2018 Larry Communication     0.1    Notice of Order approving substitution of counsel
           Organ
12/28/2018 Larry Communication     0.1    Voice Message for Tracey Kennedy asking if she wants to agree
           Organ                          to electronic service
1/2/2019   Larry Communication     0.5    Meet with Navruz Avloni regarding case strategy and tasks
           Organ
1/2/2019   Larry Communication     0.2    Meet with Navruz Avloni regarding witness information
           Organ
1/2/2019   Larry Draft/ Revise     0.7    Revise the deposition notice for Defendant Tesla's PMK.
           Organ
1/2/2019   Larry Communication     0.4    Meet with Navruz Avloni to discuss strategy for meeting with
           Organ                          Tracy Kennedy, new counsel for Defendant Tesla
1/2/2019   Larry Meet              0.3    Meet with Navruz Avloni to discuss depositions
           Organ
1/3/2019   Larry Communication     0.2    Meet with Navruz Avloni prior to meeting with Tracey Kennedy,
           Organ                          new counsel for Defendant Tesla
1/3/2019   Larry Communication     0.3    Telephone conference with Tracey Kennedy, new counsel for
           Organ                          Defendant Tesla
1/3/2019   Larry Communication     0.1    Meet with Navruz Avloni after meeting with Tracey Kennedy
           Organ
1/3/2019   Larry Communication     0.5    Telephone conference with Owen Diaz regarding Demetric Di-az
           Organ
1/7/2019   Larry Communication     0.6    Further communication with Owen Diaz regarding issues in case
           Organ
1/7/2019   Larry Communication     0.3    Meet with Navruz Avloni regarding strategy
           Organ
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Date        User Activity           Time   Description
1/7/2019    Larry Communication     0.3    Phone call with Owen Diaz regarding case issues
            Organ
1/7/2019    Larry Communication     0.1    Email to Owen Diaz
            Organ
1/7/2019    Larry Draft/ Revise     0.2    Review and revise stipulations re time for defendants to answer
            Organ
1/7/2019    Larry Communication     0.1    Email re stipulations re time for defendants to answer
            Organ
1/7/2019    Larry Review/ Analyze   0.1    Review filed stipulation for Defendant nextSource's time to
            Organ                          answer
1/8/2019    Larry Communication     0.1    Call with Owen Diaz regarding case
            Organ
1/8/2019    Larry Review/ Analyze   0.1    Review filing regarding answer deemed acceptable
            Organ
1/8/2019    Larry Communication     0.5    Further telephone conference with Owen Diaz in the evening
            Organ
1/9/2019    Larry Communication     0.1    Email from Tracey Kennedy regarding dates
            Organ
1/9/2019    Larry Communication     0.1    Email responses to Tracey Kennedy
            Organ
1/9/2019    Larry Communication     0.1    Telephone call with Patty Jeng regarding deadlines
            Organ
1/9/2019    Larry Communication     0.2    Call with client regarding case issues
            Organ
1/9/2019    Larry Communication     0.2    Meet with Noah Baron and Cimone Nunley regarding case issues
            Organ
1/16/2019   Larry Communication     0.1    Email from Aaron Rutschman regarding request for discovery
            Organ                          extension
1/16/2019   Larry Communication     0.1    Email to Aaron Rutschman asking for clarification as to new
            Organ                          attorneys
1/17/2019   Larry Communication     0.1    Email to Aaron Rutschman confirming discovery extension to
            Organ                          February 15
1/22/2019   Larry Meet              0.1    team meeting
            Organ
2/3/2019    Larry Draft/ Revise     1.3    Draft Plaintiff Owen Diaz's request for production of documents,
            Organ                          set three to Defendant Tesla; review prior requests.
2/7/2019    Larry Communication     0.1    Telephone conference with Tracey Kennedy, counsel for Tesla,
            Organ                          regarding potential settlement
2/7/2019    Larry Communication     0.1    Telephone conference with Owen Diaz regarding settlement
            Organ
2/7/2019    Larry Communication     0.2    Discuss potential settlement of case with Navruz Avloni and
            Organ                          Cimone Nunley
2/11/2019   Larry Communication     0.2    Telephone conference with Tracey Kennedy, counsel for Tesla,
            Organ                          regarding global resolution
2/11/2019   Larry Draft/ Revise     2.8    Review documents produced in case and draft additional request
            Organ                          for production of documents set four and rogs set 2 to Tesla
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Date        User Activity         Time   Description
2/11/2019   Larry Communication   0.1    Email to Sabrina Grislis regarding discovery to serve tomorrow
            Organ
2/11/2019   Larry Communication   0.1    Email to Cimone Nunley regarding meet and confer on Tesla's
            Organ                        Request for Production, set one.
2/11/2019   Larry Communication   0.1    Email to Navruz Avloni regarding discovery in Diaz
            Organ
2/12/2019   Larry Communication   0.2    Discussion with Navruz Avloni regarding confidential topics
            Organ
2/12/2019   Larry Communication   0.1    Discussion with Navruz Avloni regarding scheduling
            Organ
2/28/2019   Larry Draft/ Revise   1.1    Revise meet and confer letter
            Organ
2/28/2019   Larry Communication   0.1    Discussion with Navruz Avloni regarding West Valley discovery
            Organ                        responses
3/13/2019   Larry Communication   0.1    Discussion with Cimone Nunley regarding additional discovery
            Organ
3/13/2019   Larry Communication   0.3    Discussion with Cimone Nunley regarding depositions, discovery
            Organ
3/29/2019   Larry Meet            1      Meet with Navruz Avloni and Cimone Nunley regarding discovery
            Organ                        issues and strategy
4/1/2019    Larry Communication   0.1    Telephone conference with Navruz Avloni regarding Tesla PMK
            Organ                        deposition
5/16/2019   Larry Plan/ Prepare   2.5    Prepare for deposition of Wayne Jackson
            Organ
5/17/2019   Larry Plan/ Prepare   0.9    Prepare for deposition of Wayne Jackson prior to depo
            Organ
5/17/2019   Larry Deposition      5.4    Deposition of Wayne Jackson and travel to and from Oakland
            Organ
5/20/2019   Larry Plan/ Prepare   1.8    Prepare for Kawasaki Depo
            Organ
5/20/2019   Larry Deposition      2.5    Appear for Depo of Tom Kawasaki (no show) and travel to and
            Organ                        from Oakland
5/27/2019   Larry Plan/ Prepare   2      Prepare for Tesla PMK deposition
            Organ
5/28/2019   Larry Plan/ Prepare   9.4    Prepare for Tesla PMK deposition
            Organ
5/29/2019   Larry Plan/ Prepare   2      Prepare for Tesla PMK deposition
            Organ
5/29/2019   Larry Deposition      6.7    Deposition of Tesla PMK
            Organ
6/3/2019    Larry Communication   1.3    Telephone conf. with Bernard Alexander re potential association
            Organ
6/3/2019    Larry Communication   0.2    Discussion with Navruz Avloni regarding the trial
            Organ
6/4/2019    Larry Communication   0.2    meet with Nav re Bernard Alexander potential association
            Organ
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Date        User Activity           Time   Description
6/4/2019    Larry Plan/ Prepare     2      Prepare for Citistaff PMK
            Organ
6/5/2019    Larry Plan/ Prepare     4.2    Prepare for Citistaff PMK depo
            Organ
6/6/2019    Larry Plan/ Prepare     0.8    Prepare for Citistaff PMK depo prior to leaving office for depo
            Organ
6/6/2019    Larry Deposition        7.8    Appear for Citistaff PMK depo in Oakland and travel to and from
            Organ                          Oakland office
6/6/2019    Larry Communication     0.1    email to Nav and Cimone re deposition and follow up
            Organ
6/6/2019    Larry Communication     0.1    Telephone conference with Cimone Nunley regarding meet and
            Organ                          confer letter to Citistaff
6/7/2019    Larry Communication     0.1    Phone conf. with Nav re M&C with OC
            Organ
6/7/2019    Larry Communication     0.2    Call with Bernard Alexander regarding continuance of trial date
            Organ                          and his agreement to co-counsel case
6/11/2019   Larry Plan/ Prepare     2.5    Prepare for Michael Wheeler deposition - review documents and
            Organ                          testimony
6/12/2019   Larry Deposition        5.5    Appear for deposition of Michael Wheeler in Oakland and travel
            Organ                          to and from Oakland
6/12/2019   Larry Communication     0.4    Communication with Nav and Cimone re discovery responses
            Organ
6/14/2019   Larry Plan/ Prepare     2.5    Prepare for NextSource PMK deposition
            Organ
6/15/2019   Larry Plan/ Prepare     4.2    Prepare for Nextsource PMK deposition
            Organ
6/16/2019   Larry Plan/ Prepare     4.6    Prepare for nextSource PMK deposition
            Organ
6/17/2019   Larry Deposition        10.5   Appear for nextSource PMK deposition and travel to and from
            Organ                          Oakland
6/17/2019   Larry Review/ Analyze   1.5    Review Owen Diaz deposition
            Organ
6/17/2019   Larry Meet              0.4    Meet with Navruz Avloni regarding strategy of Titus McCaleb,
            Organ                          nextSource PMK, and Owen Diaz depositions
6/18/2019   Larry Plan/ Prepare     2.5    Prepare Owen Diaz client for deposition Day 3
            Organ
6/18/2019   Larry Communication     0.1    Ruling from Court approving trial continuance
            Organ
6/18/2019   Larry Communication     0.1    Email to Bernard Alexander re trial continuance
            Organ
7/8/2019    Larry Plan/ Prepare     1.8    Prepare for trial - begin formulating ideas for opening statement
            Organ
7/11/2019   Larry Communication     0.1    Telephone call with Cimone Nunley regarding clarification on the
            Organ                          subpoena issue
7/16/2019   Larry Meet              1.5    Meet with Cimone Nunley, Navruz Avloni and Meg Organ re
            Organ                          witnesses for deposition
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Date        User Activity           Time   Description
7/22/2019   Larry Communication     0.1    Discussion with Navruz Avloni regarding strategy
            Organ
7/23/2019   Larry Communication     0.5    Communication with Bernard Alexander and Nav and Cimone re
            Organ                          case strategy
7/23/2019   Larry Communication     0.1    Follow up discussion with Navruz Avloni and Cimone Nunley after
            Organ                          meeting with Bernard Alexander
8/5/2019    Larry Meet              0.5    Meet with Navruz Avloni, Cimone Nunley, and Noah Baron
            Organ                          regarding the "customer" issue
8/5/2019    Larry Communication     0.1    Discussion of Bernard Alexander's discovery addition suggestions
            Organ                          with Cimone Nunley and Navruz Avloni
8/7/2019    Larry Draft/ Revise     0.4    Review and revise meet and confer letter re discovery requests
            Organ                          to Tesla
8/7/2019    Larry Communication     0.3    Review and revise meet and confer letter re discovery requests
            Organ                          to Tesla
8/14/2019   Larry Draft/ Revise     0.6    Review and revise draft letter and discovery responses
            Organ
8/14/2019   Larry Communication     0.1    email to Cimone re changes to discovery dispute statement re
            Organ                          Tesla's discovery responses
8/16/2019   Larry Communication     0.6    Phone call with Bernard Alexander, Nav Avloni and Cimone
            Organ                          Nunley re strategy
8/19/2019   Larry Draft/ Revise     1.3    Research, draft and Email Letter to Tesla re confidentiality of
            Organ                          documents in Lambert
8/19/2019   Larry Review/ Analyze   0.2    Review and analyze court's order re discovery relating to
            Organ                          Lambert documents
8/19/2019   Larry Communication     0.2    Receive email letter re documents in lambert from Danielle Ochs -
            Organ                          clearly related to discovery request for same
8/19/2019   Larry Communication     0.1    Discussion with Navruz Avloni regarding Judge Orrick's discovery
            Organ                          dispute order
8/20/2019   Larry Review/ Analyze   0.4    Review depo summary
            Organ
8/20/2019   Larry Communication     0.1    Discussion with Meg re depo summary
            Organ
8/28/2019   Larry Draft/ Revise     0.3    Revise M&C letter re Tesla PMK
            Organ
9/6/2019    Larry Draft/ Revise     0.5    Review and revise meet and confer letter re Tesla PMK
            Organ                          deposition deficiencies
9/6/2019    Larry Draft/ Revise     0.4    Revise meet and confer letter to citistaff counsel
            Organ
9/10/2019   Larry Review/ Analyze   2.5    Review prior discovery requests to prepare for CMC
            Organ
9/10/2019   Larry Draft/ Revise     0.3    Draft RPD set 8 to Tesla
            Organ
9/10/2019   Larry Appearance/       2.6    Appear for CMC before Judge Orrick with Cimone Nunley and
            Organ Attend                   Navruz Avloni and travel to and from SF and serve RPD Set 8 on
                                           Tesla (in person at hearing)
9/10/2019   Larry Communication     0.1    Text message with Bernard Alexander re new potential trial date
            Organ
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Date        User Activity           Time   Description
9/11/2019   Larry Communication     0.1    Phone call with Sabrina re discovery deadline
            Organ
9/11/2019   Larry Meet              0.1    Meet with Sabrina to discuss discovery
            Organ
9/11/2019   Larry Communication     0.1    Text message exchange with Bernard Alexander confirming
            Organ                          availability for trial on May 11, 2020
9/11/2019   Larry Draft/ Revise     1.6    Review discovery and Tesla's responses and draft SRogs Set 8
            Organ                          and RFA Set 2 to Tesla
9/11/2019   Larry Communication     0.1    Discussion with Cimone Nunley regarding additional discovery
            Organ                          requests
9/12/2019   Larry Meet              1.2    Phone conf. with Bernard Alexander, Cimone Nunley and Nav
            Organ                          Avloni re discovery and expert strategy
9/12/2019   Larry Review/ Analyze   1.8    Review and analyze legal research re racial harassment and draft
            Organ                          outline of thoughts on opening
9/12/2019   Larry Meet              0.3    Meeting with Cimone Nunley and Navruz Avloni regarding PMK
            Organ                          topics
9/13/2019   Larry Communication     0.1    Communication with Owen Diaz
            Organ
9/14/2019   Larry Research          1.5    Research for closing
            Organ
9/19/2019   Larry Communication     0.1    Discussed discovery with Navruz Avloni and Cimone Nunley
            Organ
9/23/2019   Larry Communication     0.2    Communication with Dr. Readingâ€™s office re expert testimony
            Organ
9/23/2019   Larry Communication     0.2    Communication with Owen Diaz re expert testimony
            Organ
9/23/2019   Larry Communication     0.2    Meet with Nav to discuss experts
            Organ
9/23/2019   Larry Communication     0.1    Email to Bernard re experts
            Organ
9/27/2019   Larry Communication     0.1    Phone call with Bernard re Reading
            Organ
9/27/2019   Larry Communication     0.1    Email to client re meeting with Reading
            Organ
9/27/2019   Larry Communication     0.1    Phone call with client re Reading
            Organ
9/27/2019   Larry Communication     0.3    Telephone call with Navruz Avloni and Bernard Alexander
            Organ                          regarding experts Oppenheimer and Reading
9/27/2019   Larry Meet              0.1    Meet with Navruz Avloni regarding experts
            Organ
9/28/2019   Larry Communication     0.1    Contact with potential expert
            Organ
9/28/2019   Larry Communication     0.1    Communication with client re Meet with Reading
            Organ
9/29/2019   Larry Communication     0.1    Communication from Bernard re Reading Appointment
            Organ
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Date        User Activity           Time   Description
9/29/2019   Larry Communication     0.1    Communication with client re Reading Meeting
            Organ
9/29/2019   Larry Communication     0.1    Follow up Communication with client re Reading Meeting
            Organ
9/29/2019   Larry Communication     0.1    Phone call with Owen Diaz re meeting with Reading
            Organ
9/30/2019   Larry Communication     0.1    Communication with Reading's Office re visit for Owen Diaz
            Organ
9/30/2019   Larry Communication     0.1    communication with Owen Diaz re Reading visit
            Organ
9/30/2019   Larry Communication     0.1    Further Communication with Reading Office
            Organ
9/30/2019   Larry Communication     0.1    further communication with Owen Diaz
            Organ
9/30/2019   Larry Communication     0.1    additional follow up with Reading
            Organ
10/3/2019   Larry Communication     0.2    discussion with Cimone and Nav re strategy
            Organ
10/3/2019   Larry Communication     0.6    discussion re depositions and strategy with Bernard Alexander,
            Organ                          Cimone Nunley, and Navruz Avloni
10/3/2019   Larry Research          0.2    Research re Court's typical rulings on scope of evidence
            Organ
10/4/2019   Larry Research          0.4    Legal research re expert disclosures regarding time to disclose
            Organ                          and scope of evidence to advise expert regarding timing and her
                                           report
10/4/2019   Larry Communication     0.1    Email from Amy Oppenheimer re expert report and documents
            Organ
10/4/2019   Larry Communication     0.1    Communication with Nav Avloni and Cimone Nunley re
            Organ                          Oppenheimer
10/4/2019   Larry Communication     0.1    communication with paralegal Sabrina Grislis re evidence to
            Organ                          expert
10/4/2019   Larry Communication     0.1    Email to Oppenheimer with MSJ papers and discussion of timing
            Organ                          of report
10/4/2019   Larry Plan/ Prepare     1.7    prepare for Tom Kawasaki deposition by reviewing documents
            Organ
10/5/2019   Larry Review/ Analyze   3.4    Review deposition exhibits to provide to Amy Oppenheimer
            Organ
10/5/2019   Larry Communication     0.1    Emails to Amy Oppenheimer with exhibits to review
            Organ
10/7/2019   Larry Communication     0.1    Email to Celina Romano re juror questionnaire
            Organ
10/7/2019   Larry Communication     0.1    Communication with Staff re Josue Torres Deposition
            Organ
10/8/2019   Larry Communication     0.1    communication with Bernard Alexander re Josue Torres
            Organ                          Deposition
10/8/2019   Larry Communication     0.1    communication with Sabrina Grislis re Josue Torres Depo.
            Organ
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Date         User Activity           Time   Description
10/8/2019    Larry Communication     0.1    communication with Sabrina re deposition schedule this week
             Organ
10/8/2019    Larry Communication     0.1    Telephone conf. Julianne Stanford re Jackie Delgado deposition
             Organ
10/8/2019    Larry Meet              0.1    Meet with Nav re depositions and expert reports
             Organ
10/8/2019    Larry Communication     0.1    Communication with Bernard re expert report from Reading
             Organ
10/8/2019    Larry Communication     1.3    Phone call with Bernard, Navruz and Cimone re discovery and
             Organ                          strategy
10/8/2019    Larry Meet              0.4    Meet with Cimone re discovery and trial issues
             Organ
10/8/2019    Larry Plan/ Prepare     3.8    Review documents and deposition testimony relating to Tom
             Organ                          Kawasaki
10/8/2019    Larry Plan/ Prepare     1.3    Prepare for Kawasaki Depo - review depo testimony
             Organ
10/8/2019    Larry Communication     0.3    Discussion with Cimone Nunley regarding depositions
             Organ
10/9/2019    Larry Plan/ Prepare     3.4    Prepare for Kawasaki deposition - outline and exhibit review
             Organ
10/9/2019    Larry Review/ Analyze   0.5    Review discovery responses
             Organ
10/9/2019    Larry Deposition        4.2    Deposition of Tom Kawasaki and travel to and from Oakland -
             Organ                          trial subpoena issued
10/9/2019    Larry Draft/ Revise     0.8    Review and Revise discovery responses (0.6) and discuss with
             Organ                          Cimone (0.2)
10/9/2019    Larry Communication     0.1    Communication with Charles Mahla re Diaz expert designation
             Organ
10/9/2019    Larry Plan/ Prepare     0.9    Review deposition testimony re Jackelin Delgado
             Organ
10/9/2019    Larry Communication     0.1    Communication with Sabrina Grislis regarding Josue Torres
             Organ                          deposition
10/9/2019    Larry Communication     0.1    Discuss Josue Torres deposition with Navruz Avloni following her
             Organ                          review of his emails regarding availability
10/9/2019    Larry Communication     0.3    Discuss Josue Torres deposition with Cimone Nunley
             Organ
10/10/2019   Larry Plan/ Prepare     1.6    Prepare for Jackelin Delgado Deposition
             Organ
10/10/2019   Larry Deposition        2.8    Jackelin Delgado Deposition
             Organ
10/10/2019   Larry Communication     0.1    Text message to Julianne re deposition
             Organ
10/10/2019   Larry Communication     0.2    Call with Nav and Cimone re expert disclosures
             Organ
10/10/2019   Larry Communication     0.3    Phone conf. with Amy Oppenheimer re expert report
             Organ
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Date       User Activity           Time   Description
10/10/2019 Larry Communication     0.1    Call with Nav Avloni and Cimone Nunley re deposition strategy
           Organ
10/10/2019 Larry Review/ Analyze   0.2    Review Expert Report of Charles Mahla
           Organ
10/11/2019 Larry Draft/ Revise     6.3    Revise Expert Disclosures and review materials
           Organ
10/11/2019 Larry Communication     0.3    Phone call with Bernard re Dr. Reading report
           Organ
10/11/2019 Larry Communication     0.2    Phone call with Amy Oppenheimer re expert report and
           Organ                          supporting documents
10/11/2019 Larry Communication     0.1    communication with Charles Mahla re expert report
           Organ
10/14/2019 Larry Plan/ Prepare     1.9    Prepare for the Veronica Martinez depo
           Organ
10/14/2019 Larry Communication     0.1    Telephone call with Cimone Nunley and Navruz Avloni regarding
           Organ                          Marconi deposition stipulation
10/15/2019 Larry Draft/ Revise     0.4    Revise Joint Discovery Dispute Letter
           Organ
10/15/2019 Larry Plan/ Prepare     2.5    Prepare for deposition of Veronica Martinez
           Organ
10/15/2019 Larry Appearance/       5.5    Appear for Deposition of Veronica Martinez and travel to and
           Organ Attend                   from Oakland
10/16/2019 Larry Plan/ Prepare     6      Prepare for Erin Marconi Deposition - review and analyze
           Organ                          documents
10/16/2019 Larry Communication     2.6    Draft Meet and Confer letter re Confidential designations re
           Organ                          Tesla documents
10/16/2019 Larry Communication     0.1    Email to Tesla OC re confidential document designations
           Organ
10/18/2019 Larry Communication     0.1    Call with Cimone re discovery dispute letter
           Organ
10/18/2019 Larry Draft/ Revise     2.4    Draft Jt Discovery letter
           Organ
10/18/2019 Larry Communication     0.1    EMail to Patricia J. indicating will be sending Jt Dispute Letter
           Organ
10/18/2019 Larry Other             0.1    File Joint Dispute Letter re Site Inspection and Stipulation
           Organ
10/18/2019 Larry Communication     0.4    email exchange with Patricia J re jt dispute letter
           Organ
10/18/2019 Larry Draft/ Revise     0.3    further revise letter to address confidential issues
           Organ
10/18/2019 Larry Draft/ Revise     0.2    Receive Jt Letter with Defendant's Position at approximately
           Organ                          11:43 pm - edit document to file, file document through ECF
10/18/2019 Larry Plan/ Prepare     0.9    Prepare for Erin Marconi deposition - reviewing documents
           Organ
10/18/2019 Larry Communication     0.1    Discussion with co-counsel regarding discovery dispute issues
           Organ                          strategy
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Date       User Activity         Time     Description
10/19/2019 Larry Review/ Analyze 1.5      Review defendant's position in Jt Letter received at 11:43 pm on
           Organ                          10/18 and review evidence cited by defendant and other
                                          depositions and documents
10/19/2019 Larry Communication     0.1    Email to Patricia Jeng re misrepresentation by Defendant and
           Organ                          suggested fix
10/19/2019 Larry Draft/ Revise     0.3    Revise Jt Letter re additional deposition of Mr. Donet
           Organ
10/19/2019 Larry Draft/ Revise     0.3    After no response to Meet and Confer efforts, further revise Jt
           Organ                          Letter to come from Plaintiff with corrections
10/19/2019 Larry Communication     0.2    Email to Ms. Jeng re corrected Jt statement and request for
           Organ                          response
10/19/2019 Larry Communication     0.1    Phone Message for Patricia Jeng re Jt Letter
           Organ
10/19/2019 Larry Review/ Analyze   4.2    Review documents and draft letter re confidential designations
           Organ                          improperly made by defendant
10/19/2019 Larry Communication     0.1    Email to OC re confidential designations
           Organ
10/20/2019 Larry Draft/ Revise     1.2    Review Citistaff documents and draft letter to OC re confidential
           Organ                          designations
10/20/2019 Larry Draft/ Revise     1.4    Review additional documents re Tesla confidential designations
           Organ                          and draft letter re same
10/20/2019 Larry Plan/ Prepare     1.3    Prepare for Erin Marconi deposition by reviewing documents
           Organ
10/20/2019 Larry Plan/ Prepare     6.4    Prepare for Erin Marconi Depo
           Organ
10/21/2019 Larry Deposition        16.7   Appear for deposition of Erin Marconi and travel to and from Los
           Organ                          Angeles (Bernard had trial conflict)
10/21/2019 Larry Communication     0.1    Call with Cimone re letter to court; confidentiality designations;
           Organ                          new joint employer case
10/22/2019 Larry Draft/ Revise     2.3    Review documents produced by Defendant and Draft letter to
           Organ                          Tesla Counsel re confidential designations
10/22/2019 Larry Communication     0.1    Email to Tesla OC re Confidential Designations for Bates 408-889
           Organ
10/23/2019 Larry Review/ Analyze   0.1    Review Order from Court re discovery
           Organ
10/23/2019 Larry Communication     0.1    Communication with Julianne re expert deposition
           Organ
10/23/2019 Larry Communication     0.1    communication with Cimone discovery order
           Organ
10/23/2019 Larry Communication     0.1    Communication with Navruz re discovery order
           Organ
10/23/2019 Larry Communication     0.1    communication with Bernard re deposition
           Organ
10/24/2019 Larry Plan/ Prepare     2.2    Prepare for deposition of Andres Donet
           Organ
10/24/2019 Larry Deposition        5.8    Appear for Deposition of Andres Donet and travel to and from
           Organ                          Palo Alto
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Date       User Activity             Time   Description
10/24/2019 Larry Communication       0.2    Telephone conference with Navruz Avloni regarding Andres
           Organ                            Donet deposition: time, location, strategy, logistics, and relevant
                                            documents
10/26/2019 Larry Communication       0.1    Review email from Tesla and respond to issue re confidential
           Organ                            designations
10/30/2019 Larry Communication       1.1    Meet and confer with Reanne Swafford-Harris re confidential
           Organ                            designations - primary rationale is only produced for use in this
                                            litigation - suggested she agree to remove confidentiality for trial
                                            and MSJ opposition - she only said trial which is already covered
11/1/2019    Larry Communication     0.4    Phone conf. with Reanne Swafford and Patricia Jeng re meet and
             Organ                          confer re designating depo exhibits non-confidential for filing
                                            MSJ opp
11/1/2019    Larry Other             0.1    Notes re conversation with Swafford and Jeng re desginations
             Organ
11/4/2019    Larry Review/ Analyze   0.5    Review Tesla MSJ
             Organ
11/4/2019    Larry Meet              0.5    communication with Bernard Alexander and Cimone Nunley
             Organ                          discussing MSJ motion and delegation of work
11/4/2019    Larry Communication     0.1    Phone conf. with Cimone Nunley re confidential designations of
             Organ                          depositions
11/4/2019    Larry Communication     0.1    Telephone conference with Navruz Avloni and Cimone Nunley
             Organ                          regarding Natasha assisting on deposition summaries
11/6/2019    Larry Review/ Analyze   0.8    Review exhibits for use by Bernard in Punis opposition
             Organ                          arguments to Tesla MSJ
11/6/2019    Larry Communication     0.1    Email to Bernard Alexander re Punis argument in Tesla MSJ
             Organ
11/7/2019    Larry Communication     0.2    Phone conf. with Owen Diaz re work issues
             Organ
11/7/2019    Larry Communication     0.1    Initial phone call with Owen Diaz re work issues
             Organ
11/8/2019    Larry Communication     0.1    meet with Cimone re confidential documents
             Organ
11/8/2019    Larry Research          1.4    Internet research re Tesla maintaining documents confidential
             Organ
11/8/2019    Larry Communication     0.2    Discussion with Navruz Avloni and Cimone Nunley regarding
             Organ                          expert discovery cutoff, expert depositions, and supplemental
                                            disclosures
11/9/2019    Larry Review/ Analyze   1.4    Review and analyze prior Tesla HR testimony
             Organ
11/11/2019   Larry Communication     0.1    Telephone conference with Cimone Nunley regarding expert
             Organ                          deposition objections
11/12/2019   Larry Meet              0.3    Meet with Cimone re Tela MSJ
             Organ
11/12/2019   Larry Research          2.1    Research re punitive damages issues with regards to Tesla MSJ
             Organ
11/12/2019   Larry Communication     0.1    Phone call with witness re Owen
             Organ
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Date       User Activity           Time   Description
11/13/2019 Larry Communication     0.2    Discussion with Cimone re Tesla MSJ opposition
           Organ
11/13/2019 Larry Communication     0.1    Email from Tesla (Jeng) re production of witness contact
           Organ                          information
11/13/2019 Larry Communication     0.1    Phone call with Cimone re discovery response by Tesla
           Organ
11/13/2019 Larry Communication     0.1    Email to Tesla OC re deficient discovery response
           Organ
11/15/2019 Larry Communication     0.2    Meet with Cimone re Opposition to MSJ
           Organ
11/17/2019 Larry Draft/ Revise     7      Revise MSA Opposition to TESLA and legal and factual research
           Organ                          re same
11/17/2019 Larry Communication     0.1    Email to Cimone re Tesla MSJ opposition
           Organ
11/19/2019 Larry Review/ Analyze   0.9    Review Defendant's Motion to Maintain Confidentiality
           Organ
11/19/2019 Larry Communication     0.4    Meet with Cimone re MSJ opposition papers
           Organ
11/20/2019 Larry Draft/ Revise     0.3    Draft Introduction to Opposition to Motion for Confidentiality
           Organ
11/20/2019 Larry Communication     0.1    Email with Bernard Alexander re briefing
           Organ
11/21/2019 Larry Communication     0.2    Discussed proposed stipulation to designate Wayne Jackon
           Organ                          testimony with Cimone Nunley
11/25/2019 Larry Communication     0.3    Review meet and confer emails with Tesla counsel re court's
           Organ                          order to produce coworker contact information
12/7/2019 Larry Communication      2.5    draft declaration to accompany opposition to Tesla Motion to
           Organ                          retain confidentiality and review notes and Tesla's papers
12/7/2019 Larry Communication      0.1    Call with Cimone Nunely regarding opposition to Tesla's motion
           Organ                          to retain confidentiality
12/30/2019 Larry Meet              0.8    Telephone conference with Bernard Alexander and Cimone
           Organ                          Nunley re settlement strategies
12/31/2019 Larry Communication     0.2    Email to clients re MSC and other matters
           Organ
1/2/2020   Larry Review/ Analyze   0.4    Review settlement conference statement
           Organ
1/2/2020   Larry Meet              0.6    Meet with Bernard Alexander, Cimone Nunley, Navruz Avloni and
           Organ                          Susan Organ re MSC and case strategy
1/2/2020   Larry Communication     0.1    Meet with Cimone re MSC statement
           Organ
1/3/2020   Larry Communication     0.4    Telephone call with Navruz Avloni and Cimone Nunley regarding
           Organ                          sanctions motion, depositions, witnesses, trial strategy.
1/13/2020 Larry Communication      0.1    Phone call with Owen Diaz re MSC and AC Transit
           Organ
1/13/2020 Larry Communication      0.3    Telephone call with Cimone Nunley and clients to discuss
           Organ                          mandatory settlement conference
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Date        User Activity           Time   Description
1/13/2020   Larry Communication     0.3    Discussion with Cimone Nunley regarding mandatory settlement
            Organ                          conference and confidential issues relating to Owen Diaz
1/14/2020   Larry Communication     0.1    Phone conf. with Bernard re discovery motion to compel;
            Organ                          Recorder
1/14/2020   Larry Communication     0.1    Phone call with Alaina Lancaster from the Recorder re motion for
            Organ                          sanctions
1/14/2020   Larry Communication     0.1    Review emails concerning deposition of Dr. Reading in LA
            Organ
1/14/2020   Larry Communication     0.1    Discussion with Cimone Nunley regarding reading invoice,
            Organ                          deposition
1/15/2020   Larry Plan/ Prepare     1.3    Review MSC documents
            Organ
1/16/2020   Larry Communication     11.2   mediation with Tesla, NextSource, Citistaff - Clients, Cimone and
            Organ                          Bernard Alexander in attendance - Tesla did not send a client
                                           representative nor did its lead trial counsel appear, though an
                                           attorney from counsel's office did appear
1/17/2020   Larry Communication     0.1    Discussion with Navruz Avloni and Cimone Nunley regarding
            Organ                          publication of Owen Diaz's confidential, personal information in
                                           Tesla filing
1/22/2020   Larry Communication     0.2    Discussion with Cimone Nunley regarding confidential
            Organ                          designations
1/28/2020   Larry Communication     0.6    Telephone conf. with Bernard Alexander and Harry Plotkin re jury
            Organ                          selection; discussed expenses with Bernard Alexander
1/28/2020   Larry Communication     0.1    Communication with Cimone re Jury Consultant
            Organ
1/28/2020   Larry Communication     0.3    Email to Harry Plotkin re information relating to case
            Organ
1/28/2020   Larry Communication     0.3    Discussion with Cimone Nunley regarding motion for sanctions
            Organ
2/5/2020    Larry Communication     0.1    Phone call with Amy Oppenheimer re deposition and report
            Organ
2/9/2020    Larry Communication     0.2    communication with Amy Oppenheimer
            Organ
2/13/2020   Larry Communication     1.1    Phone call with Harry Plotkin, Bernard Alexander, Cimone Nunley
            Organ                          and Susan Organ re trial strategy and preparation
2/13/2020   Larry Communication     0.2    Communication with Cimone Nunley regarding objections to
            Organ                          deposition notice
2/20/2020   Larry Communication     0.1    Discuss payment of focus group fee with Cimone Nunley
            Organ
2/24/2020   Larry Review/ Analyze   0.7    Review Oppenheimer report
            Organ
2/25/2020   Larry Deposition        4.1    Appear for deposition of Charles Mahla and travel to and from
            Organ                          San Francisco
2/25/2020   Larry Communication     0.2    Phone call with Amy Oppenheimer re expert opinion
            Organ
2/25/2020   Larry Communication     0.2    Discuss pretrial checklist with Cimone Nunley
            Organ
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Date        User Activity         Time   Description
2/25/2020   Larry Communication   0.1    Discuss settlement status, issues with Cimone Nunley
            Organ
2/26/2020   Larry Communication   0.2    Meet with Owen Diaz re case
            Organ
2/28/2020   Larry Communication   0.1    Court filing re Brett Young
            Organ
3/3/2020    Larry Plan/ Prepare   5.3    Prepare for trial - review depositions and documents
            Organ
3/3/2020    Larry Communication   0.2    Discussion with Cimone Nunley regarding witness Jakel Williams
            Organ
3/3/2020    Larry Communication   0.1    Discuss pretrial conference call scheduling with Cimone Nunley
            Organ
3/4/2020    Larry Plan/ Prepare   6.1    Prepare for trial - review depositions and documents
            Organ
3/5/2020    Larry Communication   0.1    Meet with Nav re strategy for Diaz expert
            Organ
3/5/2020    Larry Research        1.9    Legal research re jury instructions
            Organ
3/5/2020    Larry Research        2.5    Research Jury Instructions and special instructions
            Organ
3/5/2020    Larry Plan/ Prepare   4.2    Review Depositions and exhibits
            Organ
3/5/2020    Larry Communication   0.3    Telephone conference with Cimone Nunley regarding
            Organ                        impeachment documents
3/6/2020    Larry Communication   0.1    Communication from Court re courtcall on Tuesday
            Organ
3/6/2020    Larry Communication   0.2    Phone call with Bernard re scheduling and trial
            Organ
3/6/2020    Larry Plan/ Prepare   6.5    Review expert materials for meeting
            Organ
3/7/2020    Larry Plan/ Prepare   2.5    Prepare for meeting with Oppenheimer
            Organ
3/7/2020    Larry Meet            2.5    Meet with Amy Oppenheimer and travel to and from Berkeley
            Organ
3/9/2020    Larry Communication   0.1    Phone call with Owen Diaz
            Organ
3/9/2020    Larry Deposition      8.9    Deposition of Expert Amy Oppenheimer and travel to and from
            Organ                        San Francisco
3/10/2020   Larry Communication   0.1    Phone call with Dr. Reading's office
            Organ
3/10/2020   Larry Communication   0.3    CourtCall appearance with Judge Orrick re trial scheduling (0.2)
            Organ                        and hold time prior to hearing (0.1)
3/10/2020   Larry Meet            1.2    Meet with Cimone Nunley, Sabrina Grislis, and Susan Organ to
            Organ                        discuss case status and upcoming to do items
3/10/2020   Larry Communication   0.1    Discussion with Cimone Nunley following her call with Cody from
            Organ                        Amy Oppenheimer's office on clarification of invoice
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Date        User Activity           Time   Description
3/11/2020   Larry Plan/ Prepare     6.7    Review depositions and exhibits to prepare for exchange of
            Organ                          information with Tesla
3/11/2020   Larry Communication     0.4    Discussion with Cimone Nunley regarding confidentiality
            Organ                          challenge to West Valley
3/11/2020   Larry Communication     0.1    Discuss missed status conference with Judge Illman with Cimone
            Organ                          Nunley
3/12/2020   Larry Review/ Analyze   0.8    Review costs for accounting to client
            Organ
3/12/2020   Larry Communication     0.5    Meet with client re costs and other strategy issues
            Organ
3/12/2020   Larry Plan/ Prepare     4      Prepare for trial - review exhibits with Susan for exhibit list
            Organ
3/12/2020   Larry Plan/ Prepare     3.4    Prepare for trial - review documents and depo testimony
            Organ
3/12/2020   Larry Communication     0.1    Telephone call with Cimone Nunley about scheduling call with
            Organ                          Bernard Alexander and Harry Plotkin
3/13/2020   Larry Communication     0.1    Email to Tracey Kennedy re meet and confer for pretrial matters
            Organ
3/13/2020   Larry Communication     0.2    Phone call with Bernard re dates for meeting with OC, deadlines
            Organ
3/13/2020   Larry Communication     0.1    Email response to Tracey re preferred date for meeting
            Organ
3/13/2020   Larry Communication     1      Meet with Bernard, Cimone, Harry and Susan re strategy and
            Organ                          tasks, jury selection, MILs
3/13/2020   Larry Plan/ Prepare     3.5    Work with Susan re reviewing exhibits for relevance, foundation
            Organ                          and exhibit list
3/13/2020   Larry Plan/ Prepare     3.4    Review deposition testimony and prepare witness examination
            Organ
3/14/2020   Larry Plan/ Prepare     2.2    Prepare for trial - review exhibits and work on exhibit list
            Organ
3/15/2020   Larry Plan/ Prepare     4.2    Prepare for trial - work with Susan on exhibit list - review prior
            Organ                          exhibits and testimony for foundation issues
3/16/2020   Larry Plan/ Prepare     7      Prepare for trial - review exhibits and testimony for exhibit list
            Organ                          and witness examination
3/17/2020   Larry Plan/ Prepare     6.6    Prepare for trial - review witness testimony and deposition
            Organ                          exhibits to prepare exhibit list and examinations
3/18/2020   Larry Plan/ Prepare     8.4    Prepare for trial - review exhibits and documents and testimony
            Organ                          for preparation of exhibit list
3/19/2020   Larry Plan/ Prepare     7.5    Prepare for trial reviewing exhibits and testimony and work on
            Organ                          exhibit list
3/20/2020   Larry Plan/ Prepare     4.5    work on finalizing exhibit list
            Organ
3/20/2020   Larry Plan/ Prepare     3.5    work on Witness list
            Organ
3/20/2020   Larry Communication     0.4    Telephone conference with Cimone Nunley regarding the new
            Organ                          Supreme Court case relating to section 1981
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Date        User Activity           Time   Description
3/20/2020   Larry Communication     0.2    Telephone conference with Cimone Nunley regarding the
            Organ                          Ellerth/Faragher defense
3/20/2020   Larry Communication     0.2    Telephone conference with Cimone Nunley regarding the
            Organ                          Ellerth/Faragher defense
3/21/2020   Larry Plan/ Prepare     8.5    Prepare for trial - draft and revise jury instructions and research
            Organ                          relating to same
3/21/2020   Larry Communication     0.1    Phone call with Cimone re MILs
            Organ
3/21/2020   Larry Communication     0.1    Follow up Phone call with Cimone re MILs
            Organ
3/22/2020   Larry Communication     0.5    Phone call with Nav and Cimone re MILs and strategy
            Organ
3/22/2020   Larry Communication     0.5    Phone call with Bernard and Cimone re Trial Strategy and Jury
            Organ                          Instructions, Voir Dire, and MILs
3/22/2020   Larry Plan/ Prepare     9.5    Prepare for trial - Draft and revise jury instructions and research
            Organ                          re same and designation of depositions
3/22/2020   Larry Communication     0.1    Phone call with Sabrina re exhibits
            Organ
3/22/2020   Larry Communication     0.1    Email to Bernard re jury instructions
            Organ
3/23/2020   Larry Communication     0.1    Email to Harry Plotkin re Voir Dire
            Organ
3/23/2020   Larry Communication     0.1    PHone call with Sabrina re form of exhibits
            Organ
3/23/2020   Larry Communication     0.1    EMail from Bernard Alexander re juror questionnaire
            Organ
3/23/2020   Larry Communication     0.3    Phone call with Bernard Alexander regarding verdict form and
            Organ                          punitive damages
3/23/2020   Larry Communication     0.1    Email exchange with Tracy re deposition designations
            Organ
3/23/2020   Larry Communication     0.1    Email exchange with Tracey re scheduling of additional days for
            Organ                          meet and confer
3/23/2020   Larry Communication     0.5    Telephone calls with Cimone Nunley regarding MILs, Dr.
            Organ                          Readingâ€™s report, and the trial brief
3/23/2020   Larry Plan/ Prepare     12.7   Prepare for trial - revise trial brief, revise jury instructions and
            Organ                          verdict form and research re same; prepare depo designations
3/23/2020   Larry Review/ Analyze   0.8    Review defendant's documents for pretrial conf.
            Organ
3/24/2020   Larry Meet              0.7    Phone conf. with Bernard, Cimone and Susan to discuss division
            Organ                          of labor and strategy
3/24/2020   Larry Communication     0.1    Phone call with Sabrina re witness information
            Organ
3/24/2020   Larry Plan/ Prepare     8.5    Prepare for pretrial conf by reviewing defense exhibits
            Organ
3/24/2020   Larry Communication     0.2    Telephone conference with Navruz Avloni and Cimone Nunley
            Organ                          regarding me too witnesses, MILs, and punitive damages
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Date        User Activity           Time   Description
3/25/2020   Larry Meet              0.4    Phone call with Bernard and Cimone re strategy prior to call with
            Organ                          Defense counsel tomorrow
3/25/2020   Larry Communication     0.4    Phone call with Cimone re jury instructions and claims
            Organ
3/25/2020   Larry Plan/ Prepare     10.3   Prepare for Pretrial Conf. meeting with OC - review jury
            Organ                          instructions and exhibits to see differences and review other
                                           Pretrial conf. materials
3/26/2020   Larry Meet              0.8    Zoom Meeting with Tracey Kennedy, Patricia Jeng, Susan Haines,
            Organ                          Brett Young, Namal Tantula, Stephanie Limbaugh, Bernard
                                           Alexander and Cimone Nunley to discuss Jury Instructions,
                                           Witness List, Exhibit List, Voir Dire and Juror Questionnaire,
                                           Discovery Designations
3/26/2020   Larry Communication     0.3    Phone call with Cimone and Bernard (after Zoom Meeting) to
            Organ                          discuss strategy
3/26/2020   Larry Communication     0.1    Email to Harry Plotkin re juror questionnaire
            Organ
3/26/2020   Larry Communication     0.1    email to OC re juror questionnaire
            Organ
3/26/2020   Larry Communication     0.1    email to OC with witness list
            Organ
3/26/2020   Larry Communication     0.1    email to OC re jury instructions
            Organ
3/26/2020   Larry Communication     0.1    Email to OC re exhibit list
            Organ
3/26/2020   Larry Review/ Analyze   4.9    Review and analyze exhibit list and defense list to check
            Organ                          similarities and differences and prepare revised exhibit list with
                                           this information
3/26/2020   Larry Communication     0.1    Phone call with Bernard prior to Zoom meeting with OC
            Organ
3/27/2020   Larry Plan/ Prepare     6.5    Review Pretrial documents and deposition testimony
            Organ
3/27/2020   Larry Meet              0.4    Meet with Navruz Avloni and Cimone Nunley regarding trial
            Organ                          strategy
3/28/2020   Larry Plan/ Prepare     4.5    Prepare for pretrial discussions by reviewing documents and
            Organ                          testimony
3/29/2020   Larry Plan/ Prepare     3.9    Review pretrial documents and testimony to prepare for
            Organ                          tomorrow's meeting
3/30/2020   Larry Communication     0.2    Email exchange with Sabrina re deposition transcripts
            Organ
3/30/2020   Larry Meet              0.5    Meet with Tracey et al and Bernard and Cimone re FSC
            Organ                          documents
3/30/2020   Larry Communication     0.4    Phone call with Bernard and Cimone re strategy re FSC
            Organ                          negotiations and tasks
3/30/2020   Larry Research          2.4    Research re Comcast v. NAACP and potential impact on case in
            Organ                          context of harassment cases
3/30/2020   Larry Review/ Analyze   1.5    Review proposed revisions and other issues relating to jury
            Organ                          instructions proposed by Tracey Kennedy
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Date        User Activity           Time   Description
3/30/2020   Larry Communication     0.1    Email from Tracey Kennedy re Jury instructions
            Organ
3/30/2020   Larry Review/ Analyze   1.8    Review Defense depo designations and create table re same with
            Organ                          notes and objections
3/31/2020   Larry Review/ Analyze   0.4    Review and analyze pretrial conference joint statement
            Organ
3/31/2020   Larry Communication     0.2    Email communication with Cimone and Bernard re additions to
            Organ                          pretrial statement
3/31/2020   Larry Review/ Analyze   0.2    Review stipulation and send comments to Bernard and Cimone
            Organ
3/31/2020   Larry Review/ Analyze   0.6    review motions in limine and comment to Cimone Nunley re
            Organ                          edits to Motions in limine
3/31/2020   Larry Plan/ Prepare     4.5    Review deposition testimony for pretrial conference issues
            Organ
3/31/2020   Larry Review/ Analyze   1.3    Analyze Owen Diaz testimony re complaints
            Organ
3/31/2020   Larry Communication     0.2    Telephone conference with Cimone Nunley regarding stipulation
            Organ                          for dismissal and me sending it to Tesla's counsel
4/1/2020    Larry Review/ Analyze   0.6    Review discovery responses
            Organ
4/1/2020    Larry Communication     0.5    Meeting with Tracey et al and Bernard and Cimone
            Organ
4/1/2020    Larry Communication     0.5    Phone conf. with Bernard and Cimone re strategy and task
            Organ                          assignments
4/1/2020    Larry Plan/ Prepare     0.8    Prepare for trial - plan out anticipated cross examination by
            Organ                          Tracey Kennedy
4/1/2020    Larry Communication     0.1    Phone call with Cimone re stipulation on MILs
            Organ
4/1/2020    Larry Review/ Analyze   0.1    Review proposed stipulation on MILs
            Organ
4/1/2020    Larry Communication     0.1    Telephone conference with Cimone Nunley regarding Judge
            Organ                          Orrick's order granting the trial continuance
4/2/2020    Larry Communication     0.4    Call with Bernard Alexander and Cimone Nunley re strategy re
            Organ                          settlement, MIls
4/2/2020    Larry Communication     0.1    Email to Bernard re costs
            Organ
4/2/2020    Larry Communication     0.1    Discussion with Sabrina re witness information
            Organ
4/2/2020    Larry Communication     0.4    Phone conf. with Cimone re in limine motion oppositions
            Organ
4/2/2020    Larry Draft/ Revise     2.6    Review discovery responses of all parties and Revise Plaintiff's
            Organ                          designation of discovery
4/2/2020    Larry Communication     0.1    email to OC with revised discovery designations
            Organ
4/2/2020    Larry Research          0.9    Research re Def. MIL 4 re closing argument
            Organ
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Date       User Activity         Time   Description
4/3/2020   Larry Draft/ Revise   0.5    Review and Revise joint witness list
           Organ
4/3/2020   Larry Communication   0.2    Phone call with Cimone, Nav and Sabrina to discuss witness
           Organ                        information for subpoena for trial
4/3/2020   Larry Communication   0.2    Phone call with Nav re witness information
           Organ
4/3/2020   Larry Communication   0.2    Phone call with Bernard re focus group issues
           Organ
4/3/2020   Larry Communication   0.1    Email from jury consultant
           Organ
4/3/2020   Larry Communication   0.1    Email to jury consultant re focus group
           Organ
4/3/2020   Larry Meet            0.4    Meeting with Tracey Kennedy et al and Bernard and Cimone re
           Organ                        Final Status Conf. Documents -- With respect to current
                                        employees, Tesla said they would accept service for those or at
                                        least coordinate their appearance
4/3/2020   Larry Communication   0.1    Phone call with Sabrina re exhibits
           Organ
4/3/2020   Larry Communication   0.1    Phone call with Bernard and Cimone re assignments
           Organ
4/3/2020   Larry Communication   0.1    Email to Sabrina re objections to deposition designations
           Organ
4/6/2020   Larry Communication   0.1    Phone call with Cimone and Nav and Sabrina re case status
           Organ
4/6/2020   Larry Plan/ Prepare   1.9    Research and editing of Joint Statement of Disputed Issues and
           Organ                        Facts
4/6/2020   Larry Communication   0.1    Email to Bernard and Cimone re Jt. Statement
           Organ
4/6/2020   Larry Research        2.6    Research re Def. Motion In Limine No. 4
           Organ
4/6/2020   Larry Plan/ Prepare   1.4    Review deposition testimony of Joshua Mantz
           Organ
4/6/2020   Larry Communication   0.8    Discuss demonstrative exhibits with Susan Organ
           Organ
4/7/2020   Larry Appearance/     0.3    Status Conf. with Judge Illman and Tracey and Patricia and
           Organ Attend                 Cimone
4/7/2020   Larry Communication   0.6    Phone call with Cimone Nunley and Bernard Alexander re pretrial
           Organ                        statement and other pretrial matters
4/7/2020   Larry Communication   0.6    Phone call with Nav and Cimone re trial prep work
           Organ
4/7/2020   Larry Plan/ Prepare   0.9    Prepare for trial - objections to defendant's discovery
           Organ                        designations
4/7/2020   Larry Plan/ Prepare   6      Prepare for trial - review depo exhibits and trial testimony to
           Organ                        develop demonstratives
4/7/2020   Larry Meet            0.4    Meet with opposing counsel to discuss pretrial matters
           Organ
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Date        User Activity           Time   Description
4/7/2020    Larry Communication     0.2    Telephone conference with Cimone Nunley regarding the
            Organ                          upcoming status conference with Judge Illman
4/8/2020    Larry Communication     0.1    Phone Meeting with Sabrina, Cimone and Nav re tasks
            Organ
4/8/2020    Larry Communication     0.1    Email to staff re Donet deposition
            Organ
4/8/2020    Larry Plan/ Prepare     1.1    Review defendant's depo designations for demetric
            Organ
4/8/2020    Larry Plan/ Prepare     4.2    review exhibits and depo testimony to develop demonstrative
            Organ                          exhibits
4/8/2020    Larry Communication     0.1    Telephone conference with Cimone Nunley regarding MIL on the
            Organ                          exclusion of Plaintiff Owen Diaz's work performance
4/9/2020    Larry Plan/ Prepare     1.8    Review designated depo testimony and prepare objections
            Organ
4/9/2020    Larry Plan/ Prepare     4.4    Review depo testimony and exhibits
            Organ
4/10/2020   Larry Communication     0.5    Phone call with Bernard, Cimone, Navruz and Susan to discuss
            Organ                          trial tasks and strategy
4/10/2020   Larry Plan/ Prepare     1.2    Prepare for trial - finalize objections to deposition testimony and
            Organ                          designated discovery
4/10/2020   Larry Communication     0.1    email to OC re Objections to Defense designations of discovery
            Organ                          and depos
4/10/2020   Larry Review/ Analyze   1.5    Review defense designations and edit objections re same
            Organ
4/10/2020   Larry Communication     0.1    phone conf. with Sabrina re exhibits
            Organ
4/10/2020   Larry Communication     0.1    Phone call with Cimone re witnesses
            Organ
4/10/2020   Larry Plan/ Prepare     0.8    review documents and deposition testimony
            Organ
4/10/2020   Larry Plan/ Prepare     0.7    Review demonstratives and make edits
            Organ
4/10/2020   Larry Plan/ Prepare     0.9    Review transcripts of Tracey Kennedy opening in another case
            Organ
4/11/2020   Larry Communication     0.1    Communication from Tracey Kennedy re objections
            Organ
4/11/2020   Larry Review/ Analyze   0.1    Review proposed change to designations
            Organ
4/11/2020   Larry Communication     0.1    Email to Tracey Kennedy
            Organ
4/11/2020   Larry Communication     0.1    Email from Nav re Joint Statement
            Organ
4/11/2020   Larry Communication     0.1    Communication to team re joint statement
            Organ
4/11/2020   Larry Communication     0.2    Communication with Cimone re strategy
            Organ
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Date        User Activity           Time   Description
4/11/2020   Larry Draft/ Revise     0.9    Revise joint statement
            Organ
4/11/2020   Larry Plan/ Prepare     1.8    Review exhibits and Review documents to add to exhibits
            Organ
4/11/2020   Larry Communication     0.1    Email from Tracey re my email
            Organ                          To her
4/12/2020   Larry Draft/ Revise     1.5    Revise Joint Statement of Disputed Facts and Law
            Organ
4/12/2020   Larry Communication     0.1    communication with staff re legal issue
            Organ
4/12/2020   Larry Plan/ Prepare     1.7    Prepare for trial - review jury instructions and revise and legal
            Organ                          research re same
4/13/2020   Larry Communication     0.5    Discuss theme with jury consultant
            Organ
4/13/2020   Larry Communication     0.2    Telephone call with Cimone Nunley regarding resetting the call
            Organ                          with opposing counsel
4/14/2020   Larry Research          4.1    Research section 1981 case law regarding liability issues
            Organ
4/15/2020   Larry Communication     0.2    Phone call with Navruz re section 1981 standards
            Organ
4/16/2020   Larry Communication     0.6    Meet with Tracey et al re joint statement and other tasks
            Organ
4/16/2020   Larry Meet              1      Phone conf. with Nav and Cimone re strategy
            Organ
4/16/2020   Larry Communication     0.1    Email from Susan Haines re witness list
            Organ
4/16/2020   Larry Draft/ Revise     0.4    Revise Joint Witness List
            Organ
4/16/2020   Larry Communication     0.1    Email to Susan Haines re revised witness list
            Organ
4/16/2020   Larry Review/ Analyze   0.8    Review and revise demonstratives
            Organ
4/16/2020   Larry Research          1.5    jury instructions research
            Organ
4/16/2020   Larry Plan/ Prepare     2      prepare for trial by reviewing joint statement and exhibit list
            Organ
4/16/2020   Larry Communication     0.1    Phone call with Cimone Nunley to provide clarification on two
            Organ                          items from our meeting with Defense counsel
4/17/2020   Larry Meet              2.1    Meet with Bernard, Harry, Cimone, Nav, Sabrina, and Susan re
            Organ                          themes and strategy for trial
4/17/2020   Larry Plan/ Prepare     0.6    Review times for witnesses and revise joint witness list and
            Organ                          spreadsheet summary of times
4/17/2020   Larry Communication     0.1    Email to Stephanie L. re Defense Exhibits
            Organ
4/17/2020   Larry Communication     0.1    Email to Susan Haines re witness list and times for trial
            Organ
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Date        User Activity           Time   Description
4/18/2020   Larry Draft/ Revise     3.1    Revise Jury Instructions
            Organ
4/18/2020   Larry Communication     0.1    Email exchange with Tracey re juror questionnaire
            Organ
4/18/2020   Larry Draft/ Revise     0.3    Review and revise juror questionnaire
            Organ
4/18/2020   Larry Communication     0.1    Email to Harry re juror questionnaire
            Organ
4/18/2020   Larry Communication     0.1    Phone call with Cimone re MILs
            Organ
4/19/2020   Larry Plan/ Prepare     0.3    Prepare for trial - review juror questionnaire and email
            Organ                          correspondence with Harry and Bernard re same
4/19/2020   Larry Communication     0.1    Email to Tracey Kennedy re juror questionnaire
            Organ
4/19/2020   Larry Communication     0.1    communication with Bernard re remaining tasks
            Organ
4/19/2020   Larry Plan/ Prepare     7.5    Prepare for trial - review and edit in limine motions and research
            Organ                          re same
4/20/2020   Larry Communication     0.1    email from Tracey re juror questionnaire
            Organ
4/20/2020   Larry Communication     0.1    Email to juror consultant re questionnaire
            Organ
4/20/2020   Larry Communication     0.6    phone call with Cimone re MILs and strategy issue
            Organ
4/20/2020   Larry Draft/ Revise     1.4    Revise jury instructions
            Organ
4/20/2020   Larry Communication     0.1    Email to Tracey re jury instructions revisions
            Organ
4/20/2020   Larry Communication     0.3    Communication with Bernard Alexander re settlement demand
            Organ
4/20/2020   Larry Review/ Analyze   2      Review and analyze and draft objections to Defendant's
            Organ                          proposed exhibits
4/20/2020   Larry Meet              0.3    Zoom meeting with Tracey et al re joint statement tasks including
            Organ                          exhibit issue
4/20/2020   Larry Draft/ Revise     1.5    Further Revise Plaintiff's MILs
            Organ
4/20/2020   Larry Draft/ Revise     0.3    Additional revisions to Plaintiff's MILs
            Organ
4/20/2020   Larry Review/ Analyze   1.7    Begin reviewing Defendant's MILs as filed
            Organ
4/21/2020   Larry Review/ Analyze   0.5    Additional Review of defense MILs
            Organ
4/21/2020   Larry Communication     0.1    Phone call with Nav re Diaz timing
            Organ
4/21/2020   Larry Research          1.5    Research re Defense MILs
            Organ
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Date        User Activity         Time   Description
4/21/2020   Larry Communication   0.5    Phone conf. with Cimone re Defense MILs
            Organ
4/22/2020   Larry Communication   0.4    Phone call with Cimone Nunley re Defense MILs
            Organ
4/22/2020   Larry Communication   0.1    Email to Tracey Kennedy re contact information for Jeff Henry
            Organ
4/22/2020   Larry Communication   0.1    Phone call with Sabrina re OCRing exhibits
            Organ
4/22/2020   Larry Plan/ Prepare   6.4    Prepare for Trial -- Review Defense Exhibits and prepare
            Organ                        objections and work product analysis of exhibits
4/22/2020   Larry Communication   0.1    Telephone call with Navruz Avloni and Cimone Nunley regarding
            Organ                        jury instructions
4/23/2020   Larry Plan/ Prepare   0.9    Further review and analysis of Defendant's exhibits
            Organ
4/23/2020   Larry Communication   0.2    Phone call with Cimone re MIL oppositions
            Organ
4/23/2020   Larry Plan/ Prepare   1.8    Additional review of exhibits to check for duplicates and
            Organ                        substantive differences if any between similar exhibits in
                                         Defendant's production and Plaintiff's
4/23/2020   Larry Plan/ Prepare   0.4    Prepare for Pretrial Conference - review latest changes to jury
            Organ                        instructions
4/24/2020   Larry Meet            0.5    Zoom Meeting with Tracey et al re exhibits, jury instructions and
            Organ                        joint statement - discussion of Agency and perhaps lack of need
                                         for 4 series
4/24/2020   Larry Communication   0.3    Phone call with Cimone and Bernard re division of labor
            Organ
4/24/2020   Larry Communication   0.2    Phone call with Cimone re MILs and tasks
            Organ
4/24/2020   Larry Draft/ Revise   1.1    Revise Joint Exhibit List with duplicates
            Organ
4/24/2020   Larry Communication   0.1    Email to Tracey re Joint Exhibit List
            Organ
4/24/2020   Larry Communication   0.1    Phone conf. with client re witness information
            Organ
4/24/2020   Larry Communication   0.1    Email to Tracey re witness list
            Organ
4/24/2020   Larry Draft/ Revise   1.5    Review and revise joint jury instructions
            Organ
4/24/2020   Larry Communication   0.1    email to Bernard re jury instructions
            Organ
4/24/2020   Larry Communication   0.1    Email from Tracey - review witness list - email response
            Organ
4/25/2020   Larry Draft/ Revise   1.6    Revise Jury instructions and review proposed changes by Bernard
            Organ
4/25/2020   Larry Communication   0.2    Phone conf. with Bernard re jury Instructions
            Organ
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Date        User Activity           Time   Description
4/25/2020   Larry Communication     0.1    Email exchange with Team re Focus Group
            Organ
4/25/2020   Larry Communication     0.1    email to Tracey Kennedy re Jury instructions
            Organ
4/25/2020   Larry Draft/ Revise     4      Draft and revise MIL 4 opposition
            Organ
4/25/2020   Larry Communication     0.1    Email to Bernard with MIL 4 opposition
            Organ
4/26/2020   Larry Draft/ Revise     0.4    Review Bernard Alexander's edits to MIL 4 and make additional
            Organ                          edits to put in final
4/26/2020   Larry Communication     0.7    Phone conf. with Cimone re MIL strategy and approach and cases
            Organ
4/26/2020   Larry Draft/ Revise     2.2    Revise MIL 1 draft and research re same
            Organ
4/26/2020   Larry Draft/ Revise     3.3    Review, research and revise joint statement
            Organ
4/26/2020   Larry Communication     0.1    Email to Cimone re MIL 1
            Organ
4/26/2020   Larry Communication     0.1    Email to Tracey Kennedy re Joint statement
            Organ
4/27/2020   Larry Communication     0.2    Phone call with Cimone re contract theory issues
            Organ
4/27/2020   Larry Communication     0.3    Meeting with Tracey re joint documents
            Organ
4/27/2020   Larry Draft/ Revise     0.8    Review and revise jury instructions
            Organ
4/27/2020   Larry Draft/ Revise     0.4    Review and revise witness list
            Organ
4/27/2020   Larry Communication     0.1    Email to Sabrina re Jury Instruction document
            Organ
4/27/2020   Larry Communication     0.1    Email to Tracey re Witness List
            Organ
4/27/2020   Larry Draft/ Revise     1.2    Review and revise the Joint Statement
            Organ
4/27/2020   Larry Communication     0.1    Email revised Joint statement to Tracey Kennedy
            Organ
4/27/2020   Larry Review/ Analyze   1.7    Review and revise Joint Exhibit list - analyze defendant's
            Organ                          designations and revise some of Plaintiff's designations
4/27/2020   Larry Draft/ Revise     1.1    Draft Voir Dire and review pleading for juror Questionnaire
            Organ
4/27/2020   Larry Communication     0.1    Email to Tracey regarding Juror Questionnaire and email re voir
            Organ                          dire questions
4/27/2020   Larry Review/ Analyze   0.4    Review jury instructions
            Organ
4/27/2020   Larry Communication     0.1    Email to Tracey Kennedy re jury instructions
            Organ
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Date        User Activity           Time   Description
4/27/2020   Larry Review/ Analyze   1      Review and revise witness list - compare with prior drafts and
            Organ                          make edits and accept edits from OC
4/27/2020   Larry Communication     0.1    Email to OC re witness list
            Organ
4/27/2020   Larry Communication     0.1    Email requesting latest versions of discovery and deposition
            Organ                          designations
4/27/2020   Larry Draft/ Revise     1.8    Review and revise designations of discovery and depositions
            Organ
4/27/2020   Larry Communication     0.1    Email to OC with all documents prepared to file
            Organ
4/27/2020   Larry Communication     0.1    EMail from OC re discovery designations and email response
            Organ                          thereto
4/27/2020   Larry Communication     0.1    Phone call with Sabrina re filing Pretrial conference documents
            Organ
4/27/2020   Larry Communication     0.1    Follow up phone call with Sabrina re filing documents
            Organ
4/27/2020   Larry Communication     0.1    Additional follow up phone call with Sabrina re filing documents
            Organ
4/28/2020   Larry Plan/ Prepare     3.5    Work on in limine oppositions - review depositions of Annalisa
            Organ                          Heisen and Erin Marconi re defendant's policies
4/28/2020   Larry Communication     0.3    Phone call with Cimone re MILs
            Organ
4/28/2020   Larry Communication     0.1    Communication with Bernard re MILs
            Organ
4/28/2020   Larry Draft/ Revise     4.8    Revise MIL opposition papers
            Organ
4/29/2020   Larry Communication     0.8    Review proposed revised jury instruction 10.6 by Patricia Jeng
            Organ                          and compare to old version and Model Instructions. Draft email
                                           re same and send
4/29/2020   Larry Communication     0.1    email to Tracey re filing under seal
            Organ
4/29/2020   Larry Review/ Analyze   0.8    Review exhibits to Haines declaration re MILs
            Organ
4/29/2020   Larry Communication     0.1    Phone call to Cimone re Defense exhibits to MILs
            Organ
4/29/2020   Larry Communication     0.1    Phone call to Cimone re MIL brief
            Organ
4/29/2020   Larry Review/ Analyze   0.2    Review and analyze court orders re filing documents
            Organ
4/29/2020   Larry Communication     0.1    Phone call with Tracey Kennedy re filing documents under seal
            Organ                          and court's orders re same
4/29/2020   Larry Communication     0.1    Follow up email to Tracey to inform her that we are filing our
            Organ                          MILs not under seal
4/29/2020   Larry Communication     0.1    Phone call with Cimone re filing under seal and need to file MILs
            Organ                          not under seal
4/29/2020   Larry Review/ Analyze   2.4    Review and analyze deposition testimony re Tesla's defenses
            Organ
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Date        User Activity           Time   Description
4/29/2020   Larry Review/ Analyze   1.8    Review Defendant's MIL oppositions
            Organ
4/30/2020   Larry Review/ Analyze   1.3    Review filed documents
            Organ
4/30/2020   Larry Communication     0.2    Email from Patricia Jeng re jury instructions and response thereto
            Organ
5/1/2020    Larry Communication     0.2    phone call with Cimone and Bernard re Illman email and
            Organ                          demonstratives
5/1/2020    Larry Communication     0.1    Email from Bernard re response from Tracey Kennedy to
            Organ                          mediation demand
5/1/2020    Larry Communication     0.1    communication to Judge Illman's clerk re mediation response by
            Organ                          Tesla
5/4/2020    Larry Communication     0.5    phone call with Cimone re evidence issue, contract issue
            Organ
5/4/2020    Larry Plan/ Prepare     2.5    Prepare for trial - review exhibits and create chart re importance
            Organ                          or how we plan to use each document
5/4/2020    Larry Communication     0.1    Email exchange with Susan Haines re exhibit 3
            Organ
5/4/2020    Larry Review/ Analyze   0.9    Review and analyze exhibit 3 and its unredacted portions and
            Organ                          review court's order and declaration of Defense witness
5/4/2020    Larry Communication     0.1    Phone call with Cimone Nunley regarding state court case
            Organ                          management statement
5/6/2020    Larry Communication     1      GoToMeeting session with Susan Haines and Cimone Nunley re
            Organ                          redactions to exhibit 3 (Tesla Master Services Agreement with
                                           NextSource)
5/6/2020    Larry Communication     0.1    phone call with Cimone re next steps
            Organ
5/6/2020    Larry Plan/ Prepare     1.5    Prepare for meeting with Susan Haines re Exhibit 3 - review
            Organ                          redactions and declaration of Athina Martinez
5/7/2020    Larry Review/ Analyze   0.4    Analyze defendant's oppositions to MILs
            Organ
5/7/2020    Larry Communication     0.5    Phone call with Cimone and Bernard re Pretrial Conference
            Organ                          assignments
5/7/2020    Larry Communication     0.1    Email to Cimone and Bernard re assignments for Pretrial
            Organ                          conference
5/8/2020    Larry Meet              0.7    Zoom meeting with Tracey Kennedy
            Organ
5/8/2020    Larry Communication     0.1    Phone call with Bernard and Cimone re follow up to meeting
            Organ
5/8/2020    Larry Communication     0.1    Phone call with Cimone Nunley and Bernard Alexander after
            Organ                          meeting with defense counsel today
5/8/2020    Larry Communication     0.8    Discuss with Cimone Nunley oral arguments for Monday
            Organ
5/8/2020    Larry Plan/ Prepare     6      Prepare for Pretrial conference
            Organ
5/9/2020    Larry Plan/ Prepare     5      Prepare for pretrial conference - review Pretrial conference
            Organ                          materials - review cases on jury instructions
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Date        User Activity           Time   Description
5/10/2020   Larry Plan/ Prepare     8.5    Prepare for pretrial conference - review pretrial conf. materials
            Organ                          and review MILs as well as relevant case law cited therein
5/11/2020   Larry Appearance/       1.4    Appear for Pretrial conference
            Organ Attend
5/11/2020   Larry Communication     0.4    Phone Conf with Bernard and Cimone after pretrial conference
            Organ
5/11/2020   Larry Communication     0.9    Phone conference with Cimone going over argument
            Organ
5/11/2020   Larry Plan/ Prepare     2      Prepare for Pretrial conference
            Organ
5/14/2020   Larry Communication     0.2    Phone call with Bernard re mediation
            Organ
5/14/2020   Larry Communication     0.1    Email from Judge Illman's clerk
            Organ
5/14/2020   Larry Communication     0.3    Phone call with Judge Illman re mediation
            Organ
5/14/2020   Larry Communication     0.3    Telephone conference with Cimone Nunley regarding MILs
            Organ
5/15/2020   Larry Communication     0.1    Notice from Court re trial postponement to September 28
            Organ
5/15/2020   Larry Communication     0.2    communication with Cimone re trial continuance
            Organ
5/17/2020   Larry Communication     0.1    Email to Harry Plotkin re trial continuance
            Organ
5/17/2020   Larry Communication     0.1    Email to Amy Oppenheimer re trial continuance
            Organ
5/17/2020   Larry Communication     0.1    Email to Charles Mahla re trial continuance
            Organ
5/17/2020   Larry Communication     0.1    Email to Anthony Reading re trial continuance
            Organ
5/17/2020   Larry Communication     0.1    Email to Bernard re attorney's fees and costs to relay to Judge
            Organ                          Illman
5/18/2020   Larry Communication     0.1    email exchange with Gustin Ham (Alexander firm) re costs and
            Organ                          attorney's fees
5/18/2020   Larry Communication     0.1    Email to court clerk Gloria Knudson with rough attorney's fees
            Organ                          and costs as of this date
5/19/2020   Larry Communication     0.2    Telephone conference with Cimone Nunley regarding case status
            Organ                          and next steps
5/22/2020   Larry Meet              0.7    communication with Bernard, Cimone, Nav re MIL rulings and
            Organ                          witnesses and opening and closing
5/22/2020   Larry Review/ Analyze   0.2    Review MILs
            Organ
6/10/2020   Larry Draft/ Revise     1.8    Draft Closing argument and review race related materials for
            Organ                          closing
6/10/2020   Larry Review/ Analyze   0.3    Review trial guidelines for federal judiciary jury trials
            Organ
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Date        User Activity           Time   Description
6/16/2020   Larry Plan/ Prepare     6      Prepare for strategy meeting by reviewing orders and evidence in
            Organ                          case to develop case themes and assess evidence in light of
                                           motions in limine rulings
6/16/2020   Larry Plan/ Prepare     1.6    Brainstorm with Susan for themes
            Organ
6/16/2020   Larry Review/ Analyze   1.5    Review and analyze latest supreme court case on discrimination
            Organ
6/17/2020   Larry Plan/ Prepare     2.5    More review and preparation for meeting with Harry, Bernard,
            Organ                          Cimone and Susan
6/17/2020   Larry Meet              1.6    Meet with Harry, Bernard, Cimone, Susan and Sabrina and intern
            Organ                          re case themes and strategy
6/17/2020   Larry Communication     0.1    Email from Harry Plotkin re focus group
            Organ
6/17/2020   Larry Communication     0.1    Email to Bernard re focus group
            Organ
6/17/2020   Larry Communication     0.1    Email from Bernard re focus group
            Organ
6/17/2020   Larry Draft/ Revise     2.5    Witness order and assignments chart
            Organ
6/25/2020   Larry Communication     0.1    Email exchange re focus group dates
            Organ
6/25/2020   Larry Communication     0.2    Review email from Sabrina and respond re new witness Robin
            Organ                          Aylsworth
7/22/2020   Larry Plan/ Prepare     4.3    Prepare for trial - prepare witness examinations
            Organ
7/25/2020   Larry Draft/ Revise     2.6    Witness examinations
            Organ
7/29/2020   Larry Communication     0.7    Communication with Mika Hilaire and Sabrina and Susan and
            Organ                          Cimone and Bernard re focus group
7/29/2020   Larry Review/ Analyze   1      Review materials for phone conference with Mika
            Organ
7/29/2020   Larry Draft/ Revise     0.6    Work on demonstratives re trial prep
            Organ
7/30/2020   Larry Plan/ Prepare     3      Prepare for trial - defense demonstratives for focus group
            Organ
7/30/2020   Larry Plan/ Prepare     4.5    Prepare for trial - witness examination of Ed Romero
            Organ
7/31/2020   Larry Plan/ Prepare     4.3    Prepare for trial - prepare examinations
            Organ
7/31/2020   Larry Draft/ Revise     2.1    Revise demonstrative exhibits for focus group
            Organ
8/1/2020    Larry Plan/ Prepare     3.6    Prepare for trial - witness examinations
            Organ
8/3/2020    Larry Draft/ Revise     0.9    prepare jury instructions for focus group
            Organ
8/3/2020    Larry Draft/ Revise     2.5    Revise demonstrative exhibits for focus group
            Organ
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Date        User Activity           Time   Description
8/5/2020    Larry Communication     0.1    Call with Navruz Avloni regarding focus group
            Organ
8/6/2020    Larry Plan/ Prepare     2.8    Prepare for meeting with Mika and Harry
            Organ
8/6/2020    Larry Meet              1.3    Meet with Mika, Harry, Susan, Cimone, Nav
            Organ
8/7/2020    Larry Plan/ Prepare     6      Review exhibits and testimony and revise PowerPoint slides for
            Organ                          focus group
8/7/2020    Larry Communication     0.1    Telephone call with Cimone Nunley regarding deposition videos
            Organ
8/8/2020    Larry Draft/ Revise     4.5    Draft witness examination for Tom Kawasaki
            Organ
8/10/2020   Larry Plan/ Prepare     3      Prepare for trial - witness examination - Lamar Patterson
            Organ
8/11/2020   Larry Plan/ Prepare     1.2    Prepare for Focus Group - Meet with Bernard and Team
            Organ
8/11/2020   Larry Plan/ Prepare     0.9    Prepare for focus group - Review Owen Testimony to pull
            Organ                          segments for video presentation to focus group
8/11/2020   Larry Communication     0.1    Email Diaz depo cites to Bernard for pulling for focus group
            Organ
8/11/2020   Larry Communication     0.1    Telephone call with Cimone Nunley regarding focus group
            Organ                          preparation
8/13/2020   Larry Plan/ Prepare     4.5    Prepare for focus group - review materials and edit powerpoint
            Organ
8/14/2020   Larry Meet              0.5    Meet with Cimone, Sabrina and Susan re Focus Group
            Organ
8/14/2020   Larry Communication     0.1    Phone call with Harry re focus group
            Organ
8/14/2020   Larry Communication     0.2    Communication with team re juror questionnaire and focus
            Organ                          group
8/14/2020   Larry Review/ Analyze   0.2    Review juror questionnaire
            Organ
8/14/2020   Larry Plan/ Prepare     7.7    Prepare for trial - prepare for focus group tomorrow - revise
            Organ                          materials and review documents for potential use
8/15/2020   Larry Plan/ Prepare     5.1    Prepare for trial -- attend focus group
            Organ
8/15/2020   Larry Meet              0.9    Meet with Focus Group team to debrief
            Organ
8/17/2020   Larry Communication     1.7    Phone conf. with Bernard Alexander re focus group, trial strategy
            Organ                          and witness examinations and order
8/17/2020   Larry Communication     0.2    Email exchanges for trial team re meeting this week re strategy
            Organ
8/17/2020   Larry Plan/ Prepare     6.5    Prepare for trial - review witness testimony and exhibits
            Organ
8/17/2020   Larry Communication     0.1    Telephone conference with Navruz Avloni regarding trial strategy
            Organ                          and the focus group
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Date        User Activity           Time   Description
8/18/2020   Larry Communication     0.1    email to Cimone re exhibits
            Organ
8/18/2020   Larry Communication     0.1    Phone call with Cimone re exhibits
            Organ
8/19/2020   Larry Meet              1.6    Meet with Bernard, Cimone, Susan, Nav, Sabrina and Harry to
            Organ                          discuss trial themes and strategy in light of focus group
                                           information
8/19/2020   Larry Plan/ Prepare     2.5    Prepare for trial - review testimony and exhibits
            Organ
8/20/2020   Larry Plan/ Prepare     0.8    prepare for discussions of case
            Organ
8/21/2020   Larry Plan/ Prepare     5      Prepare for trial - witness examinations and prepare for prep
            Organ                          session with client on Monday
8/21/2020   Larry Draft/ Revise     1.1    Revise demonstrative exhibits for trial
            Organ
8/21/2020   Larry Draft/ Revise     0.8    Review and edit Juror Questionnaire re covid issues
            Organ
8/21/2020   Larry Communication     0.1    Email to Tracey Kennedy re edits to juror questionnaire
            Organ
8/23/2020   Larry Review/ Analyze   3.6    Review and Analyze exhibits used by Defendant during
            Organ                          deposition
8/24/2020   Larry Communication     0.1    E-message from Court re vacated FSC and setting of CMC
            Organ
8/24/2020   Larry Meet              0.5    Meet with client and Bernard to discuss trial continuance and
            Organ                          steps to get ready for trial
8/24/2020   Larry Plan/ Prepare     0.7    Prepare for trial - review an edit demonstratives for trial
            Organ
8/28/2020   Larry Draft/ Revise     1.7    Revise Demonstrative Exhibits
            Organ
8/31/2020   Larry Draft/ Revise     0.8    Revise Demonstrative exhibits
            Organ
9/1/2020    Larry Appearance/       0.2    Appear for CMC with Judge and Cimone, Bernard, Tracey
            Organ Attend                   Kennedy, Susan Haines - Judge put over trial to Jan 19 with CMC
                                           on Dec 15 at 2:00 pm -- Judge said they are bringing in jurors in
                                           groups of 20 spread throughout the courtroom - Bernard raised
                                           issue of jury consultant
9/1/2020    Larry Communication     0.1    Follow up call with Bernard and Cimone re new schedule
            Organ
9/1/2020    Larry Communication     0.1    Follow up call with Cimone re tasks
            Organ
9/1/2020    Larry Communication     0.1    communication with Harry Plotkin re new trial date
            Organ
9/1/2020    Larry Communication     0.1    communication with Charles Mahla re new trial date
            Organ
9/8/2020    Larry Communication     0.1    Telephone conference with Cimone Nunley regarding my
            Organ                          availability for the mandatory settlement conference
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Date         User Activity         Time   Description
9/10/2020    Larry Communication   0.1    Phone call with Cimone re settlement conf. statement
             Organ
9/23/2020    Larry Communication   0.1    Phone conf. with Cimone, Sabrina and Nav re settlement
             Organ                        conference
9/24/2020    Larry Communication   0.2    Phone call with Owen Diaz re status and MSC on Nov. 13 at 10:00
             Organ                        am
10/23/2020   Larry Meet            0.9    Strategy meeting
             Organ
11/2/2020    Larry Meet            1      Meet with Bernard, Cimone, Nav and Susan re strategy for trial
             Organ                        and settlement conference
11/2/2020    Larry Communication   0.2    Text messages to client re mandatory settlement conference
             Organ
11/12/2020   Larry Communication   0.4    Phone call with Nav re trial prep
             Organ
11/12/2020   Larry Communication   0.1    Call with Sabrina re trial
             Organ
11/13/2020   Larry Appearance/     1.3    Settlement conference - Mediator's proposal
             Organ Attend
11/13/2020   Larry Communication   0.7    Telephone conf. with client and Bernard and Cimone re
             Organ                        mediator's proposal and then conversation with Bernard and
                                          Cimone re strategy
11/20/2020 Larry Communication     0.2    Telephone call with Cimone Nunley to gather the email address
           Organ                          for settlement communications for Judge Illman
11/28/2020 Larry Communication     0.2    Email to Tracey Kennedy re exhibit designations, exhibit tabs,
           Organ                          witness information
11/28/2020 Larry Communication     0.1    Phone call with Cimone re exhibits
           Organ
12/2/2020 Larry Communication      0.2    Telephone conference with Cimone Nunley
           Organ
12/7/2020 Larry Communication      0.1    Phone call with Cimone re exhibits
           Organ
12/7/2020 Larry Review/ Analyze    1.4    Exhibit lists and exhibits
           Organ
12/7/2020 Larry Meet               0.8    Meet with Tracey Kennedy, Susan Haines, and Cimone Nunley re
           Organ                          trial issues
12/7/2020 Larry Communication      0.1    Phone call with Cimone re witness issues
           Organ
12/8/2020 Larry Communication      0.3    Telephone conference with Bernard Alexander and Cimone
           Organ                          Nunley regarding trial continuance
12/14/2020 Larry Plan/ Prepare     3      Prepare for CMC
           Organ
12/15/2020 Larry Plan/ Prepare     2.5    Prepare for CMC - review Jury instructions and legal authority
           Organ                          therein and legal research re Comcast decision
12/15/2020 Larry Appearance/       0.5    Appear for CMC - Trial reset to April 26
           Organ Attend
12/15/2020 Larry Communication     0.1    Phone conf. with Bernard and Cimone re CMC after hearing
           Organ
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Date       User Activity          Time   Description
12/15/2020 Larry Appearance/      0.5    Appear for Settlement Conference
           Organ Attend
12/15/2020 Larry Communication    0.1    Phone conf. with Bernard and Cimone after settlement
           Organ                         conference
12/15/2020 Larry Communication    0.1    Email to staff regarding trial continuance
           Organ
2/11/2021 Larry Communication     0.2    Phone call with Cimone re trial date
           Organ
2/16/2021 Larry Communication     0.4    Meet with OC and co-counsel re Trial dates
           Organ
2/18/2021 Larry Communication     0.2    Phone conf. with client re continuance
           Organ
2/24/2021 Larry Review/ Analyze   0.7    Review Owen Diaz testimony in Lambert arbitration and compare
           Organ                         to depositions
2/27/2021 Larry Plan/ Prepare     1.8    Work on Annalisa Heisen examination
           Organ
3/2/2021   Larry Communication    0.1    Order from court continuing trial
           Organ
3/2/2021   Larry Communication    0.1    Emails from experts confirming change of trial date and
           Organ                         availability
3/2/2021   Larry Communication    0.1    Email from court re trial continuance
           Organ
3/2/2021   Larry Communication    0.1    Phone call with Cimone re trial continuance and settlement
           Organ                         conference
3/2/2021   Larry Communication    0.1    Review emails to experts re availability for new trial date
           Organ
4/15/2021 Larry Communication     0.2    Phone conf. with Owen re case status
           Organ
6/15/2021 Larry Appearance/       0.2    Attend status conference with Judge Illman
           Organ Attend
6/15/2021 Larry Communication     0.2    Post settlement conference call with Bernard Alexander and
           Organ                         Cimone Nunley regarding next steps
6/22/2021 Larry Meet              0.8    Meet with Bernard, Cimone and Sabrina re preparation for trial
           Organ                         and task lists
6/27/2021 Larry Communication     0.1    email exchange with client re meeting
           Organ
6/27/2021 Larry Communication     0.2    Email to Sabrina re review of deposition transcripts
           Organ
7/16/2021 Larry Meet              1.1    Zoom meeting with Bernard and Cimone re opening statement
           Organ
7/16/2021 Larry Plan/ Prepare     1.4    Prepare for Meeting with Owen Diaz
           Organ
7/17/2021 Larry Plan/ Prepare     0.8    Prepare for meeting with Owen Diaz
           Organ
7/17/2021 Larry Meet              1.7    Meet with Owen Diaz via Zoom re prepare for trial
           Organ
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Date        User Activity         Time   Description
7/17/2021   Larry Communication   0.1    Email to Sabrina re exhibits and deposition transcript
            Organ
7/19/2021   Larry Meet            1.7    Meet with Owen Diaz and team to discuss case
            Organ
7/19/2021   Larry Communication   0.3    Phone conf. with Bernard, Cimone and Harry Plotkin re focus
            Organ                        group
7/19/2021   Larry Communication   0.3    Phone call with Bernard re focus group
            Organ
7/27/2021   Larry Communication   0.1    Communication with Harry Plotkin re focus group
            Organ
7/27/2021   Larry Communication   0.3    Phone conf. with Harry Plotkin, Cimone Nunley and Bernard
            Organ                        Alexander
8/4/2021    Larry Communication   0.4    Email exchange with Harry Plotkin and co-counsel re focus group
            Organ
8/6/2021    Larry Draft/ Revise   5.5    Review trial materials and work on script for new focus group
            Organ
8/7/2021    Larry Communication   0.1    communication with client re trial issues
            Organ
8/8/2021    Larry Communication   0.1    Communication with Tom Kawasaki - He is working in SF as a
            Organ                        plumber and is available to testify
8/9/2021    Larry Plan/ Prepare   3.8    Prepare for CMC - review exhibits, jury instructions, and
            Organ                        witnesses
8/10/2021   Larry Plan/ Prepare   3.1    Prepare for Case Management Conference/Trial Readiness -
            Organ                        review jury instructions and legal research re same and review
                                         exhibits
8/10/2021   Larry Appearance/     0.1    Appear for Case Management/Trial Readiness Conference - We
            Organ Attend                 are 5th on list -- trial may be continued to October 12 - Patti Jeng
                                         will check with Tracey to see her availability
8/10/2021   Larry Communication   0.1    Conversation with client re trial date
            Organ
8/16/2021   Larry Meet            4.2    Meet with trial team for trial prep
            Organ
8/16/2021   Larry Communication   0.1    Email to Bernard Alexander re trial prep issues
            Organ
8/16/2021   Larry Communication   0.1    Email to Harry Plotkin re focus group
            Organ
8/18/2021   Larry Meet            1.4    Meet with Harry Plotkin re jury selection and focus groups (.6)
            Organ                        and continue meeting with Bernard, Cimone and Sabrina re
                                         opening statement, witness examinations, and exhibits (.7)
8/21/2021   Larry Plan/ Prepare   2.4    Prepare for trial by reviewing exhibits
            Organ
8/22/2021   Larry Plan/ Prepare   3.1    Prepare for trial by reviewing and organizing exhibits for
            Organ                        impeachment purposes
8/24/2021   Larry Communication   0.1    Call with Cimone Nunley regarding focus group logistics
            Organ
8/27/2021   Larry Communication   0.3    Call with Cimone Nunley regarding email from defense counsel
            Organ                        Patricia Jeng
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Date        User Activity           Time   Description
8/30/2021   Larry Plan/ Prepare     7.6    Work on witness examinations for trial -- Annalisa Heisen & Erin
            Organ                          Marconi
9/2/2021    Larry Communication     0.2    Call with Cimone Nunley regarding outstanding tasks for focus
            Organ                          group
9/3/2021    Larry Plan/ Prepare     6.7    prepare for focus group
            Organ
9/3/2021    Larry Communication     0.4    Call with Cimone Nunley regarding logistics for September 5
            Organ                          focus group
9/3/2021    Larry Meet              0.1    Meet with Cimone Nunley and Sabrina Grislis to discuss the focus
            Organ                          group
9/4/2021    Larry Plan/ Prepare     13.5   Prepare for focus group - edit script and demonstratives
            Organ
9/5/2021    Larry Plan/ Prepare     2      Prepare for focus group prior to focus group
            Organ
9/5/2021    Larry Appearance/       4.1    Attend focus group - present plaintiff's case - Bernard presented
            Organ Attend                   Tesla in morning and Nav in the afternoon
9/5/2021    Larry Meet              0.4    Meet with Cimone Nunley, Navruz Avloni, Sabrina Grislis, and
            Organ                          Susan Organ after focus groups to debrief
9/5/2021    Larry Plan/ Prepare     1      Prepare for panel 2 focus group in between panels
            Organ
9/7/2021    Larry Appearance/       0.2    Appear for status conference
            Organ Attend
9/7/2021    Larry Communication     0.4    communication with Bernard and Cimone
            Organ
9/7/2021    Larry Communication     0.3    Phone conf. with Cimone re trial tasks
            Organ
9/7/2021    Larry Communication     0.2    Email to Stephanie Limbaugh re unreceived email
            Organ
9/7/2021    Larry Communication     0.1    Additional email exchange with Stephanie Limbaugh
            Organ
9/8/2021    Larry Plan/ Prepare     6.1    Prepare for trial prep session with Owen -- review deposition
            Organ                          testimony
9/9/2021    Larry Meet              4.9    Meet with client, Bernard, Cimone, and Susan to prepare for trial
            Organ
9/9/2021    Larry Communication     0.3    Meet with Bernard Alexander and Cimone Nunley regarding trial
            Organ                          tasks
9/9/2021    Larry Plan/ Prepare     1.5    Review trial exhibits produced by Defendant with trial stickers
            Organ
9/9/2021    Larry Communication     0.1    Phone conf. with client re trial date
            Organ
9/9/2021    Larry Review/ Analyze   5.6    Review deposition transcript of Amy Oppenheimer and annotate
            Organ                          deposition
9/9/2021    Larry Communication     0.3    email exchange with expert witness Amy Oppenheimer
            Organ
9/9/2021    Larry Communication     0.1    Discussion with Navruz Avloni regarding urgent trial tasks
            Organ
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Date        User Activity           Time   Description
9/10/2021   Larry Plan/ Prepare     1.3    Meet with Team to discuss strategy and deadlines
            Organ
9/10/2021   Larry Communication     0.2    Phone conf. with Charles Mahla re expert testimony
            Organ
9/10/2021   Larry Communication     0.1    Email to OC re remote testimony for Oppenheimer and Mahla
            Organ
9/10/2021   Larry Plan/ Prepare     7.7    Prepare for questioning of Ed Romero - review testimony and
            Organ                          exhibits
9/10/2021   Larry Review/ Analyze   1.9    Start reviewing exhibits re objections for meet and confer
            Organ
9/10/2021   Larry Communication     0.4    Call with Cimone Nunley regarding trial logistics
            Organ
9/11/2021   Larry Communication     0.1    Email to Tracey Kennedy re Nigel Jones testimony
            Organ
9/11/2021   Larry Plan/ Prepare     8.8    Prepare for trial - review deposition testimony of Ed Romero and
            Organ                          related documents and impeachment
9/11/2021   Larry Plan/ Prepare     5.7    Review Tom Kawasaki evidence for trial preparation
            Organ
9/12/2021   Larry Communication     0.1    Follow up response to Tracey Kennedy email re Nigel Jones
            Organ                          testimony
9/12/2021   Larry Plan/ Prepare     1.6    Meet with Tom Kawasaki via Zoom to discuss his testimony
            Organ
9/12/2021   Larry Plan/ Prepare     3.7    Prepare for meeting with Tom Kawasaki by reviewing materials
            Organ                          related to his deposition
9/12/2021   Larry Communication     0.1    Follow up email exchange with Tracey Kennedy re giving 2 days
            Organ                          notice of witnesses by zoom
9/12/2021   Larry Communication     0.1    Email exchange with Patti Jeng re witness estimates
            Organ
9/12/2021   Larry Communication     0.1    Email to Jeng re original copies of exhibits
            Organ
9/12/2021   Larry Plan/ Prepare     7.9    Prepare for examination of Romero and Kawasaki
            Organ
9/13/2021   Larry Plan/ Prepare     4.9    Meet with Owen to prepare him for his trial testimony
            Organ
9/13/2021   Larry Communication     0.1    Email from Jeng re updated witness list
            Organ
9/13/2021   Larry Draft/ Revise     1.4    Revise Joint Witness List Time Estimates
            Organ
9/13/2021   Larry Plan/ Prepare     7.2    Prepare for trial - complete drafting examination of Kawasaki
            Organ
9/14/2021   Larry Meet              0.8    Zoom meeting with Bernard and Lamar Patterson
            Organ
9/14/2021   Larry Communication     0.3    Research and Email to Patti Jeng re appearance of Ed Romero
            Organ                          based on prior agreement
9/14/2021   Larry Plan/ Prepare     5.8    Prepare for trial - review exhibits with Susan Organ to review and
            Organ                          revise stipulations and determine use of exhibits
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Date        User Activity           Time   Description
9/14/2021   Larry Plan/ Prepare     2.3    prepare for meeting with Lamar Patterson by reviewing
            Organ                          transcript, exhibits and plan examination
9/14/2021   Larry Communication     0.2    Email exchange with OC re witness lists
            Organ
9/14/2021   Larry Review/ Analyze   3.3    Review testimony of Ed Romero and edit examination of him
            Organ
9/14/2021   Larry Communication     0.1    Email to Court Reporter re dailies for trial
            Organ
9/15/2021   Larry Review/ Analyze   5.5    Review exhibits and proposed designations
            Organ
9/15/2021   Larry Meet              0.4    Meet with Cimone re designations
            Organ
9/15/2021   Larry Communication     0.3    Discussion with Cimone re discovery designations
            Organ
9/15/2021   Larry Review/ Analyze   0.9    Review discovery designations
            Organ
9/15/2021   Larry Meet              1      Meet with Bernard, Susan and Cimone re Testimony and other
            Organ                          strategy issues
9/15/2021   Larry Communication     0.5    Communication with Sabrina re exhibits and trial matters
            Organ
9/15/2021   Larry Communication     0.2    Email exchange with Bernard re witness and exhibit
            Organ
9/15/2021   Larry Communication     0.1    Email to Bernard re exhibit
            Organ
9/15/2021   Larry Communication     0.1    Emails to Bernard re multiple witnesses sending him my notes on
            Organ                          the witnesses
9/15/2021   Larry Communication     0.1    Email exchange with Patti Jeng re Heisen and Romero
            Organ
9/15/2021   Larry Communication     0.1    Communication with Cimone re discovery fact for trial
            Organ
9/15/2021   Larry Communication     0.2    Phone conf. with Cimone and Susan re Veronica Martinez and
            Organ                          and Jacquelin Delgado testimony
9/15/2021   Larry Communication     0.5    Phone conf. with Cimone and Susan re follow up conversation re
            Organ                          Veronica Martinez and and Jacquelin Delgado testimony
9/15/2021   Larry Review/ Analyze   3.4    Review Jackelin Delgado and Veronica Martinez and Demetria
            Organ                          and La Drea testimony
9/16/2021   Larry Review/ Analyze   0.7    Review motions in limine and legal basis for them -- analyze
            Organ                          evidence limitations
9/16/2021   Larry Meet              1      Meet with Bernard Alexander, Cimone Nunley and Susan Organ
            Organ                          re witness testimony, witness order and other witness issues
9/16/2021   Larry Plan/ Prepare     2.9    Prepare for Ed Romero Examination
            Organ
9/16/2021   Larry Plan/ Prepare     8.7    Plan and prepare for Owen Diaz cross examination
            Organ
9/17/2021   Larry Plan/ Prepare     3.8    Meet with Owen to prepare him for testifying. Bernard
            Organ                          Alexander joined for part of this meeting.
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Date        User Activity           Time   Description
9/18/2021   Larry Meet              1.4    Meet via Zoom with Bernard, Susan, and Michael Wheeler
            Organ
9/18/2021   Larry Communication     0.2    Phone conf. with Bernard re opening statement and
            Organ                          supplemental pretrial conference statement
9/18/2021   Larry Draft/ Revise     1.3    Revise the supplemental pretrial conference statement - review
            Organ                          criminal charges and plea for Demetric and review orders of the
                                           court
9/18/2021   Larry Communication     0.1    Email to Patti Jeng re potential compromise on Demetric felonies
            Organ
9/18/2021   Larry Communication     0.3    Phone call with process server re Erin Marconi
            Organ
9/18/2021   Larry Review/ Analyze   1.5    Review testimony of Andres Donet for examination at trial
            Organ
9/18/2021   Larry Review/ Analyze   8.9    Review Owen Diaz deposition and prepare mock cross
            Organ                          examination of Owen based on the deposition testimony
9/19/2021   Larry Communication     0.5    communication with Nav re outline for Amy Oppenheimer
            Organ                          examination
9/19/2021   Larry Plan/ Prepare     1.5    Prepare for trial with Bernard and Susan and Cimone - discuss
            Organ                          opening demonstratives
9/19/2021   Larry Plan/ Prepare     1.8    Prepare for trial - revise Joint Further Pretrial Conference
            Organ                          Statement
9/19/2021   Larry Plan/ Prepare     1      Meet with Tom Kawasaki to prepare him for his trial testimony
            Organ
9/19/2021   Larry Plan/ Prepare     3.5    Prepare for trial - meet with Owen Diaz
            Organ
9/19/2021   Larry Communication     0.1    Email to OC re Joint Further Statement
            Organ
9/19/2021   Larry Communication     0.3    Phone conf. with Bernard re McGinn Testimony and fact relating
            Organ                          to contract
9/19/2021   Larry Review/ Analyze   2.6    Review Kevin McGinn testimony for use at trial -- reduce volume
            Organ
9/19/2021   Larry Draft/ Revise     0.1    Revise further Pretrial Conf. Statement
            Organ
9/19/2021   Larry Communication     0.1    Email to OC with additional edits to further pretrial conf.
            Organ                          statement
9/19/2021   Larry Communication     0.1    discussion with Sabrina re revised McGinn designations
            Organ
9/19/2021   Larry Communication     0.1    Email to Sabrina re McGinn testimony
            Organ
9/19/2021   Larry Plan/ Prepare     2.5    Prepare for trial - review and organize exhibits
            Organ
9/20/2021   Larry Draft/ Revise     0.3    Review Revised Further Pretrial Conference statement and
            Organ                          propose additional edits
9/20/2021   Larry Communication     0.1    email exchange with Patti Jeng re Further pretrial conference
            Organ                          statement
9/20/2021   Larry Communication     0.2    Phone conf. with Cimone re verdict form and jury instructions
            Organ
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Date        User Activity           Time   Description
9/20/2021   Larry Review/ Analyze   0.9    Review and revise McGinn designations
            Organ
9/20/2021   Larry Communication     0.1    Email to Patti Jeng re McGinn revised designations
            Organ
9/20/2021   Larry Communication     0.2    email exchanges and revisions to Further Pretrial Conference
            Organ                          Statement documents
9/20/2021   Larry Draft/ Revise     0.2    Additional changes and email exchanges re further pretrial
            Organ                          conference statement changes
9/20/2021   Larry Communication     0.1    Email from Tracey Kennedy re McGinn and two proposed
            Organ                          additions
9/20/2021   Larry Review/ Analyze   0.1    Review changes suggested by Kennedy to McGinn
            Organ
9/20/2021   Larry Communication     0.1    email response to Kennedy re McGinn
            Organ
9/20/2021   Larry Communication     0.1    Discuss McGinn changes and filing of changes
            Organ
9/20/2021   Larry Review/ Analyze   0.2    Analyze additional demonstratives for trial
            Organ
9/20/2021   Larry Draft/ Revise     0.7    revise examination of Amy Oppenheimer
            Organ
9/20/2021   Larry Review/ Analyze   0.8    Review Opening statement and make suggestions
            Organ
9/20/2021   Larry Plan/ Prepare     1.5    Plan and prepare for DelaGrande examination
            Organ
9/20/2021   Larry Plan/ Prepare     6.1    Plan and prepare for Romero examination
            Organ
9/21/2021   Larry Plan/ Prepare     0.3    Prepare Amy Oppenheimer for her deposition
            Organ
9/21/2021   Larry Plan/ Prepare     1.6    Prepare for examination of Annalisa Heisen
            Organ
9/21/2021   Larry Appearance/       1      Appear for Final Pretrial Conference with Bernard, Cimone, and
            Organ Attend                   Tracey Kennedy, Susan Haines, & Patricia Jeng - prelim. rulings on
                                           Jury Instructions, request for briefing on matters, Me Too
                                           evidence limited to during time of Plaintiff
9/21/2021   Larry Communication     0.9    Phone conf. with Cimone, Nav and Bernard re strategy
            Organ
9/21/2021   Larry Review/ Analyze   0.6    Review and analyze outline for Oppenheimer
            Organ
9/21/2021   Larry Communication     0.3    Phone conf. with Harry Plotkin re jury selection
            Organ
9/21/2021   Larry Communication     0.1    Communication with Bernard and Harry re jury selection
            Organ
9/21/2021   Larry Communication     0.3    Meet with Cimone re strategy
            Organ
9/21/2021   Larry Communication     0.2    Communication with Nav re Amy Oppenheimer testimony
            Organ
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Date        User Activity         Time    Description
9/21/2021   Larry Review/ Analyze 2.4     Review Depo designations of Demetric Di-Az and put together a
            Organ                         revised list of those to use at trial. Draft into a table for
                                          submission to the court and OC
9/21/2021   Larry Review/ Analyze   1.8   Review and analyze and begin list of designations for Erin
            Organ                         Marconi
9/21/2021   Larry Review/ Analyze   3.3   Additional preparation for Romero cross
            Organ
9/21/2021   Larry Communication     0.1   Email to co-counsel for comments re Demetric testimony
            Organ
9/22/2021   Larry Plan/ Prepare     4.6   Prepare for trial - Romero examination and document review
            Organ
9/22/2021   Larry Meet              1.6   Practice opening statement with Bernard and CCRLG Team
            Organ
9/22/2021   Larry Draft/ Revise     1.3   Tweak and revise demonstratives for exchange
            Organ
9/22/2021   Larry Review/ Analyze   1.3   Review and analyze demonstrative exhibits of defendant
            Organ
9/22/2021   Larry Communication     0.1   Email to OC re objections to their demonstrative
            Organ
9/22/2021   Larry Review/ Analyze   0.5   Review Demetric testimony
            Organ
9/22/2021   Larry Draft/ Revise     2.5   Revise Ed Romero examination2.5
            Organ
9/22/2021   Larry Review/ Analyze   2.4   Review and analyze jurors
            Organ
9/23/2021   Larry Communication     0.1   Phone conf. with Owen re declaraton
            Organ
9/23/2021   Larry Draft/ Revise     0.1   Revise declaration for Demetric availability
            Organ
9/23/2021   Larry Communication     0.1   Email to OC re objection to demonstrative
            Organ
9/23/2021   Larry Draft/ Revise     0.7   Draft objection to Defendant Demonstrative
            Organ
9/23/2021   Larry Plan/ Prepare     3.8   Prepare for voir dire -- Meet with team and review candidates
            Organ                         and rank them
9/23/2021   Larry Plan/ Prepare     2.6   Review witnesses and rework order of witnesses and examine
            Organ                         what points we are getting from each witness
9/23/2021   Larry Communication     0.2   Email to Tracey re witnesses for next week
            Organ
9/23/2021   Larry Plan/ Prepare     4.7   Review Demetric designations and testimony and video
            Organ
9/23/2021   Larry Plan/ Prepare     1.9   Prepare for Ed Romero examination
            Organ
9/23/2021   Larry Review/ Analyze   0.2   Review Tesla Briefing on use of discovery responses
            Organ
9/23/2021   Larry Review/ Analyze   0.1   Review Plaintiff's response to defendant's objections to use of
            Organ                         third party discovery responses
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Date        User Activity           Time   Description
9/23/2021   Larry Meet              0.6    Meet with Harry Plotkin, Bernard Alexander, Navruz Avloni, and
            Organ                          Cimone Nunley regarding jury selection and instructions
9/23/2021   Larry Other             2.3    Drop off supplies and test technology at the Northern District
            Organ                          Courthouse. Travel to and from San Francsico
9/24/2021   Larry Appearance/       7.2    Appear at Jury Selection and travel to and from San Fransico
            Organ Attend                   from Office in Marin
9/24/2021   Larry Communication     0.2    Phone call with Owen Diaz after hearing
            Organ
9/24/2021   Larry Meet              1.5    Meet with Bernard re jury selection and trial strategy
            Organ
9/24/2021   Larry Review/ Analyze   0.5    Review matters researched by Julianne and respond to her draft
            Organ
9/24/2021   Larry Meet              0.3    Meet with Cimone and Bernard re DeLeon Testiomony
            Organ
9/24/2021   Larry Meet              0.5    Meet with Susan Organ re Marconi testimony
            Organ
9/24/2021   Larry Communication     0.4    Meet with Sabrina and Susan re demonstrative exhibits
            Organ
9/24/2021   Larry Communication     0.1    Email to Tracy re Tuesday witnesses
            Organ
9/24/2021   Larry Communication     0.3    Additional discussion with Bernard and Cimone re witnesses and
            Organ                          witness order
9/24/2021   Larry Communication     0.1    Telephone call with Julianne Stanford regarding brief on
            Organ                          admissibility of Demetric Di-az's testimony
9/24/2021   Larry Communication     0.1    Telephone conference with Julianne Stanford regarding Kevin
            Organ                          McGinn's testimony
9/25/2021   Larry Plan/ Prepare     5.1    Prepare for trial - review Marconi deposition and determine
            Organ                          which excerpts to use
9/25/2021   Larry Communication     0.1    Email exchange with Tracey Kennedy re witnesses
            Organ
9/25/2021   Larry Communication     0.1    Email exchange with OC re Erin Marconi
            Organ
9/25/2021   Larry Communication     0.7    Meeting with Amy Oppenheimer
            Organ
9/25/2021   Larry Plan/ Prepare     1.6    Work with Bernard to refine opening statement
            Organ
9/25/2021   Larry Plan/ Prepare     2      Practice Opening Statement with Team and commentary for
            Organ                          refining
9/25/2021   Larry Meet              4      Meet with Owen to prepare for trial
            Organ
9/25/2021   Larry Communication     0.1    email to Tracey re designations for Marconi
            Organ
9/25/2021   Larry Plan/ Prepare     2      Additional designations for Marconi
            Organ
9/25/2021   Larry Meet              0.7    Meet with Amy Oppenheimer to prepare for trial with Navruz
            Organ                          Avloni
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Date        User Activity           Time   Description
9/26/2021   Larry Review/ Analyze   0.5    Review and analyze expert demonstratives
            Organ
9/26/2021   Larry Plan/ Prepare     0.8    Video conference with Tom Kawasaki
            Organ
9/26/2021   Larry Meet              4.9    Meet with Owen Diaz for trial prep
            Organ
9/26/2021   Larry Plan/ Prepare     3      Review and finalize Kawasaki examination
            Organ
9/26/2021   Larry Plan/ Prepare     3.9    Plan and prepare for trial - finalize and review Ed Romero
            Organ                          examination

9/27/2021   Larry Plan/ Prepare     0.9    Prepare for Romero prior to leaving for court
            Organ
9/27/2021   Larry Appearance/       7.6    Attend Day 2 of Court - Opening statements, Tom Kawasaki
            Organ Attend                   Direct and Cross, Ed Romero Direct - and travel to and from
                                           Court
9/27/2021   Larry Communication     0.6    Phone conf. with Sabrina, Nav, Cimone and Bernard re strategy
            Organ                          and tasks
9/27/2021   Larry Communication     0.6    Meet with Bernard, Owen, Cimone, Sabrina and Susan with
            Organ                          debrief and additional tasks
9/27/2021   Larry Plan/ Prepare     6.3    Prepare for next Day Witnesses, review trial transcript from
            Organ                          9/27/21
9/28/2021   Larry Plan/ Prepare     0.7    Prepare for Day 3 of trial prior to trial
            Organ
9/28/2021   Larry Appearance/       7.6    Appear for Day 3 of trial -- Ed Romero Cross, Redirect -- Wayne
            Organ Attend                   Jackson, Jackelin Delgado, Victor Quintero -- court received 106
                                           with limiting instruction refused Ex. 109 -- and travel to and from
                                           court
9/28/2021   Larry Plan/ Prepare     7.4    Prepare for examination of Owen Diaz
            Organ
9/29/2021   Larry Plan/ Prepare     0.5    Prepare for court today
            Organ
9/29/2021   Larry Appearance/       7.5    Appear for Day 4 of Trial -- Video of Kevin McGinn, Video of
            Organ Attend                   Demetric Diaz, Owen Diaz Testimony (LO) - interrupt with
                                           Michael Wheeler (Bernard), finish Owen Direct (LO), Owen cross
                                           begins -- travel to and from court
9/29/2021   Larry Review/ Analyze   0.2    Review verdict form
            Organ
9/29/2021   Larry Meet              0.8    Meet with team and strategize about witnesses during lunch
            Organ
9/29/2021   Larry Communication     0.2    communication with Charles Mahla
            Organ
9/29/2021   Larry Communication     0.1    Email OC re Mahla demonstratives and basis
            Organ
9/29/2021   Larry Review/ Analyze   0.6    review jury instructions and meet with Cimone re same for
            Organ                          preparation of objections
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Date        User Activity           Time   Description
9/29/2021   Larry Plan/ Prepare     0.6    Plan and Prepare for trial - review designations of Marconi and
            Organ                          highlight areas Judge might have a concern about
9/29/2021   Larry Plan/ Prepare     1.3    Review Jury Instructions, meet with Cimone, review objections
            Organ
9/29/2021   Larry Plan/ Prepare     2.5    Review and analyze testimony from Day 4 of trial and plan
            Organ                          redirect of Owen Diaz
9/29/2021   Larry Communication     0.1    Email to OC re expert demonstratives
            Organ
9/29/2021   Larry Communication     0.1    Email from Amy Oppenheimer re exhibits
            Organ
9/30/2021   Larry Plan/ Prepare     0.8    Prepare for examination of Charles Mahla
            Organ
9/30/2021   Larry Plan/ Prepare     0.7    Prepare for examination of Amy Oppenheimer
            Organ
9/30/2021   Larry Plan/ Prepare     0.4    Review and prepare for Lamar Patterson examination which we
            Organ                          may or may not use
9/30/2021   Larry Plan/ Prepare     0.6    Prepare for Owens cross and redirect - review transcript prior to
            Organ                          trial
9/30/2021   Larry Appearance/       7.2    appear for Day 5 of Trial -- Owen Diaz cross and redirect(me),
            Organ Attend                   Anthony Reading (Bernard), LaDrea Jones (Cimone), Play
                                           Marconi, Amy Oppenheimer (me), Dr. Charles Mahla (LO) - read
                                           discovery, admit exhibits 3, 6, 389, Adjourn -- travel to and from
                                           court (Note protest on Golden Gate Bridge)
9/30/2021   Larry Meet              2.2    Meet with Trial Team to discuss strategy and remaining tasks and
            Organ                          evidence from today and closing argument
9/30/2021   Larry Communication     0.1    Email from Tracey Kennedy objecting to expert reports
            Organ
9/30/2021   Larry Communication     0.2    Phone call with Amy Oppenheimer prior to court re testimony
            Organ
9/30/2021   Larry Plan/ Prepare     3.3    Prepare for examination of Joyce Delagrande
            Organ
9/30/2021   Larry Review/ Analyze   0.9    Review and edit Heisen testimony
            Organ
9/30/2021   Larry Draft/ Revise     0.1    Edit Jury Instruction brief
            Organ
10/1/2021   Larry Plan/ Prepare     0.4    Prepare prior to court
            Organ
10/1/2021   Larry Appearance/       6.8    Appear for Day 6 of trial - Examination of witnesses -- Joyce
            Organ Attend                   Delagrande (LO), video of Annalisa Heisen (16/9 min), Ramon
                                           Martinez (Bernard), -- following witnesses, discussion of jury
                                           instructions with the Court
10/1/2021   Larry Meet              3      Meet with Bernard, Cimone, Nav and Susan to discuss closing
            Organ                          powerpoint presentation
10/1/2021   Larry Communication     0.1    Phone call with Sabrina re exhibits
            Organ
10/1/2021   Larry Plan/ Prepare     4.8    Review transcripts for closing argument
            Organ
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Date        User Activity           Time   Description
10/1/2021   Larry Communication     0.1    email to team regarding Motions filed by Defendant
            Organ
10/1/2021   Larry Review/ Analyze   0.1    Receive and review docket entries for two motions filed by Tesla
            Organ                          after 10:00 pm
10/2/2021   Larry Review/ Analyze   0.2    Review and analyze defendant's Motion to Strike Mahla
            Organ                          testimony
10/2/2021   Larry Communication     0.1    Phone conf. with Charles Mahla re motion to strike
            Organ
10/2/2021   Larry Meet              0.2    Meet with Nav re strategy for Opposition to motion to strike
            Organ                          Mahla testimony
10/2/2021   Larry Communication     0.1    Phone conf. with Bernard re closing
            Organ
10/2/2021   Larry Meet              0.4    Review objection by Defendant to Verdict form and meet with
            Organ                          team to analyze and discuss
10/2/2021   Larry Draft/ Revise     0.3    Revise Opposition to Motion to Strike Mahla
            Organ
10/2/2021   Larry Draft/ Revise     0.3    Revise Opposition to Defendant's Motion for Judgment as a
            Organ                          Matter of Law
10/2/2021   Larry Meet              0.3    Meet with Cimone re Motion for Judgment as a Matter of Law
            Organ
10/2/2021   Larry Plan/ Prepare     11.7   Prepare for closing argument -- assist Bernard pulling quotes and
            Organ                          reviewing transcripts and creating information for closing PPT
                                           slides
10/2/2021   Larry Communication     0.1    Phone conf. with Sabrina re trial testimony
            Organ
10/3/2021   Larry Plan/ Prepare     10.2   Plan and prepare for closing argument by working with CCRLG
            Organ                          team and Bernard Alexander to create PPT slides and to prepare
                                           for rebuttal
10/3/2021   Larry Communication     0.1    Email exchange with Tracey Kennedy regarding two exhibits
            Organ
10/3/2021   Larry Meet              2      Meet with Navruz Avloni, Cimone Nunley, Sabrina Grislis, and
            Organ                          Susan Organ to brainstorm ideas for rebuttal arguments
10/3/2021   Larry Communication     0.1    Discussion with Navruz Avloni regarding Jackelin Delgado Smith's
            Organ                          trial testimony for use in closing statement power point
10/3/2021   Larry Meet              0.4    Meet with Bernard Alexander, Navruz Avloni, and Susan Organ to
            Organ                          discuss rebuttal ideas and exhibit 106
10/4/2021   Larry Appearance/       10.7   Attend Day 7 of trial - Closing arguments and Jury Deliberation -
            Organ Attend                   3.5 hours of deliberations - Verdict of $6.9 million in
                                           compensatory damages and $130 million in punis. Travel to and
                                           from courthouse
10/6/2021   Larry Communication     0.3    Phone call with Bernard Alexander re post-trial briefing
            Organ
10/6/2021   Larry Communication     0.4    Phone conference with Sandy Rosen regarding post-trial matters -
            Organ                          his team is very busy with other matters
10/6/2021   Larry Communication     0.1    Phone conference with Owen Diaz regarding verdict
            Organ
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Date         User Activity         Time   Description
10/6/2021    Larry Communication   0.1    Call with Navruz Avloni regarding motion fee research
             Organ
10/7/2021    Larry Meet            0.9    Meeting with Michael Rubin (Altschuler Berzon) and Cimone
             Organ                        Nunley regarding post-trial and appellate issues
10/7/2021    Larry Communication   0.1    Phone conference with Cimone Nunley regarding post-trial issues
             Organ
10/7/2021    Larry Communication   0.1    Phone conference with Sabrina Grislis regarding exhibit issue
             Organ
10/7/2021    Larry Communication   0.1    Phone conference with Owen Diaz regarding appellate counsel
             Organ
10/7/2021    Larry Communication   0.3    Phone conference with Owen Diaz regarding discussion of
             Organ                        recovery issues
10/7/2021    Larry Communication   0.2    Phone conf. with Bernard Alexander re appellate issues
             Organ
10/7/2021    Larry Meet            0.5    Meet with Bernard Alexander, Cimone Nunley, and Sabrina
             Organ                        Grislis to discuss post-trial work
10/7/2021    Larry Communication   0.2    Discussion with Navruz Avloni regarding appeal and other issues
             Organ
10/8/2021    Larry Communication   0.2    Phone call with Owen Diaz regarding appeal
             Organ
10/8/2021    Larry Communication   0.1    Phone conference with Bernard Alexander regarding appellate
             Organ                        issues
10/8/2021    Larry Communication   0.1    Call with Cimone Nunley regarding judgment form
             Organ
10/9/2021    Larry Communication   0.3    Email exchanges with Michael Rubin re retention of services
             Organ
10/9/2021    Larry Communication   0.1    Phone conference with Bernard Alexander regarding appeal
             Organ
10/10/2021   Larry Communication   0.2    Email exchanges with Michael Rubin re retention
             Organ
10/10/2021   Larry Communication   0.1    Phone conference with Owen Diaz regarding appeal and related
             Organ                        issues
10/10/2021   Larry Communication   0.2    Phone conference with Cimone Nunley regarding appeal issues
             Organ
10/11/2021   Larry Communication   2.7    Meet with Owen regarding case matters
             Organ
10/11/2021   Larry Communication   0.2    Telephone conference with Cimone Nunley regarding fee motion
             Organ                        and juror outreach attempts
10/12/2021   Larry Meet            1.5    Meet with Michael Rubin, Jonathan Rosenthal, Cimone Nunley,
             Organ                        Navruz Avloni, and Sabrina Grislis regarding next steps of Diaz
                                          case in preparation for appeal
10/17/2021 Larry Review/ Analyze 3.7      Review transcripts for issues re post trial motions
           Organ
10/22/2021 Larry Plan/ Prepare   0.6      Review initial draft of Motion for Attorney's Fees
           Organ
10/25/2021 Larry Plan/ Prepare   1.4      Prepare for post-trial motions - review and annotate part of
           Organ                          9/28/21 transcript
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Date       User Activity           Time   Description
10/25/2021 Larry Communication     0.2    phone conf. with Cimone Nunley re attorney's fees motion
           Organ
10/28/2021 Larry Communication     0.1    Phone call with Dan Posner re stipulation re briefing and
           Organ                          attorney's fees
10/28/2021 Larry Communication     0.1    Email to Posner re terms and sample stipulation
           Organ
10/29/2021 Larry Review/ Analyze   0.1    Review draft stipulation
           Organ
10/29/2021 Larry Communication     0.1    Communication to team re draft stipulation
           Organ
11/12/2021 Larry Communication     0.6    Phone call with Cimone re new trial and juror issues relating to
           Organ                          potential post-trial motions
11/16/2021 Larry Review/ Analyze   0.7    Review and analyze Rule 50 & 59 Motion by Defendant
           Organ
11/17/2021 Larry Research          1.5    Legal research re Defendant's Rule 50/59 Motion
           Organ
11/17/2021 Larry Review/ Analyze   3      Review record for emotional distress testimony to respond to
           Organ                          Defendant's Rule 50/59 Motion
11/18/2021 Larry Meet              1.3    Meet with Post Trial team to discuss opposition papers and make
           Organ                          assignments
11/18/2021 Larry Communication     0.3    Phone call with Cimone re post trial briefing
           Organ
11/18/2021 Larry Research          3.5    Legal research re post trial motions
           Organ
11/20/2021 Larry Plan/ Prepare     11.4   Review and analyze defendant's Motion for JMOL and review
           Organ                          record regarding emotional distress issues
11/21/2021 Larry Draft/ Revise     8.7    Review record and draft section on emotional distress damages
           Organ                          suffered by Owen Diaz
11/23/2021 Larry Communication     0.2    Phone conf. with Cimone re opposition papers
           Organ
11/24/2021 Larry Communication     0.1    Communication with Cimone re opposition papers
           Organ
11/24/2021 Larry Review/ Analyze   0.8    Review initial partial draft of opposition papers
           Organ
11/24/2021 Larry Meet              0.8    Meet with CCRLG team, Michael Rubin, Jono Rosenthal, and
           Organ                          Bernard Alexander
11/24/2021 Larry Communication     0.1    Phone conf. with Bernard after meeting
           Organ
11/24/2021 Larry Communication     0.1    Phone conf. with Sabrina re zoom meeting
           Organ
11/28/2021 Larry Draft/ Revise     2.1    Revise second draft and review transcripts for opposition papers
           Organ
11/28/2021 Larry Communication     0.2    Communication with co-counsel re terminology in brief
           Organ
11/28/2021 Larry Draft/ Revise     7.2    Revisions to draft opposition
           Organ
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Date       User Activity           Time   Description
11/29/2021 Larry Draft/ Revise     8.9    Revise opposition papers
           Organ
11/29/2021 Larry Review/ Analyze   1      Additional analysis of Tesla's arguments in opening brief
           Organ
11/30/2021 Larry Communication     0.1    communication with Cimone re additional facts to add to
           Organ                          opposition papers
11/30/2021 Larry Communication     0.2    Additional communication with Cimone regarding different and
           Organ                          additional facts to add to brief
11/30/2021 Larry Communication     0.1    Phone call with Cimone re factual issues and opposing brief
           Organ
12/4/2021 Larry Draft/ Revise      5.5    Revise opposition and fact research relating to same
           Organ
12/5/2021 Larry Draft/ Revise      9.9    continued revisions of brief
           Organ
12/5/2021 Larry Communication      0.2    communications with Bernard re edits
           Organ
12/5/2021 Larry Communication      0.1    communication with Cimone re research
           Organ
12/5/2021 Larry Communication      0.1    Emails to team on updates of progress on editing process
           Organ
12/6/2021 Larry Meet               1.5    Meet with client to discuss motion and appeal issues
           Organ
12/6/2021 Larry Communication      0.2    Phone conf. with Michael Rubin re brief
           Organ
12/6/2021 Larry Review/ Analyze    2.5    Review revised brief to make changes for filing
           Organ
12/7/2021 Larry Draft/ Revise      7.6    Review and revise latest version of brief and get ready for filing
           Organ
12/7/2021 Larry Communication      0.2    Phone call with Michael Rubin re opposition brief
           Organ
12/7/2021 Larry Communication      0.1    Phone conf. with Jono Rosenthal re brief
           Organ
12/7/2021 Larry Communication      0.2    follow up conversation with Michael Rubin re opposition brief
           Organ
12/7/2021 Larry Communication      0.1    follow up conversation with Michael Rubin re edits to brief
           Organ
12/7/2021 Larry Communication      0.1    Phone conf. with Cimone Nunley re legal research
           Organ
1/13/2022 Larry Plan/ Prepare      2.7    Review briefs and cases and trial transcripts to prepare for oral
           Organ                          argument practice
1/14/2022 Larry Plan/ Prepare      1      prepare for oral argument on motion for Judgment as a matter
           Organ                          of law
1/14/2022 Larry Meet               1.5    meet with Michael Rubin and Bernard and rest of team to go
           Organ                          over oral argument for Defendant's motion for judgment as a
                                          matter of law
1/14/2022   Larry Communication    0.1    discussion with Nav re motion for judgment as a matter of law
            Organ
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Date        User Activity           Time   Description
1/19/2022   Larry Plan/ Prepare     4      prepare for oral argument
            Organ
1/19/2022   Larry Appearance/       2      Appear for hearing on Defense Motion
            Organ Attend
1/19/2022   Larry Communication     0.4    Phone conf. after argument with Bernard and Cimone to discuss
            Organ                          next steps and attorneys fees motion
1/19/2022   Larry Communication     0.2    Phone conf. with client Owen Diaz after oral argument
            Organ
2/9/2022    Larry Research          2.2    Research re attorney's fees lodestar and rates in Bay Area
            Organ
3/14/2022   Larry Communication     0.3    Communication with Cimone Nunley re attorney's fees motion
            Organ
4/4/2022    Larry Research          0.5    Legal research re attorney's fees motion
            Organ
4/12/2022   Larry Meet              1.2    Meet with client
            Organ
4/13/2022   Larry Review/ Analyze   0.9    Review and analyze post trial order
            Organ
4/13/2022   Larry Communication     0.5    Phone call with Bernard and Michael Rubin re post trial order
            Organ                          and strategy
4/13/2022   Larry Communication     0.2    communication with client re post trial order
            Organ
4/13/2022   Larry Communication     0.2    Phone call with Nav and Cimone re post trial order
            Organ
4/19/2022   Larry Meet              0.8    Meet with Michael, Jono, Cimone and Bernard to discuss post-
            Organ                          remittitur options
4/19/2022   Larry Communication     0.3    Phone conf. with Bernard re remittitur options
            Organ
4/19/2022   Larry Communication     0.1    Phone conf. with Dan Posner re stipulation re attorney's fees
            Organ
4/19/2022   Larry Communication     0.2    Phone conf. with Owen Diaz re remittitur issues
            Organ
4/19/2022   Larry Research          1.9    Legal research re remittitur issues
            Organ
4/20/2022   Larry Communication     0.3    Phone conf. with Owen and Bernard to discuss options
            Organ
4/20/2022   Larry Communication     0.1    Follow up conversation with Bernard re options
            Organ
4/20/2022   Larry Communication     0.1    additional follow up call with Bernard
            Organ
4/21/2022   Larry Communication     0.1    Email exchange with Dan re stipulation
            Organ
4/30/2022   Larry Review/ Analyze   1.2    Review briefs for certifying question
            Organ
5/2/2022    Larry Communication     0.1    email to Michael re certifying question to 9th circuit
            Organ
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Date        User Activity           Time   Description
5/2/2022    Larry Review/ Analyze   0.8    Further review of brief
            Organ
5/2/2022    Larry Communication     0.2    Email exchange with Michael re certifying question
            Organ
5/10/2022   Larry Communication     0.3    Communication with Judge Illman re settlement
            Organ
6/8/2022    Larry Review/ Analyze   0.3    Review and analyze Judge's Order denying request to certify
            Organ                          question to 9th Circuit
6/13/2022   Larry Communication     0.8    Meet with Jono, Michael, Bernard and Cimone re strategy re new
            Organ                          trial
6/17/2022   Larry Meet              0.8    Meeting with Owen, Bernard, Michael, Cimone, Sabrina to
            Organ                          discuss remittitur and new trial options.
6/20/2022   Larry Communication     0.1    Text exchange with client confirming his decision
            Organ
6/20/2022   Larry Draft/ Revise     0.1    revise rejection of remittitur
            Organ
6/21/2022   Larry Communication     0.1    Phone call with Cimone re filing of rejection
            Organ
6/22/2022   Larry Communication     0.3    Phone call with McCann re Owen Diaz's case posture
            Organ
7/8/2022    Larry Meet              0.6    Meet with Dan Posner re trial - Posner and his Tesla Team of
            Organ                          Kathleen Sullivan, Alex Spiro and Asher Griffin trying case in
                                           Northern District in Mid January - Dan Posner cell number is
                                           (310)991-3320 but text or email best -- Agreed on March 20,
                                           2023 or later trial date but if pushed, 1st two weeks of December
                                           -- discussion of scope of evidence and Bernard made point that
                                           you can't just change up liability evidence
7/8/2022    Larry Communication     0.3    Phone conf. with Bernard on meeting with Dan Posner and
            Organ                          strategy
7/12/2022   Larry Communication     0.1    Email from Jonothan Rosenthal re authority re Gasoline products
            Organ                          case
7/12/2022   Larry Communication     0.2    additional emails from Jono re scope of retrial
            Organ
7/12/2022   Larry Research          2.4    Legal research re retrial of damages
            Organ
7/12/2022   Larry Appearance/       0.4    Appear for Trial Setting Conference - trial reset to March 27,
            Organ Attend                   2023 - Cathleen Sullivan argued Gasoline Products case to Judge
                                           Orrick and he indicated his high reluctance to agree
7/12/2022   Larry Communication     0.3    Phone call with Michael Rubin and Bernard Alexander re strategy
            Organ
9/9/2022    Larry Plan/ Prepare     0.8    Review materials to prepare for meeting with OC re retrial
            Organ
9/9/2022    Larry Meet              0.9    Meet with Dan Posner, Asher Griffin, and Dallas Bullard and
            Organ                          Michael Rubin re retrial evidence and 7th Amendment - we
                                           agreed to reconvene the week of Sept. 19
9/9/2022    Larry Communication     0.2    phone conf. with Michael Rubin re retrial issues
            Organ
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Date         User Activity           Time   Description
9/19/2022    Larry Communication     0.7    Meeting with Michael and Jono re meeting with Tesla tomorrow
             Organ
9/19/2022    Larry Research          3.4    Legal research on Gasoline Products
             Organ
9/20/2022    Larry Meet              1      Meet with Dan Posner, Asher Griffin, Dallas Bullard and Michael
             Organ                          Rubin and Jono Rosenthal re CMC statement and Gasoline
                                            Products issues
9/20/2022    Larry Communication     0.1    Follow up discussion with Michael re strategy
             Organ
9/23/2022    Larry Review/ Analyze   0.2    Review case management document prepared by defendant
             Organ
10/3/2022    Larry Plan/ Prepare     1.1    Review materials for CMC tomorrow
             Organ
10/3/2022    Larry Meet              0.7    Meet with Michael, Jono and Bernard re strategy for tomorrow
             Organ
10/4/2022    Larry Plan/ Prepare     0.9    Review exhibits and Trial Testimony to prepare for CMC in case
             Organ                          Judge Orrick wants to discuss that
10/4/2022    Larry Appearance/       0.4    Appear for CMC
             Organ Attend
12/7/2022    Larry Appearance/       0.4    Appear for Hearing on Motion for New Trial by Tesla - Court
             Organ Attend                   denied motion - set case for CMC on 1-17 - trial is going forward
                                            on 3-27
12/7/2022    Larry Communication     0.4    Phone conf. with Michael and Bernard re retrial issues
             Organ
12/7/2022    Larry Communication     0.3    Phone conf. with Bernard on scope of trial
             Organ
12/7/2022    Larry Communication     0.2    Phone conf. with Dustin Collier re working on Trial
             Organ
12/9/2022    Larry Communication     0.4    Phone conf. with Bernard Alexander re meeting Monday
             Organ
12/11/2022   Larry Plan/ Prepare     1.8    Review case materials and Prepare agenda for meeting with trial
             Organ                          and appellate team set for tomorrow
12/12/2022   Larry Meet              2.7    Meet with trial and appellate team re case strategy
             Organ
12/12/2022   Larry Communication     0.1    Email to defense counsel requesting meeting to discuss matters
             Organ                          in advance of Jan. 17 hearing
12/13/2022   Larry Communication     0.3    Phone conf. with Dustin Collier re strategy
             Organ
12/13/2022   Larry Plan/ Prepare     5.9    prepare for focus group - draft questions to use
             Organ
12/16/2022   Larry Communication     0.3    Phone conf. with Judge Illman re settlement issues and current
             Organ                          attorney's fees numbers
12/16/2022   Larry Communication     0.1    Email to co-counsel re lodestar figures
             Organ
12/19/2022   Larry Communication     0.9    Phone conf. with Dustin Collier re strategy
             Organ
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Date       User Activity           Time   Description
12/19/2022 Larry Communication     0.1    email exchange with Dustin Collier re meeting to discuss strategy
           Organ
12/19/2022 Larry Review/ Analyze   1.5    Review and analyze and edit draft jury instructions
           Organ
12/19/2022 Larry Plan/ Prepare     2.9    Prepare for focus group
           Organ
12/20/2022 Larry Communication     0.1    Phone conf. with Dustin Collier re fact analysis
           Organ
12/20/2022 Larry Communication     0.2    Phone conf. with Michael Rubin and Dustin Collier re meeting
           Organ                          with Tesla Lawyers tomorrow and approach regarding jury
                                          instructions
12/20/2022 Larry Draft/ Revise     0.3    Draft agenda for meeting with Tesla Lawyers
           Organ
12/20/2022 Larry Communication     0.1    Email draft agenda to Michael Rubin
           Organ
12/20/2022 Larry Communication     0.5    Call with Dustin Collier re strategy and fact issues
           Organ
12/21/2022 Larry Meet              1.5    Meeting with Dan Posner, Asher Griffin, Mari Henderson, and
           Organ                          Michael Rubin
12/21/2022 Larry Communication     0.1    Phone call with Michael after Meeting with OC
           Organ
12/21/2022 Larry Communication     0.1    Additional call with Michael re scope of evidence
           Organ
12/21/2022 Larry Communication     0.1    Phone call with Dustin re strategy
           Organ
12/21/2022 Larry Plan/ Prepare     6.3    prepare for focus group - draft script and review materials
           Organ
12/21/2022 Larry Appearance/       2.1    Attend - Moderate Focus Group
           Organ Attend
12/21/2022 Larry Communication     0.6    Meet with Dustin, Susan, Sabrina, Teo and Kira re focus group
           Organ
12/27/2022 Larry Review/ Analyze   4.5    Review and annotate Trial Transcript Day 1 for Retrial
           Organ
12/28/2022 Larry Review/ Analyze   3.9    Review Day 1 Transcript and annotate for retrial
           Organ
12/29/2022 Larry Meet              0.4    Meet with Cimone re MILs and briefing for trial
           Organ
12/29/2022 Larry Review/ Analyze   5      Review and annotate Days 1 & 2 of Trial Transcripts
           Organ
12/30/2022 Larry Review/ Analyze   6.1    Review and annotate Day 2 of Trial transcript
           Organ
12/31/2022 Larry Review/ Analyze   6.5    Review and analyze and annotate trial transcript Day 2 and
           Organ                          review exhibits from Trial for use in re-trial
1/1/2023   Larry Review/ Analyze   6.2    Review Day 3 trial transcripts and exhibits and annotate for
           Organ                          retrial
1/2/2023   Larry Review/ Analyze   2.3    Review and Analyze Day 3 transcripts and exhibits for use at
           Organ                          retrial
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Date       User Activity           Time   Description
1/3/2023   Larry Review/ Analyze   5.1    Review and analyze Day 3 transcripts and exhibits for retrial
           Organ
1/4/2023   Larry Meet              1.3    Meet with Diaz strategy team to discuss retrial strategy, Bernard,
           Organ                          Michael, Jono, Marqui, Cimone and Susan
1/4/2023   Larry Plan/ Prepare     2.8    Review materials to get ready for strategy meeting
           Organ
1/4/2023   Larry Communication     0.1    Phone call with Tom Kawasaki re testimony on March 27 - he
           Organ                          said he would and we will send subpoena and standby
                                          agreement
1/5/2023   Larry Plan/ Prepare     2.2    Prepare for meet and confer with defense counsel - review
           Organ                          transcript from 12/7/22 and other relevant materials for meeting

1/5/2023   Larry Communication     1      Meet with Diaz Team re strategy
           Organ
1/5/2023   Larry Meet              0.5    Follow up meeting with Team re strategy
           Organ
1/5/2023   Larry Draft/ Revise     2.5    draft proposed joint statement
           Organ
1/5/2023   Larry Communication     0.1    Email to team re proposed joint statement
           Organ
1/5/2023   Larry Draft/ Revise     1.9    Revise Proposed Initial Jury Instructions
           Organ
1/5/2023   Larry Communication     0.1    Phone conf. with Michael re jury instructions
           Organ
1/6/2023   Larry Review/ Analyze   2.5    Review and revise edits to documents for review and possible
           Organ                          use with other side
1/6/2023   Larry Meet              0.3    Meet with Team prior to meeting with Tesla
           Organ
1/6/2023   Larry Communication     0.9    meet with OC and Plaintiff's Team to discuss retrial
           Organ
1/6/2023   Larry Meet              1.2    Meet with Team after meeting with OC to discuss strategy
           Organ
1/6/2023   Larry Draft/ Revise     2.4    start draft summary of scope of witness testimony
           Organ
1/6/2023   Larry Communication     0.2    Phone conf. With Marqui re strategy issues
           Organ
1/7/2023   Larry Review/ Analyze   2      Review and analyze testimony of Annalisa Heisen and annotate
           Organ                          for use at trial
1/7/2023   Larry Draft/ Revise     1.8    revise witness descriptions
           Organ
1/7/2023   Larry Research          0.7    research re witnesses identified by Tesla
           Organ
1/8/2023   Larry Communication     0.1    Email to Michael Rubin re witness information for joint
           Organ                          statement
1/8/2023   Larry Draft/ Revise     4.3    draft and revise witness summary for joint statement after
           Organ                          review of witness testimony
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Date        User Activity           Time   Description
1/8/2023    Larry Communication     0.2    Email and text exchange with Michael Rubin re responding to
            Organ                          Tesla proposed statement
1/8/2023    Larry Communication     0.1    Communication with Cimone Nunley re preparing draft of
            Organ                          statement for judge
1/9/2023    Larry Draft/ Revise     0.3    Review and revise latest version of jt statement
            Organ
1/9/2023    Larry Communication     0.1    Email exchange with Michael Rubin re jt statement
            Organ
1/9/2023    Larry Communication     0.1    Email to Cimone re jt statement
            Organ
1/9/2023    Larry Communication     0.1    Email to Dan Posner re need for another meet and confer
            Organ
1/9/2023    Larry Communication     0.1    Response from Dan Posner re meeting at 5:30
            Organ
1/9/2023    Larry Communication     0.6    Meet and confer with OC re joint statement on scope of
            Organ                          evidence
1/9/2023    Larry Communication     0.4    Meet with Bernard, Michael, Cimone and Jono re strategy
            Organ
1/9/2023    Larry Review/ Analyze   1.9    Review and analyze and annotate Trial transcripts Day 4 in
            Organ                          preparation for retrial
1/10/2023   Larry Review/ Analyze   1.7    Review statement by defense and factual and legal research re
            Organ                          same
1/10/2023   Larry Draft/ Revise     0.7    make additional edits to the Jt. Status report regarding the scope
            Organ                          of evidence
1/10/2023   Larry Communication     0.2    Phone conf. with Michael Rubin re edits to Jt. Status Report
            Organ
1/10/2023   Larry Communication     0.3    Email to team re changes to Joint Status Report
            Organ
1/10/2023   Larry Review/ Analyze   0.3    Review and analyze additional changes from defendant on issues
            Organ                          like Hurtado and reprehensibility
1/10/2023   Larry Communication     0.2    Communication with team re additional edits to Jt. Status Report
            Organ
1/10/2023   Larry Communication     0.2    Email and text exchange with Cimone re changes and edits and
            Organ                          exchange with other side
1/11/2023   Larry Review/ Analyze   4.6    Review Diaz trial transcripts in conjunction with deposition
            Organ                          transcripts for use at retrial
1/12/2023   Larry Appearance/       4.9    Attend MSC with Judge Illman and Owen Diaz - Dan Posner was
            Organ Attend                   there -- they indicated their goal was $0 recovery-- and travel
                                           time to and from San Francisco
1/12/2023   Larry Communication     0.1    communication with Sabrina re total costs
            Organ
1/12/2023   Larry Communication     0.1    phone conf. with Bernard re total costs to date
            Organ
1/12/2023   Larry Communication     0.1    communication with Michael Rubin re total attorneys fees
            Organ
1/12/2023   Larry Review/ Analyze   1.4    Review and analyze Diaz trial transcripts for use at retrial
            Organ
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Date        User Activity           Time   Description
1/13/2023   Larry Communication     0.4    Phone call with Harry Plotkin re jury selection
            Organ
1/13/2023   Larry Communication     0.1    Phone call with Bernard Alexander re jury selection
            Organ
1/13/2023   Larry Communication     0.4    Speak with Jennifer Reisch re witnesses in Diaz
            Organ
1/13/2023   Larry Review/ Analyze   2.6    Review and Analyze and annotate trial transcripts and exhibiits
            Organ
1/14/2023   Larry Review/ Analyze   3.9    Review and analyze Diaz Trial Transcripts and Exhibits from Day 4
            Organ                          and compare with Days 1-3 and review exhibits for retrial
1/15/2023   Larry Review/ Analyze   2.5    Review and analyze Diaz Trial Transcripts and Exhibits from Day 5
            Organ                          and compare with Days 1-4 and review exhibits for retrial
1/15/2023   Larry Review/ Analyze   1.4    Review and analyze exhibits re admission in first trial and
            Organ                          admissibility in second trial
1/17/2023   Larry Appearance/       6.7    Attend Littleton v. Musk trial Day 1 (voir dire) to get an
            Organ Attend                   understanding of how Alex Spiro tries cases and travel to and
                                           from San Francisco
1/17/2023   Larry Review/ Analyze   1.5    Review exhibits to determine relevance to retrail
            Organ
1/17/2023   Larry Communication     0.1    communication with Sabrina to send list of admitted exhibits to
            Organ                          Tesla counsel with Plaintiff's position on relevance
1/17/2023   Larry Review/ Analyze   0.3    Review document created by Sabrina re relevance
            Organ                          determinations
1/17/2023   Larry Plan/ Prepare     0.5    Review judge's prior statements from Dec. 7 and statements
            Organ                          from parties as well as draft instructions and statement of the
                                           case
1/17/2023   Larry Communication     0.1    communication to Cimone re MILs
            Organ
1/17/2023   Larry Appearance/       0.4    Appear for hearing with Judge Orrick re scope of evidence -
            Organ Attend                   essentially the trial will be limited to evidence previously
                                           presented - they might be able to bring in a PMK live but that
                                           person would be limited to the scope of evidence from first trial -
                                           witnesses not called in first trial will not be admitted unless a
                                           showing of fundamental reason for admitting them - exhibits not
                                           used in prior trial will not be coming in
1/17/2023   Larry Meet              0.6    Meet with Michael, Cimone and Bernard re Judge's statements
            Organ                          and MILs and strategy
1/17/2023   Larry Communication     0.1    Text exchange with Owen Diaz re hearing today
            Organ
1/17/2023   Larry Communication     0.1    Phone message for Owen Diaz informing him of general outcome
            Organ                          of meeting with the Judge
1/17/2023   Larry Communication     0.2    Phone conf. with Owen re scope of retrial and things he needs to
            Organ                          do to prepare
1/18/2023   Larry Appearance/       4.8    Attend Littleton Trial for opening statements by Alex Spiro and
            Organ Attend                   travel to and from SF
1/18/2023   Larry Communication     0.2    Phone conf. with Marqui re trial team
            Organ
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Date        User Activity           Time   Description
1/18/2023   Larry Communication     0.3    Phone conf. Michael Rubin re trial matters and strategy
            Organ
1/18/2023   Larry Communication     0.3    Phone conf. with Bernard Alexander to discuss opening and
            Organ                          strategy and Alex Spiro's opening in the Littleton v. Tesla case
1/19/2023   Larry Meet              1.2    Meet and Confer with OC re in limine motions and experts and
            Organ                          witnesses
1/19/2023   Larry Communication     0.2    Phone conf. with Bernard and Cimone re in limine motions
            Organ
1/19/2023   Larry Communication     0.3    Phone conf. with Dustin Collier re focus groups and strategy
            Organ
1/19/2023   Larry Plan/ Prepare     2.6    Prepare for trial - review testimony and exhibits
            Organ
1/20/2023   Larry Research          2.5    Legal Research re reprehensibility and Philip Morris v Williams
            Organ                          and White v Ford Motor Co.
1/20/2023   Larry Review/ Analyze   1.5    Review evidence for scope of in limine motions
            Organ
1/21/2023   Larry Review/ Analyze   0.9    Review draft of MILs
            Organ
1/21/2023   Larry Draft/ Revise     1.3    Review Cimone draft MILs and make handwritten edits while
            Organ                          Bernard does editing
1/21/2023   Larry Draft/ Revise     1.5    Additional research and edits to Plaintiff's MILs after Bernard
            Organ                          edited document
1/21/2023   Larry Communication     0.1    email to Jono and Michael re edits to MILs
            Organ
1/23/2023   Larry Appearance/       7.8    Attend in Littleton case researching Alex Spiro and travel to and
            Organ Attend                   from San Francisco
1/24/2023   Larry Communication     0.1    Communication with Owen Diaz re trial transcripts
            Organ
1/24/2023   Larry Communication     0.1    Communication with Sabrina re trial transcripts for Owen Diaz
            Organ
1/24/2023   Larry Communication     0.8    Phone conf. with Michael and Jono re MILs
            Organ
1/24/2023   Larry Communication     0.3    Continued Communication with Jono Rosenthal re MILs
            Organ
1/24/2023   Larry Communication     0.2    Phone conf. Marqui Hood re PMK
            Organ
1/24/2023   Larry Review/ Analyze   0.8    Review and Analyze MIL arguments and research re same
            Organ
1/25/2023   Larry Meet              1.4    Meet with OC re MILs etc
            Organ
1/25/2023   Larry Plan/ Prepare     1.9    Receive defendant's exhibit designations and review their
            Organ                          exhibits and their positions on the evidence
1/25/2023   Larry Communication     0.1    Phone call with Cimone re MILs
            Organ
1/25/2023   Larry Communication     0.1    Follow up phone call with Cimone re MILs
            Organ
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Date        User Activity           Time   Description
1/25/2023   Larry Meet              0.5    Meet with Michael, Jono, and Cimone after meeting with Tesla
            Organ
1/25/2023   Larry Communication     0.3    Phone conf. with Jono and Cimone re MIL issues
            Organ
1/26/2023   Larry Communication     0.1    communication with Sabrina re submissions for exchange on
            Organ                          Monday
1/26/2023   Larry Communication     0.2    Email exchange with team re equitable relief
            Organ
1/26/2023   Larry Plan/ Prepare     4      Prepare for trial - review testimony re damages issues generally
            Organ                          for trial trial strategy
1/27/2023   Larry Appearance/       7.7    Attend Littleton trial to observe opposing counsel in trial and
            Organ Attend                   travel to and from San Francisco
1/27/2023   Larry Draft/ Revise     2.6    Review and revise video designations for Demetric Di-az,
            Organ                          McGinn, Marconi and Heisen
1/27/2023   Larry Draft/ Revise     2.4    Begin reviewing and drafting revised jury instructions for retrial
            Organ
1/29/2023   Larry Review/ Analyze   2.8    review and edit plaintiff's MILs for retrial
            Organ
1/30/2023   Larry Meet              1.9    Meet with Michael, Jono, Cimone, and Bernard re MILs
            Organ
1/30/2023   Larry Review/ Analyze   1.8    Review and edit documents for exchange with OC
            Organ
1/31/2023   Larry Review/ Analyze   3.1    Review and edit documents for exchange
            Organ
2/1/2023    Larry Meet              1.9    Meet with DiazTeam to discuss MILs and other strategy issues
            Organ
2/1/2023    Larry Appearance/       6.7    Attend In Re Tesla Trial to observe Opposing Counsel strategy
            Organ Attend                   and travel to and from San Francisco
2/1/2023    Larry Review/ Analyze   3.7    Review and analyze and do related factual research relating to
            Organ                          their exchange documents
2/2/2023    Larry Communication     0.1    Phone call with client re retrial
            Organ
2/2/2023    Larry Meet              1.6    Meet and confer with Dan Posner, Asher Griffin and Mari
            Organ                          Henderson with Bernard Alexander, Michael Rubin, Jonothan
                                           Rosenthal, Marqui Hood and Cimone Nunley re jury instructions
                                           and scope of evidence - Dan finally admitted they intend to
                                           introduce new evidence about changes at Tesla that were not
                                           identified during the first trial
2/2/2023    Larry Plan/ Prepare     1.5    Review materials for meeting with OC
            Organ
2/2/2023    Larry Communication     0.5    Meet with Michael, Jono, Bernard, Cimone and Marqui re
            Organ                          meeting we just had with OC and need to update MIL to reflect
                                           new information they give us about the scope of evidence they
                                           intend to introduce
2/3/2023    Larry Appearance/       6.8    Observe closing arguments in Littleton case and travel to and
            Organ Attend                   from San Francisco
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Date       User Activity           Time   Description
2/3/2023   Larry Draft/ Revise     0.4    Review, related research and edit added footnote
           Organ
2/3/2023   Larry Communication     0.1    Communication with Sabrina re filing
           Organ
2/3/2023   Larry Communication     0.1    additional communication with Sabrina re filing
           Organ
2/3/2023   Larry Communication     0.1    Phone conf. with Michael and Sabrina re filing
           Organ
2/3/2023   Larry Communication     0.5    Phone conf. with Bernard re strategy issues and timing
           Organ
2/3/2023   Larry Communication     0.1    email to OC disclosing that we have amended MIL 2 to include
           Organ                          additional footnote
2/3/2023   Larry Communication     0.1    email from OC re additional footnote
           Organ
2/3/2023   Larry Communication     0.1    response to their response re footnote
           Organ
2/3/2023   Larry Review/ Analyze   0.7    review MILs filed by Defendant
           Organ
2/4/2023   Larry Meet              0.9    Meet with Dustin Collier re tasks for Diaz - cross of client
           Organ
2/4/2023   Larry Review/ Analyze   1.1    Review and analyze and research Lamar Patterson impeachment
           Organ                          of Robert Hurtado
2/4/2023   Larry Review/ Analyze   3.4    Review Defense MIL 1 and gather evidence for opposition
           Organ
2/4/2023   Larry Communication     0.1    Email to Mari Henderson re administrative filing
           Organ
2/4/2023   Larry Communication     0.1    Email from Mari Henderson re administrative filing - copy of
           Organ                          documents filed
2/4/2023   Larry Review/ Analyze   0.3    Review and analyze administrative filing
           Organ
2/4/2023   Larry Communication     0.1    email to Mari Henderson re admin filing
           Organ
2/4/2023   Larry Communication     0.1    Email to Jono re evidence for opposition to MILs re Hurtado
           Organ
2/4/2023   Larry Communication     0.1    Email to Jono re additional evidence for opposition to MILs re
           Organ                          Hurtado
2/4/2023   Larry Communication     0.1    Email to Jono re more additional evidence for opposition to MILs
           Organ                          re Hurtado
2/4/2023   Larry Communication     0.1    Email to Jono re more additional evidence for opposition to MILs
           Organ                          re Hurtado
2/4/2023   Larry Communication     0.1    Email to Jono re evidence for opposition to MILs re Donet
           Organ
2/5/2023   Larry Review/ Analyze   4.5    Review and analyze Def. MILs and gather evidence for opposition
           Organ                          papers
2/5/2023   Larry Communication     0.1    Communication with Jonathan Rosenthal re evidence for
           Organ                          opposition papers
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Date       User Activity           Time   Description
2/5/2023   Larry Communication     0.1    Communication with Cimone re exhibit list
           Organ
2/6/2023   Larry Communication     0.1    Email from Mari re lodging depositions
           Organ
2/6/2023   Larry Communication     0.1    Response to Mari
           Organ
2/6/2023   Larry Communication     0.1    Communication with Cimone re exhibit list
           Organ
2/6/2023   Larry Communication     0.1    Communication with Sabrina re exhibit list
           Organ
2/6/2023   Larry Communication     0.1    Communication with Dustin re cross of Owen
           Organ
2/6/2023   Larry Communication     0.1    Communication with Bernard re witnesses
           Organ
2/6/2023   Larry Review/ Analyze   0.7    additional review and analysis of MIL 1
           Organ
2/6/2023   Larry Review/ Analyze   0.1    Review notice of withdrawal of administrative motion
           Organ
2/6/2023   Larry Communication     0.2    Phone conf. with Michael re strategy re jury instructions
           Organ
2/6/2023   Larry Communication     0.1    Phone conf. with Sabrina re exhibit list
           Organ
2/6/2023   Larry Communication     0.1    Email to Sabrina re exhibit list
           Organ
2/6/2023   Larry Communication     0.2    Email to Mari re providing defendant's proposed jury
           Organ                          questionnaire and judge questions
2/6/2023   Larry Review/ Analyze   1.6    review voir dire transcript from Littleton case and highlight for
           Organ                          jury consultant
2/6/2023   Larry Communication     0.3    Email to Harry re voir dire by Spiro
           Organ
2/6/2023   Larry Communication     0.1    Email from Dan Posner re attached juror questionnaire and judge
           Organ                          questions for the jury
2/6/2023   Larry Review/ Analyze   0.7    Review and analyze Tesla's proposed jury questionnaire and
           Organ                          judge's questions for the jury
2/6/2023   Larry Communication     0.2    Email to Harry Plotkin re juror questionnaire and judge questions
           Organ
2/6/2023   Larry Communication     0.1    Email to Dan re juror questionnaire
           Organ
2/6/2023   Larry Communication     0.1    Communication with Cimone re status of projects
           Organ
2/6/2023   Larry Communication     0.2    Phone conf. with Cimone re joint conference statement
           Organ
2/6/2023   Larry Plan/ Prepare     6.5    Prepare for pretrial conference submissions by reviewing orders
           Organ                          and submissions and related evidence and testimony in light of
                                          Defendant's changed position re punitive liability
2/6/2023   Larry Communication     0.2    Phone conf. with Marqui Hood re Defendant's changed position
           Organ                          and need for a brief re same
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Date       User Activity           Time   Description
2/6/2023   Larry Communication     0.2    Phone conf. with Michael Rubin re changed position by
           Organ                          defendant on punitive liability and related tasks
2/7/2023   Larry Meet              0.4    Meet with OC re exchange documents and time
           Organ
2/7/2023   Larry Review/ Analyze   5.3    Review and revise jury instructions
           Organ
2/7/2023   Larry Review/ Analyze   0.8    Review and edit brief put together by Marqui and Molly re
           Organ                          liability for punitive damages
2/7/2023   Larry Plan/ Prepare     6.2    Review documents and review related materials for joint trial
           Organ                          submissions
2/8/2023   Larry Meet              0.7    Meeting with Jono, Michael, Bernard, Marqui and Sabrina re
           Organ                          filings to submit to court and strategy re same
2/8/2023   Larry Communication     0.2    Email to Dan Posner re scheduling
           Organ
2/8/2023   Larry Communication     0.1    communication with Michael re meeting at 10:45 to discuss
           Organ                          outstanding issues
2/8/2023   Larry Communication     0.1    Mutual exchange with Dan Posner of Statement of the Case and
           Organ                          Proposed Verdict Form
2/8/2023   Larry Communication     0.1    Email exchange on scope of document exchange
           Organ
2/8/2023   Larry Communication     0.1    Further clarification with Dan Posner re document exchange
           Organ
2/8/2023   Larry Communication     0.2    Email exchange with Michael Rubin re edits to response to
           Organ                          Statement of the Case and Verdict Form
2/8/2023   Larry Draft/ Revise     0.7    Draft responses to Defendant's Statement of the Case and
           Organ                          Verdict Form
2/8/2023   Larry Review/ Analyze   6.5    Review, Research and revise documents to be submitted for the
           Organ                          final status conference in order to exchange them at 7:00 pm
2/8/2023   Larry Communication     0.1    Email to OC re exchange of documents and revised time line for
           Organ                          doing so
2/8/2023   Larry Communication     0.1    communication with Cimone re nominal damages research
           Organ
2/8/2023   Larry Communication     0.1    communication with Molly and Marqui re scope of edits to
           Organ                          objection
2/8/2023   Larry Communication     0.2    Communication with Michael re jury instructions
           Organ
2/8/2023   Larry Communication     0.1    communication with Jono re jury instructions
           Organ
2/8/2023   Larry Communication     0.1    additional communication with Michael re jury instructions and
           Organ                          opposition to their statement of the case
2/8/2023   Larry Communication     0.1    Communication with OC exchanging documents at 7:00 pm
           Organ
2/8/2023   Larry Communication     0.1    further clarification with OC re document exchange process
           Organ
2/8/2023   Larry Communication     0.1    communication from OC re statement of the case and verdict
           Organ                          form
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Date       User Activity           Time   Description
2/8/2023   Larry Communication     0.1    Email sent re jury instructions
           Organ
2/8/2023   Larry Communication     0.1    communication to OC re exhibit and witness lists
           Organ
2/8/2023   Larry Communication     0.1    communication re filing of verdict form and statement of case
           Organ
2/8/2023   Larry Communication     0.1    communication with OC re filing of exhibit list and witness list
           Organ
2/8/2023   Larry Communication     0.1    Email from Mari re jury instructions
           Organ
2/8/2023   Larry Review/ Analyze   0.3    Review edits by OC to Jury Instructions
           Organ
2/8/2023   Larry Communication     0.1    communication with Sabrina to file documents
           Organ
2/8/2023   Larry Review/ Analyze   3.8    Review and check joint statements exchanged at 7:00 pm prior
           Organ                          to filing so that they properly incorporate the parties changes
                                          and revise accordingly
2/9/2023   Larry Communication     0.1    Email to Mari Henderson re appearance by Quintero and Romero
           Organ
2/9/2023   Larry Communication     0.1    Communication with Owen Diaz re Kawasaki
           Organ
2/9/2023   Larry Communication     0.1    Communication from Mari Henderson re Romero and Quintero
           Organ
2/9/2023   Larry Communication     0.1    Email to Sabrina re Quintero and Romero
           Organ
2/9/2023   Larry Draft/ Revise     3.9    Revise initial draft of pretrial conference statement and check
           Organ                          various references contained therein and add additional
                                          information
2/9/2023   Larry Review/ Analyze   0.6    Review and analyze issues relating to Exhibit 272
           Organ
2/9/2023   Larry Plan/ Prepare     6      Review Trial Testimony for inconsistent testimony by defendants
           Organ
2/9/2023   Larry Communication     0.1    Email exchange with Michael re Pretrial Conference Statement
           Organ
2/9/2023   Larry Draft/ Revise     0.3    Revise edits to pretrial conference statement draft
           Organ
2/9/2023   Larry Communication     0.1    Email to Mari Henderson sending pretrial conference statement
           Organ                          draft for her review and edits
2/9/2023   Larry Communication     0.1    Communication with Sabrina re declaration for opposition to
           Organ                          Defense MILs
2/9/2023   Larry Communication     0.1    Email Henderson re Ex 272 and 380
           Organ
2/9/2023   Larry Communication     0.2    Revise Exhibit List to remove objection re 272 and add objections
           Organ                          to 380
2/9/2023   Larry Communication     0.2    Email to Mari Henderson asking them to permit us to file
           Organ                          deposition excerpts without the request for filing them under
                                          seal
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Date        User Activity           Time   Description
2/10/2023   Larry Communication     0.1    Communication to Jono re MIL opposition papers
            Organ
2/10/2023   Larry Communication     0.1    Communication to Cimone re MIL Opposition papers
            Organ
2/10/2023   Larry Communication     0.1    Email to Michael Rubin re MIL opposition
            Organ
2/10/2023   Larry Communication     0.1    Follow up email to Mari Henderson requesting to not file
            Organ                          documents under seal
2/10/2023   Larry Communication     0.1    Email exchange with Mari Henderson on Pretrial conference
            Organ                          statement and referring to Tesla as Tesla Inc. rather than Tesla
                                           and other stipulations
2/10/2023   Larry Communication     0.2    Email exchanges related to agreement to "Mr. Diaz" and "Tesla
            Organ                          Inc."
2/10/2023   Larry Communication     0.1    Communication to Mari re filing testimony under seal
            Organ
2/10/2023   Larry Research          0.7    Research re filing documents under seal and uncovering de-
            Organ                          designation efforts
2/10/2023   Larry Communication     0.1    Communication to Mari Henderson noting no blanket
            Organ                          confidentiality designation for Owen and Demetric depositions
2/10/2023   Larry Communication     0.2    Phone conf. with Dustin Collier re Owen Prep and In Limine Oppo
            Organ
2/10/2023   Larry Communication     0.1    Phone conf. with Sabrina re MIL filing
            Organ
2/10/2023   Larry Communication     0.1    Email to Dustin re MIL oppo
            Organ
2/10/2023   Larry Communication     0.1    Email exchange with Michael Rubin and Bernard Alexander re
            Organ                          stipulations
2/10/2023   Larry Communication     0.1    Email from Mari Henderson agreeing we do not have to file
            Organ                          admin. motion
2/10/2023   Larry Communication     0.1    Phone call with Sabrina re MIL opposition - Cimone Declaration
            Organ
2/10/2023   Larry Draft/ Revise     2.1    Review and revise MIL Opposition
            Organ
2/10/2023   Larry Communication     0.1    Phone conf. with Dustin re MIL oppo.
            Organ
2/10/2023   Larry Communication     0.2    Phone conf. with Dustin and Michael re MIL Oppo
            Organ
2/10/2023   Larry Review/ Analyze   2.6    Review testimony on reprehensibility
            Organ
2/10/2023   Larry Review/ Analyze   0.1    review additional draft on deterrence by Michael
            Organ
2/10/2023   Larry Communication     0.1    Phone conf. with Michael re deterrence issue in relation to
            Organ                          punitive damages question
2/10/2023   Larry Draft/ Revise     1.4    Revise MIL Oppo Brief
            Organ
2/10/2023   Larry Communication     0.1    communication with Sabrina re brief
            Organ
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Date        User Activity           Time   Description
2/10/2023   Larry Appearance/       0.1    Phone conf. with Michael re revised brief
            Organ Attend
2/10/2023   Larry Communication     0.1    communication with Dustin with revisions to brief
            Organ
2/10/2023   Larry Communication     0.1    email communication with Cimone re brief
            Organ
2/10/2023   Larry Draft/ Revise     0.3    Further edits to MIL oppositions
            Organ
2/11/2023   Larry Plan/ Prepare     8.2    Prepare for trial -- review materials for pretrial conference and
            Organ                          prepare for trial by reviewing depositions and exhibits
2/11/2023   Larry Communication     0.1    Email with Tom Kawasaki re appearance
            Organ
2/11/2023   Larry Communication     0.1    Email re meeting with Owen Diaz
            Organ
2/12/2023   Larry Plan/ Prepare     4.1    Prepare for meeting with Owen Diaz
            Organ
2/12/2023   Larry Meet              3.4    Meet with Dustin, Owen and Susan for trial prep
            Organ
2/12/2023   Larry Meet              1      Meet with Susan to discuss strategy
            Organ
2/12/2023   Larry Communication     0.1    Email to Amy Oppenheimer re testimony
            Organ
2/13/2023   Larry Plan/ Prepare     1.1    Prepare for strategy meeting tomorrow
            Organ
2/13/2023   Larry Review/ Analyze   3.9    Review and draft responses to counter designations by
            Organ                          Defendant
2/13/2023   Larry Draft/ Revise     5.7    Review and revise Pretrial Conference Documents
            Organ
2/13/2023   Larry Communication     0.1    Communication with Mari re witnesses
            Organ
2/13/2023   Larry Communication     0.2    Email Exchange with Charles Mahla re testimony
            Organ
2/13/2023   Larry Communication     0.2    Email exchange with Diaz Team re stipulation
            Organ
2/13/2023   Larry Communication     0.3    Email exchanges with Tesla re stipulation
            Organ
2/13/2023   Larry Communication     0.1    Email with Mari re Juror Questionnaire
            Organ
2/13/2023   Larry Communication     0.1    Email exchange with Mari Henderson re Juror Questionnaire
            Organ
2/13/2023   Larry Communication     0.1    Further email exchange re juror questionnaire with Mari
            Organ                          Henderson
2/14/2023   Larry Plan/ Prepare     0.9    Prepare for strategy meeting
            Organ
2/14/2023   Larry Meet              5.2    Attend meeting with Diaz Team to map out strategy for trial
            Organ
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Date        User Activity           Time   Description
2/14/2023   Larry Communication     0.1    communication with OC re meet and confer tomorrow
            Organ
2/14/2023   Larry Plan/ Prepare     4.7    Prepare for focus group
            Organ
2/14/2023   Larry Communication     0.1    communication with Marqui re Diaz strategy
            Organ
2/15/2023   Larry Meet              0.5    Meet with Michael, Marqui, & Cimone re stipulations
            Organ
2/15/2023   Larry Meet              0.8    Meet with Dan, Mari Asher Michael, Cimone, Marqui and
            Organ                          Bernard re stipulations and how to refer to prior trial
2/15/2023   Larry Meet              0.3    Meet with Diaz team after meeting with OC to discuss strategy
            Organ
2/15/2023   Larry Review/ Analyze   0.7    Review Defendant's position outlined in Pretrial Conf. Statement
            Organ
2/15/2023   Larry Communication     0.1    email to Mari Henderson re stipulation
            Organ
2/15/2023   Larry Draft/ Revise     0.1    Revise stipulation
            Organ
2/15/2023   Larry Draft/ Revise     6.1    Review transcripts for incorporation into focus group
            Organ
2/15/2023   Larry Draft/ Revise     3.7    Draft new focus group script using depo excerpts
            Organ
2/15/2023   Larry Communication     0.1    communication to Sabrina re cutting deposition testimony for
            Organ                          focus group
2/15/2023   Larry Communication     0.2    Email to team sending around the focus group script for review
            Organ
2/16/2023   Larry Communication     0.4    Phone conf. with Dustin Collier re focus group survey
            Organ
2/16/2023   Larry Communication     0.1    follow up with Dustin about something in the focus group survey
            Organ
2/16/2023   Larry Draft/ Revise     2.2    Revisions of focus group script based on feedback from team
            Organ                          members
2/16/2023   Larry Communication     0.1    Meet with Molly and Marqui re strategy
            Organ
2/16/2023   Larry Communication     0.1    communication with Dustin re factual issue for focus group
            Organ
2/16/2023   Larry Draft/ Revise     2.4    Further Revise focus group script after discussions with team
            Organ
2/16/2023   Larry Draft/ Revise     0.6    Revise depo designations to cut time for focus group
            Organ
2/16/2023   Larry Communication     0.1    communication with Sabrina re clips for focus group
            Organ
2/16/2023   Larry Draft/ Revise     1.8    Additional revisions to Focus Group script
            Organ
2/16/2023   Larry Appearance/       2.2    Moderate Focus Group
            Organ Attend
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Date        User Activity           Time   Description
2/16/2023   Larry Meet              0.8    Debrief after focus group
            Organ
2/17/2023   Larry Meet              1.2    Meeting to plan and prepare for trial with DIaz Team and make
            Organ                          trial assignments
2/17/2023   Larry Review/ Analyze   1.5    review and analyze materials to prepare for meeting with team
            Organ
2/17/2023   Larry Communication     0.1    Phone conf. with Dustin Collier re statements about first verdict
            Organ
2/18/2023   Larry Plan/ Prepare     7.7    Prepare for trial - review materials from focus group and exhibits
            Organ                          in light of focus group discussion and apply to strategy for retrial
2/18/2023   Larry Plan/ Prepare     1.6    Prepare for mock examination of Owen Diaz
            Organ
2/19/2023   Larry Plan/ Prepare     4      Plan and prepare for direct examination of Owen Diaz
            Organ
2/19/2023   Larry Meet              3.9    Meet with Susan, Dustin and Owen to go over direct examination
            Organ
2/19/2023   Larry Communication     0.2    Email to Diaz Team re closing argument issues
            Organ
2/19/2023   Larry Communication     0.1    Email response form Bernard re closing argument analogies
            Organ
2/19/2023   Larry Communication     0.1    Email from Michael Rubin re closing argument analogy
            Organ
2/19/2023   Larry Communication     0.2    Email from Dustin Collier re opening statement and punis
            Organ
2/20/2023   Larry Draft/ Revise     3.4    Revise direct examination of Owen Diaz
            Organ
2/20/2023   Larry Draft/ Revise     2.5    Begin work on opening statement/closing argument - gathering
            Organ                          of facts and analysis of prior positions
2/20/2023   Larry Communication     0.1    Email from Dustin responding to Larry and Michael re closing
            Organ                          analogy
2/20/2023   Larry Communication     0.1    Susan Email re analogy and alternative view
            Organ
2/20/2023   Larry Communication     0.1    Liz Malay email re analogy and way to characterize Owen's
            Organ                          complaints
2/20/2023   Larry Communication     0.1    Larry Organ email responding to Liz's analysis and adding
            Organ                          additional exhibits to the equation
2/21/2023   Larry Communication     0.1    email from Bernard Alexander re opening slides
            Organ
2/21/2023   Larry Communication     0.1    Email from Susan Organ re opening slides
            Organ
2/21/2023   Larry Communication     0.1    Follow up email from Susan with edited slides
            Organ
2/21/2023   Larry Review/ Analyze   0.2    Analyze slides created by Susan Organ for opening
            Organ
2/21/2023   Larry Plan/ Prepare     5.3    Work on Owen Diaz Direct examination - review related
            Organ                          materials
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Date        User Activity           Time   Description
2/22/2023   Larry Communication     0.2    Phone conf. with Michael Rubin re issues for meeting with OC
            Organ
2/22/2023   Larry Meet              0.5    Meet with OC re issues about how to refer to first jury verdict -
            Organ                          def. says their are cases supporting their position
2/22/2023   Larry Meet              0.4    Meet with team after meeting with OC to debrief and make
            Organ                          assignments
2/22/2023   Larry Communication     0.2    Meet with Dustin re focus group
            Organ
2/22/2023   Larry Communication     0.1    Email from Bernard re opening slides
            Organ
2/22/2023   Larry Communication     0.1    Email from Liz Malay re visuals for opening
            Organ
2/23/2023   Larry Communication     0.1    Communication to the parties from Jean Davis re Ex. 380 and Ex.
            Organ                          151
2/23/2023   Larry Communication     0.1    Response email to court clerk Ms. Davis with Ex. 380 per the
            Organ                          court's request
2/23/2023   Larry Review/ Analyze   0.4    Review various exhibit lists for Ex. 151 or Bates Nos. 819-824 -
            Organ                          review produced documents for same
2/23/2023   Larry Communication     0.1    Email Ms. Davis with Tesla's Anti-Harassment policy (Tesla 819-
            Organ                          824) per the court's request
2/23/2023   Larry Plan/ Prepare     6.5    Prepare for trial - review focus group information and begin
            Organ                          drafting script for 2/26 focus group
2/23/2023   Larry Plan/ Prepare     2.9    Review Owen Diaz testimony to prepare for meeting with Owen
            Organ                          Diaz
2/24/2023   Larry Review/ Analyze   1.1    Review and analyze Draft Preliminary Jury Instructions from the
            Organ                          Court and compare with two sides drafts
2/24/2023   Larry Meet              0.5    Meet with Diaz team to discuss tasks for Monday hearing with
            Organ                          the Judge and to discuss draft of jury instructions
2/24/2023   Larry Draft/ Revise     10.2   Review prior focus group materials and draft new script
            Organ
2/24/2023   Larry Communication     0.1    Email to team re latest focus group survey
            Organ
2/24/2023   Larry Communication     0.1    communication with Sabrina re filling out form for court reporter
            Organ
2/25/2023   Larry Draft/ Revise     5.6    Research factual information regarding Tesla's likely defenses
            Organ                          and review prior testimony
2/25/2023   Larry Communication     0.1    Email to team re focus group survey
            Organ
2/25/2023   Larry Communication     0.1    Email to team with revised focus group script
            Organ
2/25/2023   Larry Draft/ Revise     1.3    Additional revisions to focus group script
            Organ
2/25/2023   Larry Plan/ Prepare     2.5    Plan and prepare for meeting with Owen
            Organ
2/25/2023   Larry Communication     0.1    communication from Bernard re revised script
            Organ
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Date        User Activity         Time   Description
2/26/2023   Larry Communication   0.1    communication to team re revised focus group script
            Organ
2/26/2023   Larry Draft/ Revise   0.8    revise focus group script
            Organ
2/26/2023   Larry Meet            3.9    Meet with Owen, Dustin and Susan re trial
            Organ
2/26/2023   Larry Appearance/     3.1    attend and moderate Focus Group
            Organ Attend
2/26/2023   Larry Communication   0.7    Meet to debrief with Dustin, Cimone, Susan and Cam re focus
            Organ                        group
2/26/2023   Larry Plan/ Prepare   1.3    Prepare for Pretrial conference
            Organ
2/26/2023   Larry Communication   0.2    communication exchange with Michael and Dustin re intent issue
            Organ
2/27/2023   Larry Communication   0.1    Communication from Judge Illston's clerk re interest in
            Organ                        settlement
2/27/2023   Larry Communication   0.1    Communication from Sabrina re court reporter
            Organ
2/27/2023   Larry Communication   0.1    communication with Cimone re hearing today
            Organ
2/27/2023   Larry Communication   0.1    communication with Dustin re hearing today
            Organ
2/27/2023   Larry Appearance/     3.9    Appear for Pretrial Conference with Orrick - our team included
            Organ Attend                 Michael Rubin, Dustin Collier and CImone Nunley and myself with
                                         Bernard, Marqui and Sabrina on the livestream
2/27/2023   Larry Communication   0.2    Phone call with Marqui Hood re hearing issues
            Organ
2/27/2023   Larry Communication   0.3    Phone call with Bernard re trial matters and strategy
            Organ
2/27/2023   Larry Plan/ Prepare   2.7    Prepare for pretrial conference by reviewing exhibits and witness
            Organ                        information and other pretrial documents
2/28/2023   Larry Communication   0.4    Meet with Cimone and Dustin re focus group and witnesses
            Organ
2/28/2023   Larry Plan/ Prepare   4.4    Prepare for witness Diaz examination
            Organ
2/28/2023   Larry Plan/ Prepare   3.5    Prepare for Ed Romero examination
            Organ
2/28/2023   Larry Communication   0.1    communication with Dustin re Joyce DelaGrande examination
            Organ
2/28/2023   Larry Communication   0.4    Phone conf. with Dustin re witnesses
            Organ
2/28/2023   Larry Communication   0.1    Phone conf. with Cimone re preparation of Jackson testimony for
            Organ                        Bernard
3/1/2023    Larry Communication   0.9    Phone conf. with Dustin and Josh re framing and defendant's
            Organ                        argument
3/1/2023    Larry Communication   0.1    Email exchange with Dan Posner re having a telephone conf.
            Organ
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Date       User Activity         Time   Description
3/1/2023   Larry Communication   0.1    Email from Mari Henderson re remote realtime
           Organ
3/2/2023   Larry Communication   0.2    email exchange with Michael re latest document by Tesla re jury
           Organ                        instructions
3/2/2023   Larry Meet            2.9    Strategy Meeting in light of Court's rulings at pretrial conference
           Organ
3/2/2023   Larry Communication   0.2    Phone conference with Dan Posner re asking for a demand
           Organ
3/2/2023   Larry Draft/ Revise   1.5    Revise Focus Group Script
           Organ
3/2/2023   Larry Communication   0.1    communication with Dustin re focus group script
           Organ
3/2/2023   Larry Appearance/     2.1    Appear for Focus Group on tesla defenses
           Organ Attend
3/2/2023   Larry Meet            1      Meet with Diaz team to debrief after focus group
           Organ
3/2/2023   Larry Plan/ Prepare   3.9    Prepare for trial - review Owen materials for meeting with Owen
           Organ
3/3/2023   Larry Communication   0.1    Email to Dan re settlement demand
           Organ
3/3/2023   Larry Communication   0.2    Email to Harry Plotkin re jury selection
           Organ
3/4/2023   Larry Appearance/     3.1    Appear for focus group and act as moderator
           Organ Attend
3/4/2023   Larry Meet            1.5    Meet with team to debrief from focus group
           Organ
3/4/2023   Larry Meet            0.5    meet with Dustin to discuss strategy
           Organ
3/4/2023   Larry Plan/ Prepare   2.8    Prepare for focus group - edit script
           Organ
3/4/2023   Larry Plan/ Prepare   4      prepare for meeting with Owen
           Organ
3/5/2023   Larry Meet            4      Meet with Owen Diaz and Dustin Collier and Emily Kolheim and
           Organ                        Susan Organ
3/5/2023   Larry Communication   0.5    Meet with Dustin to discuss strategy after meeting with Owen
           Organ
3/5/2023   Larry Plan/ Prepare   2.4    Prepare for meeting with Owen
           Organ
3/5/2023   Larry Draft/ Revise   3.3    work on draft of examination of Owen Diaz
           Organ
3/5/2023   Larry Communication   0.1    Email to Mari Henderson re refusal to stipulate to remote access
           Organ                        for realtime
3/6/2023   Larry Plan/ Prepare   12.5   Prepare for trial - prepare Tom Kawasaki direct exam and
           Organ                        preempt the cross
3/7/2023   Larry Plan/ Prepare   5.8    Finish drafting direct examination of Tom Kawasaki
           Organ
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Date        User Activity           Time   Description
3/7/2023    Larry Plan/ Prepare     6.8    Prepare for trial - work on Ed Romero examination
            Organ
3/8/2023    Larry Meet              1      Meet with Team to discuss strategy and tasks
            Organ
3/8/2023    Larry Communication     0.2    Phone conf. with Cimone and Charles Mahla re testimony
            Organ
3/8/2023    Larry Plan/ Prepare     6.3    Prepare examination of Ed Romero
            Organ
3/9/2023    Larry Communication     0.1    Phone conf. with Dustin re Oppenheimer
            Organ
3/9/2023    Larry Communication     0.1    Text messages exchange with Dustin re Oppenheimer testimony
            Organ
3/9/2023    Larry Communication     0.4    Phone conf. with Dustin to review powerpoint slides for expert
            Organ
3/9/2023    Larry Plan/ Prepare     10.7   Prepare for Ed Romero cross examination
            Organ
3/9/2023    Larry Plan/ Prepare     1.4    Additional Romero prep. time
            Organ
3/9/2023    Larry Communication     0.1    Communication with Sabrina re exhibits
            Organ
3/10/2023   Larry Communication     0.1    Phone conf. with Sabrina re witness examinations and video
            Organ                          times
3/10/2023   Larry Draft/ Revise     0.7    Revise witness timing database
            Organ
3/10/2023   Larry Communication     0.1    Phone conf. with Dustin re witness information database and
            Organ                          other relevant issues
3/10/2023   Larry Deposition        0.1    Communication with Sabrina re witness issues
            Organ
3/10/2023   Larry Draft/ Revise     1.5    Draft document outlining key information we get from each
            Organ                          witness
3/10/2023   Larry Communication     0.2    communication with Emily Kohlheim re: analyzing Spiro themes
            Organ                          from other cases
3/10/2023   Larry Communication     0.3    Phone conf. with Dustin re strategy issues and timing
            Organ
3/10/2023   Larry Communication     0.1    email to Sabrina re witnesses
            Organ
3/10/2023   Larry Draft/ Revise     3.4    Revise and add to trial outline of witnesses and key information
            Organ
3/10/2023   Larry Review/ Analyze   0.9    Review and edit designation of deposition testimony
            Organ
3/11/2023   Larry Plan/ Prepare     7.7    Prepare for trial - review Diaz testimony for cross examination
            Organ
3/12/2023   Larry Draft/ Revise     8.5    Revise Ed Romero examination script
            Organ
3/12/2023   Larry Draft/ Revise     4.4    Review testimony and Draft Owen Diaz examination outline
            Organ
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Date        User Activity           Time   Description
3/13/2023   Larry Plan/ Prepare     4.6    Prepare for trial - work with Owen Diaz to prepare for cross
            Organ                          examination
3/13/2023   Larry Meet              0.8    Meet with Dustin and Susan to edit focus group script
            Organ
3/13/2023   Larry Communication     0.1    communication with Michael Rubin re tasks
            Organ
3/13/2023   Larry Draft/ Revise     0.4    Revise demonstrative exhibits
            Organ
3/13/2023   Larry Draft/ Revise     1.4    Revise focus group script
            Organ
3/13/2023   Larry Appearance/       2.2    Attend focus group
            Organ Attend
3/13/2023   Larry Meet              1.2    Meet with Team to debrief re focus group
            Organ
3/13/2023   Larry Communication     0.2    Phone conf. with Michael Rubin re tasks for trial
            Organ
3/13/2023   Larry Plan/ Prepare     2.6    Additional prep work for meeting with Owen
            Organ
3/14/2023   Larry Review/ Analyze   2.6    Review Kawasaki documents to prepare for meeting with Mr.
            Organ                          Kawasaki
3/14/2023   Larry Communication     0.3    Phone conf. with Michael Wheeler re testifying
            Organ
3/14/2023   Larry Communication     0.1    Email to Michael Wheeler with standby agreement
            Organ
3/14/2023   Larry Communication     0.1    Phone conf. with Owen Diaz re Michael Wheeler
            Organ
3/14/2023   Larry Communication     0.1    Email to Michael Wheeler re trial testimony
            Organ
3/14/2023   Larry Communication     0.3    Phone Conf. with Dustin Collier and Wayne Jackson
            Organ
3/14/2023   Larry Communication     0.2    Phone conf. with Dustin re witnesses
            Organ
3/14/2023   Larry Communication     0.1    Phone conf. with Dustin re evidence
            Organ
3/14/2023   Larry Appearance/       0.1    Phone conf. with Owen re LaDrea
            Organ Attend
3/14/2023   Larry Communication     0.1    Phone conf. with Sabrina re Ladrea
            Organ
3/14/2023   Larry Communication     0.1    Phone conf. with LaDrea re appearance
            Organ
3/14/2023   Larry Communication     0.3    Phone conf. with Dustin re trial planning
            Organ
3/14/2023   Larry Communication     0.1    Communication with Bernard re timing
            Organ
3/14/2023   Larry Communication     0.1    Email with Mari Henderson re witnesses Wheeler and Delgado
            Organ
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Date        User Activity           Time   Description
3/14/2023   Larry Communication     0.1    Email response from Posner saying they served Delgado and
            Organ                          requesting meet and confer on Wheeler
3/14/2023   Larry Communication     0.1    Email responding to Posner
            Organ
3/15/2023   Larry Meet              3.8    Meet with Tom Kawasaki re testimony and travel to and from
            Organ                          Oakland
3/15/2023   Larry Communication     0.1    Text exchange with Bernard re timing and strategy
            Organ
3/15/2023   Larry Communication     0.1    Text exchange with Dustin re strategy issues
            Organ
3/15/2023   Larry Review/ Analyze   0.5    Review and analyze rulings on MILs
            Organ
3/15/2023   Larry Communication     0.1    Email exchanges re MIIL rulings
            Organ
3/15/2023   Larry Appearance/       0.1    Communication re voir dire transcript
            Organ Attend
3/15/2023   Larry Communication     0.1    Email to Sabrina re voir dire transcript from 2021
            Organ
3/15/2023   Larry Communication     0.3    Phone conf. with Josh Boxer re Chenoa Chavez
            Organ
3/15/2023   Larry Communication     0.2    Phone conf. with Cimone Nunley re Quintero testimony
            Organ
3/15/2023   Larry Communication     0.3    Phone conf. with Susan re powerpoint slides
            Organ
3/15/2023   Larry Communication     0.1    Email to Bernard re powerpoint slides
            Organ
3/15/2023   Larry Communication     0.1    Email with Harry re jury selection issue
            Organ
3/15/2023   Larry Communication     0.1    Email from Dan regarding meeting on Wheeler designations
            Organ
3/15/2023   Larry Review/ Analyze   0.4    Review powerpoint slides for opening/closing
            Organ
3/15/2023   Larry Communication     0.2    Email to susan re powerpoint edits
            Organ
3/15/2023   Larry Draft/ Revise     2.6    Revise Kawasaki examination
            Organ
3/16/2023   Larry Review/ Analyze   0.4    Review Judge's preliminary jury instructions
            Organ
3/16/2023   Larry Communication     0.1    Email exchange with Michael re preliminary jury instructions
            Organ
3/16/2023   Larry Draft/ Revise     1.6    Revise Quintero examination
            Organ
3/16/2023   Larry Communication     0.1    email from Cimone re Quintero examination
            Organ
3/16/2023   Larry Communication     0.2    Email to Cimone asking her to find more references for Quintero
            Organ                          examination
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Date        User Activity           Time   Description
3/16/2023   Larry Communication     0.2    Phone conf. with Cimone about needed changes to Quintero
            Organ
3/16/2023   Larry Communication     0.3    Phone conf. with Dustin re witness information
            Organ
3/16/2023   Larry Communication     0.1    Phone conf. with Charles Mahla re testimony
            Organ
3/16/2023   Larry Communication     0.1    Email with Michael Wheeler regarding testifying
            Organ
3/16/2023   Larry Communication     0.2    Phone conf. with Cimone discussing her additions to Quintero
            Organ                          script
3/16/2023   Larry Communication     0.1    Email from Michael Wheeler
            Organ
3/16/2023   Larry Communication     0.2    Phone conf. with Owen Diaz re status of case
            Organ
3/16/2023   Larry Review/ Analyze   0.3    Review additional edits to Quintero
            Organ
3/16/2023   Larry Review/ Analyze   3      Revise and review Romero depo testimony for use on retrial
            Organ
3/16/2023   Larry Communication     0.2    Zoom Meet with Dan, Mari, Asher (phone), and Dustin to discuss
            Organ                          Michael Wheeler unavailability and need for trial designations
3/16/2023   Larry Communication     0.1    Phone conf. with Dustin after meeting with Dan re Wheeler
            Organ
3/16/2023   Larry Draft/ Revise     1.5    Work with Susan editing opening powerpoint
            Organ
3/16/2023   Larry Draft/ Revise     1.7    Revise script for Ed Romero
            Organ
3/17/2023   Larry Plan/ Prepare     1.3    Prepare for meeting with Dustin and Bernard
            Organ
3/17/2023   Larry Meet              7.1    Meet in person with Bernard and Dustin and rest of team by
            Organ                          zoom to discuss trial strategy
3/17/2023   Larry Communication     0.1    Phone conf. with Wayne Jackson where he said he was en route
            Organ                          home and he had to check his calendar for meeting next week
3/17/2023   Larry Communication     0.1    Email to Wayne Jackson
            Organ
3/17/2023   Larry Review/ Analyze   0.6    Review Jackson testimony for sending to Wayne
            Organ
3/17/2023   Larry Review/ Analyze   2.9    Analyze defense and plan out antidote
            Organ
3/17/2023   Larry Communication     0.2    Email to team re response to planned attack by Tesla
            Organ
3/18/2023   Larry Communication     0.4    Communication to trial team re additional thoughts about ways
            Organ                          to address Defense tactics
3/18/2023   Larry Review/ Analyze   1.3    Additional analysis of defenses
            Organ
3/18/2023   Larry Communication     1.8    Meet with Team to prepare for focus group
            Organ
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Date        User Activity           Time   Description
3/18/2023   Larry Appearance/       3.1    Appear for focus group
            Organ Attend
3/18/2023   Larry Meet              1.7    Debrief after focus group
            Organ
3/18/2023   Larry Meet              0.7    Meet with Bernard re strategy
            Organ
3/19/2023   Larry Plan/ Prepare     1.9    Think about defenses and defense themes
            Organ
3/19/2023   Larry Meet              6.5    Meet with Dustin and Bernard and Susan and Emily re trial
            Organ                          strategy including Dr. Reading, Owen, Romero and opening
                                           statement and revise witness order
3/19/2023   Larry Draft/ Revise     0.3    Revise witness order
            Organ
3/19/2023   Larry Communication     0.1    Send revised witness order to team
            Organ
3/19/2023   Larry Communication     0.1    communication from Dustin Collier to OC re Wheeler
            Organ
3/19/2023   Larry Communication     0.1    Email and Phone Message for Wayne Jackson
            Organ
3/19/2023   Larry Draft/ Revise     4.8    Revise Owen Examination
            Organ
3/20/2023   Larry Communication     0.2    communication to Emily re assignment for Owen cross
            Organ
3/20/2023   Larry Communication     0.1    communication to Dustin re cross of Diaz
            Organ
3/20/2023   Larry Plan/ Prepare     2.2    Prepare for meeting with Owen
            Organ
3/20/2023   Larry Meet              3.8    Meet with Owen, Dustin and Bernard and Susan to prepare
            Organ                          owen for cross
3/20/2023   Larry Meet              4.7    Meet with Michael Wheeler and Dustin and travel to and from
            Organ                          Fremont
3/20/2023   Larry Meet              0.8    Meet with Dustin and Bernard to discuss Opening
            Organ
3/20/2023   Larry Review/ Analyze   0.3    Finalize demonstrative exhibits
            Organ
3/20/2023   Larry Communication     0.1    Email exchange with Michael Rubin re case matters
            Organ
3/21/2023   Larry Plan/ Prepare     3.5    Prepare for meeting with Owen Diaz
            Organ
3/21/2023   Larry Meet              4.5    Meet with Owen Diaz and Susan re testimony
            Organ
3/21/2023   Larry Draft/ Revise     1.8    revise focus group script
            Organ
3/21/2023   Larry Appearance/       2.2    Focus Group on themes
            Organ Attend
3/21/2023   Larry Meet              0.8    Debrief on Focus Group
            Organ
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Date        User Activity           Time   Description
3/21/2023   Larry Communication     0.2    communication with Dustin and Sabrina re email to OC exhibit
            Organ                          list
3/21/2023   Larry Communication     0.1    Communication from Court Reporter re realtime
            Organ
3/21/2023   Larry Communication     0.1    Communication with Sabrina re Realtime request to court
            Organ                          reporter
3/21/2023   Larry Review/ Analyze   0.9    Review and analyze opening outline
            Organ
3/21/2023   Larry Communication     0.2    Email to Bernard re opening ideas
            Organ
3/22/2023   Larry Communication     0.1    Email from Mari Henderson re exchange of demonstratives and
            Organ                          response thereto
3/22/2023   Larry Review/ Analyze   0.7    Additional analysis of opening
            Organ
3/22/2023   Larry Meet              2.3    Meet with Team re strategy
            Organ
3/22/2023   Larry Meet              1.7    Follow up strategy session
            Organ
3/22/2023   Larry Review/ Analyze   3      Review and analyze juror questionnaires
            Organ
3/22/2023   Larry Meet              2.5    Meet with Harry Plotkin and team to discuss jurors
            Organ
3/22/2023   Larry Review/ Analyze   3.8    Review and analyze powerpoints for exchange
            Organ
3/22/2023   Larry Communication     0.1    Review email from Asher re Heisen
            Organ
3/22/2023   Larry Communication     0.1    Phone call with Emily re Heisen testimony
            Organ
3/22/2023   Larry Communication     0.1    communication with Bernard re opening powerpoint
            Organ
3/22/2023   Larry Communication     0.1    Communication with Dustin re opening powerpoint
            Organ
3/23/2023   Larry Review/ Analyze   2.1    Review and revise opening statement
            Organ
3/23/2023   Larry Meet              3      Meet with Tom Kawasaki in Oakland Office and travel to and
            Organ                          from Oakland
3/23/2023   Larry Draft/ Revise     1.4    revise powerpoint slides for defendant
            Organ
3/23/2023   Larry Communication     0.2    Phone conf. with Mari and Dan and Dustin re powerpoint slides
            Organ                          and defendant's objections to them
3/23/2023   Larry Review/ Analyze   2.4    Review and analyze opening statement and make suggested
            Organ                          edits
3/23/2023   Larry Review/ Analyze   0.8    Review and analyze defendant's three motions re Oppenheimer,
            Organ                          opening slides, and jury instructions
3/23/2023   Larry Communication     0.1    communication to team re opposing Oppenheimer brief
            Organ
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Date        User Activity           Time   Description
3/23/2023   Larry Communication     0.1    communication to team re opposing jury instruction brief and
            Organ                          brief on opening demonstrative exhibits
3/23/2023   Larry Plan/ Prepare     2.7    Additional review of jury venire
            Organ
3/23/2023   Larry Review/ Analyze   2      review transcripts of Spiro prior cases
            Organ
3/24/2023   Larry Communication     0.1    Mari email re cause challenges asking for our list
            Organ
3/24/2023   Larry Communication     0.1    Response email asking for defense list
            Organ
3/24/2023   Larry Plan/ Prepare     1.9    Prepare for voir dire issues - review potential jurors
            Organ
3/24/2023   Larry Communication     0.1    communication to OC to suggest a meet and confer at 12:30
            Organ
3/24/2023   Larry Meet              0.2    Meet with Defense counsel re challenges for cause - they don't
            Organ                          have authority to make decisions without consulting with client
3/24/2023   Larry Communication     0.7    Meet with Team after meeting with OC to discuss strategy
            Organ
3/24/2023   Larry Plan/ Prepare     0.3    review and revise response documents to defendants motions
            Organ
3/24/2023   Larry Review/ Analyze   3      Review and analyze prior transcripts of Spiro trials
            Organ
3/24/2023   Larry Appearance/       0.9    Appear for hearing with Judge on juror stipulations and then
            Organ Attend                   motions by defendant - denied motion re opening slides - denied
                                           jury instructions - Oppenheimer he asked for expert report
3/24/2023   Larry Communication     0.1    Morning phone call with Jono re opposition brief
            Organ
3/24/2023   Larry Communication     0.2    Phone call with Dustin re strategy
            Organ
3/24/2023   Larry Communication     0.2    Phone conf. with Harry re strategy for voir dire
            Organ
3/24/2023   Larry Communication     0.1    Phone conf. with Sabrina re court setup
            Organ
3/24/2023   Larry Communication     0.1    Phone conf. with Michael Rubin re strategy question
            Organ
3/24/2023   Larry Communication     0.2    Meet with Marqui re help with Owen Diaz examination
            Organ
3/24/2023   Larry Review/ Analyze   0.6    Review Def. Objections to Heisen designations and review Emily's
            Organ                          research re same
3/24/2023   Larry Communication     0.3    email to Cimone re preparing a response to Heisen
            Organ
3/24/2023   Larry Draft/ Revise     1      Revise Ed Romero examination
            Organ
3/24/2023   Larry Draft/ Revise     3.6    Draft focus group script and argument for defense
            Organ
3/25/2023   Larry Communication     0.1    Communication with Cimone re trial task
            Organ
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Date        User Activity           Time   Description
3/25/2023   Larry Communication     0.1    Phone conf. with Emily re checking discovery
            Organ
3/25/2023   Larry Communication     0.1    Email to Marqui re trial task
            Organ
3/25/2023   Larry Communication     0.2    Meet with Bernard re opening statement and focus group
            Organ
3/25/2023   Larry Communication     0.1    communication with Cimone re focus group
            Organ
3/25/2023   Larry Communication     0.2    Meet with LaDrea Jones re testimony
            Organ
3/25/2023   Larry Communication     0.1    Meet with Bernard re opening
            Organ
3/25/2023   Larry Appearance/       2.4    Attend focus group
            Organ Attend
3/25/2023   Larry Meet              1.8    Meet with team to rework opening statement
            Organ
3/25/2023   Larry Plan/ Prepare     2.5    Prepare for focus group - write script for Spiro-type opening
            Organ
3/25/2023   Larry Review/ Analyze   0.3    Review and analyze Heisen response email
            Organ
3/25/2023   Larry Review/ Analyze   0.5    Review and analyze research on discovery responses re treating
            Organ                          doctors
3/25/2023   Larry Plan/ Prepare     6.2    Prepare for trial - draft witness examinations and review
            Organ                          examinations of other and review edit opening statement
3/26/2023   Larry Plan/ Prepare     1.7    Prepare for meeting with Owen Diaz
            Organ
3/26/2023   Larry Meet              3      Meet with Owen, Dustin and Susan to discuss testimony
            Organ
3/26/2023   Larry Meet              0.5    Meet with Bernard to revise opening
            Organ
3/26/2023   Larry Draft/ Revise     2      Revise opening statement and focus group re same
            Organ
3/26/2023   Larry Communication     0.9    Zoom meeting with Tom Kawasaki re likely cross
            Organ
3/26/2023   Larry Draft/ Revise     0.7    Revise Kawasaki examination
            Organ
3/26/2023   Larry Plan/ Prepare     3.9    Prepare for trial - review relevant documents for trial prep
            Organ
3/26/2023   Larry Communication     0.1    Email to Mari re witnesses this week
            Organ
3/26/2023   Larry Communication     0.1    Communication with Dustin re witnesses
            Organ
3/26/2023   Larry Review/ Analyze   1.5    Review and revise Owen Diaz examination
            Organ
3/27/2023   Larry Appearance/       11.2   Appear for Trial Day 1 - Jury Selection - Opening Statements -
            Organ Attend                   Plaintiff 56 min., Def. 26 min.
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Date        User Activity           Time   Description
3/27/2023   Larry Draft/ Revise     1.9    Meet with Staff to discuss Openings and strategy
            Organ
3/27/2023   Larry Draft/ Revise     3      Revise examinations of Kawasaki and Martinez
            Organ
3/28/2023   Larry Appearance/       7.7    Trial Day 2 - Tom Kawasaki, Michael Wheeler, Wayne Jackson,
            Organ Attend                   Amy Oppenheimer Direct - and travel to and from court
3/28/2023   Larry Plan/ Prepare     0.9    Meet with Owen after court
            Organ
3/28/2023   Larry Meet              3.6    Meet with Team re strategy
            Organ
3/28/2023   Larry Review/ Analyze   0.3    Review Draft Final Jury Instructions
            Organ
3/28/2023   Larry Review/ Analyze   0.1    Review draft verdict form
            Organ
3/28/2023   Larry Plan/ Prepare     3.1    Prepare for Romero and Diaz examinations
            Organ
3/29/2023   Larry Plan/ Prepare     0.8    Prepare before court for Romero
            Organ
3/29/2023   Larry Appearance/       8      Appear for Day 3 - Oppenheimer cross, Ed Romero cross,
            Organ Attend                   Marconi video, Ramon Martinez Direct (no cross by Tesla), Owen
                                           Direct, Cross started and travel to and from San Francisco
3/29/2023   Larry Plan/ Prepare     0.2    Prepare for jury instruction meeting
            Organ
3/29/2023   Larry Appearance/       0.8    Appear for Afternoon hearing on jury instructions
            Organ Attend
3/29/2023   Larry Meet              2.2    Meet with Team re strategy
            Organ
3/29/2023   Larry Plan/ Prepare     3.7    Prepare for Owen Diaz cross and review daily and prepare for
            Organ                          Chavez and review filings
3/30/2023   Larry Appearance/       7.5    Appear for Day 4 of trial - Owen Cross & Redirect, Dr. Reading,
            Organ Attend                   Demetric, LaDrea and travel to and from San Francisco
3/30/2023   Larry Plan/ Prepare     1.4    Strategy Meeting after court
            Organ
3/30/2023   Larry Plan/ Prepare     7      Prepare for closing argument
            Organ
3/30/2023   Larry Communication     0.2    Phone conf. with Charles Mahla re testimony and timing
            Organ
3/31/2023   Larry Appearance/       11.4   Appear for Day 5 of trial - Mahla, discovery, plaintiff rests, Jackie
            Organ Attend                   Delgado, Joyce DelaGrande - lunch - closing arguments - jury
                                           deliberations - travel to and from San Francisco
4/2/2023    Larry Review/ Analyze 0.7      Review and analyze Spiro closing
            Organ
4/2/2023    Larry Communication 0.2        Phone conf. with Cimone re Spiro closing
            Organ
4/2/2023    Larry Meet            0.5      Meet with Michael Rubin, Bernard Alexander, Jono Rosenthal re
            Organ                          post-trial strategy
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Date        User Activity         Time   Description
4/3/2023    Larry Appearance/     8.4    Appear for Jury Deliberations - meet with team after verdict -
            Organ Attend                 travel to and from San Francisco
4/5/2023    Larry Meet            1.2    Meet with Diaz trial team to discuss strategy and post-trial tasks -
            Organ                        Marqui will contact jurors - Cimone will work on attorney's fees
                                         motion - Jono will look at additur and post-trial briefing issues
4/5/2023    Larry Communication   0.1    Phone conf. with Cimone re attorney's fees motion
            Organ
4/5/2023    Larry Communication   0.3    Phone conf. with Dustin re factual issues relating to case
            Organ
4/5/2023    Larry Communication   0.1    Phone conference with Michael Rubin re post-trial discussion
            Organ
4/5/2023    Larry Communication   0.4    Phone conference with Dustin Collier re current strategy
            Organ
4/10/2023   Larry Communication   0.1    Phone call with Dustin Collier
            Organ
4/10/2023   Larry Communication   0.1    Communication with Michael Rubin re judgment
            Organ
4/24/2023   Larry Communication   0.3    Phone conf. with Michael Rubin re new trial motion
            Organ
4/25/2023   Larry Communication   0.1    Phone conf. with Owen Diaz re new trial motion
            Organ
4/28/2023   Larry Communication   0.1    Phone conf. with Marqui re Diaz and jury
            Organ
4/30/2023   Larry Communication   0.2    Phone conf. with Bernard Alexander re Motion for New Trial
            Organ
5/2/2023    Larry Communication   0.4    Email from Marqui with interview of Juror 22 and review
            Organ                        interview notes
5/2/2023    Larry Communication   0.2    Phone conf. with Marqui Hood re juror declaration
            Organ
5/2/2023    Larry Communication   0.1    Phone conf. with Jono Rosenthal re juror declaration
            Organ
5/2/2023    Larry Communication   0.3    Email exchange re juror declaration with Trial Team
            Organ
5/2/2023    Larry Communication   0.5    Phone conf. with Cimone re juror declaration and implications
            Organ                        for motion for new trial
5/2/2023    Larry Communication   0.2    Phone conf. with Cimone and Marqui re juror declaration
            Organ
5/3/2023    Larry Communication   0.3    Email exchange with Team re juror declaration and New Trial
            Organ                        Motion
5/3/2023    Larry Communication   0.2    Phone conf. with Marqui Hood re juror declaration
            Organ
6/8/2023    Larry Communication   0.1    communication with Michael Rubin re Supreme Court case on
            Organ                        Alabama redistricting and implications for our case
6/14/2023   Larry Plan/ Prepare   1.8    Prepare for meeting with Michael Rubin re Reply brief
            Organ
6/14/2023   Larry Meet            1      Meet with Cimone, Michael and Corrine re reply brief
            Organ
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Date        User Activity           Time   Description
6/22/2023   Larry Communication     0.1    Communication exchange with Marqui re reply brief
            Organ
6/27/2023   Larry Review/ Analyze   1.8    Review and revise reply brief re New Trial/Mistrial
            Organ
7/25/2023   Larry Draft/ Revise     3.5    Review and edit declarations for attorney's fees motion
            Organ
7/25/2023   Larry Communication     0.3    Communication with Michael Rubin re attorney's fees motion
            Organ
8/4/2023    Larry Communication     0.1    Communication with Cimone re discovery abuse
            Organ
8/4/2023    Larry Review/ Analyze   2.1    Review discovery requests and responses and court orders re
            Organ                          discovery of graffiti and Ex. 109 compared to new documents
                                           produced in vaughn
8/4/2023    Larry Draft/ Revise     0.2    Draft email toTesla counsel re new graffiti document
            Organ
8/4/2023    Larry Draft/ Revise     0.1    Review edits from Michael and made additional edits
            Organ
8/4/2023    Larry Communication     0.1    Email Tesla counsel re discovery abuse
            Organ
8/4/2023    Larry Communication     0.1    Communication to Tesla counsel re newly discovered document
            Organ                          re N-word that was not produced in discovery in Diaz
8/4/2023    Larry Review/ Analyze   0.4    Review draft brief from Cimone re newly discovered document
            Organ
8/5/2023    Larry Communication     0.3    Phone conf. with Michael Rubin re newly discovered document
            Organ
8/5/2023    Larry Communication     0.1    Text to Michael Rubin re briefing
            Organ
8/5/2023    Larry Communication     0.3    Phone conf. with Michael Rubin re discovery abuse issues by
            Organ                          Tesla
8/5/2023    Larry Review/ Analyze   0.6    Review Owen Diaz trial testimony re graffiti
            Organ
8/5/2023    Larry Communication     0.1    Email to Michael Rubin and Cimone Nunley re Owen Testimony
            Organ                          re graffiti
8/5/2023    Larry Review/ Analyze   0.9    Review and analyze Andre Donet testimony re graffiti
            Organ
8/5/2023    Larry Communication     0.1    Email to Michael Rubin and Cimone Nunley re Donet testimony
            Organ                          re graffiti policies
8/5/2023    Larry Communication     0.1    Phone conf. with Michael Rubin re briefing on graffiti
            Organ
8/5/2023    Larry Communication     0.1    Phone conf. with Owen Diaz re case update
            Organ
8/6/2023    Larry Communication     0.3    Phone conf. with Michael Rubin re presentation of evidence to
            Organ                          Judge Orrick
8/6/2023    Larry Communication     0.1    Phone conf. with Cimone re notice of new evidence to be filed
            Organ
8/6/2023    Larry Communication     0.1    Follow up with Cimone re notice of new evidence
            Organ
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Date        User Activity           Time   Description
8/6/2023    Larry Communication     0.1    Follow up call with Michael Rubin re notice of new evidence
            Organ
8/6/2023    Larry Draft/ Revise     1.3    Revise new evidence brief and review relevant evidence
            Organ
8/7/2023    Larry Communication     0.5    Phone conf. with Michael Rubin re motion re evidence
            Organ
8/7/2023    Larry Communication     0.3    Phone conf. with Cimone Nunley re motion re new evidence
            Organ
8/8/2023    Larry Communication     0.1    Phone conf. with Cimone and Michael re court's order
            Organ
8/8/2023    Larry Review/ Analyze   0.2    Review and analyze documents to be submitted to court on
            Organ                          evidence
8/8/2023    Larry Communication     0.1    communication to Michael Rubin re materials to be submitted to
            Organ                          court
8/8/2023    Larry Review/ Analyze   0.1    Review court's order re additional documents
            Organ
8/15/2023   Larry Communication     0.1    Email from Michael Rubin re Quinn Emanuel rates
            Organ
8/15/2023   Larry Communication     0.1    Email to Sabrina Grislis re Quinn rates
            Organ
8/15/2023   Larry Review/ Analyze   2.7    Review and analyze Tesla's opposition papers and review
            Organ                          transcripts and exhibits to rebut statements therein
8/15/2023   Larry Communication     0.3    Phone conf. with Cimone re strategy
            Organ
8/16/2023   Larry Communication     0.1    Email re argument on prejudice
            Organ
8/16/2023   Larry Meet              0.5    Meet with Michael, Cimone, Molly, Marqui and Sabrina re tasks
            Organ                          for reply brief
8/16/2023   Larry Review/ Analyze   0.3    Review emails for positions of various individuals identified in
            Organ                          previously undisclosed evidence
8/16/2023   Larry Communication     0.1    Communication with Cimone re strategy
            Organ
8/16/2023   Larry Draft/ Revise     0.2    Draft statements for declaration ISO notice of new evidence
            Organ
8/16/2023   Larry Draft/ Revise     0.5    Review and revise draft reply brief ISO notice of new evidence
            Organ
8/16/2023   Larry Review/ Analyze   0.6    Review and edit reply papers ISO notice of new evidence
            Organ
8/16/2023   Larry Communication     0.1    Email re changes to reply papers ISO notice of new evidence
            Organ
8/17/2023   Larry Communication     0.2    communication with Michael and Marqui re reply papers ISO
            Organ                          notice of new evidence
10/4/2023   Larry Review/ Analyze   0.8    Review Court's denial of motion for mistrial/new trial
            Organ
10/4/2023   Larry Meet              0.9    Meet with Diaz team re strategy and fees motion
            Organ
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Date        User Activity         Time   Description
10/4/2023   Larry Communication   0.2    Phone conf. with Owen Diaz re court's ruling
            Organ
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Date         User      Activity        Time   Description
1/2/2020     Susan     Meet            0.6    Meet with Larry Organ, Navruz Avloni,
             Organ                            Bernard Alexander, and Cimone Nunely
                                              regarding mandatory settlement
                                              conference and strategy
2/13/2020    Susan     Communication 1.1      Phone call with Larry Organ, Bernard
             Organ                            Alexander, Cimone Nunley, Navruz Avloni,
                                              and jury consultant Harry Plotkin regarding
                                              trial strategy and preparation
2/21/2020    Susan     Communication 0.2      Discuss upcoming tasks with Cimone
             Organ                            Nunley
3/3/2020     Susan     Communication 0.3      Discuss cast of characters with Cimone
             Organ                            Nunley
3/10/2020    Susan     Meet            1.2    Meet with Cimone Nunley, Larry Organ,
             Organ                            and Sabrina Grislis to discuss case status
                                              and upcoming to do items
3/13/2020    Susan     Plan/ Prepare   3.5    Review exhibits for relevance and
             Organ                            foundation, prepare exhibit list
3/13/2020    Susan     Meet            1      Meet with Larry Organ, Bernard Alexander,
             Organ                            Harry Plotkin, and Cimone Nunley
                                              regarding MILs, jury selection, upcoming
                                              tasks
3/15/2020    Susan     Plan/ Prepare   4.2    Prepare exhibit list
             Organ
3/24/2020    Susan     Meet            0.7    Telephone meeting with Bernard
             Organ                            Alexander, Larry Organ, and Cimone
                                              Nunley to discuss pre-trial tasks and
                                              strategy
4/6/2020     Susan     Communication 0.8      Discuss demonstrative exhibits with Larry
             Organ                            Organ
4/10/2020    Susan     Meet            0.5    Telephone meeting with Larry Organ,
             Organ                            Navruz Avloni, Bernard Alexander, and
                                              Cimone Nunley regarding trial tasks and
                                              strategy
4/17/2020    Susan     Meet            2.1    Meet with Harry Plotkin, Larry Organ,
             Organ                            Bernard Alexander, Navruz Avloni, Cimone
                                              Nunley, and Sabrina Grislis to discuss trial,
                                              themes
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4/29/2020    Susan     Communication 0.3     Phone call with Cimone Nunley regarding
             Organ                           copy editing done to MIL oppositions
6/16/2020    Susan     Plan/ Prepare   1.6   Brainstorm ideas for themes with Larry
             Organ                           Organ
6/17/2020    Susan     Meet            1.6   Meet with Harry Plotkin, Larry Organ,
             Organ                           Bernard Alexander, Cimone Nunley, and
                                             Sabrina Grislis regarding themes for trial
                                             and tasks
7/29/2020    Susan     Meet            0.7   Meet with Larry Organ, Bernard Alexander,
             Organ                           Cimone Nunley, Sabrina Grislis, and Mika
                                             Hilaire regarding the focus group
8/6/2020     Susan     Meet            1.3   Meet with Mika Hilaire, Harry Plotkin, Larry
             Organ                           Organ, Navruz Avloni, Cimone Nunley, and
                                             Sabrina Grislis regarding the focus group

8/14/2020    Susan     Meet            0.5   Meet with Larry Organ, Cimone Nunley,
             Organ                           and Sabrina Grislis regarding focus group
8/15/2020    Susan     Appearance/     4     Attend focus group
             Organ     Attend
8/15/2020    Susan     Meet            0.9   Post focus group meeting and debrief with
             Organ                           Harry Plotkin, Dustin Collier, and trial team
8/19/2020    Susan     Meet            1.6   Meet with Harry Plotkin and trial team to
             Organ                           discuss themes and strategy post focus
                                             group
10/23/2020 Susan       Meet            0.9   Meet with team to discuss trial themes and
           Organ                             issues
11/2/2020 Susan        Meet            1     Meet with Larry Organ, Bernard Alexander,
           Organ                             Cimone Nunley, Navruz Avloni to discuss
                                             strategy for trial and mediation
7/19/2021    Susan     Meet            1.7   Meet with Client and team to discuss case,
             Organ                           ed, and lost wages
9/5/2021     Susan     Appearance/     4.1   Attend Focus Group - 2 sessions
             Organ     Attend
9/5/2021     Susan     Meet            0.4   Meet with Larry Organ, Navruz Avloni,
             Organ                           Sabrina Grislis, and Cimone Nunley after
                                             focus groups to debrief
9/5/2021     Susan     Plan/ Prepare   1     Prepare for the second focus group panel
             Organ
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9/5/2021     Susan     Plan/ Prepare   1.1   Prepare for the first focus group panel
             Organ
9/9/2021     Susan     Meet            4.9   Meet with client Owen Diaz and Larry
             Organ                           Organ, Cimone, Bernard to prepare for trial
9/10/2021    Susan     Meet            1.3   Meet with Larry Organ, Bernard Alexander,
             Organ                           Navruz Avloni, Cimone Nunley, and Sabrina
                                             Grislis regarding trial and preparation

9/13/2021    Susan     Plan/ Prepare   4.9   Meet with Owen Diaz to prepare him for
             Organ                           trial
9/15/2021    Susan     Meet            1     Meet with Bernard Alexander, Larry Organ,
             Organ                           and Cimone Nunley regarding trial prep
                                             and witnesses
9/15/2021    Susan     Communication 0.5     Discussion with Larry Organ and Cimone
             Organ                           Nunley regarding testimony from Jackelin
                                             Delgado and Veronica Martinez
9/16/2021    Susan     Meet            1     Meet with Larry Organ, Bernard Alexander,
             Organ                           and Cimone Nunley regarding witnesses for
                                             trial
9/18/2021    Susan     Meet            1.4   Meet with Michael Wheeler with Larry
             Organ                           Organ and Bernard Alexander to prepare
                                             for trial testimony
9/19/2021    Susan     Meet            1.5   Meet with Larry Organ, Bernard Alexander,
             Organ                           and Cimone Nunley to prepare for opening
                                             statement
9/24/2021    Susan     Meet            0.5   Meet with Larry Organ to discuss Erin
             Organ                           Marconi's testimony
9/24/2021    Susan     Meet            0.4   Meet with Larry Organ and Sabrina Grislis
             Organ                           regarding demonstrative exhibits
9/27/2021    Susan     Meet            0.6   Meet with Larry Organ, Bernard Alexander,
             Organ                           Cimone Nunley, and Sabrina Grislis
                                             regarding additional tasks
9/29/2021    Susan     Meet            0.8   Meet with team to strategize for witnesses
             Organ                           during lunch
9/30/2021    Susan     Meet            2.2   Meet with Larry Organ, Bernard Alexander,
             Organ                           Cimone Nunley, Navruz Avloni, and Sabrina
                                             Grislis to discuss remaining tasks and
                                             strategy
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9/30/2021   Susan   Communication 0.1     Call with Jean Ger regarding strategy
            Organ
10/1/2021   Susan   Meet           3      Meet with Larry Organ, Bernard Alexnader,
            Organ                         Navruz Avloni, and Cimone Nunley to
                                          prepare for closing argument presentation
10/1/2021   Susan   Communication 0.3     Discussion with Navruz Avloni regarding
            Organ                         trial strategy
10/2/2021   Susan   Meet           0.7    Meet with Navruz Avloni and Cimone
            Organ                         Nunley to discuss closing statement
                                          powerpoint
10/3/2021   Susan   Meet           2      Meet with Larry Organ, Navruz Avloni,
            Organ                         Cimone Nunley, and Sabrina Grislis to
                                          prepare for rebuttal arguments
10/3/2021   Susan   Meet           0.4    Meet with Bernard Alexander, Larry Organ,
            Organ                         and Navruz Avloni to discuss rebuttal ideas
                                          and exhibit 106
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             Exhibit 3
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                                                           EXHIBIT 3: BASE LODESTAR WITH MULTIPLIERS
                                                            Fees on                      Fees on
                            Hours                  Hours                         Hours                       Fees-on- Fees on Fees
                 Hourly               w/2x                 Fees for     w/1.5             Fees       w/1.2
     Biller                 before                10/6/21-                        after                        fees    total w/ 0  Total Hours Total from Biller
                  Rate               Multiplier            10/6/21- multiplier            after   multiplier
                           10/5/21                 2/6/22                        2/6/22                       hours    multiplier
                                                            2/6/22                       2/6/22
  Michael Rubin $1,275       0          $0          114.3     5.8    $207,506.25 382.3     4.5    $578,034.0   10.3    $13,132.50     496.6      $798,672.75
     Jonathan
                   $650      0          $0        134.85            $131,478.75   479.8            $374,244.0                            614.65      $505,722.75
     Rosenthal
Corinne Johnson $825         0          $0           0         0       $0.00      196.4    0.3     $194,139.0      0.3      $247.50       196.4      $194,386.50
     Sam Hull      $550      0          $0           0                 $0.00       15.7             $10,362.0                              15.7      $10,362.00
Althshuler Berzon
                   $325      0          $0          6.5              $3,168.75     84.7             $33,033.0                             91.2        $36,201.75
Clerks/Paralegals
      Bernard
                  $1,200   606.75    $1,456,200     69.4      5.2   $115,560.00 291.45     3.7     $414,360.0      8.9    $10,680.00      967.6     $1,996,800.00
     Alexander
     Britt Karp    $675     25.1      $33,885        0                 $0.00       13.9    2.2      $9,477.0       2.2     $1,485.00       39         $44,847.00
  Natalie Khoury   $350      0          $0          44.5             $23,362.50    5.4              $2,268.0                              49.9        $25,630.50
     Gus Ham
                   $225     48.4      $21,780        0                 $0.00        0                 $0.0                                48.4        $21,780.00
    (Paralegal)
 Lawrence Organ $975       1371.5    $2,674,425    108.4      1.6   $156,195.00   876.5    8.2    $1,015,911.0     9.8     $9,555.00     2356.4     $3,856,086.00
  Marqui Hood      $900      0           $0          0                 $0.00       128     0.8     $137,376.0      0.8      $720.00       128        $138,096.00
   Molly Durkin    $750      0           $0          0                 $0.00      46.2             $41,580.0                              46.2       $41,580.00
  Navruz Avloni    $725    434.2      $629,590      14              $15,225.00      0                 $0.0         0.8     $580.00        449        $645,395.00
 Cimone Nunley     $500     1015     $1,015,000    244.9     73.2   $128,775.00   258.8    55.4    $122,040.0     128.6   $64,300.00     1518.7     $1,330,115.00
 Emily Kohlheim    $425     19.5      $16,575       0.3               $191.25     55.6              $28,356.0                             75.4        $45,122.25
   Noah Baron      $375      21       $15,750        0                 $0.00        0                 $0.0                                 21         $15,750.00
       CCRLG
                   $225     410.1    $184,545       33.9      7.8    $8,808.75     296     3.2      $79,056.0      11      $2,475.00       740       $274,884.75
Clerks/Paralegals
  Dustin Collier   $750       0         $0          0                  $0.00      272.93   0.3     $245,367.0      0.3      $225.00      272.93      $245,592.00
 V. Joshua Socks   $700       0         $0          0                  $0.00       83.1            $69,804.0                              83.1       $69,804.00
     Drew Teti     $550       0         $0          0                  $0.00        40.9            $26,994.0                              40.9       $26,994.00
 Elizabeth Malay   $400       0         $0          0                  $0.00       187.4            $89,952.0                             187.4       $89,952.00
  TOTAL HOURS              3951.55                771.05     93.6                 3715.1   78.6                           $103,400.00    8438.48
       TOTAL                         $6,047,750                     $790,271.25                   $3,472,353.0                                          TOTAL
                                                                                                  Total fees on           Total fees on
                                                                                                                  173                   $103,400.00 $10,413,774.25
                                                                                                   fees hours                fees $
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             Exhibit 4
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Date         Type                 Total    Description
9/21/2017    Travel Expense       $28.00   Larry parking for meeting with Owen Diaz
                                           LAZ parking - Larry parking for Owen's
5/15/2018    Appearance/Attend    $36.00   deposition
5/15/2018    Travel Expense       $27.24   Larry Organ travel and return to SF
5/15/2018    Travel Expense       $26.30   Larry Organ lunch at Manhattan Hub
5/22/2018    Travel Expense       $36.00   Diaz depo parking LAZ parking
5/22/2018    Travel Expense       $27.24   GGB toll plus travel to SF
5/22/2018    Travel Expense       $53.36   Larry Organ LA appearance, restaurant

6/11/2018    Travel Expense       $36.00   Larry Organ parking at mediation (LAZ Parking)
6/11/2018    Travel Expense       $34.00   Ramzi Nimr mediation parking
                                           Ramzi travel to mediation
6/11/2018    Travel Expense       $20.28   13.1 miles and Bay Bridge
                                           Navruz Avloni parking at Further CMC (Civic
9/4/2018     Travel Expense       $12.00   Center parking)
9/7/2018     Appearance/ Attend   $30.00   CMC conference CourtCall
                                           Lunch at Billy's Snacks and Deli during
                                           mediation
10/16/2018   Travel Expense       $74.68   (LO)
10/16/2018   Travel Expense       $16.00   Navruz Avloni parking for mediation
12/3/2018    Travel Expense       $36.00   Larry Organ parking during Owen Diaz

12/4/2018    Travel Expense       $36.00   Navruz Avloni parking for Demetric Di-az depo

12/16/2018   Travel Expense       $25.00   Navruz Avloni parking for Monica Deleon depo
                                           Navruz Avloni parking - M&C with Sheppard
6/7/2019     Travel Expense       $35.00   Mullin

                                           Navruz Avloni parking at Lake Merritt Tower for
6/17/2019    Travel Expense       $20.00   Titus McCaleb deposition preparation meeting
                                           Navruz Avloni parking with CSJ Smart Meters
6/18/2019    Travel Expense       $3.75    during Titus McCaleb depo

6/18/2019    Travel Expense       $37.86   Navruz Avloni lunch with McCaleb during depo
                                           LaDrea Jones parking fee for deposition (paid
6/20/2019    Travel Expense       $18.00   by Navruz Avloni)
                                           Navruz Avloni parking fee for LaDrea Jones'
6/20/2019    Travel Expense       $14.00   deposition

6/21/2019    Travel Expense       $24.00   Navruz Avloni parking during Demetrica depo
                                           Navruz Avloni parking during Lamar Patterson
7/26/2019    Travel Expense       $20.00   depo
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Date         Type                 Total      Description

7/29/2019    Travel Expense       $36.75     Navruz Avloni lunch with Lamar during depo
9/9/2019     Travel Expense       $35.00     Navruz Avloni parking during M&C with OC

                                             Sabrina Grislis travel to SF for personal service
9/13/2019    Travel Expense       $24.21     (18.1 miles, 7.25 bridge toll, 6 parking)
9/13/2019    Travel Expense       $24.00     Navruz Avloni parking M&C with OC

10/1/2019    Travel Expense       $505.96    Client Owen Diaz flight to Burbank for expert

10/9/2019    Travel Expense       $18.00    Larry Organ Parking during Kawasaki deposition
                                            Larry Organ airfair for Erin Marconi deposition
10/14/2019   Travel Expense       $535.96   in Los Angeles
                                            Larry Organ Parking at Oakland office Veronica
10/15/2019   Travel Expense       $24.00    Martinez deposition
                                            Larry Organ meal in Los Angeles during Erin
10/21/2019   Travel Expense       $21.29    Marconi deposition
                                            Larry Organ Bell Cab in Los Angeles for Marconi
10/21/2019   Travel Expense       $53.94    depo
10/21/2019   Travel Expense       $17.39    Larry Organ meal at LAX for Marconi depo
10/21/2019   Travel Expense       $38.00    Larry Organ airport parking at OAK to LAX
                                            Larry Organ Uber travel in Los Angeles for
10/22/2019   Travel Expense       $37.85    Marconi depo
                                            Larry Organ Uber travel in Los Angeles for
10/22/2019   Travel Expense       $7.57     Marconi depo
10/22/2019   Travel Expense       $16.60    Larry Organ travel meal at airport
                                            Larry Organ parking UC Hastings Garage during
10/23/2019   Travel Expense       $9.00     MSJ hearing
12/17/2019   Travel Expense       $68.48    Cimone Nunley mileage to MSJ hearing
1/16/2020    Appearance/ Attend   $20.00    Larry Organ Parking MSC
                                            Cimone Nunley and Larry Organ Uber back to
1/16/2020    Travel Expense       $73.37    San Anselmo after MSC
                                            Larry Organ parking for Amy Oppenheimer
3/10/2020    Travel Expense       $66.50    depo in SF on March 9 (had to move car)
                                            Larry Organ Court Call for 3.10 Call with Judge
3/18/2020    Appearance/ Attend   $30.00    Orrick re possible new trial dates
                                            San Anselmo Inn fee for Cimone Nunley's stay
9/14/2021    Travel Expense       $2,291.75 during trial
                                            Sabrina Grislis parking at UC Hastings garage for
9/24/2021    Travel Expense       $120.00   trial: 9/24, 27, 28, 29; 10/1, 4
                                            Larry Organ parking at UC Hastings garage for
9/24/2021    Travel Expense       $140.00   trial (9/24, 27, 28, 29, 30; 10/1, 4)
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Date        Type               Total      Description
                                         Navruz Avloni parking during trial on 9/24, 27,
9/24/2021   Travel Expense     $99.00    30; 10/1, 4
                                         Marqui Hood stay at San Anselmo Inn during
3/6/2023    Travel Expense     $1,328.25 trial
                                         Cimone Nunley stay at San Anselmo Inn during
3/6/2023    Travel Expense     $1,695.75 trial
                                         Cameron Hartquist meal purchase: lunch for
3/22/2023   Travel Expense     $118.02   trial team during prep meeting
                                         Parking cost for dropping off trial binders at
3/24/2023   Travel Expense     $24.00    courthouse
3/26/2023   Travel Expense     $57.60    Purchase of snacks during trial
3/27/2023   Travel Expense     $185.94   Lunch for trial team day 1
                                         Lunch for trial team day 2, purchased by
3/28/2023   Travel Expense     $177.86   Teodora Gagauz
3/29/2023   Travel Expense     $143.13   Trial day 3, lunch for trial team
                                         Cimone Nunley purchase of dinner for trial
3/29/2023   Travel Expense     $185.68   team, Sol Food
3/30/2023   Travel Expense     $284.92   Trial day 4, lunch for trial team
                                         Sabrina Grislis parking costs for trial: $22/day
3/31/2023   Travel Expense     $110.00   for 3/27-31

                                         Cimone Nunley parking costs at trial: $22/day
4/3/2023    Travel Expense     $98.00    for 3/27, 3/28 3/31; $32/day for 4/3
                                         Larry Organ parking costs for 6 days at trial:
4/3/2023    Travel Expense     $120.00   $20/day
                                         Emily Kohlheim parking costs for attending
                                         trial: $22/day for 3/27, 28, 28, 31, 4/3. $32/day
4/3/2023    Travel Expense     $142.00   for 3/30
                                         Cimone Nunley mileage reimbursement for
                                         travel related to trial: 37.3 miles RT and $8.40
4/18/2023   Travel Expense     $131.32   bridge toll/day for 4 days.
                               $9,843.80 TOTAL TRAVEL EXPENSES
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Date          Type              Total         Description
6/13/2018     Other             $4,602.50     Dr. Bruce Smith (reduced by 50%)
                                              Michael Robbins expert retainer
6/19/2019     Other             $6,000.00     EXTTI, Inc.
                                              Michael Robbins invoice
7/11/2019     Expert Witness    $4,500.00     Invoice number 15912
                                              Amy Oppenheimer Retainer for expert report (See Invoice
10/1/2019     Expert Witness    $10,000.00    10472)
10/02/2019    Expert Witness    $2,500.00     Dr. Anthony E. Reading Retainer ($2,500)- Advanced
10/2/2019     Expert Witness    $2,500.00     Dr Anthony Reading expert fee

10/21/2019    Expert Witness    $5,438.00     Amy Oppenheimer expert witness fee remaining after retainer
10/31/2019    Expert Witness    $5,392.50     Charles Mahla/Econ One, Invoice # 17568
11/2/2019     Expert Witness    $905.00       Anthony Reading invoice, report preparation
11/30/2019    Expert Witness    $3,548.55     Charles Mahla/Econ One, Invoice # 17710
2/29/2020     Expert Witness    $5,575.60     Charles Mahla/Econ One, Invoice No. 18071
2/29/2020     Expert Witness    $1,120.00     Charles Mahla/Econ One, Invoice no. 18071DEPO
                                              Anthony Reading, PhD deposition preparation bill (even split
3/10/2020     Expert Witness    $675.00       with AMF, LLP)
3/10/2020     Expert Witness    $3,000.00     Amy Oppenheimer invoice 10627
03/12/2020    Expert Witness    $675          Dr. Anthony Reading Payment
3/13/2020     Expert Witness    $4,548.00     Amy Oppenheimer Invoice 10639 for $4548
04/09/2020    Expert Witness    $1,125.00     Dr. Reading CHECK 8702 4.09.2020 (Advanced)
09/02/2020    Expert Witness    $923.19       Expert, Anthony E. Readings, PhD 1.02.2020 (Advanced)
9/24/2021     Jury Consultant   $13,640.54    Harry Plotkin jury consultant. All work up to trial 1
                                              Amy Oppenheimer Invoice no. 1440, expert
10/12/2021    Expert Witness    $8,640.00     testimony/preparation in the Diaz trial.
                                              Charles Mahla/Econ One, Invoice no. 20674, expert testimony
10/12/2021    Expert Witness    $4,307.50     and preparation in the Diaz trial
10/14/2021    Expert Witness    $8,210.00     Dr. Anthony Reading Final Statement 10.14.21- Adv. 11.11.21

2/28/2023     Expert Witness $1,590.00        Charles Mahla/Econ One, invoice no. 23458, report prep
3/27/2023     Jury Consultant $15,490.39      Harry Plotkin jury consultant. All work up to trial 2
                                              Charles Mahla/Econ One, invoice no. 23664, testimony and
3/31/2023     Expert Witness    $3,080.00     prep
3/31/2023     Expert Witness    $9,480.00     Amy Oppenheimer, OIG trial 2 invoice
4/1/2023      Expert Witness    $10,710.81    Dr Anthony Reading, trial 2 invoice
                                $138,177.58   TOTAL EXPERT WITNESS EXPENSES
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Date           Type               Total     Description
4/30/2018      Postage/Delivery   $63.95    Postal Service Plus
5/1/2018       Postage/Delivery   $63.95    Postal Service Plus
5/18/2018      Postage/Delivery   $16.00    USPS receipt
5/24/2018      Postage/Delivery   $16.00    Postage to Los Angeles, San Jose
8/31/2018      Postage/Delivery   $18.05    FedEx charge
10/12/2018     Postage/Delivery   $13.60    CMRs to Los Angeles and Sacramento
12/20/2018     Postage/Delivery   $22.91    FedEx charge to Judge Orrick
12/21/2018     Postage/Delivery   $7.00     Postage fee for sending doc production
12/26/2018     Postage/Delivery   $22.91    FedEx charge to Judge Orrick
12/28/2018     Postage/Delivery   $14.00    Mail docs to OC
1/3/2019       Postage/Delivery   $18.05    Mail docs to OC
1/10/2019      Postage/Delivery   $31.15    FedEx charge to client
3/26/2019      Postage/Delivery   $1.15     USPS to OC
6/18/2019      Postage/Delivery   $33.46    Printing discovery docs for service, UPS store San Jose
10/3/2019      Postage/Delivery   $28.24    FedEx charge to Judge Orrick
10/22/2019     Postage/Delivery   $58.48    FedEx charge to Judge Orrick
11/20/2019     Postage/Delivery   $19.50    USPS sending courtesy copies of MSJ to Judge Orrick
                                            USPS of courtesy copy of admin motion and motion for
1/14/2020      Postage/Delivery   $14.35    sanctions

11/3/2021      Postage/Delivery   $16.25    USPS cost for sending chambers copy of Plaintiff's Bill of Costs
12/14/2022     Postage/Delivery   $20.52    FedEx fee for check to court reporter Knox for transcript
2/9/2023       Postage/Delivery   $33.88    FedEx of documents to client
4/6/2023       Postage/Delivery   $19.30    USPS of witness fee checks to Jackson and Wheeler
                                            Evan Allen servicesm CitiStaff, West Valley etc. inv 8473
11/21/2017     File/ Serve        $215.00   (reduced)
8/1/2018       File/ Serve        $230.00   Evan Allen to Baca, Zalom, Antonucci, Nickerson/Hayati
                                            Gold Rush Express Delivery #2283632 West Valley, Citistaff
11/9/2018      Postage/Delivery   $59.05    PMK notices
                                            Personal service of West Valley, Citistaff PMK with Godspeed
11/9/2018      Postage/Delivery   $40.00    invoice #280.110918
                                            Godspeed
                                            invoice no. 358-895
11/28/2018     Postage/Delivery   $41.75    to Constagny, Brooks, Smith, Prophet
                                            EA invoice no. 8508, service of subpoena on Ramon Martinez
12/9/2018      File/ Serve        $70.00    (returned, not served)
12/22/2018     Postage/Delivery   $43.82    2 courtesy copies to judge, 12/22 and 12/28

1/7/2019       File/ Serve        $63.25    EA invoice no. 8511, service on Defendant nextSource, Inc.
                                            East Bay Messengers
9/18/2019      Postage/Delivery   $43.90    Personal delivery of discovery requests
                                            Gold Rush Express
10/1/2019      Postage/Delivery   $43.37    serve OC with NODs
                                            East Bay Messengers
10/1/2019      Postage/Delivery   $60.70    NODs on OC
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Date           Type               Total     Description
                                            Specialized Legal
10/1/2019      Postage/Delivery   $64.75    Fisher Philips
                                            Specialized Legal
10/1/2019      Postage/Delivery   $64.75    Sheppard Mullin
                                            Gold Rush Express
                                            serve OC
10/3/2019      Postage/Delivery   $52.37    amended NODs
                                            Specialized Legal invoice no. P175462, service on Sheppard
10/3/2019      Postage/Delivery   $65.75    Mullin

10/3/2019      Postage/Delivery   $65.75    Specialized Legal invoice no. P175464, service on Fisher Phillips
                                            East Bay Messengers
10/4/2019      Postage/Delivery   $40.60    amended NODs
                                            EA invoice no. 8566, skip trace and service of Erin Marconi. No
9/22/2021      File/ Serve        $240.00   service.
                                            USPS courtesy copies of motion to retain confidentiality to
12/10/2019     Postage/Delivery   $21.75    orrick
1/4/2023       Postage/Delivery   $20.52    FedEx charge for check to MK Litigation Solutions
                                  2099.78   TOTAL POSTAGE/DELIVERY EXPENSES
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Date         Type    Cost        Description
12/6/2018    Other   $490.00     Investigation for Foster, Jackson, and Martinez
10/1/2018    Other   $1,800.00   Jeffery Ross mediation
                                 Order copies of subpoenaed records from AC transit, Alamillo
11/27/2018 Other     $121.80     Rebar, and Glazier Steel
                                 Ad Hoc Reporting
                                 invoice #19-25183
10/30/2019 Other     $11.70      Hearing transcript for Citistaff MSJ hearing
                                 Transcript for MSJ hearing on 12/17, Katherine Sullivan - court
1/3/2020     Other   $63.75      reporter
                                 Reservation fee for 1/2 cost of focus group location
3/4/2020     Other   $6,724.00   organized by Harry Plotkin
                                 Stu Kohler investigation
                                 Jeff Henry
4/16/2020    Other   $85.00      round 1 of investigation
8/25/2021    Other   $10.00      Craigslist posting for focus group
                                 Focus Group payments to participants
9/7/2021   Other     $1,200.25   $50 each, 23 people. PayPal fees 50.25
12/18/2022 Other     $40.00      Craigslist ads (4) for focus group ads
                                 PayPal payments of $100/each plus fees to 10 focus group
12/21/2022   Other   $1,025.60   participants
2/12/2023    Other   $10.00      Focus Group ad for Feb. 16 focus group (North Bay Counties)
2/12/2023    Other   $10.00      Focus Group ad for Feb. 16 focus group (SF County)
2/12/2023    Other   $10.00      Focus Group ad for Feb. 16 focus group (East Bay Counties)
2/12/2023    Other   $10.00      Focus Group ad for Feb. 16 focus group (San Mateo County)
                                 PayPal payments of $75/each plus fees to 9 focus group
2/16/2023    Other   $697.32     participants
2/27/2023    Other   $697.32     PayPal payments of $75 plus fees to 9 focus group participants
2/27/2023    Other   $40.00      Craigslist ad fees (4) for focus group ads (March 2)
2/28/2023    Other   $40.00      Craigslist ad fees (4) for focus group ads (March 4)
                                 PayPal payments of $75 to 9 focus group participants, $37.50 to 1
3/2/2023     Other   $736.21     participant; plus fees
3/4/2023     Other   $774.80     PayPal payments of $75 plus fees to 10 focus group participants
3/8/2023     Other   $40.00      Craigslist fees for posting focus group ads (4 ads)
3/13/2023    Other   $577.38     Payment of $75/each, plus fees, to focus group participants
3/14/2023    Other   $40.00      Craigslist ad fees (4) for focus group ads
3/18/2023    Other   $40.00      Craigslist ad fees (4) for reposting focus group ads
                                 Paypal payments of $100/each, plus fees, to focus group
3/18/2023    Other   $928.80     participants
3/19/2023    Other   $97.80      Amazon order of trial materials: numbered stickers
3/19/2023    Other   $243.81     Amazon order of trial materials: binders and numbered tabs
3/19/2023    Other   $55.24      Amazon order of trial materials: divider tabs
3/20/2023    Other   $42.42      Amazon order of trial materials: binders
3/20/2023    Other   $104.99     Amazon order of trial materials: numbered stickers and tabs
3/21/2023    Other   $852.28     Payment of $75/each, plus fees, to focus group participants
3/22/2023    Other   $40.00      Craigslist fees for focus group ads (4)
3/22/2023    Other   $55.20      Amazon order of trial materials: binders
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Date        Type    Cost         Description
3/22/2023   Other   $82.50       Amazon order of trial materials: numbered stickers
3/26/2023   Other   $422.80      FedEx cost of printing demonstrative posters
3/27/2023   Other   $30.69       Amazon order of trial materials: masks for use during trial
4/6/2023    Other   $335.00      BMA invoice no. 9002802, reprint originals
                    $18,586.66   TOTAL MISC. EXPENSES
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             Exhibit 5
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                                                  Years Out of Law School *

                         Adjustmt    Paralegal/
      Year               Factor**    Law Clerk           1-3          4-7     8-10    11-19     20 +

      6/01/23- 5/31/24   1.059295      $239       $437         $538         $777     $878     $1057

      6/01/22- 5/31/23   1.085091      $225       $413         $508         $733     $829     $997

      6/01/21- 5/31/22   1.006053      $208       $381         $468         $676     $764     $919
      6/01/20- 5/31/21   1.015894      $206       $378         $465         $672     $759     $914

      6/01/19- 5/31/20    1.0049       $203       $372         $458         $661     $747     $899
      6/01/18- 5/31/19    1.0350       $202       $371         $455         $658     $742     $894
      6/01/17- 5/31/18    1.0463       $196       $359         $440         $636     $717     $864

      6/01/16- 5/31/17    1.0369       $187       $343         $421         $608     $685     $826
      6/01/15- 5/31/16    1.0089       $180       $331         $406         $586     $661     $796
      6/01/14- 5/31/15    1.0235       $179       $328         $402         $581     $655     $789

      6/01/13- 5/31/14    1.0244       $175       $320         $393         $567     $640     $771
      6/01/12- 5/31/13    1.0258       $170       $312         $383         $554     $625     $753

      6/01/11- 5/31/12    1.0352       $166       $305         $374         $540     $609     $734
      6/01/10- 5/31/11    1.0337       $161       $294         $361         $522     $589     $709
      6/01/09- 5/31/10    1.0220       $155       $285         $349         $505     $569     $686

      6/01/08- 5/31/09    1.0399       $152       $279         $342         $494     $557     $671
       6/01/07-5/31/08    1.0516       $146         $268        $329        $475      $536     $645
       6/01/06-5/31/07    1.0256       $139         $255        $313        $452      $509     $614
      6/1/05-5/31/06        1.0427        $136        $249        $305       $441      $497     $598

      6/1/04-5/31/05        1.0455        $130        $239        $293       $423      $476     $574
      6/1/03-6/1/04         1.0507        $124        $228        $280       $405      $456     $549
      6/1/02-5/31/03        1.0727        $118        $217        $267       $385      $434     $522
      6/1/01-5/31/02        1.0407        $110        $203        $249       $359      $404     $487
      6/1/00-5/31/01        1.0529     $106           $195        $239       $345      $388     $468

      6/1/99-5/31/00        1.0491        $101        $185        $227       $328      $369     $444
      6/1/98-5/31/99        1.0439         $96        $176        $216       $312      $352     $424
      6/1/97-5/31/98        1.0419         $92        $169        $207       $299      $337     $406
      6/1/96-5/31/97        1.0396         $88        $162        $198       $287      $323     $389
      6/1/95-5/31/96         1.032         $85        $155        $191       $276      $311     $375
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      6/1/94-5/31/95         1.0237           $82        $151        $185      $267      $301      $363

         The methodology of calculation and benchmarking for this Updated Laffey Matrix has been
        approved in a number of cases. See, e.g.,DL v. District of Columbia, 267 F.Supp.3d 55, 69
        (D.D.C. 2017)

        * ï¿½Years Out of Law Schoolï¿½ is calculated from June 1 of each year, when most law
        students graduate. ï¿½1-3" includes an attorney in his 1st, 2nd and 3rd years of practice,
        measured from date of graduation (June 1). ï¿½4-7" applies to attorneys in their 4th, 5th, 6th
        and 7th years of practice. An attorney who graduated in May 1996 would be in tier ï¿½1-3"
        from June 1, 1996 until May 31, 1999, would move into tier ï¿½4-7" on June 1, 1999, and
        tier ï¿½8-10" on June 1, 2003.

        ** The Adjustment Factor refers to the nation-wide Legal Services Component of the
        Consumer Price Index produced by the Bureau of Labor Statistics of the United States
        Department of Labor.
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             Exhibit 6
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Date         Type                 Total      Description
9/21/2017    Travel Expense       $28.00     Larry parking for meeting with Owen Diaz
5/15/2018    Appearance/Attend    $36.00     deposition
5/15/2018    Travel Expense       $27.24     Larry Organ travel and return to SF
5/15/2018    Travel Expense       $26.30     Larry Organ lunch at Manhattan Hub
5/22/2018    Travel Expense       $36.00     Diaz depo parking LAZ parking
5/22/2018    Travel Expense       $27.24     GGB toll plus travel to SF
5/22/2018    Travel Expense       $53.36     Larry Organ LA appearance, restaurant
6/11/2018    Travel Expense       $36.00     Larry Organ parking at mediation (LAZ Parking)
6/11/2018    Travel Expense       $34.00     Ramzi Nimr mediation parking
                                             Ramzi travel to mediation
6/11/2018    Travel Expense       $20.28     13.1 miles and Bay Bridge
9/4/2018     Travel Expense       $12.00     Center parking)
9/7/2018     Appearance/ Attend   $30.00     CMC conference CourtCall
                                             mediation
10/16/2018   Travel Expense       $74.68     (LO)
10/16/2018   Travel Expense       $16.00     Navruz Avloni parking for mediation
12/3/2018    Travel Expense       $36.00     Larry Organ parking during Owen Diaz
12/4/2018    Travel Expense       $36.00     Navruz Avloni parking for Demetric Di-az depo
12/16/2018   Travel Expense       $25.00     Navruz Avloni parking for Monica Deleon depo
                                             Mullin
6/7/2019     Travel Expense       $35.00     Impark SF
                                             for Titus McCaleb deposition preparation
6/17/2019    Travel Expense       $20.00     meeting
                                             Navruz Avloni parking with CSJ Smart Meters
6/18/2019    Travel Expense       $3.75      during Titus McCaleb depo
6/18/2019    Travel Expense       $37.86     Navruz Avloni lunch with McCaleb during depo
6/20/2019    Travel Expense       $18.00     by Navruz Avloni)
6/20/2019    Travel Expense       $14.00     deposition
6/21/2019    Travel Expense       $24.00     Navruz Avloni parking during Demetrica depo
7/26/2019    Travel Expense       $20.00     depo
7/29/2019    Travel Expense       $36.75     Navruz Avloni lunch with Lamar during depo
9/9/2019     Travel Expense       $35.00     Navruz Avloni parking during M&C with OC
                                             Sabrina Grislis travel to SF for personal service
9/13/2019    Travel Expense       $24.21     (18.1 miles, 7.25 bridge toll, 6 parking)
9/13/2019    Travel Expense       $24.00     Navruz Avloni parking M&C with OC
10/1/2019    Travel Expense       $505.96    Client Owen Diaz flight to Burbank for expert
10/9/2019    Travel Expense       $18.00     deposition
10/14/2019   Travel Expense       $535.96    in Los Angeles
10/15/2019   Travel Expense       $24.00     Martinez deposition
10/21/2019   Travel Expense       $21.29     Marconi deposition
10/21/2019   Travel Expense       $53.94     Marconi depo
10/21/2019   Travel Expense       $17.39     Larry Organ meal at LAX for Marconi depo
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Date         Type                 Total       Description
10/21/2019   Travel Expense       $38.00      Larry Organ airport parking at OAK to LAX
10/22/2019   Travel Expense       $37.85      Marconi depo
10/22/2019   Travel Expense       $7.57       Marconi depo
10/22/2019   Travel Expense       $16.60      Larry Organ travel meal at airport
10/23/2019   Travel Expense       $9.00       MSJ hearing
12/17/2019   Travel Expense       $68.48      Cimone Nunley mileage to MSJ hearing
1/16/2020    Appearance/ Attend   $20.00      Larry Organ Parking MSC
                                              Cimone Nunley and Larry Organ Uber back to
1/16/2020    Travel Expense       $73.37      San Anselmo after MSC
                                              Larry Organ parking for Amy Oppenheimer
3/10/2020    Travel Expense       $66.50      depo in SF on March 9 (had to move car)
                                              Larry Organ Court Call for 3.10 Call with Judge
3/18/2020    Appearance/ Attend   $30.00      Orrick re possible new trial dates
9/14/2021    Travel Expense       $2,291.75   during trial
                                              Sabrina Grislis parking at UC Hastings garage
9/24/2021    Travel Expense       $120.00     for trial: 9/24, 27, 28, 29; 10/1, 4
                                              Larry Organ parking at UC Hastings garage for
9/24/2021    Travel Expense       $140.00     trial (9/24, 27, 28, 29, 30; 10/1, 4)
9/24/2021    Travel Expense       $99.00      30; 10/1, 4
3/6/2023     Travel Expense       $1,328.25   trial
3/6/2023     Travel Expense       $1,695.75   trial
                                              Cameron Hartquist meal purchase: lunch for
3/22/2023    Travel Expense       $118.02     trial team during prep meeting
3/24/2023    Travel Expense       $24.00      courthouse
3/26/2023    Travel Expense       $57.60      Purchase of snacks during trial
3/27/2023    Travel Expense       $185.94     Lunch for trial team day 1
3/28/2023    Travel Expense       $177.86     Teodora Gagauz
3/29/2023    Travel Expense       $143.13     Trial day 3, lunch for trial team
3/29/2023    Travel Expense       $185.68     team, Sol Food
3/30/2023    Travel Expense       $284.92     Trial day 4, lunch for trial team
3/31/2023    Travel Expense       $110.00     for 3/27-31
                                              Cimone Nunley parking costs at trial: $22/day
4/3/2023     Travel Expense       $98.00      for 3/27, 3/28 3/31; $32/day for 4/3
4/3/2023     Travel Expense       $120.00     $20/day
                                              trial: $22/day for 3/27, 28, 28, 31, 4/3.
4/3/2023     Travel Expense       $142.00     $32/day for 3/30
                                              travel related to trial: 37.3 miles RT and $8.40
4/18/2023    Travel Expense       $131.32     bridge toll/day for 4 days.
12/17/2019   Travel Expense       $536.96     12.17.2019- JBA
                                              Confirmation 22495755: MSJ
12/17/2019   Travel Expense       $266.67     12.16.20- JBA
1/16/2020    Travel Expense       $535.96     MSC 1.16.2020 - JBA
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Date        Type               Total         Description
9/10/2021   Travel Expense     $262.97       Southwest RSVP 4594OI- Trial- Adv. 9.10.21
9/30/2021   Travel Expense     $54.99        (Advanced) 9.30.2021 - JBA
10/6/2021   Travel Expense     $5,672.85     Adv. 10.6.21 - JBA
3/16/2023   Travel Expense     $2,826.16     468357- Diaz Trial Pt. 2 - JBA
3/16/2023   Travel Expense     $753.96       Southwest: 3XMVOJ- Diaz Trial Prep - JBA
3/16/2023   Travel Expense     $2,084.78     Diaz Trial Prep - JBA
3/22/2023   Travel Expense     $649.96       JBA
3/24/2023   Travel Expense     $37.79        Uber- Driver, Hequn on 3/24/2023 - JBA
3/24/2023   Travel Expense     $41.96        Uber, Plate-6KOU262- on 3/24/2023 - JBA
3/25/2023   Travel Expense     $73.58        Uber- Plate-9EQY979 On 3/25/2023 - JBA
3/26/2023   Travel Expense     $55.16        Uber- Plate- 9ESU951- on 3/26/2023 - JBA
3/28/2023   Travel Expense     $12.98        Uber- Plate- 9BXJ716 on 3/28/2023 - JBA
3/29/2023   Travel Expense     $71.35        Uber- Plate- 8LOZ314 on 3/29/2023 - JBA
3/30/2023   Travel Expense     $78.18        Uber- Plate- 9EQA879 on 3/25/2023 - JBA
3/30/2023   Travel Expense     $101.09       3/24/2023 - JBA
3/30/2023   Travel Expense     $10.60        Uber- Plate- 8TIG199 on 3/30/2023 - JBA
3/31/2023   Travel Expense     $13.60        Uber-Plate 8TIG199 on 3/30/2023 - JBA
                                             Southwest: Confirmation 3DY7PL- JBA's flight
4/2/2023    Travel Expense     $692.96       for Diaz Trial (Advanced)
4/2/2023    Travel Expense     $40.75        Uber- Driver "Unan" on 4/2/2023 - JBA
4/3/2023    Travel Expense     $315.15       IHG: 66086180- 4/3/2023- 4/04/2023-- JBA
4/4/2023    Travel Expense     $12.97        Uber- Plate - 7PPE197 on 3/29/2023 - JBA
4/4/2023    Travel Expense     $76.87        Uber- Driver "Justin" on 4/3/2023 - JBA
10/6/2023   Travel Expense     $120.00        Altshuler Berzon travel costs
                               $25,244.05    TOTAL TRAVEL EXPENSES
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Date          Type              Total         Description
6/13/2018     Other             $4,602.50     Dr. Bruce Smith (reduced by 50%)
                                              Michael Robbins expert retainer
6/19/2019     Other             $6,000.00     EXTTI, Inc.
                                              Michael Robbins invoice
7/11/2019     Expert Witness    $4,500.00     Invoice number 15912
                                              Amy Oppenheimer Retainer for expert report (See Invoice
10/1/2019     Expert Witness    $10,000.00    10472)
10/02/2019    Expert Witness    $2,500.00     Dr. Anthony E. Reading Retainer ($2,500)- Advanced
10/2/2019     Expert Witness    $2,500.00     Dr Anthony Reading expert fee

10/21/2019    Expert Witness    $5,438.00     Amy Oppenheimer expert witness fee remaining after retainer
10/31/2019    Expert Witness    $5,392.50     Charles Mahla/Econ One, Invoice # 17568
11/2/2019     Expert Witness    $905.00       Anthony Reading invoice, report preparation
11/30/2019    Expert Witness    $3,548.55     Charles Mahla/Econ One, Invoice # 17710
2/29/2020     Expert Witness    $5,575.60     Charles Mahla/Econ One, Invoice No. 18071
2/29/2020     Expert Witness    $1,120.00     Charles Mahla/Econ One, Invoice no. 18071DEPO
                                              Anthony Reading, PhD deposition preparation bill (even split
3/10/2020     Expert Witness    $675.00       with AMF, LLP)
3/10/2020     Expert Witness    $3,000.00     Amy Oppenheimer invoice 10627
03/12/2020    Expert Witness    $675          Dr. Anthony Reading Payment
3/13/2020     Expert Witness    $4,548.00     Amy Oppenheimer Invoice 10639 for $4548
04/09/2020    Expert Witness    $1,125.00     Dr. Reading CHECK 8702 4.09.2020 (Advanced)
09/02/2020    Expert Witness    $923.19       Expert, Anthony E. Readings, PhD 1.02.2020 (Advanced)
9/24/2021     Jury Consultant   $13,640.54    Harry Plotkin jury consultant. All work up to trial 1
                                              Amy Oppenheimer Invoice no. 1440, expert
10/12/2021    Expert Witness    $8,640.00     testimony/preparation in the Diaz trial.
                                              Charles Mahla/Econ One, Invoice no. 20674, expert testimony
10/12/2021    Expert Witness    $4,307.50     and preparation in the Diaz trial
10/14/2021    Expert Witness    $8,210.00     Dr. Anthony Reading Final Statement 10.14.21- Adv. 11.11.21

2/28/2023     Expert Witness    $1,590.00     Charles Mahla/Econ One, invoice no. 23458, report prep
3/27/2023     Jury Consultant   $15,490.39    Harry Plotkin jury consultant. All work up to trial 2
                                              Charles Mahla/Econ One, invoice no. 23664, testimony and
3/31/2023     Expert Witness    $3,080.00     prep
3/31/2023     Expert Witness    $9,480.00     Amy Oppenheimer, OIG trial 2 invoice
4/1/2023      Expert Witness    $10,710.81    Dr Anthony Reading, trial 2 invoice
                                $138,177.58   TOTAL EXPERT WITNESS EXPENSES
            Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 312 of 341


Date           Type               Total     Description
4/30/2018      Postage/Delivery   $63.95    Postal Service Plus
5/1/2018       Postage/Delivery   $63.95    Postal Service Plus
5/18/2018      Postage/Delivery   $16.00    USPS receipt
5/24/2018      Postage/Delivery   $16.00    Postage to Los Angeles, San Jose
8/31/2018      Postage/Delivery   $18.05    FedEx charge
10/12/2018     Postage/Delivery   $13.60    CMRs to Los Angeles and Sacramento
12/20/2018     Postage/Delivery   $22.91    FedEx charge to Judge Orrick
12/21/2018     Postage/Delivery   $7.00     Postage fee for sending doc production
12/26/2018     Postage/Delivery   $22.91    FedEx charge to Judge Orrick
12/28/2018     Postage/Delivery   $14.00    Mail docs to OC
1/3/2019       Postage/Delivery   $18.05    Mail docs to OC
1/10/2019      Postage/Delivery   $31.15    FedEx charge to client
3/26/2019      Postage/Delivery   $1.15     USPS to OC
6/18/2019      Postage/Delivery   $33.46    Printing discovery docs for service, UPS store San Jose
10/3/2019      Postage/Delivery   $28.24    FedEx charge to Judge Orrick
10/22/2019     Postage/Delivery   $58.48    FedEx charge to Judge Orrick
11/20/2019     Postage/Delivery   $19.50    USPS sending courtesy copies of MSJ to Judge Orrick
                                            USPS of courtesy copy of admin motion and motion for
1/14/2020      Postage/Delivery   $14.35    sanctions

11/3/2021      Postage/Delivery   $16.25    USPS cost for sending chambers copy of Plaintiff's Bill of Costs
12/14/2022     Postage/Delivery   $20.52    FedEx fee for check to court reporter Knox for transcript
2/9/2023       Postage/Delivery   $33.88    FedEx of documents to client
4/6/2023       Postage/Delivery   $19.30    USPS of witness fee checks to Jackson and Wheeler
                                            Evan Allen servicesm CitiStaff, West Valley etc. inv 8473
11/21/2017     File/ Serve        $215.00   (reduced)
8/1/2018       File/ Serve        $230.00   Evan Allen to Baca, Zalom, Antonucci, Nickerson/Hayati
                                            Gold Rush Express Delivery #2283632 West Valley, Citistaff
11/9/2018      Postage/Delivery   $59.05    PMK notices
                                            Personal service of West Valley, Citistaff PMK with Godspeed
11/9/2018      Postage/Delivery   $40.00    invoice #280.110918
                                            Godspeed
                                            invoice no. 358-895
11/28/2018     Postage/Delivery   $41.75    to Constagny, Brooks, Smith, Prophet
                                            EA invoice no. 8508, service of subpoena on Ramon Martinez
12/9/2018      File/ Serve        $70.00    (returned, not served)
12/22/2018     Postage/Delivery   $43.82    2 courtesy copies to judge, 12/22 and 12/28

1/7/2019       File/ Serve        $63.25    EA invoice no. 8511, service on Defendant nextSource, Inc.
                                            East Bay Messengers
9/18/2019      Postage/Delivery   $43.90    Personal delivery of discovery requests
                                            Gold Rush Express
10/1/2019      Postage/Delivery   $43.37    serve OC with NODs
                                            East Bay Messengers
10/1/2019      Postage/Delivery   $60.70    NODs on OC
            Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 313 of 341


Date           Type                Total      Description
                                              Specialized Legal
10/1/2019      Postage/Delivery    $64.75     Fisher Philips
                                              Specialized Legal
10/1/2019      Postage/Delivery    $64.75     Sheppard Mullin
                                              Gold Rush Express
                                              serve OC
10/3/2019      Postage/Delivery    $52.37     amended NODs
                                              Specialized Legal invoice no. P175462, service on Sheppard
10/3/2019      Postage/Delivery    $65.75     Mullin

10/3/2019      Postage/Delivery    $65.75     Specialized Legal invoice no. P175464, service on Fisher Phillips
                                              East Bay Messengers
10/4/2019      Postage/Delivery    $40.60     amended NODs
                                              EA invoice no. 8566, skip trace and service of Erin Marconi. No
9/22/2021      File/ Serve         $240.00    service.
                                              USPS courtesy copies of motion to retain confidentiality to
12/10/2019     Postage/Delivery    $21.75     orrick
1/4/2023       Postage/Delivery    $20.52     FedEx charge for check to MK Litigation Solutions
10/6/2023      Postage/Delivery    $0.57      Altshuler Berzon postage
                                  $2,100.35   TOTAL POSTAGE/DELIVERY EXPENSES
       Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 314 of 341


Date         Type    Cost        Description
12/6/2018    Other   $490.00     Investigation for Foster, Jackson, and Martinez
10/1/2018    Other   $1,800.00   Jeffery Ross mediation
                                 Order copies of subpoenaed records from AC transit, Alamillo
11/27/2018 Other     $121.80     Rebar, and Glazier Steel
                                 Ad Hoc Reporting
                                 invoice #19-25183
10/30/2019 Other     $11.70      Hearing transcript for Citistaff MSJ hearing
                                 Transcript for MSJ hearing on 12/17, Katherine Sullivan - court
1/3/2020     Other   $63.75      reporter
                                 Reservation fee for 1/2 cost of focus group location
3/4/2020     Other   $6,724.00   organized by Harry Plotkin
                                 Stu Kohler investigation
                                 Jeff Henry
4/16/2020    Other   $85.00      round 1 of investigation
8/25/2021    Other   $10.00      Craigslist posting for focus group
                                 Focus Group payments to participants
9/7/2021   Other     $1,200.25   $50 each, 23 people. PayPal fees 50.25
12/18/2022 Other     $40.00      Craigslist ads (4) for focus group ads
                                 PayPal payments of $100/each plus fees to 10 focus group
12/21/2022   Other   $1,025.60   participants
2/12/2023    Other   $10.00      Focus Group ad for Feb. 16 focus group (North Bay Counties)
2/12/2023    Other   $10.00      Focus Group ad for Feb. 16 focus group (SF County)
2/12/2023    Other   $10.00      Focus Group ad for Feb. 16 focus group (East Bay Counties)
2/12/2023    Other   $10.00      Focus Group ad for Feb. 16 focus group (San Mateo County)
                                 PayPal payments of $75/each plus fees to 9 focus group
2/16/2023    Other   $697.32     participants
2/27/2023    Other   $697.32     PayPal payments of $75 plus fees to 9 focus group participants
2/27/2023    Other   $40.00      Craigslist ad fees (4) for focus group ads (March 2)
2/28/2023    Other   $40.00      Craigslist ad fees (4) for focus group ads (March 4)
                                 PayPal payments of $75 to 9 focus group participants, $37.50 to 1
3/2/2023     Other   $736.21     participant; plus fees
3/4/2023     Other   $774.80     PayPal payments of $75 plus fees to 10 focus group participants
3/8/2023     Other   $40.00      Craigslist fees for posting focus group ads (4 ads)
3/13/2023    Other   $577.38     Payment of $75/each, plus fees, to focus group participants
3/14/2023    Other   $40.00      Craigslist ad fees (4) for focus group ads
3/18/2023    Other   $40.00      Craigslist ad fees (4) for reposting focus group ads
                                 Paypal payments of $100/each, plus fees, to focus group
3/18/2023    Other   $928.80     participants
3/19/2023    Other   $97.80      Amazon order of trial materials: numbered stickers
3/19/2023    Other   $243.81     Amazon order of trial materials: binders and numbered tabs
3/19/2023    Other   $55.24      Amazon order of trial materials: divider tabs
3/20/2023    Other   $42.42      Amazon order of trial materials: binders
3/20/2023    Other   $104.99     Amazon order of trial materials: numbered stickers and tabs
3/21/2023    Other   $852.28     Payment of $75/each, plus fees, to focus group participants
3/22/2023    Other   $40.00      Craigslist fees for focus group ads (4)
3/22/2023    Other   $55.20      Amazon order of trial materials: binders
       Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 315 of 341


Date        Type    Cost         Description
3/22/2023   Other   $82.50       Amazon order of trial materials: numbered stickers
3/26/2023   Other   $422.80      FedEx cost of printing demonstrative posters
3/27/2023   Other   $30.69       Amazon order of trial materials: masks for use during trial
4/6/2023    Other   $335.00      BMA invoice no. 9002802, reprint originals
10/6/2023   Other   $389.00      Altshuler Berzon copy/printing costs
10/6/2023   Other   $21.60       Altshuler Berzon court electronic records
10/6/2023   Other   $2,612.35    Altshuler Berzon online legal research
10/6/2023   Other   $13.65       Altshuler Berzon transcript
                    $21,623.26   TOTAL MISC. EXPENSES
         Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 316 of 341


Type                         Total
Travel                           $25,244.05
Expert Witnesses                $138,177.58
Postage, Delivery, Service         $2,100.35
Other                            $21,623.26
TOTAL EXPENSES:                $187,145.24
Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 317 of 341




             Exhibit 7
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      Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 322 of 341




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     Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 323 of 341




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Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 324 of 341




             Exhibit 8
Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 325 of 341
Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 326 of 341

                        Anthony E Reading, PhD
                        462 North Linden Drive
                        Suite 445
                        Beverly Hills, CA 90212
                        (310)276-3545


   Bill To:
   Larry Organ
   CALIFORNIA CIVIL RIGHTS LAW GROUP
   332 San Anselmo Avenue
   San Anselmo, CA 94960




   Bill as of :     Jan 15, 2020

   Date           Transaction                              Charge        Total Owed
                  Previous Balance                                            $0.00
   10/2/2019      Legal Consult                          $1,350.00        $1,350.00
   10/2/2019      MMPI-2-RF                                $160.00          $160.00
   10/2/2019      PAI                                      $160.00          $160.00
   10/2/2019      TSI-2                                    $160.00          $160.00
   10/2/2019      Payment                                                ($2,500.00)
   10/4/2019      Preparation of Report                    $225.00          $225.00
   10/6/2019      Report Preparation                     $1,125.00        $1,125.00
   10/7/2019      Report Preparation                       $225.00          $225.00
   12/1/2019      Interest                                                    $9.05
   1/1/2020       Interest                                                    $9.14

                                                         $3,405.00          $923.19


                                          Please Pay this Amount:           $923.19

   Re: Owen Diaz




                                                Anthony E Reading, PhD
Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 327 of 341
Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 328 of 341

                        Anthony E Reading, PhD
                        462 North Linden Drive
                        Suite 445
                        Beverly Hills, CA 90212
                        (310)276-3545


   Bill To:
   Larry Organ
   CALIFORNIA CIVIL RIGHTS LAW GROUP
   332 San Anselmo Avenue
   San Anselmo, CA 94960




   Bill as of :     Oct 14, 2021

   Date           Transaction                     Units       Charge    Total Owed
                  Previous Balance                                           $0.00
   10/2/2019      Legal Consult                      3      $1,350.00    $1,350.00
   10/2/2019      MMPI-2-RF                          1        $160.00      $160.00
   10/2/2019      PAI                                1        $160.00      $160.00
   10/2/2019      TSI-2                              1        $160.00      $160.00
   10/2/2019      Payment                                               ($2,500.00)
   10/4/2019      Preparation of Report             0.5       $225.00      $225.00
   10/6/2019      Report Preparation                2.5     $1,125.00    $1,125.00
   10/7/2019      Report Preparation                0.5       $225.00      $225.00
   12/1/2019      Interest                                                   $9.05
   1/1/2020       Interest                                                   $9.14
   1/15/2020      Payment                                                 ($923.19)
   2/17/2020      Deposition Preparation             2        $900.00      $900.00
   2/18/2020      Deposition Preparation             1        $450.00      $450.00
   3/3/2020       Deposition Review                  1        $450.00      $450.00
   3/12/2020      Payment                                                 ($675.00)
   4/9/2020       Payment                                               ($1,125.00)
   9/11/2021      Court Preparation                  4      $1,800.00    $1,800.00
   9/12/2021      Court Preparation                  2        $900.00      $900.00




                                           Anthony E Reading, PhD
Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 329 of 341

                      Anthony E Reading, PhD
                      462 North Linden Drive
                      Suite 445
                      Beverly Hills, CA 90212
                      (310)276-3545


   Bill To:
   Larry Organ
   CALIFORNIA CIVIL RIGHTS LAW GROUP
   332 San Anselmo Avenue
   San Anselmo, CA 94960




   Bill as of :     Oct 14, 2021

   Date           Transaction                        Units        Charge    Total Owed
   9/30/2021      Court Preparation                     3       $1,350.00    $1,350.00
   9/30/2021      Court Testimony - Half Day            1       $3,200.00    $3,200.00
   9/30/2021      Travel                                4         $340.00      $340.00
   9/30/2021      Airfare                               0         $320.00      $320.00
   10/7/2021      Hotel                                 0         $300.00      $300.00

                                                               $13,415.00    $8,210.00


                                                 Please Pay this Amount:     $8,210.00

   Re: Owen Diaz




                                               Anthony E Reading, PhD
Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 330 of 341
Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 331 of 341




             Exhibit 9
                  Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 332 of 341



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                                    .
    Open Balance Report                               Open Balance Report as of 4/6/2020
          202004068513                                           In Re: Diaz et al. v. Tesla et al.
.                                   .
To
Lawrence Organ, Esq.                    Original       Invoice
California Civil Rights Law Group       Invoice #        Date          Invoice Total      Paid To Date           Open Balance
332 San Anselmo Avenue
San Anselmo, CA 94960               17568            10/31/2019        $     5,392.50     $           0.00       $    5,392.50
.
.                                   17710            11/30/2019              3,548.55                 0.00            3,548.55

Via Email                           18071             2/29/2020              5,575.60                 0.00            5,575.60
larry@civilrightsca.com
                                    18071DEPO         2/29/2020              1,120.00                 0.00            1,120.00

                                    .
                                                                            Total Open Balance               $       15,636.65




                                    THIS IS NOT AN INVOICE
                                    _________________________________________________________________
                                    Wire Payment to:                             Remit Check to:
                                    Pacific Western Bank                         Econ One Research
                                    ABA Routing # 122238200                      550 South Hope Street, Suite 800
                                    SWIFT Code: FNSDUS6D                         Los Angeles, CA 90071
                                    Account # 1001729969
                                    Beneficiary: Econ One Research               Federal Taxpayer ID # XX-XXXXXXX
                  Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 333 of 341



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            INVOICE #                                                         IN RE:                                 Page 1 of 2

               20674                                                 Diaz et al. v. Tesla et al.

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                                    .
Issue Date                          Professional Services                                                             Total
9/30/2021
.                                   Testimony/Deposition Preparation                                            $      2,925.00
Billing Period
9/1/2021 - 9/30/2021                Research/Analysis                                                                  1,265.00
.
                                    Auditing                                                                             117.50
.
To                                                                       Subtotal for Professional Services     $      4,307.50
Lawrence Organ, Esq.
California Civil Rights Law Group
332 San Anselmo Avenue                              .
San Anselmo, CA 94960
.                                                                                               Total Due       $      4,307.50
.
Via Email
larry@civilrightsca.com




                                                                TOTAL DUE UPON RECEIPT
                                    PLEASE REMIT PAYMENT VIA WIRE OR ACH PER INSTRUCTIONS BELOW*
                                    _________________________________________________________________
                                    Payment information:                    If wire and ACH not possible, please remit check to:
                                    Pacific Western Bank                    Econ One Research
                                    ABA Routing # 122238200                 550 South Hope Street, Suite 800
                                    SWIFT Code: FNSDUS6D                    Los Angeles, CA 90071
                                    Account # 1001729969
                                    Beneficiary: Econ One Research          Federal Taxpayer ID # XX-XXXXXXX
                                    *When paying via Wire or ACH, please also email receivables@econone.com indicating amount
                                    being transferred and the invoice(s) being paid.
                   Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 334 of 341
.
IN RE:
Diaz et al. v. Tesla et al.

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Name                     Title                   Rate   Hours   Description
Testimony/Deposition Preparation
Mahla, C.                Managing Director   $   560      1.0   Prepared demonstratives
Mahla, C.                Managing Director       560      3.0   Testimony preparation
Mahla, C.                Managing Director       560      0.3   Time at hearing/depo/trial/etc. for testimony
Abbott, B.               Consultant              235      0.5   Assisted testifier with preparation
Abbott, B.               Consultant              235      1.7   Prepared demonstratives
.
Research/Analysis
Mahla, C.                Managing Director       560      1.0   Issue research/analysis
Abbott, B.               Consultant              235      3.0   Issue research/analysis
.
Auditing
Ines, L.                 Consultant              235      0.5   Audited analysis
.




Econ One Research
550 South Hope Street, Suite 800
Los Angeles, CA 90071                                                                                           Inv. # 20674
Federal Taxpayer ID # XX-XXXXXXX                                                                                 Page 2 of 2
                  Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 335 of 341



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            INVOICE #                                                         IN RE:                                 Page 1 of 2

               23458                                                 Diaz et al. v. Tesla et al.

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                                    .
Issue Date                          Professional Services                                                             Total
2/28/2023
.                                   Report Preparation                                                         $       1,590.00
Billing Period
1/1/2023 - 2/28/2023                                                    Subtotal for Professional Services     $       1,590.00
.
.                                                   .
To
Lawrence Organ, Esq.                                                                           Total Due       $       1,590.00
California Civil Rights Law Group
332 San Anselmo Avenue
San Anselmo, CA 94960
.
.
Via Email
larry@civilrightsca.com




                                                                TOTAL DUE UPON RECEIPT
                                    PLEASE REMIT PAYMENT VIA WIRE OR ACH PER INSTRUCTIONS BELOW*
                                    _________________________________________________________________
                                    Payment information:                    If wire and ACH not possible, please remit check to:
                                    Pacific Western Bank                    Econ One Research
                                    ABA Routing # 122238200                 550 South Hope Street, Suite 800
                                    SWIFT Code: FNSDUS6D                    Los Angeles, CA 90071
                                    Account # 1001729969
                                    Beneficiary: Econ One Research          Federal Taxpayer ID # XX-XXXXXXX
                                    *When paying via Wire or ACH, please also email receivables@econone.com indicating amount
                                    being transferred and the invoice(s) being paid.
                   Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 336 of 341
.
IN RE:
Diaz et al. v. Tesla et al.

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Name                     Title                   Rate   Hours   Description
Report Preparation
Mahla, C.                Managing Director   $   560      2.0   Report preparation/drafting
Abbott, B.               Consultant              235      0.5   Report backup preparation
Abbott, B.               Consultant              235      1.5   Report preparation/drafting
.




Econ One Research
550 South Hope Street, Suite 800
Los Angeles, CA 90071                                                                         Inv. # 23458
Federal Taxpayer ID # XX-XXXXXXX                                                               Page 2 of 2
                  Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 337 of 341



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            INVOICE #                                                         IN RE:                                 Page 1 of 2

               23664                                                 Diaz et al. v. Tesla et al.

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Issue Date                          Professional Services                                                             Total
3/31/2023
.                                   Testimony/Deposition Preparation                                           $       2,800.00
Billing Period
3/1/2023 - 3/31/2023                Client Service                                                                       280.00
.
.                                                                       Subtotal for Professional Services     $       3,080.00
To
Lawrence Organ, Esq.                                 .
California Civil Rights Law Group
332 San Anselmo Avenue                                                                         Total Due       $       3,080.00
San Anselmo, CA 94960
.
.
Via Email
larry@civilrightsca.com




                                                                TOTAL DUE UPON RECEIPT
                                    PLEASE REMIT PAYMENT VIA WIRE OR ACH PER INSTRUCTIONS BELOW*
                                    _________________________________________________________________
                                    Payment information:                    If wire and ACH not possible, please remit check to:
                                    Pacific Western Bank                    Econ One Research
                                    ABA Routing # 122238200                 550 South Hope Street, Suite 800
                                    SWIFT Code: FNSDUS6D                    Los Angeles, CA 90071
                                    Account # 1001729969
                                    Beneficiary: Econ One Research          Federal Taxpayer ID # XX-XXXXXXX
                                    *When paying via Wire or ACH, please also email receivables@econone.com indicating amount
                                    being transferred and the invoice(s) being paid.
                   Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 338 of 341
.
IN RE:
Diaz et al. v. Tesla et al.

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Name                     Title                   Rate   Hours   Description
Testimony/Deposition Preparation
Mahla, C.                Managing Director   $   560      2.0   Testimony preparation
Mahla, C.                Managing Director       560      3.0   Time at hearing/depo/trial/etc. for testimony
.
Client Service
Mahla, C.                Managing Director       560      0.5   Preparation for/meeting with client
.




Econ One Research
550 South Hope Street, Suite 800
Los Angeles, CA 90071                                                                                           Inv. # 23664
Federal Taxpayer ID # XX-XXXXXXX                                                                                 Page 2 of 2
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          Exhibit 10
            Case 3:17-cv-06748-WHO Document 494-1 Filed 10/25/23 Page 340 of 341


5055 Oakwood Avenue
La Canada, CA 91011
                                        HARRY PLOTKIN                                                     (626) 975-4457
                                                                                                       YourNextJury.com
Los Angeles and Nationwide                            JURY CONSULTANT                             harry@yournextjury.com



           Invoice                                                                         Date
           PCA967SF                                                                   9/24/2021

           Case: Diaz v. Tesla


           Billing Address:                                       Invoice Summary:
           Lawrence A. Organ                                      Invoice Number: PCA967SF
           332 San Anselmo Avenue                                 Amount Due:      PAID IN FULL
           San Anselmo, CA 94960                                  Invoice Date:    9/24/2021


           Details:
           Service Performed:                         Date:       Hours:   Rate:   Amount:
           Reviewing case filings                     1/31/2020   0.80     $630        $504.00
           Phone call re: case issues                 2/13/2020   1.08     $630        $682.50
           Writing voir dire to submit to the court   3/3/2020    1.30     $630        $819.00
           Phone call re: voir dire, questionnaire    3/13/2020   0.28     $630        $178.50
           Writing jury questionnaire                 3/17/2020   1.13     $630        $714.00
           Revising jury questionnaire with new q's   3/23/2020   0.32     $630        $199.50
           Reviewing defense JQ, revising JQ          3/27/2020   0.32     $630        $199.50
           Developing trial themes/advice             4/10/2020   0.55     $630        $346.50
           Phone call re: case themes                 4/13/2020   0.47     $630        $294.00
           Reviewing, ideas for demonstratives        4/17/2020   0.18     $630        $115.50
           Phone call re: trial strategy              4/17/2020   2.05     $630      $1,291.50
           Revising jury questionnaire                4/19/2020   0.18     $630        $115.50
           Zoom meeting re: themes, demonstrative     6/17/2020   0.87     $630        $546.00
           Zoom meeting re: themes, trial advice      8/19/2020   1.50     $630        $945.00
           Writing new JQ questions                   8/20/2020   0.48     $630        $304.50
           Phone call re: jury selection procedures   9/21/2021   0.25     $630        $157.50
           Reviewing juror questionnaires             9/22/2021   0.50     $630        $315.00
           Reviewing juror research                   9/23/2021   0.10     $630         $63.00
           Phone call re: assessing jurors            9/23/2021   0.55     $630        $346.50
           Writing focused voir dire                  9/23/2021   0.27     $630        $168.00
           Travel time to SF                          9/23/2021   2.75     $210        $577.50
           Selecting the jury                         9/24/2021   5.00     $630      $3,150.00
           Travel time from SF                        9/24/2021   3.00     $210        $630.00

           Total Professional Fees                                                  $12,663.00

           Expenses Incurred:                         Date:                        Amount:
           Airfare to/from SF                         9/23/2021                       $618.00
           Hotel in SF                                9/24/2021                       $216.77
           Lyfts in SF                                9/24/2021                       $105.27
           Airport parking                            9/24/2021                        $37.50

           Total Expenses                                                              $977.54

           Subtotal Due                                                             $13,640.54
           Payments to date                                                         $13,640.54

           Total Amount Due:                                                             $0.00
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5055 Oakwood Avenue
La Canada, CA 91011
                                     HARRY PLOTKIN                                                     (626) 975-4457
                                                                                                    YourNextJury.com
Los Angeles and Nationwide                      JURY CONSULTANT                                harry@yournextjury.com



           Invoice                                                                           Date
           PCA967SF                                                                    12/12/2022

           Case: Diaz v. Tesla


           Billing Address:                                          Invoice Summary:
           Lawrence A. Organ                                         Invoice Number: PCA967SF
           332 San Anselmo Avenue                                    Amount Due:      PAID IN FULL
           San Anselmo, CA 94960                                     Invoice Date:    12/12/2022


           Details:
           Service Performed:                            Date:      Hours:   Rate:   Amount:
           Zoom re: trial themes/strategy                12/12/2022 1.50     $750      $1,125.00
           Zoom re: focus groups                         12/14/2022 0.70     $750        $525.00
           Writing new voir dire questions               1/12/2023 0.52      $750        $387.50
           Phone call re: themes, defenses               1/13/2023 0.35      $750        $262.50
           Writing new voir dire questions               1/17/2023 0.32      $750        $237.50
           Revising jury questionnaire                   1/18/2023 0.42      $750        $312.50
           Emailing re: Tesla voir dire, questionnaire   2/6/2023   0.37     $750        $275.00
           Writing final voir dire questions             3/22/2023 0.55      $750        $412.50
           Reviewing juror questionnaires                3/22/2023 1.57      $750      $1,175.00
           Zoom re: questionnaires                       3/22/2023 1.30      $750        $975.00
           Emailing re: cause challenge arguments        3/23/2023 0.20      $750        $150.00
           Phone calls/zooms re: hearing                 3/24/2023 1.00      $750        $750.00
           Zoom hearing re: cause challenges             3/24/2023 0.77      $750        $575.00
           Travel time to San Francisco                  3/26/2023 3.00      $250        $750.00
           Reserving the day for jury selection          3/27/2023 7.50      $750      $5,625.00
           Travel time back to Los Angeles               3/27/2023 3.00      $250        $750.00

           Total Professional Fees                                                    $14,287.50

           Expenses Incurred:                            Date:                       Amount:
           Airfare cancellation fee                      3/23/2023                      $100.00
           Airfare to/from SF                            3/26/2023                      $598.00
           Intercontinental Hotel in SF                  3/26/2023                      $305.19
           Lyfts in SF                                   3/26/2023                      $151.70
           Airport parking                               3/27/2023                       $48.00

           Total Expenses                                                              $1,202.89

           Subtotal Due                                                               $15,490.39
           Payments to date                                                           $15,363.00

           Total Amount Due:                                                            WAIVED
